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                     EXHIBIT A
      Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 2 of 547




     RAISSA DJUISSI KENGNE
    Name
     570 PIEDMONT AVE NE #55166

    Address
    ATLANTA              GA          30308
    City             State           Zip Code
     404-932-1651
    Phone Number
    PETITIONER/PLAINTIFF PRO SE


                              FULTON COUNTY SUPERIOR COURT
                                         STATE OF GEORGIA



    In re:

     RAISSA DJUISSI KENGNE                                Case File No. 2022CV365268
    Plaintiff,

    v•                                                   Praecipe
    Illinois Corporation Service C(BDO USA, LLP)
                   801 Adlai Stevenson Drive
    Defendant(s).Springfield, Ilinois 62703-4261



To the Sheriff of             Sangamon, IL         County:
Please serve upon the Respondent/Defendant the following documents

•            Summons (two copies)

•            Complaint (one copy) and Exhibits/Notice of Filing (one copy)



Also enclosed is:

•       I)The Plaintiffs Affidavit of Indigency, 2) Motion to Proceed in Forma Pauperis, and 3) Order on
Affidavit of Indigency, which waive the fee for service in this matter signed by Judge Leftridge in the
Fulton County Superior Court in Atlanta, Georgia.

-          Self-Addressed Stamped Envelope


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                 IN THE SUPERIOR COURT OF FULTON COUNTY, GEORGIA
                                    136 PRYOR STREET, ROOlVI C-103, ATLAINTA, GEORGIA 30303
                                                                         SUMMONS
                                                                                                2022CV365268
                                                                                        ) No.
                                                                              .        )
                                                                                       )
                                  C7P laintiff,_/                                       >


       vs~                                                                              )
     C-ro-r-r                             ':
                               r ._.Defendant
                                                   Ef_A L~                              )
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   TO THE ABOVE NAMED DEFENDANT(S):

   You are hereby summoned and required to -file electronically with the Clerk of said Court at
    https:/Lefilega:tylerhost.net/ofsweb (unlessyou are exempt from filing electronically) and serve upon
[_,plaintiff's:attomey, whose.name and address is j


      PiedmWnfi Avc `NC _
  ATLW-rkl) G- R 30-30e
   An answer to the complaint which is herewith served upon you, within 30 days after service of this
   sununons upon you, exclusive of the day of service; tutless proof of service of this complaint is not filed
   within five (5) business days of such service' Then time to answer shall not commence until such proof of
   service has been filed. IF YOU FAIL TO DO SO, JUDGMENT BY DEFAULT NVILL BE TAKEN
   AGAINS'I' YOU FOR THE RELIEF DEMANDED IN THE COIVIPLAT~                      i 1T.
            5/25/2022
   This                                                day of                                , 20

                                                                                        Honorable Cathelene "Tina" Robinson
                                                                                        Clerk'af Superior Court2 ~
                                                                                        By                                 r---
                                                                                                                Depu.ty .Clerk

   To defendant upon whom this petition is served:
   This copy of complaint and summons was servedupon.you                                                                           20


                                                                                                                Deputy. Sherriff
   Instructions: Attach addendum sheet ror idditional parties if tteeded,.inake notation on this sheet if oddendum is,used
        Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 4 of 547
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                                                                                                                                          Cathelene Robinson, Clerk




                 1N THE SUPERIOR COURT OF FULTON COUNTY, GEORGIA
                                    136 PRYOR STREET, ROOM C-103, ATLANTA, GEORGIA 30303
                                                        SUMMONS

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                                   C laintiff,-1                                       >
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   TO THE ABOVE NAMED DEFENDANT(S):

    You are hereby summoned and required to ~file electronically with the Clerk of said Court at
     https://efilega:tylerhost.net/of5web (unless you are exempt from filing electroiiically) and serve upon
E yl pl'aintiff's:attomey, whose.name and address is. j

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   An answer to-the complaint which is herewith served upon you, rvithin 30 days after service of this
   sammons upon you, exclusive of the day of service; unless proof of service of this complaint is not f led
   within five (5) business, days of such service: Then time to answer shall not commence until such proof of
   service has been. ftled. IF YOU FQ,IL TO DO SO, JUDGMENT BY DEFAULT NVILL BE TAKEN
   AGAINST YOU FOR THE RELIEF DEMANDED IN THE COIVIPLAPIIT.
            5/25/2022
   This                                               day of                                , 20

                                                                                       Honorable Cathelene "Tina" Robinson
                                                                                       Clerkctf Superior Court,, 1~
                                                                                       By C~'~,~ ~~ ~~.: I~-~' L~•
                                                                                                               Deputy .Clerk


   To defendant upon whom this petition is serveds
   This copy of complaint and summons was served upon . you                                                                        20

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                                    136 PRYOR STREET, ROOLVI C-103, ATLANTA, GEORGIA 30303
                                                                       SUMMONS

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     ~®~T ~lrE_.D.efendant                                                            )
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   TO THE ABOVE NAMED DEFENDANT(S):

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    fts://.efilega:tylerhost.net(ofgweb (unless you are exempt from filing electronically) and serve upon
~_, pl'aititiff's :attorney, whose.name and address is. j


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  ATL4N-rA) C5-R 30.30e
   An answer to the complaint which is herewith served upon you, within 30 day.s after service of this
   sununons upon you, exclusive of the day of service; unless proof of service of this complaint is not filed
   within five (5) business days of such service: Then time to answer shall not commence 'until such proof of
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   AGAINST YOU FOR THE RELIEF DEMANDED IN THE COIVIPLAPIlT.
            5/25/2022
   This                                               day of                               , 20

                                                                                      Honorable Cathelene "Tina" Robinson
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   To defendant upon whom this petition is served:
   This copy of complaint and summons was served upon,you                                                                         20


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                IN TH[E SUI'ERIOR COURT OF FULTON COUIYTY
                             STATE OF GEORGIA

   RAISSA DJUISSI KENGNE,                          §
   Plaintiff,                                      §
                                                   §
   V.                                              §                           2022CV365268
   WESLEY FREEMAN; BDO IJSA, LLP; SCOTT            §   Civil Action File No.
   MEIER; PAUL DAVISON; JASON CUDA;                §
   JUSTIN WILKES; ANTHONY REH;                     §
   PETER POPPO; MARK DAVENPORT;                    §
   J.OHNSON WONG; JUSTIN MUTVGAL,                  §
                                                   §
   BEACON MANAGEMENT SERVICES, LLC;                §
   LISA SIMMONS; STEVEN WEIBEL;                    §
   1280 WEST CONDOMINIUM ASSOCIATION;.             §
  MICHAEL SHINNERS; M1CAH KURTZBERG;               §
   RONNIE BRIDGES; BRE7'T DETTMERING;              §
   MICHAEL SHAFFER; ROHAN RUPANI,                  §

                                                   §
   FINCH MCCRANIE;                                 §
   MICHAEL SULLIVAN; WALTER JOSPIN,                §
                                                   §
  and                                              §
                                                   §
  1NTERFACE, INC.;                                 §
   ATLANTICUS HOLDINGS CORPORATION;                §
  SPAR GROUP, INC. (NMS SPAR);                     §
   BIOHORIZONS IMPI.ANT SYSTEMS, INC.              §
  (an Henry Schein Subsidiary); KAS NADERI,        §

                                                   §       I
  Defendants.                                      §   JURY TRIAL DEMANDED

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                            PLAINTIFF'S ORIGINAL COMPLAINT                                        `

      TO THE HONORABLE JUDGE OF SAID COURT:

      PLAiNTIFF, RAISSA DJUISSI KENGNE ("Plaintiff' or "Whistleblower") files this

      Original Complaint against WESLEY FREEMAN, BDO USA, LLP, SCOTT MEIER,

      PAUL DAVISON, JASON CUDA, JUSTIN WILKES, ANTHONY REH, PETER                                 i

      POPPO, MARK DAVENPORT, JOI-iNSON WONG, JUSTIN MUNGAL, BEACON

      MANAGEMEN,T SERVICES, LLC ("Beacon Management"), LISA SIMMONS,

      STEVEN WEIBEL, 1280 WEST ASSOCIATION, INC, MICHAEL SHINNERS,

      MICAH KURTZBERG, RONNIE BRIDGES, BRETT DETTMERING, MICHAEL

      SHAFFER, ROHAN RUPANI, FINCH MCCRANIE, MICHAEL SULLIVAN,

      WALTER JOSPITI, INTERFACE, INC. ("Interface"), ATL.ANTICUS HOLDINGS

      CORPORATION ("Atlanticus"), SPAR GROUP, INC. (N.MS SPAR) ("NMS"),

      BIOHORIZONS IMPLANT SYSTEMS, INC. (AN HENRY SCHEIN SUBSIDIARY)

      ("BioHorizons"), and KAS NADERI, together the ("Defendants") to show that Plaintiff,

      upon making a disclosure in the public interest ("Whistleblowing"), was subjected to a

      bribery attetnpt, Plaintiffs   attorney-client privilege was violated, Plaintiff was

      prevented to communicate with the authorities, Plaintiff's cornputer systems were

      hacked, Plaintiff's phones were spoofed, Plaintiff's home was burglarized, Plaintiff was

      retaliated against, persecuted, harassed, and attacked in violation of The Dodd-Frank

      Wall Street Reforin and Consumer Protectioii Act, 18 U.S.C. §1514A Sarbanes Oxley

      Act ("SOX"), Title VII of the Civil Rights Act of 1964 (Title VII), section I I(e) of the
                                                                     I
      Occupational Safety and Health Act, O.C.G.A § 45-1-4 Georgia WhistleblowerStatute,
.                                                                    ~

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  O.C.G.A.    §    9-11-11.1   Anti-SLAPP      Statute,   O.C.G.A i§       24-9-24    Client's
                                                                    ;
  communications to attorney privileged Statute, 18 U.S. Code §' 1512 Tampering with a

  witness, victim, or an infonnant, O.C.G.A. §16-10-93 Influencing Witness Statute,

  O.C.G.A. § 16-4-8 Conspiracy to Commit a Crime Statute, O.C.G.A. §§ 16-9-90 - 16-              I

  9-94 Computer Crimes Statute, O.C.G.A. §§ 16-9-150 - 16-9-157 Computer Security                I
                                                                                                 ~
  Statute, O.C.G.A. §16-10-2 Bribery Statute, O.C.G.A. § 16-7-1 Burglary Statute,                j

  O.C.G.A. § 16-8-24 Theft by possession of stolen mail Statute, 18 U.S. Code § 1.701

  Obstruction of mails generally, 18 U.S. Code § 1702 Obstruction of correspondence,

  and 61 FR 38687 (47 CFR 20, 47 CFR 52) Telephone Number Portability (CC Docket

  No. 95-116, FCC 96-286).

  The liorrific events that started in 2021 were a direct and foreseeable consequence of the

  willful actions perpetrated by the Defendants, both individually and in concert. In

  support of this instrument, Plaintiff, would respectfully show as described herein.

                               PRELIMINARY STATEMENT

         1.       This case concerns the retaliation, persecution, harassment, intimidation,

  threats, burglary, computer hacking, phone spoofng, and other attacks the Plaintiff was

  subjected to upon reporting to the relevant authorities a violatiori of the SEC regulations,

  the PCAOB Standards, the Antitrust law, and a circumvention of the law prohibiting

  employers from asking about an applicant's pay history in the state of Georgia. The

  unlawful, criminal, immoral, and illegal acts presented in this instrument were                E
                                                                                                 i
    •                                                               ,
  perpetrated by tlie Defendants.                                                                I

         2.       Other attacks the Plaintiff was subjected to, included, but are not limited

  to blocking access to her personal emails containing relevant evidence, blocking access


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  to finances and bank accounts, blocking access to her phone number by preventirig the     ;
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  porting of her number to a different carrier, which is against the Federal                ;

  Corrimunications Cotnmission (FCC) regulations, blacklistirig lier on relevant job

  opportunities, preventing her from receiving unemployment benefits, preventing her        ~~
  from receiving Horrieowner Assistance Funds (HAF) benef ts, and preventing her from       ~
                                                                                            f
  receiving SNAP benefits.                                                                  `

         3.     The parties in this case can be divided into four (4) main groups.

  Group I- Plaintiff is coinprised of Raissa. Djuissi Kengne, the Plaintiff, and former

  employee of BDO USA, LLP, The Plaintiff worked for BDO USA, LLP in the capacity

  of Experienced IT Audit Manager.

  Group 2- Defendants is cotnprised of BDO USA, LLP, the public accouiiting firm where

  the Plaintiff was formerly eniployed, as well as Partners and rriembers of management

 at BDO USA, LLP including Scott.Meier, Wesley Freeman, Paul Davison, Jason Cuda,

  Justin Wilkes, Anthony Reh, Peter Poppo, Mark Davenport,, Johnson Wong. Group 2

  also includes Justin Mungal, a homeowner who lives directly across the Plaintiff's unit   '

 at the 1280 West Condominium in Atlanta, GA who admittedly stated that he worked

 for BDO USA, LLP. In addition to BDO USA, LL.P and..Justin Mungal, Group 2 includes

 the clients assigned to Plairitiff while she was employed at BDO USA, LLP specifically     j

 Iiiterface, Inc., Atlaiiticus Holdings Corporation, Kas Naderi, BioHorizons Implant

 Systems, Inc., and National Merchandising Services, LLC.                                   ~

 Group 3- Defendants is comprised of the attorney's firms andl its representatives who

 were previously retained by Plaintiff for representation in the whistleblower case. The




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  attorney's firm was Finch McCranie and its representatives were 1VIiehael Sullivan and        ~

  Walter Jospin.                                                                                ~

  Group 4- Defendants is comprised of the 1280 West Condominium Association and its

  Board of Directors as well as Beacon Management Sei-vices, LLC and its agents. Beacori

  Management Services, LLC has served as the management compaiiy for the 1280 West

  Condominium Association where the Plaintiff resides for many years.

         4.        Plaintiff was hired at BDO USA, LLP Atlanta off ce as an Information

  Technology ("IT") Audit Manager in September 2019. When Plaintiff started, Plaintiff

  noticed that the workpapers for both private clients and public clients were being rolled

  forward .year after year without doing the work or without performing the work based

  on U.S. Securities arid Exchange Commission (SEC) regulations, Public Company

  Accounting Oversight Board (PCAOB) standards, and American Institute of Certified

  Public Accountaiits (AICPA) standards.

         5..       The public clients iiicluded BlueLinx Holdings, Atlanticus Holdings

  Corporation, BioHorizons Implant Systems, Inc., NMS,.and Interface, Inc. Interface had

  recently .been under aii SEC: investigatio►i and an executive employee at Interface lias

  been suspended.

         6.        In addition, to the work being mostly rolled forward on the public clients

  sueh as B1ueLinx, Atlanticus, BioHorizons, NMS, and Interface, the Information

  Technology ("1T") findings: severity were not properly reported on BlueLinx, Atlanticus,
                                                                    !
  BioHorizons, Interface, and IZEA.                                 I

         7.        An IT finding can be classified as a significant deficiericy or a material
                                                                    I
  weakness.                                                         I
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  The SEC, PCAOB, and AiCPA define a significant deficiency as a deficiency, or a

  combination of deficiencies, in internal control over financial reporting, that is less

  severe than a tnaterial weakriess yet iiiiportant enough to inerit attention by those

  responsible for oversight of the company's financial reporting.

  The SEC, PCAOB, and AICPA define a material weakiiess as a deficiency, or a

  combination of deficiencies, in internal control over fnane'ial reporting, such that there

  is a"reasonable possibility" that a material misstatement of the company's annual or

  interim financial statements will not be prevented or detected on a tirnely basis.

  Furtliermore; an aggregation of deficiencies cari rise to the level of material weaknesses

  as itwas the case with the pufilic and private clients the Plaintiff worked on.

  There is a"reasoriable possibility" of an event when the lilcelihood of the event is either

  "reasoiiably possible" or "probable," as those terms are used in paragraph 3 of Financial

  Accounting Standards Board Statement No. 5, Accounting for Contingencies. If the

  finaiicial statements contain material misstatements, Auditing Standards ("AS") 3105,

  Departures from Unqualified Opinions and Other Reporting Circumstances, indicates

  that the auditor shoiild issue a qualified or an adverse opinion on the financial statements.

         8.      When Plaintiff started performing the IT audits and noted significant

  deficiencies and7or material weaknesses, which would have had !for effect an adjustment

  in audit procedures and potentially the audit report, the results of the audit were

  intentionally disregarded by Defendant Wesley Freeman,            IT Audit Director, and
  intentionally temoved from being reported as significant defciencies and material

  weaknesses.
                                                                     i

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         9.    The private clients included Janus, Dustex, FCCI lnsurance Group
                                                           ;
  ("FCCI"), RSR Group, ProCare,,Vacation Express, and many others.

         10.     The issue with the IT audit work performed was that several deficiencies

  that should have been identified as significant deficiencies and/or material weaknesses

  were actually identified as control deficiencies. Because they were never cornmunicated

  to the financial statements audit team as significant deficiencies or material weaknesses,

  the financial statements audit teams never adjusted their audit strategy and therefore,

  never addressed the risk.of material misstateinents due to ineffective IT general controls

  ("1TGCs") increasing the risk that the financial statements filed witli the SEC were

  materially misstated.

         11.     Private companies tisually request audit reports because the.banks require

  an audit to loan substaritial amounts of money.

         12.     Public companies are required to have an independent audit performed

  by a public accounting firni in confonnity with the PCAOB standards. Defendant BDO

  USA, LLP is one such public accounting firm. Plaintiff worked for BDO USA, LLP in

  the capacity of Experienced IT Audit Manager.

         13.     FCCI is an insurance company that is required to comply with Section

  624.424(8), Florida Statutes by liaving an external independent Certified Public

  Accounting ("CPA") firin prepare the workpapers as required by Rule 690-137.002,             '

  Florida Administrative Code. FCCI IT audit had not been performed per the standards

  and regulations established by the SEC and the PCAOB since 2018. The required and            ~
                                                                  I
  relevant evidence was not requested and obtained in 20I,8. The right evidence was

  requested and obtained in 2019 and 2020 by the Plaintiff. However, the evidence was
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  not properly tested by BDO USA, LLP and left out significant deficiencies and/or
                                                                        ~
  material weaknesses.

           14.    Plaintiff has informed the IS Assurance Director, Defendant Wesley              ;
                                                                                                  ~
  Freeman, of the work that was not perfonned in roughly 75% of the public and private
                                                                                                  I
  engagements she oversaw in the BDO USA, LLP Atlanta office. Defendant Wesley                    '
                                                                                                  ~
  Freeman did not deny it. Instead of fixing the issues going forward, Wesley Freeman

  kept misreporting the IT findings to hide the significant deficiencies and/or material

  weaknesses in the IS Assurance workpapers.

           15.   As Plaintiff took the stand of performing the IS Assurance work with due
                                                                    ,                             ~I
  diligence and refused to obey Wesley Freeman's tacit command to "stop doing my job

  so well" as Wesley Freeman stated one day, Wesley Freeman launched a smear

  campaign against Plaintiff. Wesley Freeman enlisted the assistance of junior associates

  to attempt to smear her repiitation. It went so far that.a Partner, Peter Popo, asked to talk

  to Plaintiff and stated that he has never heard so many bad 'things mentioned about

  someone's behavior; usually what he hears is the bad work someone does. In the

  Plaintiff's case, it was the opposite. These associates enlisted to smear Plaintiff s

  reputation were part of the group who delivered such a poor work product as described

  above.

           16.   Most of the peopie responsible for executing the IT audit (Lirig Tang and

  Dale Drushella) have left the Company,, probably because they could no longer keep up

  with the fraud. Shaivi Patel, an associate, who was also involved in the deficient audits
                                                                    I
  transferred to a different department.                             j


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         17.     During a meeting with Scott Meier, the new 1T Audit Principal who

  started atBDO USA, LLP in 2021, Scott Meier led Plaintiff to understand that Wesley

  Freeman had acewnulated a lot of good will with other Partners and Plaintiff may need

  more Partners to spealc on her behalf. The meeting happened .at the Establishment

  restaurant located in 1197 Peachtree Street NE Main Level, Overlooking The Grove,

  Suite #517, Atlanta, GA 30305.

         18.     Plaiiitiff refused to cotnmit fraud and was targeted for it by Group 2 as

  defined above, and which is comprised of BDO USA, LLP, Scott Meier, Wesley

  Freeman, Paul Davison, Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark

  Davenport, Johnson Wong. Group 2 also. includes Justin Mungal, a 1280 West                 ;

  condominium homeowner who lives across from Pla•intiff.

         19.     Defendarit Wesley Freeman is not above lyirig to the PCAOB, the             ;

  internal inspectors, and the Partners. Plaintiff has observed as much during the PCAOB

  inspection of the publicly traded company Atlantieus Holdings Corporation, when

  Wesley Freeman attempted to provide misleading infonnation to the PCAOB inspectors.

         20.     The PCAOB decided in 2021 to irispect the audit work performed by

  BDO USA, L1.P for the 2020 audit of AtIanticus. During the 2021 PCAOB inspection

  of Atlanticus Holdings Corporation, Plaintiff was pressure by Scott Meier, BDO 1S          ;

  Assurance P.rincipal, and Kas Naderi, Chief lnformation Officer of Atlanticus; to

  provide misleading information to the PCAOB inspectors in order to address the
                                                                                             i
  qiaestions asked by the PCAOB inspectors. Meetings were held with Kas Naderi in order      ;
                                                                 I                           i
  to obtain evidence that should not have been admitted or considered in the audit because

  the 2020 Atlanticus audit report had already been filed.
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         21.    Kas Naderi, Chief Information Officer of Atlanticus, threatened Plaintiff

  during a meeting held between Atlanticus and BDO USA, LLP and asked the Plaintiff

  if she was "now willing to work with Atlantieus" and if Plainfiff was the one "asking

  for additional evidence to provide to the PCAOB" inspectors.

  Plaintiff was late during that call. Scott Meier, BDO IS Assurance Principal, told Kas

  Naderi in the call that Plaintiff was in the bathroom. At the time of the said meeting,

  Plaintiff was working from home due to the pandemic. Plaintiff was indeed in the

  bathroom. Scott Meier had no way of knowing the Plaintiff was indeed in the bathroom

  unless the Plaintiff was under surveillance by BDO USA, LLP, its agents, and/or the

  Defendants.

         22.    During the saine 2021 PCAOB inspection of Atlanticus Holdings               ~
                                                                                            i

  Corporation, Plaintiff was indirectly threatened by Mark Davenport (Audit Partner),       ~

  Peter Poppo (Audit Partner), and Monica Burgess (Senior Audit Manager) who kept

  using the word "dead" with emphasis in different meetings held to discuss responses to

  the PCAOB questions.                                                                      ;

         23.     Anthony Reh, the BDO USA Atlanta Office Managing Partner at the time       ,

  and the Audit Partner on the 2020 Otelco engagement, noted during a closing meeting       I

  with Scott Meier (IT Audit Principal) that a material weakness in the .Information

  Technology ("IT") findings were hidden from him in 2019 as evidenced by his question

  "Did we have this IT finding last.year?" The answer the Plaintiff provided was "Yes".

  Plaintiff had identified the IT finding classified as a materiai weakliess in the 2019

  Otelco audit and had shared 'the IT finding with Wesley Freeinan, IT Audit Director.




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  Plaintiff had shared the 2019 IT finding with Wesley Freeman because Wesley Freetnan
                                                                  I


  had stated that Anthony Reh had asked about an updated list of 2019 IT findings.

  The 2020 internal closirig ineeting with Otelco showed that Wesley Freeman had hidden

  tlie 2019 IT finding by removiiig it from the Otelco files, thereby committing fi•aud and

  violating AICPA, PCAOB, and SEC standards and regulations.

          24.     Plaintiff kept being vocal about issues within the IT audits performed at

  BDO USA, LLP Atlanta office, and the inadequate evaluation of identified material

  weakriesses by the audit team in charge of the public companies' SOX audits. In

  response to the Plaintiff's continued concerns about the effectiveness, efficiency,

  accuracy, quality, and existence of the IT audit work, Scott Meier told the Plaintiff that

  he had nothing to lose and implied that Plaintiff would have more to lose if Plaintiff

  were to continue in this dii-ection.

         25.      Plaintiff believes the PCAOB and SEC standards and regulations were

  violated because Plaintiff has noted as much when reviewing prior year workpapers. In

  some instances, evidence required for the audits was not obtained, requested; or

  appropriately evaluated or tested. 1n addition, the severity 'of the iT findings on

  Plaintiff s engagements was inappropriately reported, and therefore, audit procedures

  may not have been performed to provide reasonable assurance that the financial

  statements were free from material misstatements due to error or fraud. Furthermore,

  BDO hired a new IS Assurance Principal, Scott Meier, at the beginning of the year 202t

  who lias also noted the IT findings were not evaluated appropriately.

         26.     During the 2021 SOX audit of. Interface, inc., the Plaintiff serit an email

  to Wayne Berson, the CEO of BDO USA, LLP, in copy, along with other Partners on


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   the Interface, lnc. engagement to let them know that the IT aud'it work for the Interface.,
                                                                        !

  Inc's engagement was not completed and the IT audit team will not be meetirig the

  internal deadline. Paul Davison, the Audit Partner, and Scott Meier, the IT Audit

  Principal on the 2021 Interface engagement was unhappy with this communication.

          27.     Plaintiffs home was broken into several times in 2021. Plaintiff had

  nofified the 1280 West Condominium management's company (Beacon Managenient),

  the 1280 West Board of Directors, the Atlanta Police Department, Chief Deputy Peek,

  and BDO USA, LLP' managernent. Officer Caleb was dispatched to Plaintiff's

  residence twice and told Plaintiff, that "she was not paid the big bucks".

  The 1280 West Condominium has a 24 hours and 7 days a week concierge staff, and

  requires an access card to enter the premises as weli as the elevators leading to the

  residential area. In addition, the 1280 West Condominium is 'under video and audio

  surveillance; recordings exist. It would be nearly impossible for someone to break into

  Plaintiff's unit without, the assistance of the building management. Upon noticitig the

  burglary, Plaintiff notifi.ed the I280 West Management company and the 1280 West

  Board of Directors to retain all evidence (video recordings, audio recordings, emails,

  and other documents) that will be subject to a lawsuit.

         28.     Defendant Justin Mungal, mentioned as part of Group 2 above, is a

  hoineowner in the 1280 West Peachtree condoniinium building. Justin Mungal lives in

  Unit 2108 and the Plaintiff lives in unit 2109. Justin Mungal lives directly across from

  Plaintiff and their doors are separated by approximateiy two (2) feet. Justin Mungal

  repeatedly told the Plaintiff that he worked for BDO, the Plaintiff's former employer
                                                                    ~
  and a defendant on this case.
                                                                    I

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                ,                                                                               f




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          29.       According to Defendant Justin Miiiigal, lie mistakenly received a United

  States Citizenship and Irrimigration Services ("USCIS") letter addressed to the Plaintiff.
                                                                                                f
  The USCIS letter in question was an immigration letter that the Plaintiff needed as she       `
                                                                                                i

  was in tlie process of becoming a United States ("US") Citizen. Justin Mungal turned

  over the letter to the Plaintiff and stated he was waiting to hear the Plaintiff come home    ~
                                                                     ;                          I
  at night in order to deliver the letter to the Plaintiff. Plaintiff believes that it was an   '

  intimidation technic from the Defendants since the Plaintiff needed the information in

  the USCIS letter as a step to become a US Citizen.

          30.       Defendant Justin Mungal stated to the Plaintiff "Raissa do yoii need any
                                                                     ,                          ,


  help because I am busy and I have a job". Plaintiff had recently resigned from her

  position at BDO USA, LLP due to the retaliatory acts she was subjected to and had not

  shared her job status with Justin Mungal. Thereafter, Justin IVlungal repeatedly told the

  PIaintiff that he worked for BDO. Plaintiff believes that Justin, Mungal was spying on

  Plaintiff and may have himself broken into the Piaintiff's unit.
                                                                                                i

          31.       Justin Mungal also stated to the Plaintiff that "she should not let her

  important dociiments lay around. The banks have lockboxes." The Plaintiff had her

  $1,000;000 State Farm life insurance policy documents in plain sight in her living room       i

  for several weeks: Plaintiff believes that Justin Mungal was one of the perpetrators who      ~

  broke into her .unit.

         32.        Defendant Scott Meier (1T Audit Partner at BDO USA, LLP) told

  Plaintiff that "it was too bad that you could not choose your neighbors". Plaintiff
                                                                   i
  believes 'that the Defendants have hired agents to break into .Plaintiff's unit in order to

  steal information and intimidate Plaintiff.


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         33.       Plaintiff noted that her personal laptop had ' been accessed by the

  following neighbors:.Jamie Johnson living at 1280 West Peactitree ST NW Unit 2009,

  Sylvia Calloway living at 1280 West Peachtree ST NW Unit 2209, and Sirocus Barnes
                                                                                                i
  living at 1280 West Peachtree ST N W Unit 2007.                                               i

             34.   Plaintiff notified BDO USA's Human Resources of the retaliation faced        ~
                                                                                                I
  by the Plaintiff. Plaintiff clearly stated to Human Resources she believed BDO USA,

  LLP and the clients Plaintiff had worked on were responsible for the persecution and

  attacks.

         35.       E'lainfiff also notified BDO USA's Information Technology ("IT")

  department of the burglary in her unit due to the sensitive nature of the engagements the

  Plaintiff was working on. Plaintiff also believed at the time that: inforination could have

  been stolen not only from her computers and physical files, but also from BDO USA,

  LLP's laptop.

             36.   Plaintiff was given a Continuing Professional Education ("CPE")              ~

  disciplinaiy action warning by BDO USA, LLP that was inappropriately assigned and
                                                                                                i
  Plaintiff fought to. have it removed from lier file. Plaintiff believes that it was also an

  intimidation techriic.
                                                                                                I
         37.       The Plaintiff initially retained the services of a law firm Finch McCranie

  in June of 2021.

         38.       Finch McCranie, the attorney firm the Plaintiff initialIy hired, disclosed   ~

  the content of the attorney-client privileged conversation to BDO USA, LLP.                   ~
                                                                                                I
         39.       The two (2) attorneys representing Finch McCranie who discussed the

  case with BDO USA, LLP as well as with sotiie of the members in Group 2 as defined

                                                                    ;
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                                                                                                ~

  above were Michael Sullivan and Walter Jospin. The attorne.y fir►im Finch McCranic,           I

  Michael Sullivan, and Walter Jospin are part of Group 3 as referred to above.                 ~

          40.     Anthony Reh, the BDO USA Atlanta Office Managing Partner in 2021

  and the Audit Partner on some of the engagements the Plaintiff worked on offered              ~

  Plaintiff a raise of approximately 12% and stated to the Plaintiff "You should take it."

  Plaintiff believes it was a bribe.

         41.      When the bribe was offered to Plaintiff, Plaintiff was still being

  represented by Finch McCranie, Michael Sullivan, and Walter Jospin. Plaintiff notified

  her attorneys at the time of the unusual salary increase and the possibility that it could
                                                                                                f
  be a bribe. Plaintiff's attorneys at the time implicitly told the Plaintiff that she should
                                                                                                    ~
  take the salary increase and not proceed with blowing the whistle on BDO USA, LLP.
                                                                                                    i
         42.      When PIaintiff infoi-med her attorneys that Plaintiff wanted to pursue

  with reporting the fraud to the proper authorities, including the SEC, Finch McCranie,

  Michael Sullivan, and Walter Jospin resigned from the case.

         43.     Anthony Reh, the BDO USA Atlanta Office Managing Partner in 2021               ;
                                                                                                ;
  and the Audit Partner on some of the engagements tlie Plaintiff worked on stated to the
                                                                                                    ~
  Plaintiff that "You and your family should be careful."

         44.     Around the time Anthony Reh, the BDO USA Atlanta Office Managing

  Partner in 2021 and the Audit.Partner on some of the engagements the Plaintiff worked             '

  on, stated to the Plaintiff that "You and your family should be carefuI", Plaintiff was           I

  unable to reach her 'family abroad for several weeks. Plaintiff believes her phone was
                                                                                                    ~
  spoofed.
                                                                       ~
                                                                       i

                                                                       ~

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         45.     In v.iew of all the attacks and the persecution, Plaintiff resigned from her

  position at BDO USA, LLP on November 18, 2019 fearing for her life and her family's

  lives. It was a constructive discharge.

         46.     Wesley Freeman, 1T Audit Director, posted on.his LinkedIn profile that

  the "BDO Partners have made the right choice" by standing with him.

         47.     Plaintiff contacted several attorney firms who declined to talce the

  Plairitiff s case because of inexperience in this type of case or the existence of a conflict

  of interest. Plaintiff even flew to Wasliington, DC to meet with attorney's but soine of

  them declined due to their relationship with Michael Sullivan and Finch McCranie.

         48.     The persecution faced by the Plaintiff extended to her private life. The

  Plaintiff lives at 1280 West Peachtree ST NW Unit 2109 Atlanta, GA 30309. The

  Plaintiff's home was broken into several times.

         49.     Per the governing documents of the 1280 Condominium Association,
                                                                                                  i
  homeowners are i'equired to have a copy of their lceys on file in the 1280 West

  management office located on'the Plaza level. The folIowing -individiials and entities          ;

  would have access to the keys of t11e Plaintiff's home or can exercise influence over the
                                                                                                  ~
  individuals with access° to the key of the Plaintiff's home: Beacon Management Services,        '
                                                                                                  ~
  LLC, Lisa Simmons, Steven Weibel, IVlichael Shinners, 1280 West Condominium                     i

  Association, 1280 West Board of Directors (Micah Kurtzberg, Ronnie Bridges, Michael

  Sliaffcr, Brett Dettmering, And Rohan Rupani). These individuals and entities .are

  referred to as Group 4 above and are responsible for allowing unauthorized individuals

  to break into Plaintiff's home in order to facilitate the harassment and retaliation

  perpetuated by Group 2 and Group 3 as defined above.              ;

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                                                                   i

         50.     Plaintiff is cun•ently involved in a separate lawsuit with the 1280 West

  Management company ("Beacon"), the 1280 West Condominium Association, and

  some current and former.members of the 1280 West Condomin'ium Board of Directors.

  Plaintiff's relationship with the 1280 West Management cotnpany ("Beacon"), the 1280

  West Condominium Association, and some current and former members of the 1280

  West Condominium Board of Directors has been strained for many years.

         51.     The Plaintiff had left her house key in her car and had aslced the concierge

  staff at the 1280 West building where she lives if it was possible to open her door with

  the double of the Plaintiff's key that is kept in the 1280 West Management office. The

  event happened at night. The concierge staff refused to give the key to the Plaintiff, but

  offered to unlock the door of her home for her. The concierge staff opened the Plaintiff's

  door showing previous knowledge of tinauthorized entrance by only opening one (1)

  lock on the Plaintiff's door, then pushing the door wide open and doing so with a smirk

  on his face. The plaintiff's door has two (2) locks. There was no way for the concierge

  staff tb know that he only needed to insert the key into only one (1) lock to open the

  Plaintiff's door when there are two (2) locks on the door and to clioose the right lock to

  open, without having previously entered the premises witliout authorization.

         52.     The Plaintiff has specific instructions on file with the 1280 West

  management to never enter her unit without the Plaintiff being present.

         53.     Plaintiff has faced harassment from the 1280 West Condominium

  General 1VIanager, Michael Shinners, who has wrongly claimed that Plaintiff owed
                                                            I
  Homeowners Association ("HOA") fees in April 2022 and accosted Plaintiff on the
                                                                ~
  Plaza level of the 1280 West Condominium and stated that Plaintiff's HOA fees account


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                                                                   I because Plaintiff had a
  was not in good standing. Plaintiff noted that it was not accurate                            'I
  high positive balance on her HOA account.                                                     ~

          54.     When Plaintiff reported the burglary to the 1280 West Maiiagement
                                                                                                ~
  General Manager, Michael Shinners, he stated to the Plaintiff "Until when did you think

  you could keep living like that?"

          55.     Iri 2021, when Plaintiff decided to travel to enstire Plaintiffs family was

  safe and sound, merribers of the 1280 West Management cornpany ("Beacon"), the 1280

  West Condominium Association, and/or some current members of the I280 West

  Condominium Board of Directors withheld for several days the' Plaintiff's newly issued
                                                                  6



  US passport, Georgia Driver License, and Georgia lD card.

  The 1280 West Management coinpany ("Beacon"), the 1280 West Condominium

  Association, and/or some current members of the 1280 West Condominium Board of

  Directors have access to all the mailboxes or exert significant influence on employees

  and/or contractors having access to the mailboxes.

         56.      Plaintiff had also communicated to her previous attorneys Finch
                                                                                                i
  McCranie, Michael Sullivan, and Walter Jospin that Plaintiff was awaiting her US
                                                                                                ;
  passport when they were still representing Plaintiff:

          57.     The Defendants liave conspired to retaliate against Plaintiff for reporting

  the violations of PCAOB and SEC standards and regulations as well as the fraud related

  to the issuance of ttie public coriipanies' audit reports the Plaintiff worlced on.

         58.      Plaintiff has been unable to receive unemploymint benefits even though

  she qualif ed for them. Plaintiff was directed to the fol lowirig address to apply for

  unemployment benefits: 223 Courtland St NE, Atlanta, GA 30303.


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         59.     PIaintiff has been blacklisted from many jobs she qualifies for. Plaintiff

  has been unable to find another job since she resigned on November 18`h, 2021.. This

  situatioii may have been compounded with the economic effect of the COVID-19

  pandemic.

         60.     Plaintiff has been unable to receive SNAP bene.fts. Plaintiff believes it

  is also a retaliatory act from BDO USA, LLP.

         61.     Plaintiff has been unable to receive benefits .from the Homeowners

  Assistance Fund program ("HAF") even though Plaintiff qualifies for it. Plaintiff

  believes it is also a retaliatory act from BDO USA, LLP.

         62.     Plaintiff's primary phone numberhas been blocked and Plaintiffhas been          I

  unable to port her number to a different carrier effectively prevetnting plaintiff from

  communication with family, friends, and business partners. Phone companies are

  required by law to port your number out when you start service with a new carrier.

  According to the FCC, a company cannot refuse to port your niztnber even if you have           ;
                                                                                                 ~
  an outstanding balance or unpaid termination fees. Plaintiff believes it is also a

  retaliatory act from BDO'USA, LLP.                                                             ~
                                                                                                 I
         63.    Plaintiff's access to her funds in her Gemini Trust Company, LLC                  j

  ("Gemini") account bas been blociced. Plaintiff created an account online on 05/25/2021

  on   the Gemini    Trust Coinpany, LLC's website.           The       website   address   is   j

  https://www.gemini.com/. Gemini is a Cryptocurrencies trading platform. Plaintiff              I~
                                                                    I                            I
  reached out to Gemini customer support at support@gemirii icoin on the following               f

  dates/times: March 31st, 2022, April Ist, 2022, April 2iid, 2022; April3rd, 2022, April        I

  4th, 2022, April 5th, 2022, and April 13th, 2022. The Plaintiff has reached out to the


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                                                                                               ~

                                                                                               ~




                                                                                               ;

  Gemini Trust Company's support team using the following email addresses:                     ~

  rkengnel@gmail.cotn and cianeseya2022@gmail.com. The 'support team members

  Plaintiff corresponded with were Richard, Frances, Saul, Jessica, and Isla. Plaintiff has    i
                                                                                               I
  provided Gemini with a copy of her bank statements to verify Plaintiffs account in           j

  muitiple instances. Gemini claims that Plaintiff can only withdraw funds via wire, which

  is extremely costly to Plaintiff at the moment.

         64.     Gemini has declined to withdraw funds using the debit card account that

  Plaintiff provided on the Gemini platform, which was successfully verified by Gemini.

  Gemini has refused to allow any other forms of identification to verify in order to assert

  the Plaintiff's ownership of the account.

         65.     All the communications Plaintiff liad with Gemini happened before

  Plaintiff was locked out of her Gemini account for requesting Plaintiff's money. Plaintiff

  lost full use of her GmaiI account, rkengnel@gmail.com, due,to the fact that Plaintiff

  reported BDO USA, LLP's violation of PCAOB and SEC standards.
                                 ,
         66.     Plaintiff is unable 'to access her account at Gemini and Gemini refuses to

  provide any other way to identify Plaintiff.                                                 ~
                                                                                               ~

         67.     Plaintiff has filed a separate lawsuit in the states of Georgia and New       ;

  York as well as a complaint with the Security Exchange Commission (SEC) and New
                                                                                               M
  York Department of Financial Services agaiiist Gemini.                Gemini's   website     ;

  (https://www.gemini.com/legal/user-agreement#section-fdic-insurance) claims that the

  money users have on their platform in US Dollars is insured by the Federal Deposit

  Insurance Corporation ("FDIC") as long as the US Dollars are inside the United States.

  Below is an excerpt of their website.
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                  "U.S. dollar deposits in your Fiat Account held in one or inore Omnibus

                  Accounts at one-or more Banks located in the United States are held with

                  the intention that they be eligible for Federal Deposit Insurance

                  Corporation ("FD1C") "pass-tlirough" deposit insurance, subject to the

                  Standard Maximum Deposit Insurance Amount per FDIC regulations.


          68.     The Plaintiff has notified the following authorities and agencies in        i

  relation to this case: U.S. Securities and Exchange Coniniission ("SEC"), ("PCAOB"),

  ("IC3"), the Atlanta Police Department, the Federal Bureau of Investigation ("FBI"),        ~

  and the Federal Commuriications Commission ("FCC"). The authorities and agencies

  the Plaintiff contacted responded that they could not comment on the status of a case,      ;

  complaint, investigation, or tip. Because the persecution and attacks have not stopped,     ;

  the Plaintiff decided to file a civil lawsuit.


                                       I.
                         PARTIES AND SERVICE OF PROCESS

                               Plaintiff Raissa Djuissi Kengne

         .69.     Plaintiff Raissa Djuissi Kengne is a Georgia resident residing at 1280      i

  West Peachtree ST NW Unit 2109, Atlanta, GA 30309.

         70.,     Plaintiff Raissa Djuissi Kengne was hired as an IT Audit Maaager at

  BDO USA, LLP Atlanta office on September 3"d, 2019.

         71.      Plaintiff Raissa. Djuissi Kengne is a Certified Infonnation Systems

  Auditor ("CISA"). The CISA certification attests of Plaintiff s expertise and her ability
                                                                  ;

  to apply a risk-based approach to planning, executing, and reporting on audit

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  engagements. The CISA certification proves the PIaintiff's conipetence in incorporating

  privacy by design into technology platforms, products and processes, communicating

  with legal professionals, and keeping the organization compliant efficiently and cost
                                                                                               I
  effectively. The CISA proves the Plaintiff has the technical skills and knowledge it takes   ~

  to assess, build, and implement.a comprehensive privacy solution.

         72.     Plaintiff Raissa Djuissi Kengne is a Certif ed Information Security

  Manager ("CISM"). The CISM certification attests of the Plaintiff's technical. expertise

  and experience in IS/IT security and control. The CISM certification proves the
                                                                                               ~
  Plaintiffs' competence in. alignment between the organization's information security         ~
                                                                                               k
  program and its broader goals and objectives. The CISM certification also attest of          i

  Plaintiff's commitinent to compliance, security and integrity.

         73.     Plaintiff Raissa Djuissi Kengne is a Certified in Risk and InfoiYnation

  Systems Control ("CRISC"). The CRISC ceitification proves the Plaintiffls skills and

  knowledge in using governance best practices and continuous risk monitoring and

  reporting.                                                                                   I
                                                                                               ~
         74.     Plaintiff Raissa Djuissi Kengne is a Certified lriternal Auditor ("CIA").     !

  The CIA certification proves Plaintiff's expertise in the design, implementation, testing,   i
                                                                                               ~
                                                                                               ~
  and assessmeiit of controls as well as expertise in corporate governance, risk

  management, and internal controls. The CIA certification also proves the Plaintiffs

  expertise in the areas of governmental regulations and reporting requirements.

         75.     Plaintiff Raissa Djuissi Kengne is a Certified Fraud Examiner ("CFE").
                                                                   I                           I
  The CFE credentials proves Plaintiff's expertise as a trained professional who possesses

  a unique set of diverse skills in preventing, detecting and investigating fraud. The CFE
                                                                   I
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  credential validates the plaintiff's skills such as knowledge of complex financial

  transactions, understanding of investigative techniques and legal issues, the ability to     ;

  resolve allegatioris of fraud, and the design of effective anti=fratid programs.             ~

         76.     Plaintiff Raissa Djuissi Kengne is a Lean Six Sigma Green Belt holder.

  The Lean Six Sigriia Green Belt proves the Plaintiff possesses a thorough understanding
                              ,                                                                I
  of enhanced problem-solving skills, with an emphasis on the DMAIC (Define, Measure,

  Analyze, Improve and Control) model. A Lean Six Sigma Green Belt certification also
                                                                                               ~

  denotes the Plaintiff is well-versed in the advanced eleinents of Lean Six Sigma             ;

  Methodology, arid leads improvement projects at a high level of proficiency.                 ~
                                                                                               1
         77.     Plaintiff Raissa Djitissi Kengne reported a violation of SEC regulations,

  PCAOB Standards, the Antitrust law, and a circumvention of the law prohibiting

  employers from asking about an applicant's pay history in the state of Georgia. The

  misconduct happened at BDO USA, LLP. Plaintiff was retaliated against. Plaintiff's

  home was broken into. PlaintifFs life and her family's lives were tlireatened: Plaintiff's

  computers and phones were liacked.

         78.     Plaintiff's Raissa Djuissi Kengne-resigned on November 18`h, 2021 ffom

  BDO USA, LLP after facing illegal, criminal, unlawful, horriftc, and immoral retaliatory

  practices.

                                         Defendants

                                  Defendant Wesley Freeman

         79.     Defendant Wesley Freeman is a Fulton County and Georgia resident and

  is the IS Assurance Director for the Southeast region at BD0 USA, LLP. The Southeast
                                                                    I
  includes the state of Georgia and Wesley Freeman oversees at4dits in the BDO USA,


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                                                                                              I
                                                                                              ,f
  LLP Atlanta, GA office. BDO USA, LLP also operates in the state of Georgia with a           i
                                                                                              I
  business address located at 1100 Peachtree Street NE, Suite 700 Atlanta, GA 30309-          !

  4516 and is subject to the jurisdiction of this court.                                      `

           80.    Defendant Wesley Freeman is in the business ofaudit and assurance in

  the State of Georgia. Defendant Wesley Freeman's business in Georgia includes,.but is

  not limited to, overseeing audit and assurance engagements and audit and assurance

  staff.

           81.    Defendant Wesley Freeman can be served with legal process through

  delivery of the Sununons and Complaint in this action to him at his place of employtrient

  at the address listed below.

  Defendant Name: Wesley Freeman

  Deferidant Name Address: BDO Atlanta Office 1100 Peaclitree Street NE, Suite 700

  Atlanta, GA 30309-4516, USA

  Defeiidant Name Phone Nurnber: 404-979-7103

  Deferidant Name Email Address: wfreeman@bdo.com

           82.    Service is requested at this time.

                                 Defendants BDO USA, LLP
                                                                                              i
           83.    DefendantBDO USA, LLP is a Delaware Limited Liability Partnership.          j

  BDO USA, LLP also operates in the state of Georgia with a business address .located at

  1100 Peachtree Street NE, Suite 700 Atlanta, GA 30309-451,6 and is subject to the

  jurisdiction of this court.                                                                 ~

           84.  BDO USA, LLP is the United States, member firm of BDO International,
                                                               I
  a global accounting network. The coinpany 'is headquartered i~n Chicago. BDO USA,

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  LLP Chief Executive Officer and Chainnan is Wayne Berson; he sits in the BDO

  Potomac office.

         85.     Defendant BDO USA, LLP is in the business of assurance, tax, and             I
                                                                                              ~
                   , services in the State of Georgia. Defendant BDO USA, LLP's
  financial advisory                                                                          ;

  business in Georgia includes, but is not limited to, auditing the accounting records of     ;
                                                                                              I
  public and private organizatioris and to attest to compliance with generally accepted       ;

  accounting .pfinciples ("GAAP") as well as providing one or more of the following

  accounting services: (1) auditing financial statements; (2) designing accounting systems;   ;

  (3) preparing finaricial statements; (4) developing budgets; and'(5) providing advice on     ~

  matters related to accounting. BDO iJSA, LLP also provides related services,-such• as        ~

  bookkeeping, tax return preparation, and payroll processing.                                ;

         86.     Defendant BDO USA, LLP can be served witli legal process thr•ough            !

  delivery of the Suininons and Complaint in this actiori to his Registered Agent at the

  address filed with the Secretary of State and noted below:

  Registered Agerit Name: Illinois Corporation Service C

  Registered Agent Naine Address: 01 Adlai Stevenson Drive Springfield, Illiiiois 62703-
                                                                                              i
  4261, USA                                                                                   ;
                                                                                              i
  Email: wberson@bdo.com

  Phone Number: 301-354-2500                                                                   i

         87.     Service is requested at this time.

                                  Defendant Sco.tt Meier

         88.     Defendant Scott Meier is a Virginia resident and is the Southeast IS

  Assurance Practice Leader at BDO USA, LLP. The BDO Southeast region includes the

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  state of Georgia. Scott Meier oversees audits in the BDO USA, LLP Atlanta, GA office.

  BDO USA, LLP also operates in the state of Georgia with a bLisiness address located at

  1100 Peachtree Street NE, Suite 700. Atlanta, GA 30309-4516 and is subject to the

  jurisdiction of this cour.t.

          89.     Defendant Scott Meier is in the business of audit and assurance in the

  State of Georgia. Defendant Scott Meier's business in Fulton County, Georgia includes,

  but is not limited to, overseeing audit and assurance engagements and audit and

  assiirance gtaff.

          90.     Defendant Scott Meier can be served w.itli legal process through del'ivery
                                                                                               !
  of the Sutnmons and Complaint in this action to him at his place of employment at the
                                                                                               I
  address listed below.
                                                                                               ;

  Defendant Name: Scott Meier

  Defendarit Name Address: BDO Richmond Office 300 Arboretum Place, Suite 520                  i

  Richmond, VA 23236, USA                                                                      ~
                                                                                               r

  Defendant Name Phone Nuinber: 804-330-3092                                                   i

  Defendant Name Email Address: smeier@bdo.com

  Defendant Name Fax: 804-330-7753

          91.     Service is requested at this time.

                                  Defendant Paul Davison

          92.     Defendant Paul Davison is a Florida resident and is the Assurance Office     i

  Managing Partner in the BDO Jacksonville Office. Defendant Paul Davison was the
                                                                   I

  Partner in Charge of tlie Interface's SOX audit that was performed out of the BDO USA,

  LLP's Atlanta offce located at 1100 Peachtree Street NE, Suite 700 Atlanta, GA 30309-

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  4516 Fulton County and is subject to the jurisdiction of this court. Pau1 Davison was the

  recurring Partner on the interface's SOX engagements.

          93.     Defendant Paul Davison is in the business of audit and assurance in the

  State of Georgia. Defendant Paul Davison's business in Georgia and Florida includes,

  but is not limited to, overseeing audit and assurance engagements and audit and              ~

  assurance staff.                                                .                            ;`

          94.     Defendant Paul Davison can be served with legal process through

  delivery of the Suminoiis and Complaint in this action to him at his place of employment

  at the address listed below.
                                                                                               ~
  Defendant Name: PauI Davison                                                                 i

  Defendant Name Address: BDO Jacksonville Office 501 Riverside Avenud, Suite 800               i

  Jacksonville, FL 32202, USA                                                                  ,

  Defendant Name Phone Nuinber: 904-396-4015                                                    I

  Defendant Name Email Address: pdavison@bdo.com

          95.     Service is requested at this time.

                                   Defendant Justin Wilkes

          96.     Defendant Justin Wilkes is a Georgia resident and an Assurance Director      :

  and Partner at BDO USA, LLP. Defendant Justin Wilkes over:sees audits in the BDO

  USA, LLP Atlanta, GA office. Althougli BDO USA, LLP is a Delaware entity                      ~
                                                                                                f
  headquartered in Chicago, lllinois, it also conducts business in fhe state of Georgia with    i

  its offices located at 1100 Peachtree Street NE, Suite 700 Atlanta, GA 30309-4516 and        !
                                                                  ;                            ~
  is, therefore, subject to the jurisdiction of this court.


                                                                  i

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          97.     Defendant Justin Wilkes is in the business of audit and assurance in tlie       I

  State of Georgia. Defendant Justin Wilkes's business in Georgia includes, but is not

  limited to, overseeing audit and assurance engagements and audit and assurance staff.
                                                                                                  I
          9.8.    Defendant Justin Wilkes can be served with legal process through                ~

  delivery of the Summons and Complaint in this action to him at his place of employment

  at the address listed below.                                       ,                            !

  Defendant Name: Justin Wilkes

  Defendant Name Address: BDO' Atlanta Office 1 100 Peachtree Street NE, Suite 700

  Atlanta, GA 30309-4516, USA

  Defendant Name Phone Number: 404-688-6841

  Deferidant Name Email Address: jwilkes@bdo.com

  Defendant Name Fax: 404-688-1075

          99.     Service is requested at this time.

                                   Defendant Anthony Reh                                          i

          100.    Defendant Anthony Reh is a Georgia resident and the Assurance Office            !

  Managing Partner in the BDO Atlanta office. Althougli BDO USA, LLP is a Delaware

  entity headquartered in Chicago, Illinois, it also coriducts business in the state of Georgia

  with its offices located at 1100 Peachtree Street NE, Suite 700 Atlanta, GA 30309-4516

  and is, therefore, subject to the jurisdiction of, this court.

          101.    Defendant Anthony Reli is in the business of audit and assurance in the         !

  State of Georgia. Defendant Anthony Reh's business in Geor'gia includes, but is not             i
                                                                     i
  limited to, overseeing audit and assurance engagements and audit and assurance,staff.

                                                                    I

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                                                                   i


            102.   Defendant Anthony Reh can be served with; legal process through
                                                                                               .   I

  delivery of the Summons and Complaint in this action to him at his place of employment

  at the address listed below.                                                                     I

  Defendant Name: Anthony Reh

  Defendant Name Address: BDO Atlanta Office 1100 Peachtree Street NE, Suite 700                   ~

  Atlanta, GA 30309-4516, USA

  Defendant Name Phone Number: 404-979-7148

  DefendantName Email Address: areh@bdo.com

  Defendant Name Fax: 404-688-1075

            103.   Service is.requested at this time.

                                    I3efendant Peter Poppo

            104.   Defendant Peter Poppo is a Georgia resident and an Assurance Partner in

  the BDO USA, LLP Atlanta office. Although BDO USA, LLP is a Del'aware entity

  headquartered in Chicago, Illinois, it also conducts business in the state of Georgia with       !

  its offices located at 1.100 Peaclitree Street NE, Suite 700 Atlanta, GA 30309-4516 and          ;
                                                                                                   I
  is, therefore, subject to the jurisdiction of this court. Peter Po.ppo was tlle Partner in

  Charge of the Atlanticus' SOX audit performed out of the BDO USA, LLP Atlanta

  office.

            105.   Defendant .Peter Poppo is in the business of audit and assurance iri the        ~
                                                                                                   i
  State of Georgia. Defendant Peter Poppo's business in Georgia includes, but is not

  limited to, overseeing audit and assurance engagements and audit and assurance staff.            ~




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                                                                   i
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          106.       Defendant Peter Poppo can be served with legal process through delivery

  of. the Summons and Complaint in this action to him at his place of employrrient at the

  address listed below,                                                                           i

  Defendant Name: Peter Poppo                                                                     f

  Defendant Name Address: BDO Atlanta Offce 1100 Peachtree Street NE, Suite 700

  Atlanta, GA 30309-4516, USA                                                                     i

  Defendant Name Phone Number: 404-,979-7258

  Defendant Name Einail Address: ppoppo@bdo.com

  Defendant Name Fax: 404-688-1075

          107.       Service is requested at this time.                                           ;
                                                                                                  i
                                   Defendant 1Vlark Davenport                                     i

          108.       Defendant Mark Davenport is a Tennessee resident and an Assurance

  Partner in the BDO USA,.LLP Memphis office. Although BDO USA, LLP is a Delaware

  entity headquartered in Chicago, Illinois, it also coiiducts business in the state of Georgia

  with its offices located at 1100 Peachtree Street NE, Suite 700 Atlanta, GA 30309-4516

  and is, therefore, subject to the jurisdiction of this court.

          109.       Defendant Mark Davenport is in the business of audit and assurance in

  the State of Georgia. Defendaiit.Mark Davenport's business in Georgia and Tennessee

  includes, but is not limited to, overseeing audit and assurance•erigagements and audit

  and assurance staff.

          110.    Defendant Mark Davenport can be served with legal process through               ~
                                                                 I
  delivery of the Summons and Complaint in this action to him-at his place of employment
                                                                 ;
  at the address listed below.
                                                                     i

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  Defendant Name: Mark Davenport

  Defendant Name Address: BDO Memphis Office 6410 Poplar Ave, Suite 750,

  Intemational Place Phase Il, Meinphis, TN 38119, USA

  Defendant Name Phone Number: 901-684-2020

  Defendant Naine Email Add'ress: mdavenport@bdo.com

  Defendant Name Fax: 90I-680-7601

         111.    Service is requested at this time,

                                   Defendant Johnson Wong

         112.    Defendant •Johnson Wong is a New York resident and an Assurance

  Partner in the BDO USA, LLP New York Park Avenue office. Although BDO USA,

  LLP is a Delaware entity lieadquartered in Chieago, illinois, it also conducts busiiiess in

  the state of Georgia with its offices located at 1100 Peachtree Sti'eet NE, Suite 700

  Atlarita, GA 30309-451.6 and is, therefore, subject to the jurisdiction of this court.

         113.    Defendant Johnson Wong is in the business of audit and assurance in the

  State of Georgia and New York. Defendant Mark Davenport's business in -Georgia and

  New York includes, but is not limited to, overseeing audit and assurance engagements

  and audit and assurance staff.

         114.    Defendant Johnson Wong can be served with legal process through

  delivery of the Summons and Complaint in this action to him at his place of employmerit

  at the address listed below.

  Defendant Name: Johnson Wong                          ~
                                                       I
  Defendant Name Address: BD.O New York - Park Avenue Office, 100 Park Avenue,

  New York, NY 10017, USA
                                                                    i
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  D.efendant Name Phone Number: 212-885-7380

  Defendant Name Email Address: jwong@bdo.com

  Defendant Name Fax: .212-697-1299

          115.    Service is requested at this time.                                          I
                                                                                              I
                                  Defendant Justin Mungal
                                                                                              ~
          116.    Defendant Justin Mungal is a Fulton County, Georgia resident residing

  at 1280 West Peachtree ST NW Unit 2108, Atlanta, GA 30309 and is subject to the

  jurisdiction of this court.

          117.    Defendant Justin Mungal's Linkedln profi'le identifies him as an            ~
                                                                                              ~
  Information Teclinology professional in the state of Geoi`gia. De:fendant Justin Mungal's

  has also stated to the Plaintiff that he worked for BDO USA, LLP.

          118.    Defendant Justin Mungal can be served with legal process through

  delivery of the Summons and Complaint in this action to hirri at his place of residen.ce    ;

  at the address listed below.

  Defendant Name: Justin Mungal

  Defendant Name Address: 1280 ViWest Peachtree ST NW Unit 2108 Atlanta, GA 30309,
                                                                                              ~
  USA                                                                                         ;

          119.    Service is requested at this time.

                      Defendant Beacon Managernent Services, LLC                                  ~
                                                                                              I
          120.    Defendant Beacon Management Services, LLC is a Georgia Limited

  Liability Company with a business address located at 6285 Barfield Road, Suite 1 S0,
                                                                  ;                           1
  Atlanta, GA., 30328, USA and is subject to the jurisdiction ; of this court. Beacon




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  Management Services, LLC is listed as the registered agent for the I280 West

  Condominiiirn Association. Plaintiff lives in the 1280 West Condominium building.

          121.    Defe►idant Beacon Management Services, LLC is in the business of

  residential property management in the State of Georgia. Defendant Beacon               ~

  Management Services, LLC's business in. Georgia includes, but is not limited to,

  managing resideritial rea•1 estate for others.

          122.    Defendant Beacon Management Services, LLC can be served with legal

  process through delivery ofthe Summons and Complaint in this action to his Registered

  Agent at the address filed with the Secretary of State at the address below:

  Registered Agent Naine: Steven Lynn Weibel

  Registered Agent Name Address: 8535 Sentinae Chase Drive, Roswell, GA, 30076-

  4465, USA

  Registered Agent Naine Email: sweibel@beaconmanagenientservices.com

         123.     Service is requested at this time.
                                                                                          ~
                                  Defendant Lisa Simmons

          124.    Defendant Lisa Simmons is a Georgia resident and the President of
                                                                                          I
  Beacon Management Services, :I.LC. Beacon Management Serv.ices, LLC provides

  property management services such as accounting and ;financial services for             E

  condominiums, HOA management services, concierge services, condominium

  management, consulting and asset management, maintenance services, technology, and

  tenant tracking to the 1280 West Condominium Association and is subject to the          i
                                                                  i
  jurisdiction of this court. Plaintiff lives in the 1280 West Condomiriium building.




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         125.    Defendant Lisa Simmons is in the business of providing property              I

  management services in the State of Georgia. Defendant Lisa. Simmons's business in

  Georgia includes, but is not limited to, the following: accounting and financial services   ~

  for condominiums, HOA management services, concierge. services, condominium                 I

  management, consulting and asset management, maintenance services, teclinology, and

  tenant tracking.                                                                            ~

         126.    Defendant Lisa Simmons can be served with' legal process through

  delivery of the Summons and Complaint in this action to her at lier place of employment

  at the address listed below.

  Defendant Name: Lisa Simmons

  Defendant Name Address: 6285 Barfield Road, Suite 150, Atlanta, GA 30328, USA

  Defendant Name Phone Number: (404) 907-2112

  Defendant Name Email Address: lsimmons@beaconmanagementservices.com

         127.    Service is requested at this time.

                                 Defendant Steven Weibel

         128.    Defendant Steven Weibel is a Georgia resident and the Chief Executive

  Officer of Beacon Management Services, LLC. Beacon Management Services, LLC

  provides property management services such as accounting arid financial services for

  condominiums, HOA management services, concierge services, condominiuin

  management, consulting and asset management, maintenance sei-vices, technology, and

  tenant tracking to the 1280 West Condominium Association and is subject to the              ~
                                                                  ,                           !

  jurisdiction of this court. Plaintiff lives in the 1280 West Condorninium building.




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          129.    Defendant Steven Weibel is in the business ! of providing property

  management services in the State of Georgia. Defendant Steven Weibel's business in

  Georgia includes, but is not limited to, the following: accounting and financial services

  for condominiums, HOA management services, concierge services, condominium                  f

  management, consulting and asset management, maintenance services, technology, and          ~
                                                                                              ~
                                                                  .                           ;
  tenant tracking.                                                                            i

          130.    Defendant Steven Weibel can be served witli legal process through

  delivery of the Suminons and Complaint in this action to him at his place of employment

  at the address listed below.

  Defendant Name: Steven Weibel

  Defendant Name Address: 6285 Barfield Road, Suite 150, Atlahta, GA 30328, USA

  Defeiidant Name Phone Number: (404) 907-2112                                                i
                                                                                              I
  Defendant Name Email Address: sweibel@beaconmanagementserv.ices.com                         !

          131.    Service is requested at this time.

                                 Defendant Michael Shinners
                                                                                              ,

          132.    Defendant Michael Shinners is a Georgia resident and is the General         ~

  Manager for the 1280 West Peachtree ST N W Unit 2109, Atlarita, GA 30309. Defendant         ~

  Michael Shinners works for Beacon Management Services, LLC and is subject to the

  jurisdiction of this court.

          133.    Defendant Michael Shinners' business in Georgia. includes, but is not

  limited to, the following: accounting and financial services for condominiums, HOA          ~

  management services, concierge services, condominium management, consulting .and            I

  asset manageinent, maintenance services, technology, and tenant tracking.
                                                                 i

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          134.    Defendant Michael Shinners can be served with legal process through

  delivery of the Summons and Coinplaint in this action to him at his place of employment

  at the address listed below.                                                              ~
                                                                                            I
  Defendant Name: Micliael Shinners                                                         I
                                                                                            I
  Defendant Name Address: 1280 Management Office, 1280 West Peachtree ST NW                 ~

  Atlanta, GA 30309 USA

  Defendant Name Phone Number: 404-873-2582 ext.13

  Defendant Name Einail Address: mshinners@1280westhoa.com

          135.    Service is requested at this time.

                  Defendant 1280 West Condominium Association, Inc.

          136.    Defendant 1280 West Condominium Association, Inc, is .a Georgia           I

  Domestic Nonprofit -Corporation with a business address located at 6285 Barfield Road,

  Suite 150, Atlanta, GA, 30328, USA.

          137.    The 1280 West Condominium Association operates out of the 1280 West

  Condominium building located at 1280 West Peachtree ST NW, Atlanta, Georgia 30306

  and is subject to the jurisdiction of:this court.

          138.    Defendant 1280 West Condominium Association, lnc. is a nonprofit

  corporation incorporated in the State of Georgia. Defendant 1280 West Condominium

  Association, Inc.'s business in Georgia includes, but is not limited to, the following:

  administering the Condominium, establishing the means and methods of collecting the

  contributions to the Common Expenses, arranging for the management of the

  Condominium and performing all of the other acts that may be r.equired to be performed



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  by the Association pursuant to the Georgia Cbndominiuin Act, the Georgia Nonprofit

  Corporation Code, and the 1280 West Declaration of'Condominium.

         139.    Defendant 1280 West Condominium Associatiori, Inc. can be served with

  legal process through delivery of the Summons and Gomplaint in this action to his

  Registered Agent at the address filed with the Secretary of State at the address below:     I
                                                                                              ~
  Registered Agent Name: Beacon Management Services I,LC

  Registered Agent Name Address: 6285 Barfield Road, Suite 1:50, Atlanta, GA 30328,

  USA

  Registered Agent Name County: Fulton

         140.    Service is requested at this time.

                                 Defendant Micah Kurtzberg                                    ~


         141.    Defendant Micah Kurtzberg is a Fulton County, Georgia resident who

  resides at 1280 West Peachtree ST NW Unit 3905, Atlanta, GA 30309 and is subject to

  the jurisdiction of this court. Defendant Micah Kurtzberg is one of 'the five . board       i

  members sitting on the 1280 West Condominium Board. Plaintiff lives in the 1280 West        ;

  Condorninium building.                                                                      ~

         142.    Defendant Micah Kurtzberg is in the business of: financial services in the   ;
                                                                                              i
  State of Georgia. Defendant Micah Kurtzberg's business in Georgia includes, but is not      ~

  limited to, the following: providing banking related services for Wells Fargo.

         143.    Defendant Micah Kurtzberg can be served with legal process through           ~

  delivery of the Summons and .Complaint in this action to him at his place of residence      '

  af the address listed below.

  Defendant Name: Micah Kurtzberg
                                                                     ~


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                                                                     I                        ~




  Defendant Name Address: 1280 West Peachtree ST NW Unit 3905, Atlanta, GA 30309,             ~

  USA

  Defendant Email Address: micah.i.kurtzb.erg@wellsfargo.com

         144.    Service is requested at this time.                                           :
                                                                                              i
                                 Defendant Ronnie Bridges

         145.    Defendant Ronnie Bridges is a Fulton County, Georgia resident who

  resides at 1280 West Peachtree ST NW Unit 3901, AtIanta, GA 30309 and is subject to

  the jurisdiction of this court. Defendant Ronnie Bridges is one of the five board members

  sitting on the 1280 West Condominium Board. Defendant Ronnie Bridges is also the

  Secretary of the 1280 West Condominium Association. Plaintiff lives in the 1280 West

  Condominiurn building.

         146.    Defendant Ronnie Bridges is in the business of construction in the State

  of Georgia. Defendant Ronnie Bridges' business in Georgia includes, but is not liinited
                                                                                              i
  to., the following: Maintenance Maiiager at Strategic Materials.

         .147.   Defendant Ronnie Bridges can be served with fegal process through            '

  delivery of the Summoris and Coinplaint in this action to him at his place of residerice

  at the address listed below.

  Defendant Name: Ronnie Bridges

  Defendant Name Address: 1280 West Peachtree ST NW Unit 3901 Atlanta, GA 30309,

  USA
                                                                     ~
         148.    S.ervice is requested at this time.                 i

                                 Defendant Brett Dettmering          ;




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                                                                  i
                                                                  I                         ~




         149.    Defendant Brett Dettmering is a Georgia resident who resides at 966        l
                                                                                            ~

  Ferneliff Rd NE, Atlanta GA 30324 and is subject to the jurisdiction of this court.

  Defendant Brett Dettmering was one of the five board members sitting on the 1280 West

  Condominium Board. Defendant Brett Dettmering served as the President of the 1280

  West Condominium Association for part of the year 2021 when the claims of the
                                                                                            i

  Plaintiffs occurred.

         150.    Defendant Brett Dettmering is in the business of accounting in the State

  of Georgia. Defendant Brett Dettmering's business in Georgia includes, but is not

  lirnited to, the following: accounting and financial analysis for Georgia Pacific.

         15.1.   Defendant Brett Dettmering can be served with legal process through

  delivery of the Summons and Coinplaint in this action to him at his place of residence

  at the address listed below.

  Defendant Name: Brett Dettmering

  Defendant Name Address: 966 Ferncliff Rd NE, Atlanta GA 30324, USA

         152.    Service is requested at this time.

                                 Defendant Michaei Shaffer

         153.    Defendant Michael Shaffer is a Fulton County, Georgia resident who

  resides at 1280 West Peachtree ST NW Unit 3609, Atlanta, GA 30309, and is subject to

  the jurisdiction of this court. Defendant Michael Shaffer is one of the five board

  members: sitting on' the 1280 West Condominium Association Board. Defendant

  Michael Shaffer is also the Chief Financial Officer {"CFO") of the 1280 West

  Condominium Association. Plaintiff lives in the 1280 West Condominitim building.

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          154.    Defendant Michael Shaffer can be served with legal process through
                                                             i
  delivery of the Summons and Complaint in this action to him at his place of residence

  at the address listed below.

  Defendant Name: Michael Shaffer

  Defendant Natne Address: 1280 West Peachtree ST NW Unit 3609, Atlanta, GA 30309,

  USA
          155.    Service is requested at this time.

                                  Defendant Rohan Rupani

          156.    Defendant Rohan Rupani is a Fulton County, Georgia resident who

  resides -at 1280 West Peachtree -ST NW Unit 3608 Atlanta, GA 30309 and is subject to

  the jurisdiction of this court. Defendant Rohan Rupani is one of the five board meinbers

  sitting on the 1280 West Condominium Association Board. Defendant Rohan Rupani is

  also the Chief Executive Officer ("CEO") of the 1280 West Condominium Associatiori.        j

  Plaintiff lives iin the 1280 West Condominium building.

         157.    Defendarit Rohari Rupani is iri the business of real estate law for the
                                                                                             ~
  mortgage industry in the State of Georgia. Defendant Rbhan Rupani's business in            i

  Georgia includes, but is not limited to, the following: creditor's rights and debtor
                                                                                             I
                                                                                             i
  collection real estate law for Albertelli. Law.                                            I

         .158.   Defendant Rohan Rupani can be served with legal process through             I

  delivery of the Summons and Complaint in this action to him at his place of residence      ~
                                                                ,                            I
  at the address listed below.                                                               ~

  Defendant Name: Rolian Rupani




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  Defendant Name Address: 1280 West Peachtree ST N W Unit 3,608 Atlanta, GA 30309,

  USA
         1.59.   Service is requested at this time.

                             Defendant Finch McCranie, LLP                                  ~
                                                                                            i
         160.    Defendant Finch McCranie is a Georgia Limited Liabi'lity Partnership       4
                                                                                            i
  with a business address located at 225 Peachtree St NE #1700, Atlanta, GA '30303.

         161.    Defendant Finch McCranie is a Georgia trial lawyers firm handling

  personal injury and wrongful death cases, whistleblower cases, and federal criminal       ;

  cases in the white-collar area. Finch McCranie also represents companies, boards of

  directors, and individuals in SEC investigations and prosecutions, and in corporate

  governance, internal investigations, and compliance matters.

         162. * Plaintiff Raissa Djuissi Kengne signed the engagement letter with

  Defendant Finch McCranie on June 21 S`, 2021. A few .months later Finch McCranie

  resigned as the attorney on the Plaintiff°s case.                                         ~

         163.    Defendant Finch MeCranie can be served with legal process through          i
                                                                                            ,
  delivery of the Summons and Complaint in this action at its principal place of business   ;

  located at the address below:                                                             i

  Finch McCranie Partner Name:. Richard W. Hendrix Partner

  Finch McCranie Address: 225 Peachtree St NE #-1700, Atlanta,- GA 30303, USA

  Email; rhendrix@finchrnccranie.com

  Telephone: (404} 658-9070                                      ~

         164.    Service is requested at this time.              ~


                                Defendant li'Iichael Sullivan
                                                                 I
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          165.    Defendant Michael Sullivan is a Georgia resident and attorney subject to

  the jurisdiction of this court. Defendant Micliael Sullivan is an attorney admitted to the

  bar in the state of Georgia and whose area of law include health law labor and

  einployment law. Defendant Michael Sullivan works at Finch McCranie. Plaintiff

  initially retained the services of Finch McCranie to represent her in her whistleblower

  case. Defendant Michael Sullivaii breached the client-attorney privilege and divulgated

  the content of the conversations to BDO USA, LLP.

          166.    Defendant Michael Sullivan is in the bttsiness of health 1aw labor and

  employmerit law in the State of Georgia. Defendant Michael Sullivan's business in            ;

  Georgia includes, but is not litnited to, the following: Whistleblower False Claims Act

  (Qui Tam litigation), SEC Whistleblower aiid CFTC Whistleblower claims, IRS

  Whistleblower claims, and Whistleblower Employment Law.

          167.    Defendant Michael Sullivan can be served with legal process through

  delivery of the Summons and Complaint in this action to him at his piace of employmeiit

  at tiie address listed below.

  Defendant Name: Micliael Sullivan

  Defendant Michaei Suilivan Address: 225 Peachtree .ST. NE, Suite 1700, Atlanta, GA

  30303, USA

  Defendant Michael Sullivan Phone Number: 404-658-9070

  Defendant Michael Sull'ivan Email Address: msullivan@finchmccranie.com

  Defendant Michael Sullivan Fax Number: (404) 688-0649           j
                                                                  I
         168.    Service is requested at this tirrie.

                                  Defendant Waltec Jospin         ;


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         169.    Defendant Walter Jospin is a Georgia residentarid attorney subject to.tlie   I
                                                                                              i
  jurisdiction of this court. Defendant Walter Jospin is an attorney admitted to the bar in
                                                                                              ~
  the state of Georgia and whose area of law includes SEC and other securities regulatory     I

  enforcement matters, corporate govemance, internal investigations, and SEC                  ~
                                                                                              ~
  Whistleblowec Claims. Defendant Walter Jospin is a Partner at Fincli McCranie.              ~

  Plaintiff initially retained the services of Finch McCranie to represent her in her

  whistleblower case. Defendant Walter Jospin breached the clieiit-attorney privilege and

  divulgated the coritent of the conversations to BDO USA, LLP.

         170.    Defendant Walter Jospin is in the business of corporate and securities       i

  laws in the State of Georgia. Defendant Walter Jospin's business in Georgia includes,

  but is not limited to, the following: white collar crime, securities law, and stockbroker
                                                                                              ~
  and investinent fraud.                                                                      ,
                                                                                              ~
         171.    Defendant Walter Jospin can be served with legal process through

  delivery of the Summons and Complaint in this action to him at his place of employment

  at the address listed below.

  Defendarit Naine: Walter Jospin

  Defendant Walter Jospin Address: 225 Peachtree St NE, Suite 1700, Atlanta, GA 30303,

  USA

  Defendant Walter Jospin Phone Number: 404-658-9070

  Defendant Walter Jospin Email Address: wjospin@finchmccranie.com

  Defendant Walter Jospin Fax Number: (404) 688-0649

         172.    Service is requested at this time.

                                 Defendant Interface, Inc.
                                                                  ~
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          173.    Defendant lnterface, Inc. is a Georgia Profit Corporation with a business

  address at 1280 West Peachtree St NW, Atlanta, GA 30309 and is subject to the                   ;

  jurisdiction of this court. Interface, Inc., is a global manufacturer of commercial flooring.

  Defendant Interface, Inc. also manufactures and sells floor coverings in the State of

  Georgia. Its headquarters are located in Fulton County, Georgia.

          174.    lnterface is a publicly traded company on the Nasdaq stock exchange

  under the ticker TILE. Plaintiff asserts BDO USA, LLP is the continuing public

  accounting frm that performs the SOX audit for Interface.

          175.    A public company with a class of securities registered under either

  Section 12 or whicli is subject to Section 15(d) of the Securities Exchange Act of 1934,

  as amended ("~Exchange Act") must file reports with the SEC. The underlying basis of

  the Reporting Requirements is to keep shareholders and the markets informed on a

  regular basis iri a transparent manner. The required reports include an annual Form 10-
                                                                                                  i
  K, quarterly Form l OQ, and current petiodic Form 8-K as well as proxy reports .aud
                                                                    .                             i

  certain shareholder and affiliate reporting requirements. Plaintiff asserts Interface, as a     j

  public company with stocks traded on the Nasdaq stock market,, must comply with these

  requirements.

          176.    A reportirig company, like Interface, also has record keeping

  requirements, must implement internal accounting controls and is subject to the

  Sarbanes-Oxley Act of 2002, including the CEO and CFO certifications requiremetits

  and independent auditor requirements. Under the CEO ;and CFO certification

  requirement, the CEO and CFO must personally certify the content of the reports filed

  with the SEC and the procedures established by the issuer to report disclosures and


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  prepare financial statements. Plaintiff asserts Interface, as a pub'lic company with stocks

  traded on the Nasdaq stock market, must comply with these reqiiirements.

         177.    Section 302 of the Sarbanes-Oxley Act requires that CEOs and CFOs

  must certify in each annual and quarterly report that the officer has reviewed the report,

  that based on the officer's knowledge the report does not contain any untrue statement           '

  of a material fact or omit to state a necessary material fact, and that based on the officer's

  knowledge, the financial statements and other financial information included in the

  report fairly present in all material respect the financial condition and results of

  operations of the issuer. Plaintiff identified material weaknesses in the internal controls      ;

  when performing the relevant procedures to test Information Technology General
                                                                                                   ;
  Controls ("ITGCs"). These material weaknesses were not adequately evaluated by BDO               ;
                                                                                                   I
  USA, LLP's auditors and communicated to Interface's management.                                  ~

          178.    Section 302 of the Sarbanes-Oxley Act also requires tliat the assigning          '
                                                                                                   I

  officers must also attest that they are responsible for establishing and maiiitaining            '

  internal controls, that they have designed such controls to ensure that material

  information is made known to the officers, that they have presented their conclusions

  about the effectiveness of those controls in the report, and they have disclosed both to

  the outside auditors and to the company's audit committee: all signiftcant deficiencies in

  the design or operation of internal controls, which could adversely affect the issuer's

  ability to record, process, suinmarize and report financial data; and any fraud, whether

  or not material, involving any ennployee who has a significant role in the issuer's internal

  controls. The signature by the CEO and CFO on the certification should represent the

  end of a process that is rigorous, infoi-med, careful, demonstrable, and dependable.

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                                                                    i




  Plaintiff asserts that Interface's management signed off on certifications filed with the

  SEC that were materially misrepresented because several material weaknesses were not

  identified by Interface and BDO USA, LLP until the Plaintiff started performing the

  audits.

            179.   On Septernber 28`h, 2020, the Securities and Exchange Commission

  settled actions against interface for violations that resulted in the improper reporting of

  quarterly earnings per share (EPS) that met or exceeded analyst consensus estimates.

  The SEC's order against Interface Inc., a Georgia-based modullar carpet manufacturer,

  finds that in multiple quarters in 2015 and 2016, the company made unsupported, manual
                                                                                                i
  accounting adjustments that were not. compliant with GAAP. These adjustments were             i

  offten made wlien Interface's intenial forecasts indicated that the company would likely

  fall short of analyst consensus EPS estimates. The order finds that the adjustments

  boosted the company's income, making it possible for Interface .to consisteritly report

  earnings that met or exceeded consensus estimates. According to the order, Interface'-s

  former Controller and Chief Accounting Officer Gregory J. Bauer directed the

  unsupported adjustments, including those made to managem.ent bonus accruals and
                                                                                                I

  stock-based compensation accounts. The order also finds that ,Interface's former CFO          i
                                                                                                I

  Patrick C. Lynch caused Bauer to direct some of the unsupported entries." Plaintiff

  asserts the unethical behavior at Interface -continues as evidenced by the retaliation she

  faced.

            180.   Defendant Interface, Inc. can be served with legal process through

  delivery of the Summons and Complaint in this action to his ~egistered Agent at the
                                                                        ~

  address filed with the Secretary of State at the address below:

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  Registered Agent Name: Corporation Service Company

  Registered Agent Name Address: 2 Sun Court, Suite 400, Peachtree Corners, GA 30092,

  USA
  Email: latirel.hurd@interface.com

         181.    Service is requested at this time.

                      Defendant Atlanticus Holdings Corporation

         182.    Defendant Atlanticus is a Georgia profit corpbration with a business

  address at 5 Concourse Pkwy, Suite 300, Atlanta, GA 30328 and is subject to the

  jurisdiction of this court. Atlanticus is a financial holding company, which engages in

  the provision of financial technology and related services. It operates through the Credit

  and Other Investments segment arid the Auto Finance segmerit. Tlie Credit and Other

  Investments segment includes point-of-sale and direct-to-consumer fnance operations,
                                                                                               ;
  investments in and servicing of its credit card receivables portfolios, product

  developrnent, and limited investment in consumer finance technology platfonns that

  capitalize on its credit infrastructure. The Auto Finance segment offers purchases and

  services loans secured by automobiles from or for a pre-qualified network of

  independent automotive deaiers and automotive finance companies in the buy-here, pay-

  here used car business.

         183.    Defendant Atlanticus is a publicly traded company on the Nasdaq stock

  exchange under the ticker ATLC. Plaintiff asserts BDO USA, LLP is the continuing

  public accounting firm that performs the SOX, audit for Atlanticus.                          ;
                                                                  i
         184.    A public company with a class of securities; registered under either
                                                                  ~
  Section 12 or which is subject to Seetion 15(d) of the Secuiities Exchange Act of 1934,
                                                                  i
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  as amerided ("Exchange Act") must file reports with the SEC: ,The uriderlying basis of

  the Reporting Requirements is to keep shareholders and the markets informed on a

  regular basis in a transparent manner. The required reports include an annual Fonn 10-           i

  K, quarterly Fonn IOQ, and current periodic Fonn 8-K as well as proxy reports and
                                                                                                   I
  certain shareholder aiid affiliate reporting requirements. Plaintiff asserts Atlanticus, as a    ~

  public company with stocks traded on Nasdaq stock market, must comply w.ith these

  iequirements.

         185.     A reporting coiiipany, like Atlanticus, also has record keeping

  requirements, must implement internal accounting controls and is subject to the

  Sarbanes-Oxley Act of 2002, including the CEO and CFO certifications requirements

  and independent auditor requiremeiits. Under the CEO and CFO certification

  requirement, the CEO aiid CFO must personally certify the content of the reports filed

  with the SEC and the procedures established by the issuer to report disclosures and

  prepare financial statettlents. Plaintiff asserts Atlanticus, as a public cornpany with          ~
  stocks traded on Nasdaq stock rriarket, must comply with.these, requiremen[s.

          186.    Section 302 of the Sarbanes-Oxley Act requires that CEOs and CFOs

  must. certify in each annual and quarterly report that the officer has reviewed the report,

  that based on the officer's knowledge the report does not contain any untrue statement

  of a material fact or omit to state a necessary material fact, and that based on the officer's

  knowledge, the financial statements and other financial information included in the

  report fairly present in all material respect the financial conditioii and results of

  operations of the issuer. Plaintiff identified material weaknesses in the internal controls

  when performing the relevant procedures to test lnformation Technology General

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  Controls. These tnaterial weaknesses were not adequately e,aluated by BDO USA,

  LLP's auditors and communicated to Interface's management. '

            187.   Section 302 of the Sarbanes-Oxley Act also requires that the assigning
                                                                                                     ~i
  officers must also attest tliat they are responsible for establishing and maintaining
                                                                   '                             `   I
  internal controls, that they liave designed such controls to ensure that material                  ~

  infonnation is made known to .the officers, that they have presented their conclusions             ~

  about the effectiveness of those controls in the report, and they have disclosed both to

  the outside aiiditors and to the company's audit committee: all significant deficiencies in

  the desigii or operation of intei-nal controls, which could adversely affect the issuer's
                                                                   ,



  ability to record, process, sunimarize and report hnancial data; and any fraud, whether            ~

  or not material, involviiig any employee who has a significant role in the issuer's internal       ►

  controls. The signature by the CEO and CFO- on the certification should represent the

  end of a process that is rigorous, informed, careful, demonstrable, and dependable.

  Plaintiff asserts that Atlanticus' management signed off on certifications filed with the          ~

  SEC that were materially misrepresented because several matetial wealcnesses were not
                                                                                                     ~
  identified by Atlanticus and BDO USA, LLP until the Plaintiff started perforrriing the             ~
  audits.

            188.   Defendant Atlanticus can be served with legal process through delivery

  of the Summons and Complaint in this action to his Registered Agent at the address filed

  with the Secretary of State at the address below:

  Registered Agent Name.: Corporation Service Company                                                i
                                                                   I                                 ~
  Registered Agent Name Address: 2 Sun Court; Suite 400, Peachtree Corners, GA 30092

  Email: jeff.howard@atlanticus.com


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  Phone Number: (770) 828-2000

         189.    Service is requested at this time.

                                   Defendarit Kas Naderi       I

         190.    Defendant Kas Naderi is the Chief Inforffiation Officer ("C10") at        '
                                                                                           I

  Atlanticus. Defendant Kas Naderi threatened Plaintiff during the PCAOB inspection of

  Atlanticus.

         191.    Defendant Kas Naderi is in the business of Information Technology in

  the State of Georgia.

         192.    Defendarit Kas Naderi can be served with legai process through delivery
                                                                                           i

  of the Summons and Complaint in this action to him at his place of employment at the
                                                               ,                           1

  address listed below.

  Defendant Name: Kas Naderi

  Defendant Kas Naderi Address: 5 Concourse Pkwy ##300,. Atlanta, GA 30328; USA

  Defendant.Kas Naderi Phone Number: (770) 828-2000                                        ~
                                                                                           1
                                                       .                                   `

  Defendant Kas Naderi Email Address: kas.naderi@atlanticus.com

         191     Service is requested at this ti►ne.                                       ~

                 Defendant SPAR Group, Inc. (NMS SPAR) ("NMS")                             ~

         194.    Defendant NMS is a Georgia Profit Corporation with a business address     ~

  at 350 Stonewall Ave. W., Fayetteville, GA, 30214, USA, and is subject to the            I
                                                                                           i
  jurisdiction of this court. Defendant NMS primarily operates in the merchandising        I
                                                                                           ~~

  consultant business industry within the engineering, accounting, research, and           ~

  management services sector.                                  ~




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         195.   National Merchandising Services, LLC ("NMS"), is a consoiidated

  domestic subsidiary of SPAR Group, Inc. ("SPAR") and is owned jointly by SPAIt

  through its indirect ownership of 51% of the NMS membership interests and by National

  Merchandising of America, Inc. ("NMA"), through its ownership of the other 49% of

  the NMS membership interests. Mr. Edward Burdekin is the Chief Executive Officer

  and President and a director of NMS and is also an executive officer and director of

  NMA. Ms. Andrea Burdekin, Mr. Burdekin's wife, is the sole stockholder and a director

  of NMA and a director of NMS. NMA is an affiliate of the Coinpany, but is not under

  the control of or consolidated with the Company. Mr. Burdekin also owns 100% of

  National Store Retail Services ("NSRS").

         I96.    Defendant NMS is, a subsidiary of SPAR Group, Inc ("SPAR"). SPAR's

  stocks are traded on the Nasdaq stock market under the ticker SGRP. SPAR provides

  marketing .and sales solutions. SPAR serves grocery stores, drug stores, and mass

  merchandiser stores with retail merchandising. SPAR also offers incentive marketing,

  teleservices, database marketing; and marketing research services.

         197.    SPAR presents consolidated financial statements with NMS and files the

  required statements with the SEC. Plaintiff asserts BDO USA, LLP is the continuing

  public accounting firm that performs the SOX audit for SPAR and NMS.

         198.    Defendant NMS can be served with legal process through delivery of the

  Surrimons and Coinplaint in this action to his Registered Agent at the address filed with

  the Secretary of State at the address below;                   ,

  Registered Agent Name: Edward S. Burdekin




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  Registered Agent Name Address: 350 StonewaIl Ave. W. Ste B, Fayetteville, GA,

  30214, USA

  Email: ed.burdekin@nms.com                                         '

  Cell Phone: (800) 401-7976

         199.    Service is requested at this time.

    Defendant BioHorizons. lmplant Systems, lnc. (An Henry Schein Subsidiary)

         200.    Defendant BioHorizons is a Delaware corporation with a business

  address at 2300 Riverchase Center, Birmingham, AL 35244, USA. BioHori'zons Implant

  Systems, Inc. manufactures and sells advanced dental implant technologies and tissue

  regeneration products. BioHorizons offers dental implants, restorative and laboratory

  components, soft and liard tissue biologic products, dental implant systems, prosthetics,   ~

  dental instruments, and motors. B.ioHorizons Implant Systems, operates in the State of

  Alabama and sells its products nationally, including in the state of Georgia. Plaintiff

  asserts that the SOX audit of BioHorizons is performed by the BDO USA, LLP's Atlanta        ~
                                                                                              I
                                                                                              I
  offrce located in Fulton County.                                                            i

         201.    Defendant BioHorizons is a subsidiary of Henry Scliein, Inc.

  Henry Schein, Inc.'s stocks are traded on the Nasdaq stock market under the ticker          i
                                                                                              i
  HSIC. Henry Schein, Inc. is an Arnerican distributor of health care products and services   ~

  with headquarters located in Melville, NY.                                                  ~

         202.    BioHorizons was a publicly traded company from 2017 to 2021.

         203.    A public company with a class of securities ! registered under either

  Section 12 or whicli is subject to Section 15(d) of the Securities Exchange Act of 1934,

  as amended ("Exchange Act") must file reports with the SEC. The underlying basis of

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                                                                 i
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  the Reporting Requirements is to keep shareholders and the imarkets informed on a
                                 .

  regular basis in a transparent manner. The required reports incl~ude an annual Form 10-

  K, quarterly Fon1i IOQ, and current periodic Form 8-K as well as proxy reports and              ~

  certain shareholder and affiliate reporting requirements. Plaintiff asserts BioHorizons,

  as a public company must comply with these requirements.

         204.    A reporting company like BioHorizons also has record keeping

  requirements, inust implerrient internaI accounting controls and is subject to the

  Sarbanes-Oxley Act of 2002, including the CEO and CFO certifications ,requirements

  and independent auditor requirements. Under the CEO and CFO certification                       ~
                                                                                                  ~
  requirement, the CEO and CFO must personally certify the content of the reports filed           i

  with the SEC and the procedures established by the issuer to reportt disclosures and            i
                                                                                                  ~

  prepare finandial statements.. Plaintiff asserts BioHorizons, as a public company miast         ~
                                                                                                  i
                                                                                                  i
  comply with these requirements.                                                                 ~

         205.
         I
                 Section 302 of the Sarbanes-Oxley Act requires that CEOs and CFOs

  must certify in each annual and quarterly report that the officer'has reviewed the report,

  that based on the officer's knowledge the report does not contain any unti-ue statement

  ofa material fact or omit to state a necessary material fact, and that based on the officer's

  knowledge, the financial statements and other fnancial infoi-mation included in the

  report fairly present in all material respect the financial condition and results of

  operations of the issuer. Plaintiff identified material weaknesses in the internal controls

  when performing the relevant procedures to test Informatii n Technology General

  Controls. These material weaknesses were not adequately evaluated by BDO USA.,

  LLP's auditors and communicated to BioHorizons' management.
                                                                    ~

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                                                                                                  I
                                                                                                  ,


                                                                                                  I


                                                                                                  i



          206.   Section 302 of the Sarbanes-Oxley Act also requires that the assigning

  officers must also attest that they are responsible for establishing and maintaining•

  internal controls, that they have designed such controls to ensure that material                    j

  information is made k.nown to the offcers, that they have presented their conclusions

  about the effectiveness of those controls in the report, and they have disclosed both to        ~

  the outside auditors and to the company's audit committee: all si,gnificant deficiencies in     ~

  the design or operation of interinal controls, which could adversely affect the issuer's
                                                                                                  i

  ability to record, process, summarize and report financial data;, and any fraud, whether

  or not material, involving any einployee who has a significant role in the issuer's iriternal   i

  controls. The signature by the CEO and CFO on the certification should represent the

  end ofa process that is rigorous, infonned, careful, dernonstrable; and dependable.

  Plaintiff asserts that BioHorizons' inanagement signed off on certifcations filed with          ~

  the SEC that were materially misrepresented because several material weaknesses were            !
                                                                                                  ~
  not identified by BioHorizons and BDO' USA, LLP until the Plaintiff started performing          ~
                                                                                                  ~
                                                                                                  ,
  the audits.

         207.    Defendant BioHorizons can be served witli legal process through

  delivery of the Summons and Complaint in this action to his Registered Agent at the

  address filed with the Secretary of State at the address below:

  Registered Agent Name: Corporation Service Company

  Registered Agent Name Address: 251 Little Falls Drive, Wilmington,.DE 19808
                                                                                                  !
  Email: sboggan@biohorizons.com                                                                  ~
                                                                    ,

  Phone Number: 302-636-5401

         208.    Service is requested at this time.                 i

                                                                    ~

                          _
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                                                                    I
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                                         iI.
                               JURISDICTION AND VENUE

         209.    This Court has subject matter jurisdiction over this case because the

  Plaintiff's unlawful, illegal, and criminal claims arise under the laws of the State of

  Georgia and the Uni.ted States. It has jurisdiction over the Plaint'iff's state law claims
                                                                                                 i
                                                                                                 i
  because they are so closely related to the federal claims as to form part of the same case     ;

  or controversy. See O.C.G.A § 15-6-8; 42 U.S.C.§§ I985,1986.

  Pursuant to O.C.G.A § 15-6-8, the superior courts have authority:

  (1) To exercise original, exclusive, or concurrent jurisdiction, as the case may be, of al.l

  causes,.both civil aiid criminal, granted to them by the Constitution and laws;

  (2) To exercise the powers of a court of equity;

  (3) To exercise appellate jurisdiction from judgments ofthe probate or magistrate courts

  as provided by law;

  (4) To exercise a general supervision over alI inferior tribunals and to review and correct,
                                                                                                 ~
  in the manner prescribed by law, the judgments of: (A) Magistrates; (B) Municipal              ~

  courts or councils; (C) Any inferior judicature; (D) Any person exercising judicial            I

  powers; and (E) Judges of the probate courts, except in cases touching the probate of

  wills and the granting of letters of administration, in which a jury must be impaneled;

  (6) To exercise such other porvers, not contrary to the Constitution, as are or may

  be given to such courts by law.

         210.    Venue is proper in this Cotirt because all or a substantial part of the         I
                                                                    i

  conduct and violations giving rise to the claims in the case, including the horrific



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  retaliatory practices and attacks against the plaintiff caused by the nature, form, and     j
                                                                                             '
  substance of the business several defendants are involved in occurred in the State of      i
                                                                                             I

  Georgia. See O.C.G.A § 14-2-510, O.C.G.A § 9-10-91, O.C.G.A § 9-10-93., O.C.G.A §          I

  9-10-31., and O.C.G.A § 9-10-'34.                                                          I

         211.    This Court has personal jurisdiction over all the'Defendants because the    I

  Defendants committed these violations in the State of Georgia. See O.C.G.A § 14-2-

  510, O.C.G.A § 9-10-91, O.C.G.A § 9-10-93, O.C.G.A § 9-10-31, and O.C.G.A § 9-10-

  34.

         212.    This Court has personal jurisdiction over all the Defendants because the

  Defendants in their official capacities at their place of employment and/or in their own

  capacity as individuals have .or have had ongoing and systematic contacts with Fulton

  County, have maintained offices in Fulton County, and reside in Fulton County, and

  have committed wrongful acts, which occurred within Fulton County, and which have

  had and continue to have a negative impact or effect on the Plaintiff who resides Fulton

  County.                                                                                    !

         213.    V.enue is proper in this Court because.Defendant Wesley Freenian resides

  in Fulton County, Georgia.

         2.14.   Venue is proper in this Coui-t because the majority of Defendants'

  residence is in Ftilton County, Georgia.

         215.    Venue is proper in this Court because Defendant BDO USA, LLP's

  principal address of business is in Fulton County, Georgia.                                I

         216.    Venue is proper in this Court because Defendant lnterface, Inc.'s

  headquarters are located in Fulton County, Georgia.

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                                                                                 f                                 '
         217.      Plaintiff Raissa Djuissi Kengne has standing to bring this Complaint in _
                                                                                                                   i
  Court because she has been, and continues to be, adversely affected by the illegal,
                                                                                                                   ~
  unlawful, and critninal actions of the Defendants.                                                               '
                                                                                                                   ,

         218.      Accordingly, venue is proper pursuant to Georgia C.ivil Practice and                            '
                                                                                                                   ,

  Corporations, Partnerships, And Associations Code § 15-6-8, O.C.G.A § 14-2-510,

  O.C.G.A § 9-10-91, O.C.G.A § 9-10-93, O.C.G.A § 9-10-31, azid O.C.G.A § 9-10-34.



                                       III.
                            STATEMENT OF RELEVANT FACTS

               The Plaintiff s Employment Corftract With BI)O USA, LLP

         219.      Plaintiff, Raissa Djuissi Kengne, was hired at BDO USA, LLP Atlanta

  office as •an IT Audit Manager in September 201.9 in the Assurance. practice.




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                    ~~                              (:~x: 312•85h 71M           Ct,icaw, iL 60611
         J.         .                               vnvw,bdo.[om                                                   ,




          PERSONAL &: CaNFIDENTIAL

          August 22, 2019

          Raissa Kengne
          'I2680 WesGPeacfitree;Street-Northwest
         s\par:tmenF 21 D9
         Attanta, Georgia 30309

          Dear Raissa:

         On bel4alf' of the partuitrs of DDO USA, LLP ("lSDO" .or the "Firm"), ! am;pleased to cxtend to
         you this offer of employmcnt .as a Maha~er, IT Audit in our Assurance piattice located In tlte
         Atlanta office. It Is aqttcipated•you witl 6egfn •your emptoyment on SGptember 3, 2019. The
         spetifics of this offer are, set forth below and in the accompanying attachmcnts.




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         220.    The non-disclosure agreement or confidentiality agreement does not

  trump whistleblower rights. The public policy protecting whistleblowers from

  retaliation, which is reflected in the Dodd-Frank Act and the Sarbanes-Oxley Act,

  precludes companies from interfering with or barring whistleblowing. In particular, an
                                                                  I

  SEC rule implementing the Dodd-Frank whistleblower reward program bars companies            ~
                                                               :                              ~
  from "enforcing, or threatening to enforce; a confidentiality agreement" to impede
                                                                                              i
                                                                                              I
  communicating with the SEC. 17 C.F.R. § 240.21:F-17.

         221.    Plaintiff Raissa Djuissi Kengne obtained the evidence presented herein

  in the normal course of her duties. Therefore, the Computer Fraud and Abuse Act

  ("CFAA") was not violated because Plaintiff accessed the computer and her previous

  einployer's docuinents to provide support for the whistleblower claims with

  authorization; the Plaintiff did not obtain information located in areas on the computer

  to which her access was prohibited.

                Issues with Public and Private Clients at BDO USA, LLP

         222.    When Plaintiff started at BDO USA, LLP; she noticed that the                 i

  workpapers for both pi•ivate clients and public clients were bding rolled forward year
                                                                                              !

  after year witliout doing the work or without doing the work with diie professional care.   ~

         223.    The public clients included B1ueLinx, Atlanticus, BioHorizons, and

  Interface. Interface had recently been under an SEC investigation and an executive

  employee at lnterface has been suspended. In addition, to the work being mostly rolled

  forward on BlueLinx, Atlanticus, BioHorizons, and Interface, 'the IT findings severity

  were not properly reported on B1ueLinx, Atlanticus, BioHorizons, Interface, and IZEA.
                                                                  I
  Wlien PIaintiff started performing the IT audits and noted significant deficiencies or

                                                                  ~
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 .material weaknesses, which would liave had for effect an adjustment in audit procedures,

  the results of the audit were disregarded by Defendant Wesley Freeman, iS Assurance

  Director, and intentionally reinoved from reporting as significant deficiencies and

  material weaknesses. Plaintiff noted that the issues at these public companies had been

  ongoing since 2016 because she only looked at workpaper files going back to 2016 for

  these clients.

                224.                    The audit metliodology at BDO USA, LLP requires that if significant

  deficiencies and/or material weaknesses are identified, the risk level must be adjusted to

  2.5 or 3.0 respectively. The risk leveI for the public company' engagements that are part

  of the subject matter of the whistleblower case liad remained to a risk level of 2.0

  throughout the audit.

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                225.                    Ptililic companies are required to have an independent audit in

  conformity with the SEC and PCAOB standards and regulations.
                                                                                                                        :
                226.                    The private clients included Janus, Dustex, FCCI, RSR Group, ProCare,

  Vacation Express, and many others. The issue with the IS audit work performed was



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  that several deficiencies that should have been identified as significant deficiencies or

  material weaknesses were actually identified as control deficiencies. Because they were

  never communicated to the finaiicial stateinents audit tearn as significant deficiencies or

  material weaknesses, the financial statements audit teams never adjusted their audit

  strategy and therefore, never addressed the risk of material misstatements due to

  ineffective IT general controls ("ITGCs"). Plaintiff noted that the issues at these private

  companies had been ongoing since 2017 because she only looked at workpaper files

  going back to 2017 for these private clients.

         227.    Private companies usually request audit reports because the banks

  require.an audit to loan substantial amounts of money.

         228.    FCCI is a private company, but an insurance company that is required

  to comply with Section 624.424(8), Florida Statutes by having an external independent

  CPA firm prepare the workpapers as required by Rule 690-137.002; Florida

  Administrative Code. FCCI IT audit has not been performed with due professional care

  since 2018. Plaintiff did not look at the workpapers prepared -before 2018. The right

  evidence was not requested and obtained in 2018. The right evidence was requested and

                                                                                                i
  obtained in 2019 and 2020, but the evidence was not properly tested and left out

  significant deficiencies and material weaknesses.                                             ;

         229.    Plaintiff has iiiformed the IS Assurance Director, Defendant Wesley

  Freeman, of the work that was not performed in roughly 75% of
                                                              ;
                                                                the public and private          ,


  engagements she oversaw in the BDO USA, LLP Atlanta office. Defendarit Wesley
                                                                   i                            I
  Freeman did not deny it. lnstead of fixing the issues going forward, Defendant Wesley




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  Freeman kept misreporting the IT findings to hide the signifiiant deficiencies and/or

  mater.ial weaknesses in the IS Assurance workpapers.                                                                                                        ,

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         230.             As Plaintiff took the stand of performing the 1S Assurance work with d'ue
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  diligence and refvsed to obey Defendant Wesley Freeman's tacit command to "stop
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  doing my . job so well" aS he stated one'day, Defendant Wesley Freeman launched a

  smear campaign against Plainti'ff. Defendant Wesley Freeman enlisted the assistanee of
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  junior associates to .attempt to smear her reputation. It wen;t so far that a Partner,

  Defendant Peter Popb, asked to talk to Plaintiff and stated th It he has never heard so

  many bad things .mentioned about someone's behaviot; usually what he hears .is the bad
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  work-someone does. In the:Plaintiff's case; it was the opposite. hese asso.ciates enlisted

  to smear Plaintiff's reputation were part of the group who'delil ered such a poor woik

  product as described above. Mcjst of the people responsible foi' executing the IT audit
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  (Ling Tang and Dale Drushella) ha,ve left the Company, probably because they could rio

  longer keep up with the fraud. Plaintiff refused to commit fraud and Plaintiff was

  targeted for it by Defendant Wesley Freeman. Defendant Wesley Freeman is not above

  lying to the PCAOB, the internal inspectors, and the Partners at BDO USA, LLP.

         231.    During a meeting with Defendant Scott Meier, the riew IS Assurance

  Principal, who started in 2021, Defendant Scott Meier led Plaintiff to understand that

  Defendant Wesley Freeman had accumulated a lot of good will with other Partners and

  Plaintiff may need more Partners to speak on Plaintiff's behalf.

         232.    Defendant Scott Meier, the new IS Assurance Principal, has noted and           '

  stated to Plaintiff that the IT findings were not evaluated apptopriately; they should have
                                                                                                ~
  been classified as significant deficiencies and material wealcnesses across the public and

  private engagements the Plaintiff inentioned.

         233.    The severity of the IT findings on Plaintiff's engagements was

  inappropriately reported, and therefore, audit procedures may uot have been performed

  to provide reasonable assurance that the financial statements were free from material

  misstatements due to error or fraud.

         234.    The SEC, PCAOB, and A1CPA standards and regulations were violated              ~
                                                                                                f
  on the clierit's engagements that Plaintiff managed.

                        Documentation of Audit Findings At BDO

         235.    When performing an audit, the list of IT findings or issues identified         ,

  during an audit must be documented in different documents at BDO USA, LLP. The IS             j

  Assurance team has three (3) documents where the results of the audit can be located.




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                                                                     i
                                                                     %
  The first one is the "1T Findings Summary" log, the second one is the "1C-80" form, and

  the thit•d document.is the "IC-81" form.

           236.     These three (3) documents containing the list of IT Findings must be

  reviewed by the IS Assurance/1T Audit team as well as the Assurance team. Both teams

  must sign-off on the "IT Findings Summary" log, the "IC-80" form, and the "IC-81"

  form.

           237.     The "I.T Findings.Summary" log, the "IC-80" fomi, and the "IC-81" forin

  are all saved in a document repository tool called APT. APT is BDO USA, LLP's global

  and proprietary audit software and documentation tool. Becau.s.e APT is a proprietary

  tool, BDO USA, LLP has access to alter the information, files, and/or data stored within

  APT. The information,provided to regulators, including, but not limited to the SEC, the

  PCAOB, and the AICPA comes from the APT audit software.

           238.     Copies of the "IT Findings Summary" log, the: "IC-80" form, and the

  "IC-81" fonn are also located on BDO USA, LLP's network shared drive (G: Drive).

           239.     BDO USA, LLP also maintains off-site data backup for r.edundancy,             ;

  security, and compliance purposes. Plaintiff noted that BDO USA, LLP has access to

  alter the data.

          Material Weaknesses Identified During the Interface, Inc.'s SOX Audit

           240.     Defendant Interface, Inc. is a Georgia Prof t Corporatiori that is publicly

  traded on the Nasdaq stock exchange under the ticker T1LE.

           241.     Defendant Interface, Inc., a public company with a class of securities
                                                                      i

  registered under either Sectiori 12 or which is- subject to Sectiori 15(d) of the Securities

  Exchange Act of 1934, as amended ("Exchange Act"), must file reports with the SEC

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  ("Reporting Requirements"). The underlying basis of the Reporting Requirements is to        E

  keep shareholders and the markets informed on a regular basis lin a transparent manner.

  Reports filed by Defendant Interface with the SEC can be viewed by the public on the

  SEC EDGAR website. The required reports include an annual Form 10-K, quarterly
                                                                                              ~
  Form IOQ, and current periodic Form S-K as well as proxy .reports and certain               i

  shareholders and affiliates' reporting requirenients.                                       ,

         242.       Defendant Interface, a reporting company, has record keeping

  requirements, must implement internal accounting controls and is subject to the

  Sarbanes-Oxley Act of 2002, including the CEO and CFO certifications requireinents

  and independent auditor requirements.
                                                                                              I
          Interface's Responsibility To Implement Internal Accounting Controls                ;

         243.       Defendant Interface is subject to the Foreign Corrupt Practices Act of

  1977 ("FCPA"), which requires every US-traded company (regardless of size and place

  of operations), to create a system of "internal accounting coritrols". In the SEC's rules

  implementing the FCPA, this responsibility requires Interface to:

         (1)        Maintain books, records, and accounts wliich, in reasonable detail,       ;
                                                                                              ;
  accurately and fairly reflect the company's transactions; and

         (2)        Devise and maintain internal controls sufficient to provide reasonable

  assurance that:

                    a.     Transactions are executed in accordance with management

         authorization;




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                               b.               Transactions are recorded as necessary to (a) permit preparation                                                                          ~

              of financial statements in conformity with GAAP and (b) maintain accountability

              for assets;

                               C.               Access to assets is permitted only in accordance with                                                                                     I

              matiagement authorization; and                                                                                                                                              ~
                                                                                                                                                                                          ~
                               d.               Recorded accountability.for assets is compared with the existing

              assets at reasonable intervals, and appropriate acEion is taken regarding -any

              differences.

       Interface's Responsibility To Comply With The Sarbanes-Oxley Act of 2002,

                             Including The CEO And CFO Certifications Requirements

              244.             Defendaiit Interface is subject to the Sarbanes-O'xley Act of 2002.

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              245,            Under §404(a) of the SOX Act, Interface is required to annually report
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  on Iiiterface's own assessment of the effectiveness of Interface's controls.                                                                                                            i
                                                                                                                                                                                          I
  See Eichibit 1. The screernshot below is an extract from Exhibit 1, j
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                     246.                Interface's managenient had not identified and reported the IT findings

  classified as significant deficiencies and/or material weaknesses as required under

  §404(a) of the SOX Act.

                     247.                Under §302 of the SOX Act, Interface's corporate officers must (among

  other things) accept responsibility (as evidenced by individual signatures) for the content

  of Interface's annual §404(a) report. The CEO and CFO must personally certify the

  content of the reports filed with the SEC and the procedures established by the issuer to

  report disclosures and piepare financial statements.

   See Exhibit 1. The screenshot below is an extract from Exhibit 1.




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                        248.           Interface's management signed off on the financial statements filed with

  the SEC when IT findings classified as material weaknesses had not been identified by

  .Interface's management as required by §302 of the SOX Act.

                        249.           Interface is a US-domiciled compa►iy with public float of' over $75

  million (also known as "accelerated filer") and is i•equired to comply with the new

  reporting rules for annual reports covering fiscal years ending after NovembeT 15, 2004,




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  which means lnterface as an accelerated filer has even rriore stringent reporting

  requirements.

              BDO USA LLP's Responsibilities As-Group Auditors for Interface
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          250.    BDO USA, LLP was engaged to perform an audit of lnternai Control            i
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  Over Finaiicial Reporting that is integrated with an audit of Financial Statements.         '
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          251.    "Internal controls" refer to those procedures within a company that are

  designed to reasonably ensure compliance with the company's policies. LJnder the

  framework developed in the early 1990s by the Committee on Sponsoring Organizations

  (COSO), there are three types of internal controls:

          (1)     Those that affect a company's operations

          (2)     Those that affect a company's compliance with laws and regulations

          (3)     'I'hose that affect a company's financiai reporting

  Those controls that affect a company's financial reporting are the sole focus of §404 of

  the Sarbanes-Oxley Act of 2002 ("SOX").

          252.    The objectives of the auditor, and therefore BDO USA, LLP in an audit.

  of ICFR ai-e to:

          (1)      obtain reasonable assurance about whether material weaknesses exist as

  of the date specified in management's assessment about the effectiveness of ICFR (as of

  date) and

          (2)      express an opinion on the effectiveness of iCFR in a written report, and
                                                                    ~
  communicate with management and those charged with governance, based on the

  auditor's findings.

   See Exhibit 1. The screenshot below is an extract from Exhibit 1.'

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                      253.              Defendant Wesley Freeman laciced independence when overseeing the

      IT auditfor Interface. His independenee was impaired by the existence of circumstances,

      which reasonable people might believe likely to influence independence such as the

      multiple calls at all times of the day and night that Defendant Wesley Freeman had with

      Tom Farmer, tlie IT Manager at Interface wlio failed to identified the material

      weakriesses as part of the SOX audit'as well as the fact that Inter;face was one of the first

      client Defendanfi Wesley Freeman audited when he started his career at BDO USA, LLP.

                      254.              The screenshot below was obtained froin the U.S. Securities and

      Exchange Commission's Financial Reporting Manual TOPIC 4— Independent

      Accountants' Involvement.




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      4130 &ep~riclence IS-X 2-os(b) and (c). SOX 2oi1

      4130.1 Questions regarding iiidependence should be directed to OCA. Auditor reports on tinancial
      statements that refer to PCAOB standards must compty with the lndependence rules of both the
                                          _...-•--- -- — --. .
      SEC and the PCAOB. The SEC's indepe,ndehce               ruies are promulgated in S-X 2-0.1. The PCAOB
      has also issued cerlain ]fidep:i3nde.nce and ethics rules, trhich are part of its adopted standards. See
      hftps:/lpcaobus.orgi.. Compliance wilh these rules is required to issue a PC.AOB opinion.
      4130.2 S-X 2-01 is designed to ensure that auditors are quaiified and"independent both in fact and
      in appearance. Accordingly, the rule sets forth restrictions, including but not limited to, on financial,
      employment, and business relationships between an accounlant and an audit client and restrictions
      on an accountant providing certain non-audit services to an audit client. These restrictions are
      prescribed in paragraphs (c)(1) to (c)(8) of S-X 2-01. The general standard of independence is set
      forth in S-X 2-01(b). The rule does not purport to, and the SEC could not, consider all the
       .                        _. -.._::....-_,........_ -;
      circumstances.that raise independence concerns, and these are sabject ta the general standard in
      paragraph 2-01(b). In considering tfiis standard, the SEC looks in the first instance to whether a
      relationship or the provision of a service; (a) creates a mutual or conflicting inlerest between the
      accouritant and the auditclient; (b) places the accountant in the position otauditing his or her own
      work; (c) results in the accountant acting as managemenl or an employee of the audit client; or (d)
      places the accountant in a position of being an advocate for the audit client, See also OCA:
      Apptication of the Comrnission's Rules ai Audilor'Jndegendence Frequently Asked Quesfions
      available here. (Last updated: 10/30/2020)

      4130.3 SEC Cqd_'e,pei~d:e.nce rules also apply to Regulation A, excepl for Tier 1 offerings where the
      A1CPA independence standards may be applied and Regulation D filings, and when separately
      audited financial statements of an equity investee is included in a filing under Rule 3-09 of
      Regulalion S-X< [Form 1-A Part F,'S and Section 0: Otherindepenclence in. OCA: Application ofthe
      Commission's Rules on Auditorindenegdence FrequentlyAsked Questions.] (Last updafed:
      1013012020)


          255.      PCAOB standard, AS 1005: Independence, states that in all matters

  relating to the assignment, an independetice in mental attitude is to be maintained by the

  auditor or auditors, which requires that the auditor be independent. The auditor must be

  without bias with respect to the client since otherwise, the atiditor would lack that

  impartiality necessary for the dependability of his findings,, however excellent his

  technical proficiency may be. However, independence does not imply the attitude of a

  prosecutor but rather a judicial impartiality that recognizes an obligation for fairness not

  only to management and owners of a business, but also to creditors and those who may




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  otherwise rely (in part, at least) upon the independent auditor's ;report, as in the case of

  prospective owners or creditors.

         IT Findings Identified During the Interface's Audit and Source of Reports

         256.     The primary audit contacts at Interface were:

                  (1)     Christie Lambert, the Internal Audit Director at Interface

                  (2)     Joseph DiBiase, the Chief lnformation Oifficer at Interface.

                  (3)     Tom Farmer, the IT Mariager at Interface.

  These three (3) Interface's employees oversaw the audit efforts aiid provided the

  relevant documents to the Plaintiff as an employee of BDO USA, LLP. Their groups

  were also responsible for designing and testing the controls that were identified as

  significant deficiencies and material weaknesses.

         257.     The results of the IT audit of Interface conducted in 20.18 shows a total

  of. two (2) IT findin s; Plaintiff was not yet employed by BDO USA, LLP. The results

  of.iT findings of Interface conducted in 2019 shows a total of twenty (20) IT tinding_s;

  Plaintiff was hired by BDO USA, LLP to manage the audits.

         258.     Some of the material weaknesses identified included, but were not'

  limited to, segregation of duties issues across multiple production systems, inappropriate

  logical security access and change management access, and incomplete key reports

  utilized to test key controls.

         259.     The screenshot below shows Interface 2019's 1T Findings identified

  during the Interface's audit of Internal Control Over' Financial Reporting that is

  integrated with an audit of Financial Statements.
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  Only two (2) low level severity IT Findings were identified in 2019. The 20I9

          Interface audit engagement was not perforined by the Plaintiff.




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          260     The screenshot below shows Interface 2020 IT Findings identified during

  the Interface's audit of Internal Control Over Financial Reporting that is integrated with

  an audit of Financial Statements. The 2020 Interface audit engagemeiit was performed
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  by Plaintiff.




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              261.                 BDO USA, LLP issued a clean opinion on the Interface's audit report.

              262.                 As of September 2021, when Plaintiff resigned, the IT findings identified

  in 2020 had not been remediated.

              263.                     Additional evidence exists and will be provided at trial.

                           Interpreting IT Finding,s Identified During The Interface's Audit

              264.                     A triaterial weakness in 1CFR exists if there is some flaw within the

  company's overall control system such that it is at least reasonably possible that a

  material misstatement in the company's. fiiiancial statements will not be prevented or

  corrected. Such a misstatement may occur on an annual basis (either before or after an

  audit, or througli interim financial reporting. Examples may include inadequate

  segregation of duties (e.g. an employee who has super administrative rights across

  multiple systems can authorize, approve, and review a transaction causing a significant

  deficiency or material weakness to go undetected), inappropriate edit rights to the

  financial teporting production database, or inappropriate change management controls



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  across multiple systems. 'I'he signifieant deficiencies andl material weaknesses

  identiffed during the Interface's engagenients rvere not reported.

         265.    Under existing SEC and PCAOB rules, material weaknesses in ICFR

  must be publicly reported. FIaws in control systems that fall below "material" are

  reported within the company, either to company management or the audit committee

  (depending upon the severity of the flaw).
                                                                                               ~
         266.    Plaintiff was retaliated against, persecuted, and ;attacked by Defendants     '

  when. she tried to report the fraud.

          Material Weaknesses Identified During the Atlanticus' SOX Audit

         267.    Defendant Atlanticus, Inc. is a Georgia Profit Corporation that is publicly

  traded on the Nasdaq stock exchange under the ticker ATLC.

         268.    Defendant Atlanticus, Inc., a public company with a class of securities

  registered under either Section 12 or which is subject to Section 15(d) of the Securities

  Exchange Act of 1934, as amended ("Exchange Act"), must file reports with the SEC            i

  ("Reporting Requirements"). The underlying basis of the Reporting Requirements is to         ~
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  keep shareliolders and the markets informed on a regular basis in a transparent manner.

  Reports filed by Defendant Interface with the SEC can be viewed by the public on the         i,

  SEC EDGAR website. The required reports include an .annual Form 10-K, quarterly

  Form IOQ, and current periodic Form 8-K as well as proxy reports and certain

  shareholders and affiliates' reporting requirements.

         269.    Defendant Atlanticus, a reporting company,, has record keeping

  r.equirements, must implement internal accoanting controls and is subject to the




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  Sarbanes-Oxley Act of 2002, including the CEO and CFO cer:tifications requirements

  and independent auditor requirements:

          Atlanticus' Responsibility To implement Interna-1 Accounting Controls

         270.   Defendant Atlanticus is subject to the Foreign Corrupt Practices Act of

  1977 ("FCPA"), which requires every US-traded company (regardless of size and place

  of operations), to create a system of "internal accounting controls". In the SEC's rules

  implementing the FCPA, this tesponsibility requires Atlanticus to:

                (1)     Maintain books, records, and accounts which, in reasonable

         detail, accurately and fairly reflect the company's transactions; and

                (2)     Devise and maintain internal controls sufficient to prov.ide

         reasonable assurance that:

                         a.     Transactions     are    executed   'in   accordance   with   i
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                                                                                             I
                management. authorization;                                                   i

                         b.     Transactions are recorded as necessary to (a) permit         I

                 preparation of financial statements in conformity with GAAP and (b)         ~
                                                                                             I
                 inaintain accountability for assets;

                         C.     Access to assets is permitted only in accordance with

                management authorization; and

                         d.      Recorded accountability for assets is compared with the

                 existing assets at reasonable intervals, and appropriate action is taken    ~

                 regarding any differences.                                                  ~
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      Atlanticus' Responsibility To Comkly With The Sarbanes-Oxley Act of 2002,

                IncludinQ The CEO And CFO Certifications Requirements

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                           271.                 Defendant Atlanticus is subject to the Sarbanes-Oxley Act of 2002.
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                               272.             Under §404(a) of the SOX Act, Atlanticus is required to annually report

  on Atlanticus' own assessment of the effectiveness of Atlanticus' controls. See Exhibit 2.
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                               273.             Atlanticus' management had not identified and reported the IT findings

  classified as signiftcant deficiencies and/or material weaknesses as required under

  §404(a) of the SOX Act.

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                  274.               Under §302 of the SOX Act, Atlanticus' corporate officers must (among

  other things) accept responsibility (as evidenced by individual signatures) for the content

  of Atlanticus's annual §404(a). report. The CEO and CFO must personally certify the                                                                                                        ;

  content of the reports filed with the SEC and the procedures established by the issuer to

  report disclosures and prepare financial statements. See Exhibit 2.
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             275.    Atlanticus' management signed off on the financial statements filed with
                                                                     i

      the SEC when the IT findings classified as material weaknesses liad not been identified

      by Atlanticus' management.

               BDO USA, LLP's Responsibilities As Group Auditors for Atlanticus

             276.    BDO USA, LLP was engaged to perform an audit of Internal Control

      Over Financial Reporting that is integrated with an audit of Financial Statements.

             277.    "Internal controls" refer to those procedures within a company that are     '

      designed to reasonably ensure compliance with the company's policies. Under the
                                                                                                 ;

      framework developed in the early 1990s by the Committee on Sponsoring Organizations        ;

      (COSO), there are three types of internal controls:

                     (1.)    Those that affect a company's opera.tions

                     (2)     Those that affect a company's compliance with laws and              ;
.                                                                                                i
             regulations

                     (3)     Those that affect a company's financial reporting

      Those controls that affect a company's financial reporting are the sole focus of §404 of

      the Sarbanes-Oxley Act of 2002 ("SOX").                                                    ;
                                                                                                 !
             278.    The objectives of the auditor, and therefore BDO USA, LLP in an audit       ~
                                                                                                 i
      of ICFR are to:                                                ;

                     (1)    obtain reasonable assurance about whether material wealcnesses

             exist as of the date specified in management's assessment about the effectiveness   !
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                                                                     ~
             of ICFR and                                                                             j
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                                    (2)                   express an opinion on the effectiveness of 1CFR in a written

                  report, and communicate with management and those c}iarged with governanee,
                                                                                                                                         I

                  based on:the aud'itot's findings. See Exhibit 2.
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                 279.               BDO USA, LLP issued a clean opinion on the Atlanticus' audit.report.

                 280..              Plaintiff asserts xhat BDO USA, LLP Assurance teain in charge of the

  Atlanticus' engagerrierit fai'led to evaluate the significarit deficiencies and material

  weakriesses identified and their impact on the financial statements.

                 281.              "Defendant Wesley Freeman lacked independence when overseeing the
                                                                                                                                         I
  IT audit for Atlanticus. His independence was impairedi by the existence of
                                                                                                                                         I
  circumstances, which reasonable people might believe aie likely to influence

  independence. A.nn Nieves, the Internal Controls Manager at Atlanticus, who failed to
                                                                                                                                         i

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  'identify the material weaknesses - as part of the SOX audit has a long-standing

  relationship with Defendant Wesley FreeiTtan, Ann Nieves; the Internal Controls                                       ,
                                                                                                                        ~
  Manager at Atlanticus, and Defendant Wesley Freeman have worked together for                                          ~

  sever"al years.

          282.      `The screenshot below was obtained frorn tlie U.S. Securities and

  Exchange Comtnission's Financial Reportirtg Manual TOPIC 4— Independent

  Accountants' Involvemerit and stipulates that:auditors must rerimain independent in fact

  and appearance and inust not advocate for the auditee..

          4130 ~T~i.IS-X                  2-oi(b).ancl (c), SOX 2011

          4130.1 Questions regarding 'indepeiidence should tie directed to OCA. Audil& reports on financial
          statements tlial refer to PCAOB standards must comply with tfie iridependence rules of both ttie
          SEC and the PCAOB. The SEC:s'itidepehdence rules are promulgated in S-X 2-01..The PCAOB
          has also is"sued certain j_ijdependenee and ethics rules, which are part of its.aiiopled:standards; See
          https:Jlpcaobus.org/: Compliance with these rules is required to issue a, PCAOB opinion.
          4130.2 S-X 2-01 is de§igned to ensure that auditors are qualified•and independent both in fact and
          in eppearence. Accordingly, the 'rule sets forth restrictioiis, including but not.iimited to, on financial,
          employment, and tiusiness relationshipsTbetween an•accountant and'an audii client and restricfions
          on an accountant providing certain non-audit serVices to an auditclient Th'ese restrictions are
          prescribeil in paragraphs(c)(1) to (c)(8) of S-X 2-01. The general standard of;independenee is.set
          forth in S-X 2-01(b). The rule does nol purport.to, and the SEC could not, consid'er all the
          c'ircumstances Ihat raise iradependepce concems, and these are subject to the general standard (n
          paragraph 2-01(b). In considering this standard, the SEC looks in the tirst'instance to whether a
          relationsiiip or ihe provision of a service: (aj creates a mutual or conflicting inlerest betvveen lhe
          ai:countant and the audit client; (b) plaees the accountant in the position of auditing his or her own
          vaork; (c) results in the accounlant acting as management br an employee•of the audit client; or (d)
          places the accountant in a position of being.an advocate forlhe auditcrient. See aiso OCii:
         .Applicalion ofthe Coinmissions Rules onAuditor7                  4~e FrequentiyAsked Ouestions
          available tiere., (Lasf updated: 10/30/2020)                                     ;
          4130.3 SEC,Indepeiidence rules also apply to Regulalion A, except f& Tiei11 offer'ings whete.the
          AICPA indepeirdence standards maybe applied and Regulation D tilings, and when separately
          audiled tinancial statements of an equity investee is iocluded in a filing under'Rule.3-00 of
          Regulation S-X. [Form 1-A Part F!S and Section O. Other (rir≤ejieiideric@ in OCA: AptSlication ol the
          Commission's Rules ooAuditor'InUependeq'c~ FrequenllyAsked Questions.j'(Lasf updated:
          10/30/2020)                                                                     i


         283.       PCAOB standard, AS 1005: Independ'erlce, stltes that. in all matters

  relating to the assignment, ari independence in mental attitude is! to be maintained by the



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  auditor or auditors, which requires that the auditor be independent. The auditor must be       ;

  without bias with respect to the client since otherwise, the auditor would lack that

  impartiality necessary for the depelidability of his findings, however excellent his
                                                                                                 1

  technical proficiency may be. However, independence does not impl.y the attitude of a

  prosecutor but rather a judicial impartiality that recognizes an obligation for fairness not   ~

  only to management and owners of a business, but also to cred'i.tors and those who may         I

  otherwise rely (in part, at least) upon the independent auditor's report, as in the case of

  prospective owners or creditors.
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                       IT Findin=s Identified During tlie Atlanticus' Audit                      ;
                                                                                                 I
         284.    The primary audit contacts at Atlanticus were:

                 (1)       Ann Nieves, the Internal Audit Director at Atlantieus.
                                                                                                 i
                 (2)       Kas Naderi, the Chief Information Officer~                            ;

  These two (2) Atlanticus' employees oversaw the audit efforts and provided the relevant

  documents to the Plaintiff as an employee of BDO USA, LLP. Their groups were also              ;

  responsible for designing, implementing, and testing the controls that were identified as

  signiftcant deficiencies and niaterial weaknesses.

         285.    The results of the IT audit of Atlanticus conducted in 2018 shows a total
                                                                                                 ~

  of €our (4) IT findinas; Plaintiff was not yet employed by BDO USA, LLP. The results           ~
                                                                                                 i
  of IT findings of Atlanticus conducted in 2019 shows a total of nine (9) IT. findings;

  Plaintiff was hired by BDO USA, LLP to manage the audits. Defendant W esley Freeman

  had deleted    IT' Findings from. the records in 2019. The results of IT findings of
                                                                                                 i
  Atlanticus conducted in 2020 shows a total of twenty-one (21) IT fandings; the year

  2020 was Plaintiff's second year on the engagenient.


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                  286.            Some of the material weaknesses identified included, but were not
                                                                                                                                                                                                                       ;

  limited to, segregation of duties issues across inultiple production systems, inappropriate

  logical security access and change management access, and incomplete key repoits
                                                                                                                                                                                                                       i
  utilized to test key controls.                                                                                                                                                                                        i
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                  287.            The screenshot below shows Atlanticus 2019's IT Findings identified                                                                                                                   ~
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  duiing the Atlanticus' audit. Only four (4) low level severity 1T Findings were identified

  in 2018. The 2018 Interface audit engagement was not perfonned by the Plaintiff.



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                  288.            The screenshot below shows Atlantictis 2019 IT Findings identified

  during the Atlanticus' audit. The 2019 Atlanticus audit engagement was performed by                                                                                                                                   '

  Plaintiff.                                                                                                                                                                                                            ~



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             289.           The screenshot below shows Atlanticus 2020 IT Findings identified

  during the Atlanticus' audit. The 2020 Atlanticus audit engagement was also performed

  by Plaintiff.




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         290.   BDO USA, LLP issued a clean opinion on the Atlanticus' audit report.

         291.   As of September 2021, wheri Plaintiff resigned, the IT findings identified

  in 2020 had not beeii remediated.

         292.   Additional evidence exists and.will be provided at trial.

             Interpreting IT Findin s Identified During The Atlariticus' Audit

         293.   A material weakness in ICFR exists if there is some flaw within the

  cornpany's overall control system such that it is at least reasonably possible that a

  material misstatement in the company's financial statements will not be prevented or       k

  corrected. Such a misstatement may occur on an annual basis (either before or after an

  audit, or through interim financial reporting. Examples may include inadequate

  segregation of duties (e.g., an employee who has super adm inistrative rights across
                                                            ;
                                                                 ;                           +
  multipie systems can authorize, approve, and review a transaction causing a significant

  deficiency or material weakness to go undetected without the review of that employee's


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  access), inappropriate edit rights to the financial reporting }iroduction database, or

  inappropriate change management controls across one or more production systems. The

  significant deficiencies and material weaknesses identifed during the Atlanticus'

  engagements were not reported.

         294.    Under existing SEC and PCAOB rules, material iveaknesses in ICFR            ;
                                                                                             i
  must be publicly reported. Flaws in control systems that fall below "materiaP" are

  reported within the company, either to company management or the audit committee

  (depending upon the severity of the flaw).

         295.    Plaintiff was retaliated against, persecuted, arid attacked by Defendants

  wheri she tried to report the fraud.

                                               a PCAOB Inspection
                      Unethical Behavior During_

         296.    The PCAOB decided in 2021 to inspect the audit work performed by

  BDO USA, LLP for the 2020 audit of Atlanticus.




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                      297.                     During the 2021 PCAOB inspection of Atlanticus Holdings Corporation,

  Plaintiff was pt'essured by Scott Meier, BDO IS Assurance Principal, and Kas Naderi,

  Chief Information Officer of Atlanticus, to provide misleading infonnation to the

  PCAOB inspectors in order to address the questions,
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                    298.                               Meetings were held with Defendant Kas Naderi in order to obtain

  evidence tliat should not have been admitted or considered in the audit because the 2020

  Atlanticus audit report had already been filed.

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                     299.                              Kas Naderi, ChiefInformation Officer of Atlaiiticus, threatened Plaintiff                                                                                                                                                                                                                                   ~
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  during a meeting held between Atlanticus and BDO USA, LLP and asked the Plaintiff

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  if Plaintiff was "now willing to work with Atlanticus" and if Plaintiff was the -one

  "asking for additional evidence to provide to the PCAOB" inspectors.

         300.    Plaintiff was late during that call. Defendant Scott Meier, BDO IS
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  Assurance Principal, told Defendant Kas Naderi in the call that Plaintiff was in the

  bathroom. At the time of the said meeting, Plaintiff was working from home due to the      i

  Pandemic. Plaintiff was indeed in the bathrooin. Scott Meier had rio way of knowing the

  Plaintiff was indeed in the bathroom unless the Plaintiff was urider surveillance by BDO

  USA, LLP, its agents, and/or the Defendants.

         301.    During the same 2021 PCAOB inspection of Atlanticus Holdings

  Corporation, Plaintiff was indirectly threatened by Defendant Mark Davenport (Audit

  Partner), Defendant Peter Poppo (Audit Partner), and Monica Burgess (Senior Audit

  Manager) who kept using the word "dead" with emphasis in different meetings held to        '

  discuss responses to the PCAOB questions.

       Significant Deficiencies and Material Weaknesses Identified During the                ;

                                BioHorizons' SOX Audit                                       ~

         302.    Defendant BioHorizons is a Delaware Corporation that is publicly traded     ;

  on the Nasdaq stock excliange under the ticker B.HZN. Defendant BioHorizons is a

  subsidiary of Henry Schein, Inc. ("Henry Schein"). BioHorizons and Henry Schein

  together are referred to herein as BioHorizons.

         303.    Henry Schein, Inc.'s stocks are traded on the Nasdaq stock market under

  the ticker HSIC. Henry Schein, Inc. is an American distributor• of health care products

  and services with headquarters located in Melville, NY.        !




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           304.   Defendant BioHorizons was a publicly traded company from 2017 to

   2020.

           305.   Hemy Schein, Inc., a public company with a class of securities registered

   under either Section 12 or which is subject to Section 15(d) of the Securities Exchange

   Act of 1934, as amended ("Exchange Act"), must file reports with the SEC ("Reporting
                                                                                              i
   Requirements"). . The underlying basis of the Reporting Requirements is to keep            ~

   shareholders and the markets informed ori a regular basis iri a transpareiit manner.

   Reports filed by Defendant BioHorizons and its holding company, Henry Schein, with

   the SEC can be viewed by the public on the SEC EDGAR website. The required reports

   include an annual Form 10-K, quarterly Form .IOQ,. and current periodic Form 8-K as        ;

   well as proxy reports and certain shareholders and affiliates' reporting requiremeiits.    ,

           306.   Defendant BioHorizons, a reporting compariy,, has record keeping

   requirements, must implement internal accounting controls and is subject to the

   Sarbanes-Oxley Act of 2002, including the CEO and CFO cer.tifications requirements

   and independent auditor requirements.

    Defendant BioHorizons' Responsibility To implement Internal Accounting Controls

           307.   Defendant BioHorizons is subject to the Foreign Corrupt Practices Act

   of 1977 ("FCPA"), which requires every US-traded company (regardless of size and

   place of operations), to create a system of "internal accounting controls". In the SEC's

   rules implementing the FCPA, this responsibility requires BioHorizons to:                  ;

                  (1.)    Maintain books, records, and accounts which, in reasonable          ~
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           detail, accurately and fairly reflect the company's transactions; and



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                             (2)           Devise and maintain internal controls sufficient to provide                                                                  ;
                                                                                                                                                                        ~
              reasonable assurance that:

                                       a. Transactions are executed in accordance with management

  authorization;

                                       b. Transactions are recorded as necessary to (a) permit preparation                                                              I

  of financial statements in conformity with GAAP and (b) maintain accountability for

   assets;                                                                                                                ;

                                       c. Access to assets is permitted only in accordance with

   management authorization; and

                                       d. Recorded accountability for assets is compared with the existing

   assets at reasonable intervals, and appropriate action is talcen regarding any differences.

    Defendant BioHorizons' Restvonsibilitv To Comnlv With The Sarbanes-Oxlev Act of

                      2002, Includina The CEO And CFO Certifications Requirements

                  308.       Defendant BioHorizons is subject to the Sarbanes-Oxley Act of 2002.
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                    309.             Under §404(a) of the SOX Act, BioHorizons is required to annually

   report on BioHorizons' own assessment of the effectiveness of'BioHorizons' controls.
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                                See Exhibit 3. The screenshots below were extracted from Exhibit 3.


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         ITEM9. CLsnges in and Disagreententz ;t•ithAccottntants on:Lccovuting andF9nauc ial I}itclosure.

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                 310.        BioHorizons lmplant Systems, Inc. is a smaller subsidiary of Henry

   Schein, Inc. Tlie Assurance team may decide that BioHorizons-Implant Systems, Inc is

   too small a subsidiary to be material to Hetiry Schein, Inc and plan the audit accordingly.

   However, the IT findings identified as significant deficiencies and/or material

   weaknesses were never reported, and therefore, appropriately evaluated by the                                      ~
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   Assurance team.

                 311.        BioHorizons' management had not identified and reported the IT

   findings classifted as signif≤cant deficiencies and/or material weakiiesses as required

   under §404(a) of the SOX Act.

                 312.        Under §302 of the SOX Act, BioHorizons' corporate officers must

   (among other things) accept responsibility (as evidenced by iridividual signatures) for

   the content of BioHorizons's annual §404(a) report. The CEO and CFO must personally

   certify the content of the reports filed with the SEC and the procedures established by

   the issuer to report disclosures and prepare financial statements.
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      ---~                   See Exhibit 3. The screenshots below were extracted from Exhibit 3.




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                                                                                                                Echibit 31.1

                   CERTIF1CaTI0N PURSU:LNT TO RULE 13a-14(a) OR 15d-14(a) OFTHE SECU-RITIES
                     EXCHAN GE ACT OF 1934, AS aDOPTED PURSiiANT TO SECTIOY 302 OF TAE
                                     SARBt\\'ES-O~-EY aCT OF 2002

       1, Stanley M. Ber~~nan, certif}' that:

       1.      I lrave revienxd this amrual report on FoMK. of He:nry• Schein, Inctha "reeistrani'J

       2.       Based on tny knoe+•ledge, this "report does not contain any untrue statement of a material fact or omit to state ,
       materiakfact necessary'to maka the statements made, in light of the circumstances under which such staoements
                                                                 d by this report;
       metlra, not rttisleading +cith respect to the period coverei

       3.      Based on my kno+vledge, the unancial statenrents, and other financial information included in this report,
       present$aisW material respects the financial candition, results of operaticns and cash t]o+vs of tlie.registrant a.s of, and   I
       1bt,periods presented in this report;

        4.     The iegisuant's otlrer certify^ing officer and I are re;ponsible for establishing ami~mg disclosure controls
        and procedures (as defrned in Exchange Act ltules 13a-15(e) and I Sd-1:(a)) and interual control ocer 2inancial
        i:epzCfng:d in Fbxcktange Act Rules 13a-15(1) and 1>d-15(f)) for the registrant and hat•e;

               a)       desierted such ikclosure coneols attd procedures, or cansed such disclosure controls and proeedures to bc
               desigtied under ottr ntpetvision, to ensure that material ittforntation relatins to the ret,istrant, iricludina
               iMnsolidated subsidiaries, ic made knot+st to us by odters nithin those entities, particularl•; during the period
               ij$tich tltis report i; being prepared;

                b)     c:esigned such intemal control over financlal repotting, or caused .sucli internal control over unancial.
                reporting to be, desigped under our superc=ision, to pruvide reasonable assurance regarding the reliability
                &francial reportiite and the preparation of financial statemcuts for external purposes in accordance with
                oeuepaltj aaauntine }sinciples;

               c)      e+•aluated the effectiveness of the registrant'jEalosure cotitrols aud procedwts and presented in this
               report our conclusions about the effectiitness of the disclo=ure controls and procedttres, as of the ead of            ;
               llaiod co+-ered by this report bascd on sucL a•aluation; wtd

               d)       di`.sclosed iit this report:nv chartge in the registrant's intasttal control over financial renorring that    i
               occurred during tha registrant"s most recent fiscal quarter (the.registratu's fourth fiscal quaner in the case of      ~
               ®Eliival report) that has materially affected, or is reasonably likely to materially aH'ect, the,rogistratti's
               irttaterdlover Imancial reporting and

        5.      The registrattt's otlier certifying ofFicer and 1 have disclosed, based on otu most recent evaluatioti of             !I
        control iiaternfihancial reportinv, to'the rregistrant's auditors and the audit cotnmitiee of the registrant's board of       !
                                                                                                                                       I
        tSirqtemrts performing the equivalent flutctions):                                                                            i
                a)     all signifrcant dcftciericies aud material 1veaknesses in the design or operatioat of intemal control over     i
                finan:ial repor4ine u•hich are. reasottably li}:ely to adversely affect the reaisirant's abilit;' to record,
                pwmvKiza and report financial ittfomiation; and
                                                                                                                                      1
                b)      a,ry fraud, whetlter or not material', that irn•olves management or other employees Nvfio have a
                role in tligttifgtslmnt's internal control over Sinancial rtporting.                                                  ~

        Dated; Febntary 17, 2021                                    /s' Stanlec?yI Besoman                                            ~
                                                                    Stanlel• M. Bersman                                               1
                                                                    Chairntau and Chief Executi+•e OElicer                            !




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                                                                                                                  Eshiblt 31.2

                   CERTIFICATIO\ PGR.Sila\'TTORULE 13a-11(a) OR 15d-1J(a) OFTIIESECL-RITIES
                     EXCH:L•\GE ACT OF 1934, AS ADOPTED PiiR.SUA\*I'TO SECTI0130? OFTFIE
                                       SARBANES-ORI,EY-:1CT OF 2092

       I, Stecen.Paladino, certify that;

               I Itave revie«-ed tltis annual report on FotAK of Henry Schein, In(the "registrr+,.nt')

       2.      Based on my knowledge, this report does not contain any tuttrue statetuent of a material fact or omit 10 state
       materia)3 fact necessary to make the statements nrade, in light of the ciretuttstances under u•bich suc}r statements
       maclf, nor misleading ~vith respeci ro tfhe period covered bv this report;

       3.      Based on my knoxcledge, the financial statenrents, and otlter financial'information included in ilus repor4,
       present fitirtl4 material respects the ftnancial condition, results of operatiosis and caslt flotvs of the regietrant as of, and I
       tbe, penods presented in this report;

       4.     The registrant's other certifF-iug officer attd I are responsible for ostablishing am~ittg disciosure controls            I
       and procedures (as defined in Exchange Act Rules 13a-IS(e) and 15d-ld(e)) and internal control over fsnancial                    ~
       kap®iafa¢d in Exchange Act Rules 13a-15(f) and 15d-I5(f)) tor tlte ragistrant and hare:                                          ~

               a)       designed such ikclosure controls and procedutes, or caused such disclosure controls and procedures to beI
               designed uuder our supenision, to ensure that mate:rial ittfonttation relating to the reeistratn, iacluding
               Rpnsolidated subsidiaries, is made knotvn to us by others witfiin those eniisiea, particularlj~ during the period '
               itthich Ihis report is being prepared;

               b)      designed such intdntal control over financial reporting, or caused suclt intemal control over fmancial
               reportinst to be designed under our supeii~ision, to pzovide reasottable assurattce regarding the reliability i
               &fiaacial reportirrg aad the preparation of fmancial statemettts for external purposes in accordance itith    !
               geneg§li•accounting principles;                                                                               ~
                                                                                                                                        t
               c)      evaluated the effectit•attess of tlte registrant'iseiosure controls artd procedures and presented in tlus
               repori oor conclusions about the effectieeness of the disclosure controls and procedures, as of the end of               t
               dmiod covered b}• this repott based on suclr etaluation; and                                                             !
                                                                                                                                        9
               d)      8iselosed ut this repornny change itu the registrant's internal control over fmancial reporting that
               occurred during the reeistrani's most recenf fiscal quarter (tlte registrattt's fourth fiscal quartar iit the casa of ;
               ®nnual report) that has materially af2ected, or is reasonablv li.ke:r= to materially affect, the registrant's
               uactasdloc=er fnancial reportine; and                                                                                 [


       5.      The registrant's other, certifying otEcer attd I hat-e disclosed, based on our snost recent eealuation of                ;
       control'vltemfiltancial reporfiite, to the registrant's auditors and Ihe audit comminee of the registratit's Uoard of            t
       Qireptstons.pertorming the equtt aletnt futietionsl:                                                                             I
                                                                                                   I
               a)     all sienificant clefrciencies attd material n•eaknesses irt the dasign or operation of interztal control oi*erj
               frnancial reporting ivhich are reasonably likely to adversely aftect the registrant's abilit.., to record,           I
               ptmmaa~ize and report financial infomiation; and                                                                     ;

               b)      any fraud, whether or not niaterial, that imroli•es management or other tmployees tivho havt a
               role in tligrrifgiattent's iiuernal control orer tinancial reporring.

                    ~                                               's` Stecen Paladino
       Dated: Febntan. 17, 2021                                      Stet'en Paladino
                                                                     Executive Vice Ptesident and
                                                                     Chief Finartcial Oflicer




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                                                                                                      Exhibit $2.1

                                         CERi1FICAIIOi\ PURSL?a\'rT0
                                             18 U.S,C; SECTION 1350,
                                           ASADOPIED PLILSU,1NrT0
                                SECTION 906 OF THE S.aRBA.\ES-OJO,E1ACT OF 2002
                                                                                                  i
                   In eottneetion nith the annual repon on Fonn 10-K ofHenry Schein, Iric. (tke
                   "Company") for the pe.riad ended December 26, 2020, as flled with the Securities and
                   ExcharUe Commission on tha date hereof (the"Repon'), I, Stsnley ItL Bergmah, the
                   Chairman and Chief ftxecutii-e Officer of the Compaay, and 1, Ste.ren Paladino,
                   Executit•eVice Presiderit and ChiefF.inancial offtcer of tire CompSn}•, do hereby certifp
                   ptusuanr to I s L'.S.C. Section 1350,2s adopted pursiiant to Section 906 of tlie Sarbanes-
                   oxley:)ct of 2002, to the best of ntv knotvledge and belief that:,

                   (1)-the Report fullv complies with the reqairements of Section 13(a) or I 5(d) of the
                   Securities Exchange Act of 1934, as amended;'and

                   (2) the,information cdntained in tho Repoct fairlv presents, in all materiab respects, the
                   financial conditiotr and results of operations of the Campacq:                  I


                       Dated: Febroaty' l7, 2021              sI Stanley \i Berzman
                                                              Stanley:41. Berlrtan
                                                              Chairman artd ChicfExecutice OIIicer


                       Dated: February 17, 2021               /s/ Steven Paladino
                                                              Ste;-en Paladino
                                                              Executit=e Vice President and
                                                              ChiefFinancialofficer               ,

                   This cettification accompanies'each Report pursuant to Sectian 906 of the Sarbanes-
                   Oxley Act of 2002 and sttall not, except to the eKtent required by thaSarbahes-Oxley Act
                   of 7.002, ba deemed 51ed by the Company forpurposes of Section I S o£the Securities
                   ExchangeAct of 1934, as amended.
                                                                                                  i
                   A signed original of tlus uritten statement required by Section 906'of tlte Sarbanes-Oxlep
                   i'\ct of 2002 has bccn prorided to the Company and n•ill ba retained bg tfie Company and
                   furnished to the Securities atid Exchange Cotnmissiou or its staff upon request.




          313.    BioHorizons' inanageriient signed off on the fi'nancial statements filed

   with .the SEC when IT firidings classified as significarit deficiencies and/or• material

   weaknesses had iiot been ideiitified by BioHorizons' rnanagement.
                                                                                                  ~
            BDO USA LLP's Responsibilities As Group Auditois for Interface

          314.    BDO USA; LLP was engaged to perform the audit of BioHorizons.

          315.    "Internal contr,ols" refer to those procedures within 'a company that are

   designed to reasonably ensure compliance with the cornpany's policies. Under the
                                                                                                  ,
   framework developed in the early 1990s by the Committee on' Sponsoring Organizations

   (COSO), there ar.e three types of internal controls:

                                                                                                  ~

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                                          (1)                 Those that affecta company's operations                                                                                                                      i

                                          (2)                 Those that affect a company's compliance with laws and

                        regulations
                                                                                                                                                                                                                           i
                                                                                                                                                            '                                                              I
                                          (3)                 Those that affect a company's financial reportiiig                                                                                                           ~

   Those controls that affect a company's' financial reporting are the sole focus of §404 of

   the Sarbanes-Oxley Act of 2002 ("SOX").

                         316.             The objectives of the auditor, and therefore BDO USA, LLP in an audit

   are to:

                                          (1)                 obtain reasonable assurance about whether material weaknesses

                         exist and                                                                                                                                                                                     •

                                          (2)                 express an opiiiion on the effectiveness of the controls in a written                                                                                        1

                         report, and communicate with management and those ctiarged with governance,                                                                                                                       !

                         based on the auditor's findings.
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                                    See Exhibit 3. The screenshots below were extracted from Exhibit 3.
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                                   (United States) ('PC:10B'~, the consolidated balar,ce she<ts of the Conrpany as of Deceiuber 26, '030 and
                                   December 28, 2014, dse related eonsolidated statemeats of ir.come, compreHemire income, siocklaolders' equity,
                                   atid cash Rrnvs for each of the trate years fa the ptriod ended,December 26, 3030, and it±e related notee aad
                                   schedole and our report dated'Febtwr_r 17, 7A21 txprcased an unqualificdoqruoa thereon.        '
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          317.    BDO USA, LLP issued a clean opinion on the BioHorizons' audit report.       ~

                   IT Findings Identified Dur.ing the BioHorizons' Audit

          3.18.   The priinary audit contacts at BioHorizons were:

                  (1)    Jay Knight, Director of Treasury, Compensation, and Risk at

          BioHorizons.

                  (2)    Elbert Jenkins, Vice-President of IT at BloHorizons.

                  (3)    Wanda Dobbins, Financial Systems Manager at BioHorizons.

                  (4)    Sandra Feagans, Human Resources Director at BioHorizons.

   These three (3) BioHorizons' employees oversaw the audit efforts and prov'ided the

   relevant documents to the Plaintiff as an employee of BDO USA, LLP. Their groups

   were also responsible for designiiig, ii-nplementing, and testing the controls that were

   identified as significant deficiencies and material weaknesses.




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          319.    The results of the IT audit of BioHorizons conducted in 2018 shows a     ~




   total of one (I) IT findinas; Plaintiff was not yet employed by BDO USA, LLP. The

   results of IT findings of BioHorizons conducted in 2019 shows a total of seven (7) IT
                                                                I                          '
                                                                ~                          !
   findin s; Plaintiff was hired by BDO USA, LLP to manage thelaudits. The results of IT

   findings of BioHorizons conducted in 2020 shows a total of five (5) IT finditigs; the   i
                                                                                           I

   year 2020 was Plaintiff's second year on the BioHorizons' engagement.                   i
                                                                                           ;

          320.    Some of the material weaknesses identified included, but were not

   limited to, segregation of duties issues on financial reporting production system,

   inappropriate logical security access and change management access, and incomplete or

   missing key reports utilized to test key controls.

          321.    The screenshot below shows BioHorizons 2019's IT Findings identified

   during the BioHorizons' audit.

   Only one (1) low level severity IT Findings was identified in 2018. The 2018

          BioHorizons audit engagement was not performed by the Plaintiff.




                                                                ;

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          322.    The screenshot below shows BioHorizons ,2019 IT Findiiigs identifed
                                                              I
   during the BioHorizons' audit. The 2019 BioHorizons' audit engagement was performed

   by Plaintiff. Seven (7) IT findings were: identified.




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          323.    The screenshot below shows BioHorizons 2020 IT' Findings ident'ified
                                                                     i
   dufing the BioHorizons audit. Tbe 2020 Interface'-s audit engagement was also

   perfon;ned by P-laintiff. Five (5) IT findings were i4entified.

                                                                     ~



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          324.   BDO USA, LLP issued a clean opinion on the BioHorizons' audit report.

          325.   As of September 2021, when Plaintiff resigned,.'most of the IT findings

   identified in 2020 had been remediated.


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          326.     Additional evidence exists and will be provided at trial.

               Interpreting IT Findings Identified During The BioHorizons Audit

          327.     A material weakness exists if there is some flaw within the company's

   overall control system such that it is at least reasonably possible that a material

   misstatement in the company's financial statements will not be prevented or corrected.

   Such a misstatement may occur on an annual basis (either before or after an audit, or

   through interim finarieial reporting. Examples may include inadequate segregation of

   duties (e.g., an employee who lias super administrative rights across multiple systems

   can authorize, approve, and review a transaction causing a significant deficiency or
                                                                                                  ~
   material weakness to go undetected without reviewing that employee's access),                  ;

   inappropriate edit rights to the fiiiancial reporting production d'atabase, or inappropriate

   change management controls across the Board. The significant deficiencies and

   material weaknesses identifled during the BioHorizons' engagement were not                     '

   reported.

          328.     Under existing SEC and PCAOB rules, material weaknesses must be                ~
                                                                                                  ~
   publicly reported. Flaws in coiitrol systems that fall below "material" are reported witliin   ;

   the company, either to company management or the audit committee (depending upon

   the severity of the flaw).

          329.     Plaintiff was retaliated against, persecuted, and attacked by Defendants

   when she tried to report the fraud.                                                            ;
                                                                    ,

           Material Weaknesses Identified During the B1ueLinx's SOX Audit
                                                                        f

          330.     B1ueLinx Holdings Inc. ("B1ueLinx") is a Delaware Profit Corporation

   that is publicly traded or► the Nasdaq stock exchange under the ticker BXC.


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          331.    BDO USA, LLP stopped performing the audit of BlueLinx in 2021.

          332.    B1ueLinx, a public company with a class of securities registered under

   either Section .12 or which is subject to Section 15(d) of the Securities Exchaiige Act of

   1934, as amended ("Exchange Act"), must file reports with the SEC ("Reporting

   Requirements"). The underlying basis of the Reporting Requirements is to keep

   shareholders and tlie markets informed on a regular basis in a transparent manner.           i

   Reports filed by Defendant Interface with the SEC can be viewed by the public on the

   SEC EDGAR website. The required reports include an annual Form 10-K, quarterly

   Form IOQ, and current periodic Form 8-K as well as proxy reports and certain
                                                                                                ;
   shareholders and aff liates' reporting requirements.                                         '

          333.    B1ueLinx, a reporting company, has record Eceeping requirements,              ;

   must implernent interQial accounting controls, and is subject, to the Sarbanes-Oxley         ~

   Act of 2002, including the CEO and CFO certifications requirements and independent

  auditor requirements.

           Interface's Responsibili    To Implement lnternal Accounting Controls
                                                                                                i
          334.    Defendant BlueLinx is subject to the Foreign Con-upt Practices Act of         ~
                                                                                                i
  1977 ("FCPA"), which requires every US-traded company (regardless of size and place           ~

  of operations), to create a systetn of "internal accounting controls". In the SEC's rules     '
                                                                                                ~
  implementing the FCPA, this responsibility requires BlueLinx to:

                 (1)      Maintain books, records, and accounts which, in reasonable
                                                              I
          detail, accurately and fairly reflect the company's transactions; and
                                                                   i

                 (2)      Devise and maintain internal controls sufficient to provide

          reasonable assurance that:


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                                                                                                                                          I                                                         '
                                                a.               Transactions                       are          executed ; in                         accordance                            with

                               management authorization;                                                                                  ;

                                                b.               Transactions are recorded as necessa>y to (a) permit

                               preparation of fnancial statements in conformity with GAAP and (b)                                                                                                   ~

                               maintain accountability for assets;
                                                                                                                                                                                                    I
                                                C.               Access to assets is permitted only in accordance witli                                                                             I
                                                                                                                                                                                                    I
                               management authorization; and                                                                                                                                        '

                                                d.               Recorded accountability for assets is compared with the

                               existing assets at reasonable intervals, and appropriate action is taken
                                                                                                                                                                                                    i
                               regarding any differences.                                                                                                                                           i

          B1ueLinx's Respotisibility To ComQly With The Sarbanes-0xley Act of 2002,

                             Including The CEO And CFO Certifications Requirements
                                                                         ,
                                                                                                                                                                                                    I
               335.            Defendant B1ueLinx is subject to the Sarbanes-Oxley Act of 2002.

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               336.           Under §404(a) of the SOX Act, BlueLinx is required to annually report

  on B1ueLinx's own assessment of the effectiveness of its controls.



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                                             See Exhibit 4 Screenshots below were extracted fr.om Exhibit_4:,                                                                                                  ;
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                     337.             B1ueLinx's management had not identified and ieported the 1T findings

   classified as significant deficiencies and/or rnaterial weaknesses as required under

   §404(a) of the SOX Act.

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             338.                Under §302 of the SOX Act, B1ueLinx's corporate officers must (atnong                                                                                                        ;

   other things) accept responsibility (as evidenced by individual signatures) for the content

   of Interface's annual §404(a) report. The CEO and CFO must personally certify the

   content of the reports filed with the SEC and the procedures established by the issuer to

   report disclosures and prepare financial statements.
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                         u ~yaSee Exhibit 4. Screenshots below were extracted from Exhibit 4.                                                                                                                 I
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                339.             B1ueLinx's management signed off on the finaricial statements filed with                                                                                ;

   the SEC when IT findings classified as significant def ciencies and/or material                                                                                                       ~

   weaknesses had not been identified by B1ueLinx's management as required under §302

   of the SOX Act.

                            BDO USA LLP's Responsibilities As Auditors for B1ueLinx                                                                                                      ~

                340.             BDO USA, LLP was engaged to perform an audit of Internal Control                                                                                        ;

   Over Financial Reporting that is integrated with an audit of Financial Statements.
                                                                                                                                                                                         I
                341.             "Tnternal controls" refer to those procedures within a company that are

   designed to reasonably ensure cotnpliance with the company's policies. Under the                                                                                                      !

   frarnework developed in tfie early 1990s by the Committee on Sponsoring Organizations

   (COSO), there are three types of internal controls:

                                 (1)           Those that affect a company's operations
                                                                                      1
                                 (2)           Those that affect a company's compliance with laws and

                regulations

                                 (3)           Those that affect a company's financial reporting

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               Those controls that affect a' company's financial report'ng are the sole focus of

  §404 of the Sarbanes-Oxley Act of 2002 ("SOX").                                                                                  ~

              .342.             The objectives of the auditor; and therefore BDO USA, LLP in an audit
                                                                                                                                   i
  of ICFR are to:

                                (1)              obtain reasoriable assurance about whether material weaknesses

                ex'ist as of the date specified in mariagement's assessmeriIt about the effectiveness
                                    ~

                of ICFR (as of date) -and                                                                                          ~

                                (2)              express an opinion on the effectiveness of ICFR in a written

                report, and communicate with managemerit and those charged with governance,

                based on the auditor's find'ingsr
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         343.    BDO USA, LLP issued a clean opinion on the B1ueLinx's audit report.

                    IT Finding,s Identified During_the BlueLinx's ,Audit

          344.   The primary audit contacts at BlueLinx included, but were not limited to:

                  (1)    Adam Boweii, the Internal Audit Director at B1ueLinx.                 ~

                 (2)     Tim Falkins, the IT Director at BlueLinx:                             !
                                                                                               I
                  (3)    Bob Cross, the Director of IT Operations at BlueLinx.                  j

          These three (3) Interface's employees oversaw the audit:efforts and provided the     ,

          relevant docui-nents to the Plaintiff as an employee. of BDO USA, LLP. Their

          groups were also responsible for designing, implementing, and testing the            ,

          controls that were identifted as significant deficiencies and/or riiaterial          ~
                                                                                               i
          weaknesses.                                                                          ~

          345.    The results of the IT audit of BlueLinx conducted in 2017 shows a total      ~

   of seventeen (17) IT findings; Plaintiff was not yet employed by BDO USA, LLP. The

   results of IT findings of B1ueL'uix conducted in 2018 shows a to.tal of seventeen (17) IT

   findings; Plaintiff was not hired by BDO USA, LLP to manage the audits. The results

   of. IT findings of B1ueLinx conducted in 2019 shows a total, of twenty-six (26), IT

   tindines; Plaintiff was hired by BDO USA, LLP to manage the audits.

          346.    Some of the material weaknesses identified included, but were not

   limited to, segregation of duties issues across inultiple financial reporting production

   systems, inappropriate logical security access and change rrianagement access, and

   incomplete key reports utilized to test key controls.

          347.    The screenshot below shows BlueLinx 2017's .IT Findings identified

   during the B1ueLinx's audit of Internal Control Over Financial Reporting that is

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   integrated with an audit of Financial Statements. Seventeen (17) low to medium level

  severity IT Findings were identifed in 2017'. The 2017 B1.ueLini x audit engagementwas

  not performed by the Plaintiff.                              ~




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                                                              i



           348.     The screenshots below show B1ueLinx 2018's IT Findings identified

   during the B1ueLinx audit. The 2018 B1ueLinx audit engagement was not performed by

   the Plaintiff.




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                                                               i
            349.   The screenshot below shows BlueLinx 201.9's: IT Findings identified

   during the BlueLinx audit. The 2019 BlueLinx audit engagement was performed by

   Alaintiff..
                                                               i




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          350.      BDO USA, LLP issued a clean opinion on the B;lueLinx audit report.

          351.     The B1ueLinx 2020 audit was performed by Meldrick Wilson and

   Defendant Wesley Freeman. Plaintiff had started being retaliated against by Wesley

   Freeman in 2020 due to the Plaintiff highlighting material issues associated with tlie IT

   audits Defendant Wesley Freeman oversaw.

          352.     Additional evidence exists and will be provided at trial.                   ~~
                 Interpreting IT Findirigs Identified During The BIueLinx Audit
                                                                                               ~
          353.     A material weakness in ICFR exists if there is some flaw within the

   company's overall control system such that it is at least reasonably possible that a

   material misstateinent in the company's financial statements will not be prevented or

   corrected. Such a misstatement may occur on an annual basis (either before or after an

   audit, or through interim financial reporting. Examples may include inadequate

   segregation of duties (e.g., an employee who has super administrative rights across

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   multiple systems can authorize, approve, and review a transaction causing a significant

   deficiency or material weakness to go undetected without reviewing that employee's

   access), inappropriate edit rights to the financial reporting production database, or

   inappropriate change management controls across one or rriore
                                                           ,     financial reporting
                                                                                               i
   production systems. The sigriificant deticiencies and material weaknesses identified

   duringthe B1ueLinx's engagements were not reported.

          354.    Under existing SEC and PCAOB rules, material weaknesses in ICFR
                                                                                               i
   must be publicly reported. Flaws in control systems that fall below "material" are          ~

   reported within the company, either to company management, or the audit committee           '
                                                                                               i
   (depend'tng upon the severi ty
                                . of the fiaw).                                                I

          355.    Plaintiff was retaliated against, persecuted, and attacked by Defendants

   when she tried to report the fraud. BIueLinx is not listed as a Defendants. The evidence    ~

   is provided to demonstrate a pattecn of fraud in the BDO USA, LLP Atlanta office.           '

             Material Weaknesses Identified ®uring the NMS's SOX Audit                         ~

          356.    Defendant NMS is a Georgia limited liability company and a                   ~

   consolidated domestic subsidiary of SPAR. NMS is owned jointly by SPAR througli its

   indirect ownership of 51% of the NMS membership interests and by National

   Merchandising of America, Inc. ("NMA"), through its ownership of the other 49% of

   the NMS membership interests. Defendant Edward Burdekin is the Chief Executive

  Officer and President and a director of NMS and also is an executive officer and director

  of NMA.

          357.    SPAR, a piiblic company witti a class o£securities registered under either

  Section 12 or which is subject to Section I5(d) of the Securities Exchange Act of 1934,


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   as amended ("Exchange Act"), must file reports with the SEC ("Reporting

   Requirements"). The underlying basis of the Reporting Requirements is to keep

   shareholders and the markets informed on a regulai• basis in a transparent manner.

   Reports filed by Defendant SPAR and NMS with the SEC can be viewed by the public

   on the SEC EDGAR website. The required reports include an annual Form I0-K,                 ~

   quarterly Form l OQ, and current periodic Form 8-K as well as proxy reports and certain     ~
                                                                                               i

   shareholders and affliates' reporting requirements.                                         i

          358.     SPAR, a reporting company, has record keeping requirements, must

   implement internal accounting controls and is subject to the Sarbanes-Oxley Act of

   2002, including the CEO and CFO certifcations requirements and independent auditor          i

   requirements.                                                                               j

       NMS and SPAR's Responsibili y To Implement Internal Accounting Controls

          359.     Defendant NMS and SPAR are subject to the Foreign Corrupt Practices

   Act of.1977 ("FCPA"), which requires every US-traded company (regardless of size and        ~

   place of operations), to create a system of "internal accounting controls". In tlie SEC's

   rules impleinenting the FCPA, this responsibility requires NMS and SPAR to:                 ~

                   (1)    Maintain books, records, and accounts which, in reasonable           ;

          detail, accurately and fairly reflect the company's transactions; and

                   (2)    Devise and maintain intemal controls sufficient to provide

          reasonable assurance that:

                         a.      Transactions    are     executed   -in   accordance   with

                   management authorization;




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                                                  b.             Transactions are recorded as Jecessary to (a) permit

                                  preparation of financial statements in conformity with GAAP and (b)

                                  maintain accountability for assets;

                                                  C.             Access to assets is permitted only in accor.dance with

                                  management authorization; and

                                                  d.             Recorded accountability for assets is compared with the

                                  existing assets at reasonable intervals, and appropriate action is taken

                                  regarding any differences.

   NMS'and SPAR's Responsibiliiy To Comply With The Sarbanes-Oxley Act of 2002,

                                Includin~; The CEO And CFO Certifications Requirements

                   360.NMS and SPAR are subject to the Sarbaiies-Oxl'ey Act of 2002.                                                                                                         ~
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                   361.          Under §404(a) of the SOX Act, SPAR is required to annually report on

  SPAR's own assessment of the effectiveness of its controls.




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                          362.              NMS and SPAR's management had not identif ed and reported the IT
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   findings classified as significant deficiencies and/or material weaknesses as required                                                                                                                        ~

   under §404(a) of the SOX Act.

                          363.              Under §302 of the SOX Act, NMS and SPAR's corporate officers must

                       s acceP t resPonsibilitY(as evidenced b Y mdividual signatures) for
   (amon g other thin g)                                                                                                                                                                                         ~
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   the conterit of Interface's annual §404(a) report. The CEO and CFO must personally
   -                                                                                                                                                                                                             ;
                                                                                                                                                                                                                 ~
   certify the content of the reports filed with the SEC and the procedures established by
                                                                                                                                                                                                                 ;
   the issuer to report disclosures and prepare financial statements ~




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               364.          NMS and SPAR's manageirient signed off on the financial statements                                           ;
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   filed with the SEC when IT findings classified as material weaknesses had not been
                                                                                                                                          ~
   identified by NMS and SPAR's management as required under §302 of the SOX Act.                                                         :

            BDO USA LLP's Responsibilities As Group Auditors for NMS and SPAR                                                             ;
                                                                                                                                          i
               365.          BDO USA, LLP was engaged to perform an audit of Internal Control                                             I
                                                                                                                                          ~

   Over Financial Reporting that is integrated with an audit of Financial Statements.                                                     ~

               366.          "Internal controls" refer to those procedures within a company that are

   designed to reasonably ensure compliance with the company's policies. Under the

   framework developed in the early 1990s by the Committee on Sponsoring Organizations

   (COSO), there are tlirce types of internal controls:

                              (1)           Those that affect a company's operations

                              (2)           Those that affect a company's compliance with laws and

                              regulations

                              (3)           Those tliat affect a company's financial reporting

   Those.controls that affect a company's financial reporting are the sole focus of §404 of

   the Sarbanes-Oxley Act of 2002 ("SOX").                                                                                '
                                                                                                                                              i
                367.          The objectives of the auditor, and therefore BDO USA, LLP in an audit

   of ICFR are to:

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                        (1)                obtain reasonable assurance about whether material weaknesses exist as

  of the date specified iri management's assessment about'the effectiveness of ICFR (as of

  date) and

                        (2)                express an opinion on the effectiveness of ICFR in a written report, and

  communicate with management and those charged with governance, based on the                                                                                                                              !

  auditor's findings.                                                                                                                                                                                      !

                                          IT Findings Identified During the NMS and SPAR's Audit

                        368.               The primary audit contact at NMS was Edward S. Burdekin.

                         369.              Defendant Ed Burdekin oversaw the audit efforts and provided the

   relevant documents to the Plaintiff as an employee of BDO USA, LLP. Defendant Ed

   Burdekin is also responsible for designing, implementing, and testing the controls that

   were identified as significant deficiencies and/or mate"rial weaknesses.

                         370.               Some of the material weaknesses identified included, but were not

   limited to, segregation of duties issues across the financial repor;ting production systems

   and the lack of monitoring controls.
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                              See Exhibit 5. The screensfiots    below
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                    371.             BDO USA, LLP issued a clean opinion on the SPAR audit report.

                    372.             Additioiial evidence exists and will be provided at trial.

                    Interpretiniz IT Findings Identified Durin,g The NMS and SPAR's Audit

                    373.             A inaterial weakness exists if there is some flaw within the company's

   overall control system such that it is at least reasonably possible that a material

   misstateiTient in the company's financial statements will not be,grevented or corrected.

   Such a misstatement may occur on an annual basis (either before or after an audit, or

   through interim financial reporting. Examples may include .inadequate segregation of

   duties (erg., aii employee who has super administrative rights across multiple systems

   can authorize, approve, and review a transaction causing a significarit deficiency or

   material weakness to go undetected without reviewing that employee's access),

   inappropriate edit rights to the financial reporting production database, or inappropriate

   change management controls across the Board. The significant deficiencies and

   material weaknesses identified during the NMS and SPAR's;engagements were not.

   reported.


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          374.    Under existing SEC and PCAOB rules, material weaknesses must be

   publicly reported. Flaws in control systems that fall below "material" are reported withiri

   the company, either to company management or the audit committee (depending upon

   the severity of the flaw).

          375.    Plaintiff was retaliated against, persecuted, and'attacked by Defendants

   when she tried to report the fraud.

                  Burgl;ary At Plaintiffs Home And In Her 'Storage Unit

          376- Plaintiff left her home to meet with her then att'orney Michael Sullivan

   and Walter Jospin from Finch McCranie on July 29`}', 2021 to discuss the whistleblower
                                                                                                 ,
   case. When Plaintiff returned, she noted that her home had been broken into because her       ~

   safe was opened.

          377.    Plaintiff notes that the only parties with knowledge of her whereabouts

   or that she had left her unit on July 29`h, 2022 were Walter Jo.spin, Michael Sullivan,

   Beacon Management's employees and contractors as well as the 1280 West's Board

   members, manageinent, the btiilding's etnployees/contractors, and Plaintiff's neighbois
                                                                                                 ~
   living on the same floor (21" floor).                                                         j

          378.    in order to access the 1280 West building, visitors must stop by the           '
                                                                    .
  concierge desk. The concierge will call the homeowner and ask whether the guest should

  be let up to the unit. In addition, the elevators at 1280 West are "smart" elevators. Smart

  elevators operate by passengers first selecting the floor they wish to travel to, instead of

  pressing an up or down button. Passengets are then directed ~o an elevator that wiIl

  transport them to their destination with the fewest number of stops on the way. The 1280

  West elevators prevent tailgating because a guest caiinot access~the residential area and


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   move between floors without an access card. Access cards are reserved for residents,

   1280 West Management, authorized Beacon Management's einployees and contractors,

   as well as authorized third-parties. Access cards are not issued lightly and a list of people
                                                                                                       i
   with an access card is maintained in the 1280 West Management office located at 1280            ;

   West.Peaclitree ST NW Atlanta, GA 30309. Furthermore, it is impossible to access the

   1280 West building tlirough the parking without an access card.

          379.    Plaintiff claims that the following individuals and entities listed below:

   Beacon Management Services, Lisa Simmons, Steven Weibel, 1VIichael Shinners, Nadia

   Taylor, 1280 West Condominium Association, 1280 West Board of Directors (Micah

   Kurtzberg, Ronnie Bridges, Micliael Shaffer, Brett Dettmering, and Rohan Rupani), and

   Justin Mungal are responsible for allowing unauthorized individuals or have broken into

   Plaintiffs home themselves in order to facilitate the harassment and retaliation

   perpetuated by BDO USA, LLP and as retaliatory act for suing the 1280 West Board                !

   members in a separate class action lawsuit.                                                     ;(

          380.    Plaintiff's privacy was violated. Plaintiff's perso:nal information such as

   bank account information, social security number, HIPAA protected health infonnation,

   life insurance, health insurance information, and passwords to websites had been

   accessed and stolen.

          381_    Plaintiff called the non-emergency liiie of the police the next day of the

   break-in because it was already late wlien Plaintiff noticed the crime. Officer Caleb

  responded to the call. Upon her arrival at the scene of the crime on June 31 s`, 2021,

  Officer Caleb had already decided that she was not going to write a police statement for         '




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                                                                   ~
   the crime Plaintiff was reporting. In addition, Officer Caleb had decfined to loolc at the   ~
                                                                                                i

   cameras.

          382.    Plaintiff had to wait several days to discover that the police report was

   classified as a non-cr.iine. As soon as Plaintiff realized the enormous mistake, Plaintiff   ;

   went.to the Precinct at CNN. Plaintiff talked to Officer Caleb who refused to update the

   report. Plaintiff talked to Officer Caleb's supervisor who referred her to Detective

   Finney at Precinct 1. Officer Caleb's Supervisor told Plaintiff that only Detective Finney

   at Precinct 1 couid update the police report.                                                I
                                                                                                ~

          383.    Plaintiff then visited Precinct 1 in order to talk to Officer Finney.         ~

   Unfortunately, Officer Finney was not present. An officer at Precinct 1. sent Plaintiff to

   the inain police station in Downtowii Atlanta.

          384.    Plaintiff talked to Officer Derrell at the main police station in Downtown

   Atlanta and Officer Derrell explained that the responding officer at Zone 5 would be         i
                                                                                                i
   responsible for updating the police report.

          385.    Plaintiff reached out to Officer Finney again and he refused to update the
                                                                                                i
   report. Plaintiff then talked to Officer Finney's supervisor, Lieutenant Dawson.

          '386.   Lieutenatit Dawson called Precinct 5 and arranged for Officer Caleb to            i
                                                                                                I

   go back to the Plaintiff.s unit on September 2°d, in order to retake Plaintiff.s full

   statement, dust for fingerprints, and review the camera footage.

          387.    Plaintiff's unit was accessed by someone with the keys to her unit. Only

   the building management has a copy of the Plaintiff's keys because it is required by .the

   1280 West Governing documents, which Plaintiff explained to Officer Caleb.                       ,




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           388.   Despite the fact that Plaintiff had explained to Officer Caleb that
                                                                     ~

   someone in the management's office could be involved, Officer Caleb was not discreet

   enough when talking with the building management. Officer Caleb laid down the scope
                                                                     ~
   of her activities in Plaintiff's unit and what Officer Caleb would do or would not do in

   front of the 1280 West management who are listed as Defendants in this lawsuit.                     ~

           389.   Officer Caleb took Plaintiffs updated statement, dusted for fingerprints,            ~

   and refused to look at the camera footage. Officer CaIeb stated "I am not being paid the

   big bucks."                                                                                         i

           390.   Plaintiff's unit was again accessed oii August 28'h, 2021. During Officer            ;

   Caleb's second visit to Plaintiff's unit, Plaintiff explained to Officer Caleb that Plaintiff

   had video footage showing that someone had accessed PlaintifPs unit again on August                 I
                                                                                                       ~
                                                                                                       ;
   28tn, 2021 when Plaintiff was away from home. Officer Caleb did not request Plaintiff

   to provide a copy of the video.

           391.   Officer Ca1eb took notes of the new security system Plaintiff had

   installed during her second visit.

           392.   On September 3`d, 2021, Plaintiff's unit was again accessed witliout lter                I
                                                                                                   •   I
   authorization. The intruders knew how to enter the premises and where the cameras were              ;
                                                   .                                                       i
   located because the cameras were turned away from whoever accessed Plaintiff's unit.

           393.    Officer Caleb indicated a Detective would be in touch with Plaintiff, but

   has not provided a contact information. Plaintiff has not heard back from the police since

   then.

           394.    Plaintiff's storage unit wa"s also broken into by tnembers of the
                                                                         I
   management's team in order to access information about Plaintiff's personal life.

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           395.   Plaintiff's relationship with Beacon Management and the 1280 West

   Board of Directors are strenuous. Plaintiff is part of a separate balcony lawsuit against
                                                                                                i

   1280 West Board of Directors and Beacon Management.

           396.   Plaintiff has also moved to stop a multi-million dollars renovation project

   started by the 1280 West Board of Directors at the height of the pandemic in 2020 and

   2021.




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                                                                                                         i                            !
          397.           Unfortunately, Plaintiff is required to have a copy of her home's key on

   file with the 1280 West managemeiit as shown in this excerpt taken from the 1280 West

   Bylaws.
                      (d)      Tlni, Krve. At the request of the Association, each Residentiol Unit Owner, by acceptance of'a
             deed to a Unit, agress to provide the Association with a key to the Unit (and the security alann code, if any) ta be
             used by the Association for maintanance, emergency, secutity or safcty purposes as provided in dubperagraph 9(a)
             of th9s Decleralion (and for pest control, if necessary, as provided in subparagraph 21(e) of this Declaiation).
             Neither Declarant nor the Associadon shall be liable for any Ioss or damaga due to its holding such key, or use of
             such koy for the putposes deacrlbed above and rnch Owner shall indemnify and hold harrniess Dectarant, the
             Assoeiation and its officers and ditectors against any and all expenses, Including attomoys' fees, reasonably
             incurred by or impased upon;Declarant, the Association or its offlcers or diractors in eonneetion wilh any action,
             suit, or other praceeding (ineluding settlement of any such acdon, suit or prpceeding) brought by tho Owner or the


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             Owner's family, tenants, guests, employees, invitees, or licensees against Declarant, the Association, its officers or
             dircctors arising out of or relating to its holding or use of such key for the purposas described above.



          398.           Plaintiff reviewed the 1280 West video tapes and noted that one neighbor

   iiving in Unit 2110 had a"management" key in his hand as evidenced by the special

   type of key chain he was holding in his hand.




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        399.   Plaintiff requested a meeting with the 1280 West Board' of Directors.




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       lhat he has accessed my unit In my abseace.                                                     i'
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             400.            Plaintiff noted that.Defendant Michael Shinners liad gone to extra lengths                                   r~
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   in order 'to block.Plaintiff acces's to information to determine wlio broke into PlaintifFs                                            ~

   unit.




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              401.          Plaintiff inet with the Board Members, but no satisfying resolutions were

   achieved.

              402.          Plaintiff tried to follow-up on the investigation with Deputy Chief Peek,

   but has riot received a response:                                                                                      I
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              403.          Plaintiff also tried to follow-up on the investigation by contacting Major

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             404.           Plaintiff reached out directly to the Chairman of the SEC because the
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   crime was no longer only a white-collar crime.
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            405.           Because of the Burglary, .Plaintiff has also beeri obligated to; urgently

  and via Express mail, reach out to all the businesses with a relationship to her as shown

  on the screenshot below.




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          406.    In addition, to the retaliatory practices and attacks presented herein,
                                                                                                                   I
   Plaintiff was fearing for her life and her family's lives because Defendant Antony Reh,                         I

   an Assurance Partner at BDO, had stated that Plaintiff "and her farnily should be

  careful".

          407.    Plaintiff also feared for her and her family's lives because Defendant

  Mark Davenport, an Assurance Partner at BDO, and Defendant Peter Poppo, an

  Assurance Partner at BDO, kept using the word "Dead" with emphasis duririg tlie

  PCAOB inspection wlien BDO was eommitting fraudulent acti6ns and was advocating

  for the client Atlanticus.



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              408.           Plaintiff had lost contact with her family during this time. Plaintiff's

   phones have been spoofed. Plaintiff's coinputers had been hacked during the several

   break-ins, including the one in the Month of June 2021.

                                                                   Harassment And Intimidation

              409.           Plaintiff received several harassing communications on her personal cell

   phone and filed multiple police reports.
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          410.         Plaintiff communicated witli Investigator Stroner about the harassing

  communication who first appeared dismissive about the complaint.




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         411.      Plaintiff then received ano.ther communication,from Detective Stroner

  who indicated that the incidents were being investigated




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          412.    Plaintiff also filed a complaiiit against her neighbor Defendant Justin

   Mungal who lives in unit 2108 at 1280 West Peachtree ST NW Atlanta, GA 30309.

          413.    According to Defendant.Justin Mungal, he mistakeiily reeeived a USCIS

   Ietter addressed to the Plaintiff. The USCIS letter in question was an immigration letter

   that the Plaintiff needed as she was in the process of becoining a United States ("US")

   Citizen. Defendant Justin Mungal turned over the letter to the Plaintiff and stated he was

  waiting to hear the Plaintiff come home at night in order to deliver the Ietter to the        i

  Plaintiff. Plaintiff believes that it was an intimidation technic from the Defendants since   ~

   the Plaintiff needed the letter from the USCIS as a step to become a US Citizen.

          414.    Defendant Justin Mungal stated to the Plaintiff "Raissa do you need any       ;

   help because I am busy and I have a job". Plaintiff had recently resigned itom her

  position .at BDO USA, LLP and had not shared her job status with Defendant Justin

   Mungal.                                                                                      ,
                                                                                                ;
          415. ' Thereafter, Defendant Justin Mungal repeatedly 'told the Plaintiff that he         j
                                                                                                ~
  worked for BDO USA, LLP. Plaintiff believes that Justin Mungal was spying on

   Plaintiff and may have himself broken into the Plaintiff's unit:                                 i
                                                                                                I
          416.    Defendant Justin Mungal also stated to the Plaintiff that "she should not     '
                                                                                                ;
  let her important documents lay around. Banlcs have lockboxes." The Plaintiff had her

  $1,000,000 State Farm life insurance policy documents in plain sight in her living room

   for several weeks. Plaintiff believes fhat Justin Mungal was one of the perpetrators who

   broke into her unit.                                                   i




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              417.        Defendant Justin Mungal has lcnocked on Plaintiff's door at all times of

   tlie day and niglit over several months starting in February 2022. Plaintiff has called 911

   and filed a report with the Atlanta Police department.

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          418.            Plaintiff owns two parking spaces at 1280 West condominium. The 1280

   West management has left several unwarranted notices on her car, sorrietimes with the

   threat of towing the vehicle.
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           419.   Plaintiff was subject to overt and subtle persecutions at BDO USA as

  well. As Plaintiff took the stand of performing..the IS Assurance work with due diligence

  and refused to obey Wesley Freeman's tacit command to "stop doing my job so well" as

   Wesley Freeman stated one day, Wesley Freeinan launched .a smear campaign against

   Plaintiff.                                                                                  '

           420.   Wesley Freeman enlisted the assistance of junior associates to attempt to    I

  smear Plaintiff's reputation. These junior associates included, Shaivi Patel, Meldrick       I

   Wilson, and Dylan Lee.                                                                      I
                                                                                               ;
           421.   It went so far that a Partner, Peter Popo, asked to talk to Plaintiff and    ~

  stated that he has never heard so many bad things mentioned about someone's behavior;        i
                                                                                               i
  usually what he hears is the bad work someone does. In the Plaintiff's case, it was the      ;

  opposite. These associates enlisted to smear Plaintiff's reputation were part:of the group   I
                                                                                               I
  who delivered such a poor work product as described herein.                                  ~

           422.   Plaintiff's performance goals were changed in the system without her         ~
                                                                                               l
  consent. Plaintiff notified Human Resources at BDO USA, LLP.                                     ~




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          423.    Plaintiff received an unwarranted disciplinary warning for duplicate CPE        i
                                                                                                  ~
   attendance. Plaintiff contacted Human Resources and fought to liave the disciplinary           j
                                                                                                  I
   removed from her file. Plaintiff believes that it was also a. forni of intiinidation technic

  she faced while reporting the fraud in the Atlanta office of BDO USA, LLP.                      I

                               Computer and Phone Hacking

          424.    Plaintiff's home was accessed multiple times without her authorization

  and her data was compromised.

          425.    Plaintiff reached out to Google Support to let them know of the

  unauthorized access on the GmaiI account rkengnel@gmai'l.coin.

          426.    Plaintiff   is   now     unable       to   access   her   Gmail     account

  rkengnel@gmail.com.                                                 I




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          427.         Plaintiff claims that BDO USA,.LLP had not fiill
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   application from Plaintiff's personal cell phone she ntilized fqr work as Plaintiff had
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   requested at the height of the attacks. Plaintiff contacted 1T support at BDO USA, LI,P   ;

   to ask them to remove the software several times, including on November 2IS`, 202.1.
                                                                I
   BDO USA, LLP was still 616. to access infonnation on Plaintiff's cell phone and read
                                                                 ~
   her data a8erwards.                                           I                           `




         428.    Plaiiitiffs noted that the following neighbors ihad a remote desktop

  connection on her personal laptop:                             ,

                 (1)     Jamie Johnson, living in unit 2009 at I280 West Peachtree ST        1

         N.W Atlanta, GA 30309.
                                                                                             ;
                 (2)     Silvia Calloway, living in unit 2209 at 1280 West Peaclitree ST     ~
                                                                 I
         NW Atlanta, GA 30309.
                                                                 ~
                 (3)     Sirocus Barnes, living in unit 2010 at 1280 West Peaclitree ST      ~
                                                                 ~
         NW Atlanta, GA 30309.                                   ;

                                       Bribery Attempt           I
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          429.           Plaintiff claims that the high increase in salary was an attempt at a bribe.

   When Defendant Anthony Reh, Assurance Partner in the BDO USA, LLP Atlanta office,

   met with Plaintiff Raissa Djuissi Kengiie to discuss her performance evaluation, and

   announced her pay increase, Defendant Anthony Reh stated "you should take it".



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          430.           Plaintiff advised Defendant Finch McCranie that she had received a pay

   increase of approximately 12% and that Plaintiff was up for promotion. Defendant
                                                                                                                                                                                                                            {
   Michael Sullivan stated "well, that is a good thing".

                                           The Plaintifi's Contract With rinch McCranie

          431.           Defendant Finch McCranie is a Georgia Limited Liability Partnership

   with a business address located at 225 Peachtree St NE #1700, Atlanta, GA 30303.

          432.           Plaintiff Raissa Djuissi Kengne signed the engagement letter with

   Defendant Finch McCranie in June of 2021. A few months later Finch McCranie

   resigned as the attorney frm on the Plaintiff's case,



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          433.       The Plaintiff claims that her tlien attorneys Finch and McCranie disclosed

   the content of their conversation to BDO USA, LLP and did not disclose a conflict of                                                         ;

   interest they had with any of the Defendants.

          434.       Plaintiff uploaded several documents she had, in Defendant's Finch

   McCranie's data room per their request. Defendant's Finch McCranie took several

   months to review the evidence provided by the client and asked rnany questions about

   BDO USA, LLP, the clients Plaintiff was working on, and the Plaintiff's family.

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                                                                   i                           1
             435.   The Plaintiff was at a meeting at Defendant's Finch McCranie's offices     i
                                                                   .                           ~

   located at 225 Peachtree St NE #1700, Atlanta, GA 30303 for many hours when her

   hotne was broken into on June 29`h, 2021.

             436.   During the meeting on June 29`h, 2021 at Defendant Finch McCranie, an

   accountant was brought in to look at the evidence provided by Plaintiff. The accountant     ~

   asked the Plaintiff whether she believed that Defendant Wesley Freeman was drugged              ~

   and that was why he could not deliver on the engagements. Plaintiff responded by asking

   if "Defendant Wesley Freeman had been drugged for the past five (5) years" while
                                                                                               I

   overseeing the public company's engagements.

             437.   Plaintiff claims that the question asked by Defendant Fincli McCranie's        ;

   accountant is the same one Defendant Scott Meier, the Southeast IS Audit Partner at             ~
                                                                                                   f
   BDO USA, LLP had asked Plaintiff during their face-to-face meeting at the
                                                                                                   i

   "Establishment" restaurant in Midtown Atlanta in early 2021.                                        j

             438.   Plaintiff advised Defendant Finch McCranie that she had received a pay

   increase of approximately 12%. Defendant Michael Sullivan stated "well, that is a good          i
                                                                                                   I
   thing".                                                                                             ~

             439.   While leaving the meeting, Defendant Finch McCranie's accountant

   stated to the Plaintiff "Nobody is safe".

             440.   Plaintiff had several phone calls thereafter with Finch McCranie. During

   one of these calls, Defendant Michael Sullivan explained that they did not have enough

   evidence to pursue the case. Plaintiff notes that it took Defendant Finch McCranie more
                             ,
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   than 6 months to determine whether they had enough evidence for the whistleblower

   case. Upon informing the Plaintiff on the phone that Defendant Finch McCranie could

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   no longer represent her, Defendant Michael Sullivan asked if Plaintiff wanted to drop

   the case. Plaintiff responded "No". Plaintiff noted that there was a long pause on the

   phone. After a few minutes, there was a few laughs on the call. Defendant Michael

   Sullivan then told the Plaintiff that his firm would send her an email to withdraw from

   the case.

          441.              Plaintiff claims that after the plione call with Defendant Finch McCranie,

   the retaliation practices and attacks she. faced, both at work and in her personal life, had

   increased.

          442.              When Finch McCranie resigned from representing the Plaintiff, Plaintiff

   attempted to hire another attorney.

          443.              Not finding any attorney in Georgia, Plaintiff flew to Washington, DC

   several times to meet with attorneys as evidenced by the flight tickets.

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                     444•                 Plaintiff also met with Attorney Richard Renner in Washington, DC who

           explained he could not take the case and was ve>'y familiar with' Michael Sullivan.
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          445.    When Plaintiff was in Washington, DC, Plaintiff had parked her car at

   the airport. Upon her return, Plaintiff had noted that the car had been moved. A double

   of the Plaintiff"s car key was located in the safe at Plaintiff"s home that was broken into.

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                   GA 3(`y 20.

                   OnTuesdaq, 4ugust?a"', M'll, I arrived nithealrpnrt ataround g:Oc1 am in the morninG,,l parked on
                   h+vef2.1 was driving TSilver VW.letta rJth tag number OWS762a.1 went ta Wa,hington, btin the
                   momfng and came back the aame d,ry, nn Tuesday, August 73", 2071.Upon mg return, m4 care0uld no+
                   be found ir: the location l left4t, t called lhe assisrancu number. ! watted for about an hour ana a halt on
                   the ertiergeny call line locatedin the parking because the customar rep.eser.tativ'es computer did not
                   work, t er,r!r,d up calung 911. It is only when 1 caCed 911-than the customer represematwe reachetl out
                   t'o her supervisor to meet me fn ttre parking lot. Ihe Sypervisor drove me eround the parking, how0ver.
                   my car tvas not to be fouhd. Finally, we drove past lhe parking space vinrrre I lhad parkad an<t n•,y car wns
                   t)tere. Someone had relumad lt.

                   Slmlfady, I traveleU to 4Vashinglen, OC on Friday. AuHust 2'71°, 2021 and canm b.ack to.Atlanta ttre same
                   day. Again, my carhad been mdved.

                   My home tvas broken Into many tlmes tlds year and a copy of my car key may hnve becn duplicnted.
                   I wnuld !!ke to retlucst ar.lhvestlgation Into the unauthodied used of ntyvublclo whilo piiked at
                   lackmn-Hartsfield A!rport on the daiei listed above.lf you are nt thr•., r igln department to look Into che
                   matler, could you please forNard this reryuest to the apprupriale department and notify me7



                   Should you have any questtons or conccros, please dn not hesilne to contact me. Fninil address ts my
                   preferred method of cummun➢cul(on.



                   Sincerely,

                   Ralssa tiengne
                   t.t tenene&Rm;ril.com
                  Tel: 442-868-1.707




           446.    Because Plaintiff was unable to find legal representation, slie decided to

   represent herself in this lawsuit as a pro se party.

           I)efendant Wesley Freeman's View on Audit and LinkedIn Account

          447.     Defendarit Wesley Freeman was responsib'1e for overseeing all the IT

   audits, for both public and private clients, in support of the opinion on the financial



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   statements that are the subject matter of the wliistleblowing protected activity and the
                                                                   ~
   primary reason Plaintiff was retaliated against.

          448.    Defendant Wesley Freeman exhibited a lack of independence, ethics,
                                                                                                 '
   integrity, and a tendency to misrepresent the facts or outright 1'ie by hiding IT findings    ~
                                                                                                 I
   that were assessed at a level of significant deficiencies or material weaknesses from         i

   both, the core BDO Assurance team and the client's management, to hide the poor

   quality of audits that he performed and by trying to shift the parrative by telling his

   supervisors and colleagues, including upper management at BDO, that Plaintiff was

   doing way more than necessary on all the engagements. Hereby depriviiig and impacting         ;

   for two (2) years, Plaintiff's opportunity for promotion, growth, higher salary, and

   higher bonuses.

          449.    Defendant Wesley Freeman wrote in the Plaintiff's annual performance

   review the following

                  "Some feedback on areas to help her grow as she progresses into the next

                  level and works-toward that Senior Manager role would be to work on

                  our client "bed side manner". She is orie of those auditors clients either

                  love her or not, but I think that especially on the private companies if she   i

                  could change up her cornmunications style to fit the client's it will make     ~

                  her work life so much easier. If I can give an example of this, it would be

                  the way she works with the private clients .and her expectations there.

                 [..,] That usually seem to be where the issue is.i[ ...] I have received a.
                                                                    I                                I
                 few calls that felt the expectations were too higli, and while supporting
                                                                   I
                 Raissa, I could that for a$40k audit, they may have a point".


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           450.    The annual performance review is read by Defendant Wesley Fteeman's                                                                                                                          ;
                                                                                                                                     r                                                                          i
   supervisor, including people at BDO who approve promotions and other incentives.




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           451.    Defendant Wesley Freeman in his review of the Plaintiff's performance

   is referring to private clients that.are part of the subject inatter of the wliistleblower case.

           452.    Plaintiff claims that IT audits performed on several private clients in the

   BDO USA, LLP Atlanta office can be factually demonstrated by comparing the results

   of the work perforined by Defendant Wesley Freeman and his prior team (who have all                                                                                                                              '
                                                                                                                                                                                                                    i
   resigned except for one associate who chose to transfer to a different department) to the                                                                                                                        ~

   results of the work performed by Plaiiitiff Raissa Djuissi Kengne when she started at

   .BDO USA, LLP Atlanta office.

           453.    Defendant Wesley Freeman's statement to Plaintiff in her Annual

   Performance review related to looking at the revenue generated by BDO on private

                                                                                                                                         i
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   clients as a mean of "customizing" the audits of private clients is in direct. contradiction   ~
                                                                     ;                            I

   with the AICPA standards. The AICPA is committed to a private company financial                i

   reporting constituency and therefore, the auditors inust follow the AICPA standards
                                                                     ,                            I
   when auditing private companies.                                                               ~
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          454.    The AICPA's Clarified Statements on Auditirig Standards ("AU-C")                j

   Section 330 titled "Performing Audit Procedures in Response. to Assessed Risks and             !

   Evaluating the.Audit Evidence Obtained" addresses the auditor's. responsibility to design

   and implement responses to the risks of material misstatement, identified and assessed

   by the auditor in accordance witli section 315, titled "Understanding the Entity and Its       i

  .Environment and Assessing the Risks of Material Misstatement", and to evaluate the

   audit evidence obtained in an audit of financial statements.

          455.    AICPA's AU-C Section 330 states that "the obj1ective of the auditor is          ~

   to obtain .sufficient agprouriate audit evidence regarding; the assessed risks of              ;

   material misstatement thr.ough designing and implementing appropriate responses

   to those risks."

          456..   AICPA's AU-C Section 330 paragraph .A76 states that the auditor's
                                                                                                  I
   professional judgment about what constitutes sufficient appropriate audit evidence is

   influenced by such factors as the:

                  (1)     significance of the potential misstatement in the relevant assertion

          and the likelihood of its having a material effect, individually or aggregated with

          other potential misstatements, on the financial statements (see section 450,
                                                                                                  ~
          Evaluation of Misstatements Identified During the Audit).




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                  (2)      effectiveness of management's responses: and controls to address

          the risks.

                  (3)      experience gained during previous audits with respect to similar

          potential misstatements.

                  (4)      results of audit procedures performed, including whether such

          audit procedures identified specific instances of fraud or. error.

                  (5)      source and reliability of the available information.

                  (6)      persuasiveness of the audit evidence.

                  (7)                                 . and its environment, including its
                           understanding of the enti ty

          intemal control.

          457.     Plaintiff claims that nowhere in the AICPA stand"ards there is a

   requirement to forgo further audit procedures when one or inore; significant deficiencies

   or material weaknesses are identified because of economic factors.

          458.    Plairitiff also claims that the evaluation performed by Defendant Wesley

   Freeman was biased .for all the reasons listed herein, including the fact that Plaintiff

   started the best practice of having "kick-offl' meetings with clients unless tlle clients

   refused to do so due to the clients' prior experience with the audit process. A kick-off

   meeting in audit is the first tiieeting between the audit.team andd, the client; there can be

   a separate introductory meeting prior to the kick-off ineeting, but the kick-off ineeting

   provides an opportunity to prepare the client that will be assisting with the audit process,

   allowing for a timely and efficient audit. The kick-off ineeting should not happen

   without the auditor having a general understanding of the client if it is a recurring




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   engagement. That understanding can be obtained during one or more pre-planning                I

   meeting(s). The kick-off ineeting can also provide managemenf an opportunity to:

                    (1)    define the type of audit that is being performed,

                    (2)     explain the scope of the audit, the timing of the audit, the audit

          steps, the relevant controls to be tested, the prior year findings and remediation

          status, confirm the name of the relevant control areas' owners,

                    (3)    determirie whether there were any changes in the clients'

           management and controls,

                    (4)    discuss the coritent of the PBC list to be provided and obtain

          client's availability to schedule additional meetirig for both clarifcation and

          conduct the audit,
                                                                     ~

                    (5)    any other relevant topics speciEc to the client's industry and

          environment.

          459.      Defendant Wesley Freeman was not clear in his review about whether or

   not he was referring to a pre-planning meeting or a kick-off ineeting. In either case, the

   Plaintiff performed pre-planning and kick-off ineetings iriternally with the core audit

   team and externally with the client on all Plaintiff's engagements as allowed by the

   circumstances.

          460.      Plaintiff claims that Defendant Wesley Freeman':s review is an indicator

   of the type of comments he has made to BDO USA, LLP's upper management in order
                                                                     ~
   to hide his fraudulent acts and negatively impact Plaintiff s career.
                                                                     i                           I
          461.      Defendant Wesley Freeman has shown a lack'of ethics and integrity

   towards applying the SEC, PCAOB, or AICPA standards and regulations. in other


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   instances. Defendant Wesley Freernan had an audit in 2020 that thoroughly failed the

   PCAOB inspection and had to spend approxirriately the budget of the initial audit in the

   remediation process. Defendant Wesley Freeman then stated to the Plaintiff that the

   PCAOB's conurients were unnecessary and he did not know why he had to perfortn

   testing over high-risk control areas he knew would not give rise to significant

   deficiencies or material. weakness.

             462.   Plaintiff claims that it is nearly impossible .to• know that a high-risk     ;

   control area does not have a significant deficiency or a material weakness if tfie relevant

   control is not tested.                                                                        ~
                                                                                                 ~
             463.   Plaintiff claims that Defendant Wesley Freeman has advocated for the         j

   clients and lacks independence when overseeing audits of both private and public              ~'
                                 .                                                               ;

   engagements.

             464.   AICPA's AU Section.220 titled "lndependence" paragraph 01 states that        '

   "the auditor must maintain independence in mental attitude in all matters relating to the

   audit."                                                                                       ~

                                          Itesignation                                           i

             465.   Plaintiff resigned from her positioii at BDO USA, LLP on Novernber           ~

   18`h, 2021 because she feared for her life and her family's life. However, the retaliation

   and persecution she faced in her personal and professional life ciid not stop.

             466.   Plaintiff claims that Defendant Wesley Freeman had stated, in a now

   deleted tweet posted after her resignation, that the Partners at BDO USA, LLP did the

   right choice by standing with him.                               I




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                                                                                                                                    i
      The 1280 West Governing Documents — Requfred Hearing VVith The Board                                                          i
                                                                                                                                    i
                                                       Before Lawsuit

           467.        The Bylaws of 1280 WestCondoininium Association, Inc. ("1280 West
                                                                                                                                    i
   Bylaws") stipulates that no homeowners can file a lawsuit against the 1280 West

   Association and the Board Members without attending a hearing with the Board of                                                  i
                                                                                                                                    ~

   Directors.

               (b)     nicriite 12~antnrinn, prior to filing a I_a'wstiif against dte Association, lhe Board. or any officer,
      direotor, or property manager ef.the Association, an Owner or Occupantmust request and attend a hearing with the
      Board of Directors. Any such request shall be in writing and sha11 be personally delivered to any tnetnber of the
      Board of Directars or the property manager, if any. of the Association. The Owner or Occupant shall, in such
      request and at the hearing, maRe a good faith effott to cxplain the grievance to the Board and resolve the dispute in
      an amicable fashion, and shall give the Board a teasonable opportunity to address the Owner or Occupant's
      grievance before filing suit. Upon receiving a request for a heariag, the Board shall give nOtice of the date, time       t
      and place of the hearing to. the person requesting the hearing. The Board shall schedule this hearing for a daic nol
      less than seven (7),or more than twenty,-one (21) days from the date of reccipt of the roquest.


           468.       Plaintiffhas already requested and obtained a heacing with the 1280 West

   Board of Directors in September of 2021 as stipulated in the 1280 West Bylaws and

   evidenced on the screenshot below.

           469.       Plaintiff can legally sue the defendants listed as part of Group. 4


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                                                     Withholding and Reading Mail                                                                          ~

         470.             The Defendants listed as pairt of Group 4 have withheld mail from the,
                                                                                                                                                           I
  Plaintiff including mail from the Georgia Department of Driver Services and the




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   Department of State. The mail withheld from Plaintiff included Plaintiff's Georgia

   Driver License, Georgia ldentification Card, and United States passport.

          471.    Plaintiff has also been delayed for months from responding to her banks

   and other public services letters because the letters were withheld.

          472.    The Defendants in Group 4 have access to or have significant influence

   over the people with access to the back of the mailbox where the post office would

   deliver the mail.

           473.   Plaintiff has been obligated to open a mailbox at a USPS location.

                                        Impact on Plaintiff

          474.    Plaintiff reported a violation of SEC regulations, PCAOB standards, the

   Antitrust law, and a circumvention of the law prollibiting eniployers from asking about

   ari applicant's pay history in the state of Georgia. The misconduct happened at BDO

   USA, LLP. Plaintiff was retaliated against. Her home was broken into, her life and her

   family's lives were threatened, and her computers and phones were hacked.

           475.   The unlawful, illegal, crimiiial, and horrific actions perpetrated by the

   Defendants were to intentionally cause undue financial hardship and emotional distress

   to the Plaintiff and to prevent Plaintiff from reporting the.fraud as a Whistleblower.

          476.    Plaintiff was blacklisted from relevant jobs and has had no income

   ($0.00) for tlie entire year 2022.

          477.    Plaintiff was prevented from f ling for unemployment claims.

          478.    Plaintiff was prevented from having access to public resources such as

   the Georgia. Homeowner Assistance Fund or the Georgia Supplemental Nutrition

   Assistance Prograrn ("SNAP").

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          479.    Defendants have also made it impossible for Plaintiff to obtain health,

   dental, and vision insurance through the Health Insurance Marketplace.

          480.    Defendants have made it hard for Plaintiff to find similar job

   opportunities by not only blacklisting the Plaintiff, but by providing negative job

   references.

          481.    Defendants have engaged in a mental and finaricial warfare against the

   Plaintiff in the hope Plaintiff would not report the fraud and their criminal activities.

          482.    Plaintiff has decided to provide a public service to the community, the

   profession, and the United States by reporting illegal, unlawfiil, criminal, and horrific

   actions perpetrated by the Defendants.



                                             IV.

                     CAUSES OF ACTiON AND CLAIMS FOR RELIEF

                                         COUNT ONE:

   Violation of t1►e° Dodd-Frank Wall Street Reform and Consumer Protection Act

                                    (Against All Defendants)

          483.    The Plaintiff re-atleges and incorporates by reference each and every

   paragraph of this Complaint and the facts as if set forth here in full for all purposes.

          484.    A violation of the Dodd-Frank Wall Street Reform and Consumer

   Protection Act ("Dodd-Franlc") occurs when employers retaliate against whistleblowers

   who, inter alia, "malc[e] disclosures that are required or protected under 'the Sarbanes—

   Oxley Act of 2002 (15 U.S.C. 7201 et seq.) ... and any other law, rule, or reguIation       I

   subject to the jurisdiction of the" SEC. See I5 U.S.C. 78u-6(h)(1)(A)('iii).



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           485.    This generally means that employers may nbt discharge, demote,                  i

   suspend, harass, or in any way discriminate against an employee in the terms .and

   conditions of einployment who has reported conduct to the Commission that the

   employee reasonably believed violated the federal securities laws.

           486.    Under podd-Frank, which applies to both public and privately heid

   companies, an einployer cannot retaliate against an employee for di'sclosing any

   information that is protected or required under SOX.

           487.    As described more in this - Complaint, the ,Defendants, by force,               ~

   intimidation, or threat, agreed and conspired among themselves and with others as well
                                                                                                   I
   as took separate action to create a hostile work environment, a toxic climate at work,          i
                                                                                                   I

   and unsafe work conditions for the Plairitiff in•order to stop lier from reporting the fraud.

           488.   As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to reprimand Plaintiff without just •cause.

           489.   As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves•and with others as well
                                                                                                   ~
   as took separate action to harass the PIaintiff in order to stop her from reporting the         ~

  fraud.

           490.   As described rnore in this Complaint; the Defendants, by force,                  j

  intimidation, or threat, agreed and conspired among themselves and with others as well

  as took separate action to deny the Plaintiff a promotion, advancement, and salary and

  bonuses associated with a promotion in order to prevent the Plaintiff from reporting the         I

  fraud.


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          491.    As described more in this Complaint, the I Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to alter the employee's responsibilities and duties in order to

   prevent the Plain"tiff from reporting the fraud.                                               ~

          492.    As described more in this Complaint, the :Defendants, by force,                 II

   intimidation, or threat, agreed and conspired among themselves and with others as well         i

   as took separate action to break into Plaintiff's home in order to prevent the Plaiuff
                                                                                      ti          f

   from reporting the fraud.

          493.    As described more in this Complaint, the Defendants, by force;

   intimidation, or threat, agreed and conspired among themselves and with others as well

  as took separate action to hack into Plaintiff's personal computer and pliones in order to

  prevent the Plaintiff from reporting the fraud.

          494.    As described more in this CompIaint, the .Defendants, by force,

  intimidation, or threat, agreed and conspired among themselves and with others, as well

  as took separate action, to retaliate and persectite Plaintiff at - work and at home for

  engaging in a protected activity.

          495.    As described more in this Complaint, the Defendants, by force,                   i
                                                                                                   ~
  intimidation, or threat, agreed and conspired among themselves and with others, as well          ~

  as took separate action, to retaliate and persecute Plaintiff at work and at home in order

  to force Plaintiff to resign from her position.

          496.    The parties in this case can be divided into four (4') inain groups, together

  referred to as the "Defendants".




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                                                                                            ~



                                                                                            t



   Group 1— Plaintiff: is comprised of Raissa Djuissi Kengne, the Plaiiitiff, and former

   employee of BD0 U'SA, LLP. The Plaintiff worked for BDO USA, LLP in the capacity

   of.Experienced IT Audit Manager.

   Group 2— Defendant: is comprised of BDO USA, LLP, the,public accounting firm             ;

   where the Plaintiff was formerly employed, as well as Partners and members of

   management at BDO USA, LLP including Scott Meier, Wesley Freeman, Paul Davison,

   Jason Cuda, Justin Wilkes,..Anthon.y Reh, Peter Poppo, Marlc Davenport, Johnson Wong,

   Interface, Atlanticus, Kas Naderi, BioHoriions, and NMS. Group 2 also includes Just'in

   Mungal, a homeowner who lives directly .across the Plaintiff's unit at the 1280 West

   Condominium in Atlanta, GA who admittediy stated that he worked for BDO USA,

   LLP.                                                                                     ~
   Group 3— Defendant: is comprised of the attorney's firms and,its representatives who

  were previously retained by Plaintiff for representation in the whistleblower case. The

  attorney's frm was Finch McCranie and its representatives were Michael Sullivan and

  Walter Jospin.

  Group 4— Defendant: is comprised of the 1280 West Condominium and its Board of
                                                                                            ~
  Directors as well as Beacon Managenient Services, LLC and its agents. Beacon              ~
  Management Services, LLC has served as the inanagernent company for the 1280 West

  Condom'inium Association where the.Plaintiff resides for many years.

          497.     Plaintiff reported a violation of SEC regulations, PCAOB standards,

  AICPA standards, the Antitrust law, and a circumvention of the law prohibiting
                                                                                             .
                                                                 I                          I
  employers from asking about an ap.plicant's pay history in the, state of Georgia. The

  misconduct happened while working for Defendant BDO USA, LLP.
                                                           ;
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                                                                                                 i

                                                                                                 ~




          498.    Plaintiff noticed that the workpapers for both piivate clients and public
                                                                                                 i

   clients were being rolled forward year after year without actually doing the work. The

   public clients included B1ueLinx, Atlanticus, IZEA, BioHorizons, and Interface
                                                                                                 I
   Interface has recently been under an SEC investigation and an executive employee at           i

   Interface has been suspended. The private clients included Janus, Dustex, FCCI, RSR

   Group, ProCare, Vacation Express, and tnany others.                                           ~

          499.    The issue with the IT audit work performed was that several deficiencies

   that should have been identified as significant deficiencies or material weaknesses were

   actually identified as only control deficiencies. Because they were never conununicated

   to the :financial statements audit team :as control deficiencies, fhe financial statements

   audit teams never adjusted their audit strategy and tlierefore, never addressed the risk of

   material misstatements due to ineffective IT general controls (ITGCs).

          500.    Plaintiff informed the Defend'atit Wesley Freeman of the work that was

   not perfornied in roughly 75% of the public and private engagements he oversaw in the

  Atlanta office. Defendant Wesley Freeman did not deny it. Instead of fixing the issues         I
                                                                                                 {
  going forward, he kept misreporting the IT findings to hide the significant deficiencies

  and/or material wealcnesses in the IS Assurance w.orkpapers from both the core

  Assurance team and the clients.

          501:    Defendant Wesley Freeman enlisted the assistance of junior associates to       ~

  attempt to smear Plaintiff's reputation; thereby preventing Plaintiff from being

  promoted.                                                         ~
                                                                    i
                                                                    I
          502.    Defendant Wesley Freeman enlisted the assistance of. junior associates to

  attempt to smear Plaintiff's reputation; thereby preventing' Plaintiff from being

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   promoted. These associates enlisted to smear Plaintiff's reputation were part of the group       f

   who delivered such a poor work product.                                ,

           503.    Plaintiff started being retaliated against at work. Retaliation practices

   included, but were not limited to .reprimanding Plaintiff in reviews without ground,             ~

   harassing Plaintiff, creating a hostile work environment for Plaintiff, making subtle

   threats to Plaintiff, and using intimidation tactics against Plaintiff.

          504.     During intemal meetings in 2020 and early 2021, Anthony Reh, a Partner       1

   at BDO USA, LLP in the fin•n's Atlanta office stated that the mid-tier public accounting

   firms (primarily BDO and Grant Thomton).and the big 4(E&Y, Deloitte, KPMG, and

   PWC) were going to reach an agreement to stop employees from switching firms and

   asking for higher salary.

          505.     Plaintiff was blacklisted from relevant job opportunities by Defendants

   from engaging in protected' activities.

          506.    Plainti£f started being persecuted and retaliated against at home when she

  signed the contract with Defendant Finch McCranie.

          507.    Plaintiff's liome was broken into at multiple times. Plaintiff lives in a

  condominium that has concierge services, which include, but ar,e not limited to, trained      j

  staff who keep watch over the whole building, visitors screening process, and smart

  elevators that i•equire a key card in order to both enter the biiilding and access the        ;

  residential areas. Intruders must have had a double of the Plaintiffs key and a building

  access card in order to enter the Plaintif£'s home.



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          508.     Defendant Finch McCranie breached the attomey-client privilege by

   reporting the attorney-client protected conversations it had with Defendant BDO USA,

   LLP and failed to disclose to Plaintiff a conflict of interests.
                                                                  ;
          509.     Defendant Finch McCranie utilized the information provided by Plaintiff       ~

   and then client to cause her harm and solidify relationship witli Defendant BDO USA,          ~

   LLP and other members of Group 2.                                                             I

          510.     Defendant 1280 W.est Condominium Associafion and 1280 West Board

   of Directors and otlier members in Group 4 facilitated and participated in the illegal

   entry and trespass into the Plaintiff's unit.

          511.     Defendant 1280 West Condomin'ium Association and 1280 West Board              i
                                                                                                 ;
   of Directors and other members in Group 4 have persecuted Plaintiff at lioine by

   claiming she owed HOA fees and attempting to deny her homeowner's privileges.

           512.    Plaintiff's relationship with the 1280 West Condominium Association,

   the 1280 West Board of Directors, and other members in Group 4 have been strenuous

   in the past. Plaintiff is part of a class action lawsuit against the 1280 West Condoininium

   Association, the 1280 West Board of Directors, and other rnembers in Group 4 for

   breach of fiduciary duty, among other counts.

           513.    Defendants 1280 West Condominium Association and 1280 West Board              i

   of Directors and other members in Group 4 have been in contact with Defendant BDO

   USA, LLP and other members of Group 2 in order to cause harm to Plaintiff.

           514.    Defendant Interface, Iiic's headquarters are located in 1280 West at 1280

   W Peachtree St NW, Atlanta, GA 30309. Members of Interface's inanagement have a

   relationship with the 1280 West Condominium Association, the 1280 West Board of

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   Directors, and other members in Group 4. Several lnterface's; employees also iive at

   1280 W Peachtree St NW in the same condominitim as Plaintiff.

          515.    The clients of BDO USA, LLP, particularly the clients who are

   mentioned as part of the subject matter of the whistleblowing case, have threatened and
                                                                                                 i

   engaged in retaliatory practices against the Plaintiff.                                       I

          516.    Kas Naderi, Chief Information Officer of Atlanticus, threatened Plaintiff

   during a meeting held between Atlanticus and BDO USA, LLP, and asked the Plaintiff            ;

   if Plaintiff was "now willing to work with Atlanticus" and if Plaintiff was the one

   "asking for additional evidence to provide to the PCAOB" inspectors.

          517.    Plaintiff was late during that call. Scott Meier, BDO IS Assurarice
                                                                                                 I

   Principal, told Kas Naderi in the call that Plaintiff was in the bathroom. At tlle tiine of   i

   the said meeting, Plaintiff was working from home. Plaintiff was, indeed in the bathroom.     I

   Scott Meier had no way of knowing the Plaintiff was indeed in the bathroom uriless the

   Plaintiff was under surveillance by BDO USA, LLP, its agents,,and/or the Defendants.

          518.    During the saine 2021 PCAOB inspection of Atlanticus Holdings

   Corporation, Plaintiff was itidirectly threatened by Defendant Mark Davenport (Audit

   Partner), Defendant Peter Poppo (Audit Partner), and Monica; Burgess (Senior Audit            ;
                                                                                                 i
   Manager) who kept using the word "dead" in many rrieetings held to discuss responses          ~
                                                                                                 ~

   to the PCAOB questions.

          519.    During the 2021, IT audit of BioHorizons, Elbert Jenkins, VP of IT, at

   BioHorizons had postponed several meetings with Plaintiff, Was missing calls, and
                                                                    i
   attempted to blame Plaintiff for the missing calls and meetirigs in order to provide
                                                                    i
   negative feedback to Plaintiff's supervisor.


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                                                                    ;
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           520.    During the 2021 IT audit of NMS, Edward Burdekin, President of NMS

   had made a pointed reference to the Family Dollar store as one of their clients. The

   Plaintiff was at a Family Dollar store the day before with her mbther.

          521.     Plaintiff noted that recordings and evidence gathered during that same         i

   meeting in September of 2021 with Edward Burdekin were deleted from her laptop in              ~~

   an attempt to present her in a bad light. Plaintiff's IT experience allowed her to recover

   the data and prevent a possible by performance-evaluation cominent.                            ;

          522.    Defendant BDO USA, .LLP and other entities and individuals listed in            ~

   Group 2 conspired with entities and individuals listed in Group 3 and Group 4 in order

   to cause intentional harm to the Plaintiff as retaliation for reporting the fraud to the       i

   proper authorities.                                                                            '
                                                                                                  i
          523.    The Defendants, singly and together, retaliated against Plaintiffby failing     ;

   to promote Plaintiff, harassing Plaintiff, discriminating against Plaintiff in the terms and

   conditions of employment, and broke into Plaintiffs home, for reporting conduct to the

  SEC that the Plaintiff reasonably believed violated the federal securities law.

          524.    Defendants, singly and togetlier, retaliated against Plaintiff for disclosing

  information that is protected, or required under SOX and under podd-Frank.

                                        COUNT TWO:

   Violation of Commission Rule 21F-17(a) of the Dodd-Frank Wall Street Reform

                                and Consumer Protection A.ct

                                   (Against All Defendants)

          525.    The Plaintiff re-alleges and incorporates by reference each .and every

  paragraph of this Complaint and the facts as if set forth here in full for all purposes.


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                                                                                                     ;
                                                                                                     ;
                                                                        I




           526.   A violation of Rule 21F-17(a) occurs when a"person takes any action to

   impede an individual from communicating directly with the Commission staff about a

   possible securities law violation, including enforcing or th'reatening to enforce a

   confidentiality agreement...with respect to such communications."

           527.   As described more in this Coniplaint, the 1Defendants, by force,                       ~

   intimidation, or threat, agreed and conspired among themselves,, and with others as well
                                                                                                     1
   as took separate action to create a hostile work environment, a toxic clirriate at work,          ~

   and unsafe work conditions for the Plaintiff in order to stop her from reporting the fraud.

           528.   As described more in this Complaint, the Defendants, by force,                     I

   intimidation, or threat, agreed and conspired among themselves: and with others as well           I

  as took separate action to reprimand Plaintiff witliout just cause.
                                                                                                     ~
           529.   As described more in this Complaint, the Defendants, by force,

  intimidation, or threat, agreed and conspired among themselves, and with others as well

  as took separate action to harass the Plaintiff in order to stop her from reporting- the

  fraud:

           530.   As described more in this Complaint, the .Defendants, by force,                    ,

  intimidation, or threat, agreed and conspired atnong themselves and with others as well
                                                                                                 .   f
  as took separate action to deny the Plaintiff a promotion, advancement, and salary and

  bonuses associated with a promotion in order to prevent the Plaintiff from reporting the

  fraud.

           531.   As described more in this Complaint, the Defendants., by force,
                                                                                                     I
  intimidation,. or threat, agreed and conspired amozig themselves-and with others as well


                                                                    ~

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                                                                                                  ~
   as took separate action to alter the employee's responsibilities and duties in order to        ~

   prevent the Plaintiff from reporting the fraud.

          532.    As described more in this Complaint, the ;Defendants, by force,
                                                                                                  ~

   intimidation, or threat, agreed and conspired among themselves: and with others as well        ,

   as took separate action to break into Plaintiff's home in order~to prevent the Plaintiff

   from reporting the fraud.                                                                      ~
                                                                                                  I

          533.    As described more in this Complaint, the ,Defendants, by force,                 t
                                                                                                  i

   intimidation, or threat, agreed and conspired among themselves;, and with others as well       ;
                                                                                                  ;
   as took separate action to hack into Plaintiff's personal computei and phones in order to

   prevent the Plaintiff from reporting the fraud.                                                ;

          534.    As described more in this Complaint, the. Defendants, by force,                 j

   intimidation, or threat, agreed and conspired among themselves'and with others, as well        i

   as took separate .action, to retaliate and persecute Plaintiff at work and at home for

   engaging in a protected activity.

          535.    As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others, as well        i

  as took separate action, to retaliate and persecute Plaintiff at wo:rk and at home in order

  to force Plain₹iff to resign from her position.                                                 ~

          536.    The parties in this case can be divided into four (4) inain groups,, together   '

  referred to as the "Defendants".

  Group 1— Plaintiff: is comprised of Raissa Djuissi Kengne, ttie Plaiintiff, and former
                                                               ~
  employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in the capacity

  of Experienced IT Audit Manager.

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   Group 2— Defendant: is comprised of BDO USA, LLP, the ipublic accounting firm

   where the Plaintiff was formerly employed, as well as Partners and members of

   managemeiit at BDO USA, LLP including Scott Meier, Wesley Freeman, Paul Davison,

  Jason Cuda, Justin WiIkes, Anthony Reh, Peter Poppo, Mark Davenport, Johnson Wong,           '
                                                                                               I

  Interface, Atlanticus, Kas Naderi, BioHorizons, arid NMS. Group 2 also includes Justin           j
                                                                                               i
  Mungal, a hoineowner who lives directly across the Plairitiff's unit. at the 1280 West

  Coridominium in Atlanta, GA who admittedly stated that he worked for BDO USA,

  LLP.

  Group 3--= Defendant: is comprised of the attorney's firms and its representatives who

  were previously retained by Plaintiff for representation in the whistleblower case. The      ;

  attorney's f rm was Finch McCranie and its representatives were Michael Sul livan and        ;

  Walter Jospin.

  Group 4— Defendant: is comprised of the 1280 West Condoiniriium and its Board of

  Directors as well as Beacon Management Services, LLC and its agents.. Beacon

  Management Services, LLC has served as the management company for the 1280 West

  Condominium Association where the Plaintiff resides for many years.                          ~

         537.      Plaintiff reported a violation of SEC regulations, PCAOB standards,
                                                                                               ~
  AICPA standards, the Antitrust law, and a circumvention of the law prohibiting

  employers from asking about an applicant's pay history in the state of Georgia. The

  misconduct happened while working for Defendant BDO USA, LLP.

         538.      Plaintiff noticed that the workpapers for both private clients and public

  clients were being rolled forward year after year without actually doing the work. The
                                                                  I
  public clients included B1ueLinx, Atlanticus, IZEA, BioHorizons, and Interface.


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   Interface has recently been under an SEC investigation and an executive employee at

   Interface has been suspended. The pcivate clients included Janus, Dustex, FCCI, RSR

   Group, ProCare, Vacation Express, and many others.
                                                                  ~
          539.    The issue with the IT audit worlc performed was 'that several deficiencies
                                                                                                i
   that should have been identifed as significant deficiencies or material weaknesses were      ;
                                                                                                ~
   actually identified as only control deficiencies. Because they were never communicated

   to the fnancial statements audit team as control deficiencies, the financial statements

   audit teams never adjusted their audit strategy and therefore, never addressed the risk of   ,

   material misstatements due to ineffective IT general controls (iTGCs).

          540.    Plaintiff informed the Defendant Wesley Freeman of the work that was

   not performed in roughly 75% ofthe public and private engagernents he oversaw in the         '

   Atlanta office. Defendant Wesley Freeman did not deny it. Instead of fixing the issues

   going forward, he kept misreporting the IT findings to hide the significant deficiericies

   and/or material weaknesses .in the IS Assurance workpapei's •frotn both the core

   Assurance team and the clients.

          541.    Defendant Wesley Freernan enlisted the assistance of junior associates to     ,

   attempt to smear Plaintiff's reputation; thereby preventing Plaintiff from beirig

   promoted.

          542.   Defendant Wesley Freeinan enlisted the assistance of junior associates to

  attempt to smear Plaintiff's reputation; thereby preventing Plaintiff from being

  promoted. These associates enlisted to smear my reputation were part of the group who

   delivered such a poor work product.




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           543.    Plaintiff started being retaliated against at wor,k. Retaliation practices

   included, but were not Iimited to reprimanding Plaintiff in reviews without ground,

   harassing Plaintiff, creating a hostile work environment for PIaintiff, making subtle

   threats to Plaintiff, and using intimidation tactics against Plaintiff.

           544.    During iiiternal meetings in 2020 and early 2021,!Anthony Reh, a Partner

   at BDO USA, LLP in the firm's Atlanta office stated that the mid-tier public accounting

   frms (primarily BDO and Grant Thornton) and the big 4(E&Y, Deloitte, KPMG, and

   PWC) were going to reach an agreement to stop employees from switching -firms and

   asking for higher salary.
                                                                                                 ~
           545.    Plaintiff was blacklisted from relevant job opportunities by Defendants
                                                                                                 ~

   from engaging in protected activities.

           546.    PIaintiff started beirig persecuted and retaliated against at home when she

   signed the contract with Defendant Finch McCranie.

           547.    Plaintiffs home was broken into multiple times. Plaintiff lives in a

   condominium that has concierge services, which include, but are not limited to, trained

   staff who keep watcli over the wliole building, visitors screening process, and smai•t

   elevators that require a key card in order to both, enter the building and access the         ~
                                                                                                 ~

   residential areas. Intruders must have had a double of the Plaintiffs key and a building

   access card in order-to enter the Plaintiff's home.

          548.     Defendant Finch McCranie breached the' attorney-client privilege by

   reporting the attorney-client protected conversations it had with Defendant BDO USA,

   LLP and failed to disclose to Plaintiff a conflict of interests.



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          549.     Defendant Finch McCranie utilized the information provided by Plaintiff

   and then client to cause her harm and solidify relationsliip with Defendant BDO USA,

   LLP and other members of Group 2.

          550.     Defendant 1280 West Condominium Association and 1280 West Board              ~

   of Directors and other members in Group 4 facilitated and participated in the illegal        I

   entry and trespass into the Plaintiff's unit.                                                ;

          551.     Defendant 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 have persecuted Plaintiff at hotne by

   claiming she owed HOA fees and attempting to deny her homeowner's privileges.
                                                                                                ~
          552.     Plaiiitiff s relationship with the 1280 West Con.dominium Association,

   the 1280 West Board of Directors, and other meiiibers in Group 4 have been strenuous         i
                                                                                                i

   in the past. Plaintiff is part of a class action lawsuit against the 1280 West Condominium   ~

   Association, the 1280 West Board of Directors, and other members in Group 4 for

   breach of fiduciary duty, among other counts.

          553.    Defendants 1280 West Condoininium Association and 1280 West Board

   of Directors and otlier members in Group 4 have been in contact with Defendant BDO           '
                                                                                                i

   USA, LLP and other members of Group 2 in order to cause harm to Plaintiff.                   !
                                                                                                ~
          554.    Defendant Interface, Inc's head.quarters are located in 1280 West at 1280     ~
                                                                                                ,

   W Peachtree St NW, Atlanta, GA 30309. Members of Interface's management have a

   relationsliip with the 1280 West Condominium Assoc'iation, the 1280 West Board of.

  Directors, and other members in Group 4. Several Interface's employees also live at

   1280 W Peachtree St NW in the same condominium as Plaintiff

                                                                    ,


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          555.    The clients of BDO USA, LLP, particularly the clients who are                '

   mentioned as part of the subject matter of the whistleblowing case, have threatened and

   engaged in retaliatory practices against the Plaintiff.

          556.    Kas Naderi, Chief Information Officer of Atlanticus, threatened Plaintiff    !
                                                                                               i
   during a meeting held between Atlanticus and BDO USA, LLP and asked the Plaintiff           !

   if Plaintiff was "now willing to work with Atlanticus" and if Plaintiff was the one         i

   "asking for additional evidence to provide to the PCAOB" inspectors.

          557.    Plaintiff was late during that call. Scott Meier, BDO IS Assurance

   Principal, told Kas,Naderi in the call that Plaintiff was in the bathroom. At the time of

   the said meeting, Plaintiff was working from home. Plaintiff was indeed in the bathroom_

   Scott Meier liad no way of knowing the Plaintiff was indeed in ithe bathrooin unless the

   Plaintiff was under surveillance by BDO USA, LLP, its agents, and/or the Defendants.

          558.    During the same 2021 PCAOB inspection of Atlanticus Holdings

   Corporation, Plaintiff was indirectly threatened by Mark Davenport (Audit Partner),

   Peter Poppo (Audit Partner); and Monica Burgess (Senior Audit Manager) who kept

   using the word "dead" in many meetings held to discuss responses to the PCAOB               '

   questions.

          559.    During the 2021, IT audit of BioHorizons, Elbert Jenkins, VP of IT, at

   BioHorizons had postponed several tneetings with Plaintiff, was missing calls, and

   attempted to blame Plaintiff for the missing calls and meetings in order to provide

   negative feedback to Plaintiffs supervisor_
                                                                   i




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                                                                     i
          560:    During the 2021 1T audit of NMS, Edward Burdekin, President of NMS

   had made a pointed reference to the Family Dollar store as one of their clients. The

   Plaintiff was at a Family Dollar store the day before witli her mother.

          561.    Plaintiff noted that recordings and evidence gathered during that same           i
                                                                                                   4
   meeting in September of 2021 with Edward Burdekin were deleted from her laptop in               ~
                                                                                                   i
   an atteinpt to place her in a bad light. Plaintiff's IT experience allowed her to recover       j
                                                                                                   ,
   the data and prevent a possible by performance evaluation comment.

          562.    Defendant BDO USA, LLP and other entities and individuals listed in

   Group 2 conspired with entities and individuals listed in Group 3 and Group 4 in order          ;

   to cause intentional harm to the Plaintiff as retaliation for reporting the fraud to the        f
                                                                                                   ~
   proper authorities.                                                                             ;

          563.    The Defendants, singly and together, retaliated against Plaintiff by failing
                                                                                                   i
   to promote Plaintiff, hai•assing Plaintiff, discriminating against Plaintiff in the terms and

   conditions of employmeiit, broke into Plaintiff's home, for reporting conduct to the SEC        ;

   that the Plaintiff reasonably believed violated the federal securities law. Thereby, by         ;

   Defendants' actions, impeding Plaintiff from communicating directly with the SEC staff

   about a possible securities law violation.
                                                                                                   I

          564.    Defendants, singly and together, retaliated against Plaintiff for disclosing         j

   infonnation that is protected or required under SOX and under podd-Frank.

                                       COUIVT THREE:
                                                                      1
                     Violation of the Sarbanes Oxley Act ("SOX;') Act

                                       18 U.S.C. §1514A

                                    (Against All Defendants)

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          565.    The Plaintif£ re-aIleges and incorporates by r.eference each and every

   paragraph of this Complaint and the facts as if set fortli here in full for all purposes.

          566.    A violation of 18 U.S.C. § 1514A occurs when a company with a class of

   securities registered under section 12 of the Securities Exchange Act of 1934 (15 U.S.C.

   781), or that is required to fcle reports under section 15(d) of the Securities Exchalige Act   4
                                                                                                   i
   of 1934 (15 U.S.C. 78o(d)) including any stibsidiary or affiliate whose financial               I

   information is included in the consolidated finaiicial statement's of such company, or

   nationally recognized statistical rating organization (as defined in -section 3(a) of the

   Securities Excharige Act of 1934 (15 U.S.C. 78c), or any officer, employee, contractor,

   subcontractor, or agent of such company or nationally recognized statistical rating

   organization, discharge, demote, suspend., threaten, harass, oi in any other inanner            ~

   discriminate against an employee in the terms and conditions of employment because of

   any lawful act done by the employee--

                  (1)     to provide information, cause information to-be provided; or

          otherwise assist in an investigation regarding any conduct which the employee

          reasonably believes constitutes a violation of section 1341, 1343, 1344, or 1348,

          any rule or regulation of the Securities and Exchange Commission, or any                 '

          provision of Federal law relating to fraud against shareholders, when the

          infonnation or assistance is provided to or the investigation is conducted by--

                          a.      a Federal regulatory or law enforcement agency;

                          b.      any Member of Congress or any committee of Congress;

                  or




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                          C.      a person with supervisory authorily over the employee (or

                  such other person working for the employer who has                the

                  authority to investigdte, discover, or tenninate

                          misconduct); or

                  (2)     to file, cause to be filed, testify, participate in, or otherwise assist   ~
                                                                                                     I
           in a proceeding fzled or about to be filed (with any knowledge of the employer)           j

           relating to an alleged violation of section 1341, 1343, 1344, or 1348, any rule or        ~


           regulation of the Securities and Exchange Commission, or any provision of

           Federal law relating to fraud against shareholders.                                       ;

           567.   As described more in this Complaint, the -Defendants, by force,                    j

   intimidation, or threat, agreed and conspired among tliemselves and with others as well

  as took separate action to create a hostile work environment, a toxic climate at work,
                                                                      .                              !

  and unsafe work conditions for the Plaintiff in order to stop her from reporting the fraud.

           568.   As described more in this Complaint, the Deferidants, by force,                    I

  intimidation, or threat, agreed and conspired among themselves' and with others as well

  as took separate action to reprimand Plaiiitiff without just cause.

           569.   As described more in this Complaint, the Defendants, by force,                     i

  intimidation, or threat, agreed and conspired among themselves. and with others as well

  as took separate action to harass the Plaintiff in order to stop her from reporting the

  fraud.

           570.   As described more iri this Complaint, the Defendants, by force,
                                                                      i
  intimidation, or threat, agreed and conspired among themselves;and with others as well

  as took separate action to deny the Plaintiff a promotiori, advancement, and salary and

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   bonuses associated with a promotion in order to prevent the Plaintiff from reporting the

   fraud.

            571.   As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to alter the employee"s respoiisibilities and duties in order to

   prevent the Plaintiff from reporting the fraud.                                               I

            572.   As described more in this Complaint, the ;Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action-to break into Plaintiff's home in order to prevent the Plaintiff
                                                                                                 ~
   from reporting the fraud.                                                                     ;
                                                                                                 i
            573.   As described more in this Complaint, the 'Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well        ~

   as took separate action to hack into Plaintiff's personal computer and phones in order to

   prevent the Plaintiff from reporting'the fraud.

            574.   As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired .among themselves and with others, as well

   as took separate action, to retaliate and persecute Plaintiff at- work and at home for

   engaging in a protected activity.

            575.   As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others, as-well

   as took separate action, to retaliate and persecute Plaintiff at wo;rk and at home in order

   to force Plaintiff to resign from her position.                   ~
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                                                                     I


                                                                                                  ;
          576.     The parties in this case can be divided into four (,4) main groups, together

   referred to as the "Defendants".

   Group 1— Plaintiff: is comprised of Raissa Djuissi Kengne„ the Plaintiff, and former

   employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in the capacity
                                                 ~
   of Experieiiced IT Audit Manager.

   Group 2— Defendant: is comprised of BDO USA, LLP, the public accounting firm

   where the Plaintiff was formerly employed, as well as Partners and members of

   management at BDO USA, LLP including Scott Meier; Wesley Freeman, Paul Davison,

   Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark Davenport, Johnson Wong,

   Interface;.Atlanticus, Kas Naderi, BioHorizons, and NMS. Group 2 also includes Justin

   Mungal, a homeowner wlio lives directly across the Plaintiff's unit at the 1280 West

   Condoriminium in Atlanta, GA who adinittedly stated that he worked .for BDO USA,

  LLP.

  Group 3— Defendant: is comprised of the attorney's finiis and, its representatives who

  were previously retairied by Plaintiff for tepr.esentation in the whistleblower case. The

  attorney's firm was Finch McCranie and its representatives were Michael Sullivan and

  Walter Jospin.

  Group 4— Defendant: is comprised of the 1280 West Condominium and its Board of

  Directors •as well as Beacon Management Services, LLC and its agents. Beacon                    ;

  Management Services, LLC has served as the management company for the 1280 West

  Condominium Association where the Plaintiff resides for many 'years.

         577.      Plaintiff reported a violation of SEC regulations, PCAOB standards,

  AICPA standards, the Antitrust law, and a circumvention of the law prohibiting


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   employers frorri asking about an applicant's pay Iiistory in the state of Georgia. The       ,

   misconduct happened while working for Defendant BDO USA, I:.LP.

          578.    Plaintiff noticed that the workpapers for both private clients and public

   clients were being rolled forward year after year without actually doing the work. The

   public clients included B1ueLinx, Atlanticus, IZEA, BioHorizons; and Interface. ,

   Interface has recently been under an SEC investigation and an executive einployee at

   Interface has been suspended. The private clients included Janus, Dustex, FCCI, RSR

   Group, ProCare, Vacation Express, and many others.

          579.    The issue with the IT audit work perfonned was that several de'ficiencies     ~

   that should have been identified as signiftcant deficiencies or material weaknesses were

   actually identified as only control deficiencies. Because they were never communicated

   to the fnancial statements audit team as control deficiencies, the financial statements

   audit teams never adjusted their audit strategy and therefore, never addressed the risk of

   material misstatements due to ineffective IT general controls (ITGCs).

          580.    Plaintiff informed the Defendant Wesley Fieeman of the work that was

  not performed in roughly 75% of the public and private engagements he oversaw in the

  Atlanta office. Defendant Wesley Freeman did not deny it. Instead of fixing, the issues

  going forward, he kept misreporting the IT findings to hide the significant deficiencies

  and/or material weaknesses in the IS Assurance workpapers from botli the core                 ~

  Assurance team and the clients.

          581.   Defendant Wesley Freeman enlisted the assistance of junior associates to

  attempt to smear Plaintiff's reputation; thereby preventing'- Plaintiff from being            '

  promoted.


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           582.    Defendant Wesley Freeman enlisted the assistance of junior associates to

   attempt to smear Plaintiffls reputation; thereby preventing Plaintiff from being

   promoted. These associates enlisted to srnear iny reputation were part of the group who

   delivered such a poor work product.
                                                                                                 ~
           583.    Plaintiff started being retaliated against at work. Retaliation practices

   included, but were not limited to reprimanding Plaintiff in reviews without ground,

   harassing Plaintiff, creating a hostile work environment for Plaintiff, making subtle

   threats to Plaintiff, and using intimidation tactics against Plaintiff.

           584.    During intemal tneetings in 2020 and early 2021, Anthony Reh, a Partner
                                                                                                 i
   at BDO USA, LLP in the frm's Atlanta office stated that the mid-tier public accouriting       ;

   firms (primarily BDO and Grant Thornton) ajid the big 4(E&Y, Deloitte, KPMG, and

   PWC) were going to reach an agreement to stop employees from switching firms and

   asking for higher salary.

          585.     Plaintiff was blacklisted from relevant job opportunities by Defendants       ;
                                                                                                 i
   from engaging in protected activities.                                                        ~

          586.     Plaintiff started being persecuted and retaliated against at lhome when she
                                                                                                 ~
   signed the contract with Defendant Finch McCranie.

          587.    Plaintiff's home was broken into at multiple times. Plaintiff lives in a

   condominium that has concierge services, which include, but are not limited to; trained

   staff who keep watch over the whole building, visitors screening process, and smart

   elevators that require a key card in order to both, enter the building and access the

   residential areas. Intruders must have had a double of the Plaintiff"s key and a building

   access card in order to enter the PIaintiff's home.


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           588.    Defendant Finch McCranie breached the attorney-client privilege by           ,

   reporting the attorney-client protected conversations it had with Defendant BDO USA,

   LLP and failed to disclose to Plaintiff a conflict of interests.
                                                                                                I
           589.    Defendant Finch McCranie utilized the information provided by Plaintiff

   and then client to cause her hann and solidify relationship with Defendant BDO USA,

   LLP and other members of Group 2.                                                            ;
                                                                                                ,
          590.     Defendant 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 facilitated and participated in the. illegal

   entry and trespass into the Plaintiff's unit.

          591.    Defendant 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 have persecuted Plaintiff .at home by

   claiming she owed HOA fees and attempting to deny her homeowner's privileges.                ~

          592.     Plaintiff's relationship with the 1280 West Condominium Association,

   the 1280 West Board of Directors, and other members in Group 4 have been strenuous           ;

   in the past. Plaintiff is part of a class action lawsuit against the 1280 West Condominium

   Association, the 1280 West Board of Directors, and other members in Group 4 for

  breach of fiduciary duty, among other counts.

          593.    Defendants 1280 West Condominium Association and 1280 West Board

  of Directors and other members in Group 4 have been in contact with Defendant BDO             i

   USA, LLP and other members of Group 2 in other to cause harm to Plaintiff:

          594.    Defendant Interface, Inc's headquarters are located in 1280 West at 1280

  W Peachtree St NW, Atlanta, GA 30309. Members of Interface's manageinent have a

  relationship with the 1280 West Condominium Association, the 1280 West Board of

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   Directors, and other members in Group 4. Several Interface'si employees also live at           ;

   1280 W Peachtree St NW in the same condominium as Plaintiff.

          595.    The clients of BDO USA, LLP, particularly the clients who are

   mentioned as part of the subject matter of the whistleblowing case, have threatened and        i
                                                                                                  I
   engaged in retaliatory practices against the Plaintiff.                                        ~
                                                                     ,                            I

          596.    Kas Naderi, Cliief Infoniiation Officer of Atlanticus, threatened Plaintiff

   during a meeting held between Atlanticus and BDO USA, LLP and asked the Plaintiff              I

   if Plaintiff was "now willing to work with Atlanticus" and if Plaintiff was the one
                                                                                                  ~
   "asking for additional evidence to provide to the PCAOB" inspectors.

          597.    Plaintiff was late during that call. Scott Meier, BDO IS Assurance
                                                                                                  i
   Principal, told Kas Naderi in the call that Plaintiff was in the batliroom. At ttie tiine of

   the said zneeting, Plaintiff was working from home. Plaintiff was! indeed iri the bathroom.

   Scott Meier had no way of knowing the Plaintiff was indeed in the bathroom unless the

   Plaintiff was under surveillance by BDO USA, LLP, its agents, and/or the Defendants.

          598.    During the same 2021 PCAOB inspection of Atlanticus Holdings

   Corporation, Plaintiff was indirectly threatened by Mark Davenport (Audit Partner),
                                                                                                  ~
   Peter Poppo (Audit Partner), and Monica Burgess (Senior Audit Manager) who kept
                                                                                                  ;
   using the word "dead" in many meetings held to discuss responses to the PCAOB

   questions.                                                                                     !

          599.    During the 2021, IT audit of BioHorizons, Elbert Jenkins, VP of IT, at

  BioHorizons had postponed several meetings with Plaintiff, was missing calls, and

  attempted to blame Plaintiff for the missing calls and meetings in order to provide

   negative feedback to Plaintiff's supervisor.


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           600.    During the 2021 IT audit of NMS, Edward Burdekin, President of NMS
                                                                      i
   had made a pointed reference to the Family Dollar store as one of their clients. The

   Plaintiff was at a Family Dollar store the day before with her mother.

          601.     Plaintiff noted that recordings and evidence gathered during that same

   meeting in September of 2021 with Edward Burdekin were deleted from her laptop in               ~

   an attempt to present her in a bad light. Plaintiff's IT experience allowed her to recover

   the data and prevent a possible by performance evaluation cominent.

          602.    Defendant BDO USA, LLP and other entities and individuals listed in

   Group 2 conspired with entities and individuals Iisted in Group 3 and Group 4 in order

   to cause intentional harm to the Plaintiff as retaiiation for reporting the fraud to the

   proper authorities.

          603.    The Defendants, singly and together, retaliated against Plaintiff by failing

   to promote P.laintiff, harassing Plaintiff, discriminating against Plaintiff in the terms and

   conditioris of employment, broke into Plaintiff's home, for reporting conduct to the SEC

   that the Plaintiff reasonably believed violated the federal securities law.
                                                                                                   I
          604.    Defendants, singly and together, retaliated against Plaintiff for disclosing

   infor<nation that is protected or required under SOX and under podd-Frank.
                                                                                                   i
                                         COUNT FOUR:                                               i
                                     .                                                             ~
             Violation of Title VII of the Civil Rights Act of 1964 (Title VII)

                                   (Against All Defendants)

          605.    The Plaintiff re-alleges and incorporates by reference each and every

  paragraph of this Complaint and the facts as if set forth here in full for all purposes.




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           606.    A violation of Title Vll of the Civil Rights Act of 1964 occurs when there     ~
   is harassment, which becomes unlawful where:

                  (1)      enduring the offensive conduct becomes a condition of continued

          employment,

                  (2)      the conduct is severe or pervasive enough to create a work

          environment that a reasonable person would consider intimidating, hostile, or

          abusive.

          607.     Offensive conduct may include, but is not limited to, offensive jokes,

  slurs, epithets or name calling, physical assaults or tlireats, intiinidation, ridicule or
                                                                                                  ~
  mockery, insults or put-downs, offensive objects or pictures, and interference with work
                                                                                                  i
  performance. Harassment can occur in a variety of circumstances, including, but not             I
                                                                                                  I
  limited to, the following:                                                                      ~

                  (I)     The harasser can be the victim's supervisor, a supervisor iri

          another area, an agent of the employer, a co-worker, or a non-ernployee.

                  (2)     The victim does not have to be the person harassed, but can be

          anyone affected by the offensive conduct.

                  (3)     Unlawful harassrrient may occur without econorriie injury to, or

         discharge of, the victim.

         608.     Anti-discrimination laws also prohibit harassment against individuals in

  retaliation for filing a discrimination charge, testifying, or participating in any way in an

  investigation, proceeding, or Iawsuit under these laws; .or opposing eniployment

  practices that they reasonably believe discriminate against individuals, in violation of

  these laws.


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           609.   The employer is automatically liable for harassment by a supervisor that

   results in a negative employment action. As described more in this Complaint, the
                                                                   I
   Defendants, by force, intimidation, or threat, agreed and conspired among themselves
                                                                   ~
   and with others as well as took separate action to create a hostile work environment, a

   toxic ciimate at work, and unsafe work conditions for the.Plaintiff in order to stop her

   from reporting the fraud.

           610.   As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to reprimand Plaintiff without just cause.

           611.   As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among tlieinselves and with others as well
                                                                                                 I
                                                                                                 ~
  as took separate action to harass the Plaintiff in order to stop her from reporting the
                                                                                                 ~
  fraud.

           612.   As described more in this Complaint, the Defendants, by force,

  intimidation, or threat, agreed and conspired among themselves and with others as well
                                                                                                 ~
  as took separate action to deny the Plaintiff a promotion, advancement, and salary and
                                                                                                 ~
  bonuses associated with a.promotion in order to prevent the Plaintiff from reporting the

  fraud.

           613.   As described more in this Complaint, the Defendants, by force,

  intimidation, or threat, agreed and conspired among themselves and with others as well

  as took separate action to alter Plaintiff's responsibilities and duties in order to prevent

  her from reporting the fi'aud.




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           614.    As described more in this Complaint, the ,Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to break into Plaintiff's home in •order to prevent the Plaintiff

   from reporting the fraud.

           615.    As described more in this Complaint, the Defendants, by force,                   ~

   iritimidation, or threat, agreed and conspired among themselves and with others as well          i

   as took separate action to hack into Plaintiff's personal computer and phones in order to    ;

   prevent the Plaintiff from reporting the fraud.

           616.    As described more in. this Complaint, the .Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others, as well      I

   as took separate action, to retaliate and persecute Plaintiff at, work and at home for       ~
                                                                                                I

   engaging in a protected activity.                                                            i



          617.    As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others, as well

  as took separate action, to retaliate and persecute Plaintiff at work and at home in order

   to force Plaintiff to resign from her position.                                              ~
                                                                                                ~
          618.    The parties in this case can be divided into four (4) main groups, together   ~

  referred to as the "Defendants".-

  Group 1— Plaintiff: is comprised of Raissa Djuissi Kengne, tlie Plaintiff, and former

  employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in the capacity

  of Experienced 1T Audit Manager.                                 ;

  Group 2— Defendant: is comprised of BDO USA, LLP, .the public accounting firm

  where the Plaintiff was formerly employed, as well as Partners and members of


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   management at BDO USA, LLP including gcott Meier, WeslejFreeman, Paul Davison,

   Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark Davenport, Johnson Wong,

   Interface, AtIanticus, Kas Naderi, BioHorizons, and NMS. Group 2 also includes Justin

   Mungal, a homeowner wlio lives directly across. the Plaintiff's unit at the 1280 West        i
                                                                                                i
   Condominium in Atlanta, GA who admittedly stated that he worked for BDO USA,                 l

   LLP.
                                                                                                I
   GrouQ 3— Defendant: is comprised of the attorney's firms and its representatives who

   were previously retained by Plaintiff for representation in the whistleblower case. The

   attorney's firm wag Fincli McCranie and its representatives were Michael Sullivan and

   Waiter Jospin.

  Group 4— Defendant: is comprised of the 1280 West Condon~iniurn and its Board of              ~

  Directors as well as Beacon Management Services, LLC and its agents. Beacon

  Management Services, LLC has served as the management company for the 1280 West

  Condominium Association where the Plaintiff resides for many years.

          619.      Plaintiff reported a violation of SEC regulations, PCAOB standards,
                                                                                                i
  AICPA standards, the Antitrust law, and a circumvention of the law prohibiting

  employers from asking about an applicant's pay history in the state of Georgia. The           I
                                                                                                I
  misconduct happened while working for Defendant BDO USA, LLP.                                 I
                                                                                                I
          620.      Plaintiff noticed that the workpapers for both private clients and public

  clients were being rolled foi-ward year after year without actually doing the work. The

  public clients included B1ueLinx, Atlanticus, IZEA, BioHorizons, and Interface.

  Interface has recently been under an SEC investigation and an executive employee at




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                                                                       f
                                                                       ~



   Interfaee has been suspended. The private clients included Jarius, Dustex, FCCI, RSR                 i
                                                                                                        i
   Group, ProCare, Vacation Express, and many others.

          621.    The issue wiih the IT audit work performed was that several deficiencies

   that should have been identified as significant deficiencies or niaterial weaknesses were

   actually identified as only control deficiencies. Because they were never communicated

   to the financial statements audit team as control deficiencies, the financial statements

   audit teams never adjusted their audit strategy and therefore, never addressed the risk of

   material misstatements due to ineffective IT general controls (ITGCs).

          622.    Plaintiff informed Defendant Wesley Freeman of the work that was not
                                                                                                    i
   performed in roughly 75% of the public and private engagements he oversaw in the                 i
                                                                                                    f
   Atlanta office. Defendant Wesley Freeman d'id not deny it. Instead of fixing the issues          ~
  going foi-ward, he kept misreporting the IT findings to hide the signif cant deficiencies     ;
  and/or material weaknesses in the IS Assurance workpapers from botti the core

  Assurance team and the clients.

          623.   Defendant Wesley Freeman enlisted the assistance of junior associates to

  attempt to smear Plaintiff's reputation; thereby preventing Plaintiff from being

  ptomoted.                                                                                     f
                                                                                                I
         624.    Defendant Wesley Freeman enlisted the assistance of junior associates to

  attempt to smear Plaintiff's reputation; thereby preventing Plaintiff from being

  promoted. These associates enlisted to smear my reputation were part of the group who

  deli"vered such a poor work product.                             ;

         625.    Plai.ntiff started being retaliated agaiiist at work. Retaliation practices
                                                                   I
  included, but were not Iimited to reprimanding Plaintiff in reviews without grourid,


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                                                                          i




                                                                          ~
   harassing Plaintiff, creating a hostile work environment for Piaintiff, making subtle

  .threats to Plaintiff, and usirig intimidation tactics against Plaintiff.

           626.    During internal meetings in 2020 and early 2021, Anthony Reh, a Partner

   at BDO USA, LLP in the firm's Atlanta office stated that the mid-tier public accounting         j
                                                                                               i
   firms (primarily BDO and Grant Thornton) and the big 4(E&Y, Deloitte, KPMG, and             i

   PWC) were going to reach an agreement to stop employees from switching fums and

   asking for higher salary.

           627.   Defendant Antony Reh, an Assuiance Partner at BDO, had also stated

   that Plaintiff "and her family should be careful".

          628.    Plaintiff started being persecuted and retaliated against at home when she   i

  signed the contract with Defendant Finclh McCranie.

          629.    Plaintiffs home was broken into multiple times. Plaintiff lives in a

  condominium that has concierge services, which include, but are not limited to, trained

  staff who keep watch over the whole building, visitors screening process, and smart

  elevators that require a key card in order to both, enter the building and access the

  residential areas. The intruders must lhave had the building access card and the

  residential floors as well as a copy of the keys to the Plaintiff s home in order to have

  access to the 1280 West building and the Plaintiffs liome respectively.

          630.    Plaintiff resigned and was blacklisted from relevant.job opportunities by

  Defendants because she engaged in protected activities.

          631.    Defendant Finch McCranie breached the attorpey-client privilege by

  reporting the attorney-client protected conversations it had with Defendant BDO USA,

  LLP and failed to disclose to Plaintiff a conflict of interests.    I

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           632.    Defendant Finch McCranie utilized the information provided by Plaintiff

   and then client to cause her harm and solidify relationship with Defendant BDO USA,

   LLP and other members of Group 2.

           633.    Defendant 1280 West Condominium Associatioh and 1280 West Board

   of Directors and other members in Group 4 facilitated and participated in the illegal        ~
   entry and trespass into the Plaintiff's unit.

          634.    Defendant 1280 West Condominium Association and 1280 West Board
                                                                    !                           ;
   of Directors and other members in Group 4 have persecuted Plaintiff at home by

   claiming she owed HOA fees and attempting to deny her homeowner's privi-leges.

          635.    Plaintiff's relationship with the 1280 West Coridominium Association,

   the I280 West Board of Directors, and other members in Group 4 have beeii strenuous          ~
   in the past. Plaintiff is part of a class action lawsuit against the 1280 West Condominium

  Association, the 1280 West Board of Directors, and other members in Group 4 for

  breach of fiduciary duty, among other counts.

          636.    Defendants 1280 West Condominiuin Association and 1280 West Board

  of Directors and other members in Group 4 have been in contact with Defendant BDO

  USA, LLP and otlier members of Group 2 in order to cause.harm to:Plaintiff.

          637.    Defendant Interface, Inc's headquarters are located in 1280 West at 1280

  W Peachtree St NW, Atlanta, GA 30309. Meinbers of Interface's management have a

  relationship with the 1280 West Condominium Association; the 1280 West Board of

  Directors, and other rnembers in Group 4. Several Interface's~employees also live at

  1280 W Peachtree St NW in the same condoininium as Plaintiff.




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           638.   The clients of BDO USA, LLP, particularly the clients who are

   mentioned as part of the subject matter of the whistleblowing case, have threatened and

   engaged in retaliatory practices against the Plaintiff.

          639.    Kas Naderi, Chief Information Officer of AtIanticus, threatened Plaintiff

   during a meeting held between Atlanticus and BDO USA, LLP and asked the Plaintiff           I
                                                                                                   ~

   if Plaintiff was "now willing to work with Atlanticus" and if Plaintiff was the orie        I
                                                                                               ~
   "asking for additional evidence to provide to the PCAOB" inspectors.

          640.    Plaintiff was late during that call. Scott .Meier, BDO IS Assurance

   Principal, told Kas Naderi in the caIl that Plaintiff was in the bathroom. At the time of

   the said meeting, Plaintiff was working from home. Plaintiff was; indeed in the bathro6m.

   Scott Meier liad no way of knowing the Plaintiff was indeed in the bathroom unless the      ,

  Plaintiff was under surveillance by BDO USA, LLP, its agents,, and/or the Defendants.

          641.    During the same 2021 PCAOB inspection of Atlanticus Holdings

  Corporatioii, Plaintiff was indirectly threatened by Mark Davenport (Audit Partner),

  Peter Poppo (Audit Partner), and Monica Burgess (Senior Audit Maiiager) who kept

  using the word "dead" in many meetings lield to discuss responses to the PCAOB

  questions.

          642.    During the 2021, IT audit of BioHorizons, Elbert Jenkins, VP of IT, at

  BioHorizons had postponed several ineetings with Plaintiff, was missing calls, and

  attempted to blame Plaintiff for the missing calls and meetings in order to provide
                                                                  ,
  negative feedback to Plaintiff's supervisor.                    ,




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              643.   During the 2021 IT audit of NMS, Edward Burdekin, President of NMS                 i
   had made a pointed reference to the Family Dollar store as one of their clients. The                 I
   Plaintiff was at a Family Dollar store the day before with her mother.

              644.   Plaintiff noted that recordings and evidence gathered during that same             i

   meeting in September of 2021 with Edward Burdekin wer.e deleted from her laptop in

   an attempt to place her in a bad light. Plaintiff's IT experience allowed her to recover             I
                                                                           ~
   the data and prevent a possible by performance evaluation comment.
                                                                                                        ~
              645.   Defendant BDO USA, T,LP and other entities and individuals listed in

   Group 2 conspired with entities and individuals listed in Group- 3 and Group 4 in order

   to cause intentional harm to the Plaintiff as retaliation for reporting the fraud to the         ;
                                                                                                    ,
   proper authorities.

              646.   The Defendants, singly and together, retaliated against Plaintiff by failing

   to promote Plaintiff, harassing Plaintiff, discriminating against Plaintiff in the terms and

  conditions of employment, broke.into Plaintiff's home, for reporting conduct to the SEC

  that the Plaintiff reasonably believed violated the federal securities law.

          647.       Defendants, singly and together, retaliated against Plaintiff for disclosing   '

  information that is protected or required under SOX and under podd-Frank.

          648.       Defendants committed the crime of influencing Plaintiff with intent to

  deter Plaintiff froin testifying freely, fully, and truthfully to any matter pending in any

  court, in any administrative proceeding, or before a grand juiy, by communicating,

  directly and indirectly, to Plaintiff any threat of injury or damage to the person, property,
                                                                       ,
  or employment of the Plaintiff or to the person, property, or enaployment of Plaintiff's

  relative.


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                                                                         i


           649.    Defendants knowingly used intimidation and threats, attempted to

   persuade Plaintiff by means of corruption, and engaged in misleading conduct toward

   Plaintiff with intent to hinder, delay, and/or prevent the communication to a law

   enforcement officer, prosecuting attorney, or judge of the United States of information

   relatirig to the conimissiori or possible commission of a Federal offense.

           650.    Defendants violated Title VIl of the Civil Rights Act of 1964 by

   harassing Plaintiff. Plaintiff was forced to endure the Defendarits' 6ffensive conduct as

   a condition of continued employment. The Defendants' conduct was severe or pervasive

   enough to create a work environment that a reasonable person would consider                          ,
                                                                                                        I
   intimidating, hostile, or abusive. Plaintiff, as a i•easonable person, resigned as a result of       '

   the Defendants' harassment and offensive conduct and her work enviroiirrient that liad               ~
   become hostile and abusive.                                                                          '

                                        COUNT FIVE:

          Violation of section ll.(c) of the Occupational Safety and flealth Aet

                                    (Against All Defendants)                                            ~

          651.    The Plaintiff re-alleges and incorporates by reference each and every

  paragraph of this Complaint and the facts as if set forth here in full for all purposes.          ~
          652.    A violation of section 11(c) of the Occupational Safety and Health Act

  ("OSHA") occurs when an employer (through a manager, supervisor, or administrator)

  fires an employee or takes any other type of adverse action against an employee for

  engaging in protected activity.

         653.     An adverse action, under OSHA, is an action which would dissuade a                I
  reasonable employee frorn raising a concern about a possible violation or engaging in
                                                                     !
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   other related protected activity. Retaliation harms individual ernployees and can have a

   negative impact on overall einployee morale. Because an adverse action can be subtle,

   such as excluding employees from irnportant meetings, it may not always be easy to

   recognize. Adverse actions may include actions such as:             '

                  (1)     Disciplining                                                              ~

                  (2)     Denying benefits

                  (3)     Intimidation or harassment                                            ~

                  (4)     Making threats

                  (5)     Reassignrnent to a less desirable position or actions affecting

          prospects for promotion (such as excluding an employee from training meetings)

                  (6)     More subtle actions, such as isolating, ostracizing, mocking, or

          falsely accusing the employee of poor performance

                  (7)     B1acklisting (intentionally interfering with an employee's ability

          to obtain future employment)
                             .                                                                  i
                 (8)      Constructive discharge (quitting when an employer makes
                                                                                                ~
                                                                                                i
          working conditions intolerable due to tlie employee's protected activity)

                 (9)     Reporting or threatening to report an employee to the police or

          immigration authorities.

         654.    As described more in this Complaint, the Defendants, by force,

  intimidation, or threat, agreed and conspired amotig themselves and with others as well

  as took separate action to create a hostile work environment, a toxic climate at work,

  and unsafe work conditions for the Plaintiff in order to stop her from reporting the fraud.
                                                                   i



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            655.   As described more in this Complaint, the ;Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to repriinand Plaintiff without just cause.

            656.   As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well          ~
                                                                                                   I
   as took separate action to harass the Plaintiff in order to stop her from reporting the         ~
                                                                                                   ~
   fraud.

            657.   As described more in this Comp(aint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves .and with others as well

   as took separate action to deny t.he Plaintiff a promotion, advancement, and salary and

   bonuses associated with a promotion in order to prevent the Plaintiff froin reporting the

   fraud.

            658.   As described more 'in this Complaint, the 'Defendants, by force,

  intimidation, or threat, agreed and conspired among themselves and with others as well       ,

  as took separate action to alter the employee's responsibilities and duties in order to      '

  prevent the Plaintiff from reporting the fraud.

            659.   As described more in this Complaint, the Defendants, by force,              ~
                                                                                               i
  intimidation, or threat, agreed and conspired among themselves and with others as well

  as took separate action to break into P(aintiffs home in order to prevent the Plaintiff

  from reporting the fraud.
                                                             -
            660.   As described more in this Complaint, -the Defendants, by force,
                                                                    ~
  intimidation, or threat, agreed and conspired among themselves'and with others as well



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   as took separate action to hack into Plaintiffs personal computer and phones in order to

   prevent.the Plaintiff from reporting.the fraud.

          661.     As described more in this Complaint, the Defendants, by force,

   intimidation, or tlireat, agreed and conspired among themselves and with others, as well

   as took separate actioii, to retaliate and persecute Plaintiff att work and at home for

   engaging in a protected activity.                                                            ~
                                                                    !                           ~
          662.    As described more in this Complaint, the Defendants, by force,
                                                                                                ~
                                                                                                ~
   intimidation, or threat, agreed and conspired ainong theinselves:and with others, as well

   as took separate action, to retaliate and persecute Plaintiff at work and at home in order

   to force Plaintiff to resign from her position.                                              ;

          663.    The parties in this case can be divided into four (4) main groups, together

   referred to as the "Defendants".

   Group 1— Plaintiff: is comprised of Raissa Djuissi Kengne, the Plaintiff, and former

   employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in the capacity              ;

  of Experienced IT Audit Manager.

  Group 2— Defendant: is comprised of BDO USA, LLP, the public accounting firm

  where the Plaintiff was formerly employed, as well as Partners and inembers of

  management at BDO USA, LLP including Scott Meier, Wesley Freeman, Paul Davison,

  Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark Davenport, Johiison Wong,

  Interface, Atlanticus, Kas Naderi, BioHorizons, and NMS. Group 2 also includes Justin

  Ivlungal, a homeowner who lives directly across the Plaintiff's, unit at the 1280 West

  Condominium in Atlanta, GA who admittedly stated that he worked for BDO USA,

  LLP.
                                                                   i
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   Group 3--- Defendant: is comprised of the attorney's firms and its representatives who

   were previously retained by Plaintiff for representation in the whistleblower case. The

   attorney's f~irm was Finch McCranie and its represetitatives were Michael Sullivan and

   Walter Jospin.
                                                                                                 I
   Group 4— Defendant: is comprised of the I280 West Condorninium and its Board of               ;
   Directors as well as Beacon Management Services, LLC and its agents. Beacon

   Management Services, LLC has served as the management company for the 1280 West               i
   Condominium Association where the Plaintiff resides for many years.

          664.      Plaintiff reported a violation of SEC reguIations, PCAOB standards,

   AJCPA standards, the Antitrust law, and a circumvention of the law prohibiting

   employers from asking about an applicant's pay liistory in the state of Georgia. The

   misconduct happened wh'ile working for Defendant BDO USA; LLP.

          665.   Plaintiff noticed that the workpapers for both private clients and public   ;
   clients were being rolled forward year after year without actually doing the work. The    i

   public clients included B1ueLinx, Atlanticus, IZEA, BioHorizons, and Interface.           ~
                                                                                             i
  Interface. has recently been under an SEC investigation and an executive employee at       i
                                                                                             ~
  Interface has been suspended. The private clients included Janus, Dustex, FCCI, RSR

  Group, ProCare, Vacation Express, and many others.

         666.    The issue with the IT audit work performed was that several deficiencies

  thatshould have been identified as significant deficiencies or material weaknesses were

  actuaIly identifed as only control deficiencies. Because they wdre never communicated

  to the financial statements audit team as control deficiencies, the financial statements




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   audit teams never adjusted their audit strategy and therefore, never addressed the risk of

   material misstatements due to ineffective IT general controls (ITGCs).

           667.     Plaiiitiff informed Defendant Wesley .Freeman of the work that was not

   performed in roughly 75% of the public and private engagements he oversaw in the

   Atlanta office. Defendant Wesley Freeman did not deny it. Instead of fixing the issues       ,

   going forward, he kept misreporting the IT findings to hide the signifcant deficiencies      ~
                                                                                                i
   and/or material weaknesses in the IS Assurance workpapers from both the core                 ;

   Assurance team and the clients.

           668.    Defendant Wesley Freeman enlisted the assistance of junior associates to     ,

   attempt to smear Plaintiff's reputation; thereby preventing Plaintiff from being             ;

   promoted.

           669.    Defendant Wesley Freeman enlisted the assistance of junior associates to

   attempt to smear Plaintiff's reputation; thereby preventing PIaintiff from being

   promoted. These associates enlisted to smear my reputation were part of the group who

   delivered such a poor work product.

           670.    Plaintiff started being retaliated against at work. Retaliation practices    ~
                                                                                                ~
   included, but were not limited to reprimanding Plaintiff in reviews without ground,
                                                                                                i
   harassing Plaintiff, creating a hostile work environinent for Plaintiff, making subtle       I

   threats to Plaintiff, and usirig iiitimidation tactics against Piaintiff.

           671.    During internal meetings in 2020 and eariy 2021, Anthoiiy Reh, a Partner

  at BDO USA, LLP in the firm's Atlanta office stated that the mid-tier public accounting

  firms (primarily BDO and Grant Thornton) and the big 4(E&Y, Deloitte, KPMG, and




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   PWC) were going to reach an agreement to stop employees fr'.oin switching finns and          ,

   asking for higher salary.

           672.    Defendant Antony Reh, an Assurance Partner at BDO, had also stated

   that Plaintiff "and her family should be careful".
                                                                                                I
           673.    Plaintiff started being persecuted and retaliated against at home when she   i

   signed the contract with Defendant Finch McCranie.                                               j

           674.    Plaintiffs home was broken into at multiple times. Plaintiff lives in a
                                                                                                i
   condominium that has concierge services, which include, but are not limited to, trained      ;

   staff who keep watch over the whole building, visitors screeiiing process, and smart

   elevators that require a key card in order to both, enter the building and access the
                                                                                                i
   residential areas. The intruders must have had the building access card atid the                 i

   residential floors as well as a copy of the keys to the Plaintiff's horne in order to have

   access to the 1280 West building and the Plaintiff's liome respectively.

           675.    Plaintiff resigned and was blacklisted from relevant job opportunities by

   Defendants because she engaged in protected activities.
                                                                                                    ~
           676.    Defendant Finch McCranie breached the attoniey-client privilege by               ,
                                                                                                ;

   reporting the attomey-client protected conversations it had with Defendant BDO USA,

   LLP and failed to disclose to Plaintiff a conflict of interests.                                 ,

           677.    Defendant Finch McCraiiie utilized the information provided by Plaintiff

   and then client to cause her hai-m and solidify relationship with Defendant BDO USA,

   LLP and other members of Group 2.




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           678.    Defendant 1280 West Condominium Association and 1280 West Board                  ~

   of Directors and other niembers in Group 4 facilitated and participated in the illegal

   entry and trespass into the Plaintiff's unit.

          679.     Defendant 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 have persecuted Plaintiff at home by
                                                                                                    ~

   claiming she owed HOA fees and attempting to deny her homeowner's privileges.                    ~
                                                                                                i
          680.     Plaintiffs relationship with the 1280 West Condominium Association,              j

   the 1280 West Board of Directors, and other rnembers in Group 4 have been strenuous

   in the past. Plaintiff is part of a class action lawsuit against the 1280 West Condominium

   Association, the 1280 West Board of Directors, and other members in Group 4 for

   breach of fiduciary duty, among otlier counts.

          681.    Defendants 1280 West Condominium Association and 1280 West Board
                                                                                                ~

   of Directors and other mernbers in Group 4 have been in contact with Defendant BDO           !

   USA, LLP and other members of Group 2 in order to cause harm to Plaintiff.                   '

          682.    Defendant Interface, Inc's headquarters are located in 1280 West at 1280

   W Peachtree St NW, Atlanta, GA 30309. Members of Interface's management have a

   relationship with the 1280 West Condominium Association, the 1280 West Board of              '
                                                                                                I
  Directors, and other members in Group 4. Several Interface's employees also live at

  1280 W Peachtree St NW in the same condominium as Plaintiff.

          683.    The clients of BDO USA, LLP, particularly the clients who are

  mentioned as part of the subject matter of the whistleblowing case, have- threatened and

  engaged in retaliatory practices against the Plaintiff.          ~




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                                                                            .                  ~




           684.   Kas Naderi, Chief lnforrnation Officer of Atlanticus, threatened Plaintiff   ;

   during a meetirig held between Atlanticus and BDO USA, LLP and asked the Plaintiff

   if Plaintiff was "now willing to work with Atlanticus" and if Plaintiff was the one

   "asking for additional evidence to provide to the PCAOB" inslectors.                        ;

          685.    Plaintiff was late during that call. Scott Meier, BDO IS Assurance

   Principal, told Kas Naderi in the call that Plaintiff was in the bathroom. At the time of

   the said meeting, Plaintiff was working from home. Plaintiff was indeed in the bathroom.

   Scott Meier had no way of knowing the Plaintiff was indeed in, the bathroom unless the

   Plaintiff was under surveillance by.BDO USA, LLP, its agents, and/or the Defendants.

          686.    During the same 2021 PCAOB inspection of Atlanticus Holdings

   Corporation, Plaintiff was indirectly threatened by Defendant Mark Davenport (Audit         .

   Partner), Defendant Peter Poppo (Audit Partner), and Monica Burgess (Senior Audit

   Manager) who kept using the word "dead" in many meetings held to discuss responses

   to the PCAOB questions.

          687.    During the 2021, IT audit of BioHorizons, Elbert Jenkins, VP of IT, at

   BioHorizons had postponed several ineetings with Plaintiff, was missing calls, and

   attempted to blame Plaintiff for the missing calls and meetings in order to provide

   negative feedback to Plaintiffls supervisor.

          688.    During the 2021 IT audit of NMS, Edward Burdekin, President of NMS

   had made a pointed reference to the Family Dollar store as one of their clients. The

   Plaintiff was at a Family DolIar store the day before with her mother.

          689.    Plaintiff noted that recordings and evidence gathered during that same

   meeting in September of 2021 with Edward Burdekin were deleted from her laptop in


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                                                                      i




   an attempt to place her in a bad light. Plaintiff s 1T experience allowed her to recover

   the data and prevent a possible by performance evaluation comment.

           690.    Defendant BDO USA, LLP and other entities and individuals listed in

   Group 2 conspired with entities and individuals listed in Group 3 and Group 4 in order

   to cause intentional hanii to the Plaintiff as retaliation for reporting the fraud to the
                                                                                                   ~
   proper authorities.

           691.    The Defendants, singly and together, retaliated against Plaintiff by failing

   to promote Plaintiff, harassing Plaintiff, discritninating againstPlaintiff in the terms and    ~

   conditions of employment, broke into Plaintiff's home, for.reporting conduct to the SEC

   that the Plaintiff reasonably believed violated the federal securities law.

           692.    Defendants, singly and together, retaliated agains.t Plaintiff for disclosing

   information that is protected or required under SOX and under podd-Frank.

           693.    Defendants committed a violation of section 11(c) of the Occupational

   Safety and HealtIi Act ("OSHA") when Defendants (through a manager, supervisor, or

   administrator) took adverse actions against PIaintiff for engaging in protected activity.
                                                                                                   ~
                                          COUNT SIX:

                             Violation of the Anti-SLAPP Statute

                                      O.C.G.A. § 9-11-11.1

                                   (Against All Defendants)

           694.    The PIaintiff re-alleges and incorporates by reference each and every

   paragraph of this Coinplaint and the facts as if set fortli here in full for all purposes.

           695.    A violation of the Anti-SLAPP Statute occurs when an entity prevents an

   individual to "act in furtlierance of the right of free speech or the right to petition

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   government for a redress of grievances under the Constitution of the United States or         i

   the Constitution of the State of Georgia in connection with an issue of public interest or

   concern" includes any written or oral statement, writing, or petition inade before or to a

   legislative; executive; or judicial proceeding, or any other official proceeding authorized

   by law, or any written or oral statement, writing, or petition made in connection with an         ~

   issue under consideration or review by a legislative, executive,, or judicial body, or any

   other official proceeding authorized by law." § 9-11-11.1(c)

          696.    The parties protected by the Anti-SLAPP Statute include "a person or

   en[ity [who performed] an act by that person or entity which could reasonably be

   construed as an act in furtherance of the right of free speech, or the right to petition
                                                                                                     ~
   government for a redress of grievances under the Constitution of the United States or

   the Constitution of the State of Georgia in connection with an issue of public interest or        i

   concern . . ." § 9-11-11.1(b)                                                                     I
                                                                                                     I
          697.    As described more in this Complaint, the Defendants, by force,                     ;
                                                                                                     i
                                                                                                     ~
   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to create a hostile work environmeiit, a toxic climate at work,

   and unsafe work conditions for the Plaintiff in order to stop her from reporting the fraud.       ;

           698.   As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to reprimand Plaintiff without just cause.

          699.    As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves'and with others as well
                                                                     I



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   as took separate actiori to harass the Plaintiff in order to stop her from reporting the    j

   fraud.

            700.   As described more in this Complaint, the ,Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to deny the Plaintiff a promotioii, advancement, and salary and     I

   bonuses associated with a promotion in order to prevent the Plaintiff from reporting the

   fraud.

            701.   As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as welI

   as took separate action to alter the employee's responsibilities and duties in order to
                                                                                               !
   prevent the PIaintiff from reporting the fraud.
                                                                                               I
            702.   As described more in this Complaint, the Defendants, by force,              i

   intimidation, or threat, agreed and conspired among themselves and with others as well      ;

   as took separate action to break into Plaintiff's home in order to prevent the Plaintiff    ;
                                                                                               I
   from reporting the fraud.

            703.   As described inore in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves,and with others as well          ~

   as took separate action to hack into Plaintiffs personal computer and phones in order to        I

   prevent the Plaintiff from reporting the fraud.

            704.   As described more in this Complaint, the Defendants, by force,

   intirriidation, or threat, agreed and conspired among themselves and with others, as well

   as took separate action, to retaliate and persecute Plaintiff at!work and at home for

   engaging in a protected activity.

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                                                                                                       i
                                                                                                       !

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               705.      As described more in this Complaint, the Defendants, by force,                '

        intimidation, or threat, agreed and conspired among themselves. and with others, as well

        as took separate action, to retaliate and persecute Plaiiitiff at work and at home in order

        to force Plaintiff to resign from her position,                                                ~i
               706.      The parties in this case can be divided into four (4) main groups, together   !

        referred to as the ".Defendants".                                                              ~
                                                                                                       i
        Group 1— Plaintiff: is comprised of Raissa Djuissi Kengne, the Plaintiff, and former

        employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in the capacity
                                                                                                       i
        of Experienced IT Audit Manager.                                                               ;

        Group 2— Defendant: is comprised of BDO USA, LLP, the public accounting firm

        where the Plaintiff was formerly employed, as well as Partners and members of

        management at BDO USA, LLP including Scott Meier, Wesley Freeman, Paul Davison,                    ~
                                                                                                       I
        Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark Davenport, Johnson Wong,                 i

        Interface, Atlanticus, Kas Naderi, BioHorizons, and NMS. Grotip 2 also includes Justin             ;

        Mungal, a homeowner who lives directly across the Plaintiff's. unit at the 1280 West               ,

        Condominium in Atlanta, GA who admittedly stated that lie worked for BDO USA,                      ;

        LLP.

        Group 3— Defendant: is comprised of the attorney's firms and, its representatives who              !

        were previously retained by Plaintiff for representation in the whistleblower case. The

        attorney's firm was Finch McCranie and its representatives were Michael Sullivan and

        Walter Jospin.
,\
        Group 4— Defendant: is comprised of the 1280 West Condominium and its Board of

        Directors as well as Beacon Management Services, LLC and its agents. Beacon

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   Management Services, LLC has served as the management company for the 1280 West

   Condominium Association where the Plaintiff resides for many years.

          707.    Plaintiff reported a violation of SEC regulations, PCAOB standards,

   AICPA standards, the Antitrust law, and a circumvention of the law prohibitiiig               ~
                                                                                                 I



   employers from asking about an applicant's pay ]listory in the state of Georgia. The

   misconduct happened while working for Defendant BDO USA, LLP.

          708.    Plaintiff noticed that the workpapers for both private clients and public

   clients were being rolled forward year after year without actually doing the work. The

   public clients included BlueLinx, Atlanticus, IZEA, BioHorizons, and Interface.

   Interface has recently been under an SEC investigation and an executive employee at

   Interface has been suspended. The private clients included Janus, Dustex; FCCI, RSR           ;
                                                                                                 ~
   Group, ProCare, Vacation Express, and many others.
                                                                                                 I
          709.    The issue witli the IT audit work performed was that several deficiencies      ;

   that should have been identified as significant deficiencies or material weaknesses were

   actually identified as only control deficiencies. Because they were never cofnmunicated

   to the financial statements audit team as control deficiencies, the financial statements      j

   audit teams never adjusted their audit strategy and therefore, never addressed the risk of.   ~

   material misstatements due to ineffective IT general controls (ITGCs).

          710.    Plaintiff infortned Defendant Wesley Freeman of the work that was tiot

   performed in roughly 75% of the public and private engagements he oversaw in the

   Atlanta office. Defendant Wesley Freeman did not deiiy it. Instead of fixing the issues

   going forward, he kept misreporting. the IT findings to hide the significant deficiencies




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                                                                   ;
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                                                         .                                      ~
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   and/or material weaknesses in the 1S Assurance workpapers from both the core
                                                                      i                         .
   Assurance team and the clients.

          711.    Defendant Wesley Freeman enlisted the assistance of junior associates to

   attempt to smear Plaintiff's reputation; thereby preventing Plaintiff from being             i
                                                                      •                         ~

   promoted.
                                                                                                i
          712.                                                  , of junior associates
                  Defendant Wesiey Freeman enlisted the assistance                     to           I~


   attempt to smear Plaintiff's reputation; thereby preventing Plaintiff from being                 '
                                                                                                I
   promoted. These associates enlisted to smear my reputation rdere part of the group who           i

   delivered such a poor work product.

          713.     Plaintiff started being retaliated against at work. Retaliation practices        ;

   included, but were not liinited to reprimanding Plaintiff in reviews without ground,

   harassing Plaintiff, creating a hostile work environment for Plaintiff, making subtle             ~

   threats to Plaintiff, and using intimidation tactics against Plaintiff.                              i
                                                                                                    i

          714.     During intemal meetings in 2020 and early 2021, Anthony Reh, a Partner

   at BDO USA, LLP in the firm's Atlanta office stated that the mid-tier public accounting              ;
                                                                                                        ~

   firms (primarily BDO and Grant Thornton) and the big 4(E&Y, Deloitte, KPMG, and

   PWC) were going to reach an agreement to stop employees from switching firms and

   asking for higher salary.

           715.    Defendaiit Antony Reh, an Assurance Partner at BDO, had also stated

   that Plaintiff "and her family should be careful".

           716.    Plaintiff started being persecuted and retaliated against at home when she

   signed the contract with Defendant Finch McCranie.




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                                                           .                                   ;




          717.    Plaintiff's home was broken into at multiple times. Plaintiff lives in a

   condominium that has concierge services, which include, but are not iimited to, trained

   staff who keep watch over the whole building, visitors screening process, and smart

   eievators that require a key cat'd in order to both, enter the building and access the      !
                                                                                               i

   residential areas. The intruders must have had the building access card and the
                                                                                               i
   residential floors as well as a copy of the keys to the Plaintiff's home in order to have   !

   access to the 1280 West building and the Plaintiff's home respectively.                     I

          718.     Plaintiffresigned and was blacklisted from relevant job opportunities by    ~

   Defendants because she engaged in protected activities.                                     i

          719.     Defendant Finch McCranie breached the attorney-client privilege by          ~

   reporting the attorney-client protected conversations it had with Defendant BDO USA,
                                                                                               ~
   LLP and failed to disclose to Plaintiff a conflict of interests.
                                                                                               i
          720.     Defendant Finch McCranie utilized the information provided by Plaintiff     ~

   and then client to cause her harm and solidify relationship with Defendant BDO USA,         i
                                                                              .                I

   LLP and other members of Group 2.                                                           ;

          721.     Defendant 1280 West Cotidominium Associatio'n and 1280 West Board

   of Directors and other members in Group 4 facilitated and participated in the illegal

   entry and trespass into the Plaintiffls unit.                                               ;

          722.     Defendant,1280 West Condominium Association and 1280 West Board

   of Directors and other members in 'Group 4 have persecuted Plairitiff at home by

   claiming she owed HOA fees and attempting to deny her homeowner's privileges.

          723.     Plaintiff's relationship with the 1280 West Coridominium Association,

   the 1280 West Board of Directors, and other members in Group 4 have been strenuous

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   in the past. Plaintiff is part of a class action lawsuit against the 1280 West Condominium
                                                                         ,
   Association, the 1280 West Board of Directors, and other members in Group 4 for

   breach of fiduciary duty, among other counts.

          724.    Defendants 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 have been in contact with Defendant BDO

   USA, LLP and other members of Group 2 in other to cause hann to Plaintiff.

          725,    Defendant Interface, Inc's headquarters are located in 1280 West at 1280

   W Peachtree St NW, Atlanta, GA 30309. Members of Interface's management have a

   relationship with the 1280 West Condoriiinium Association, the 1280 West Board of

   Directors, and other members in Group 4. Several Interface's employees also live at

   1280 W Peachtree St NW in the saine condotninium as Plaintiff.

          726.    The clients of .BDO USA, LLP, particularly the clients who are

   mentioned as part of the subject matter of the whistleblowing case, have threatened and

   engaged in retaliatory practices against the Plaintiff.

          727.     Kas Naderi, Chief Information Officer of Atlanticus, threatened Plaintiff

   during a meeting held between Atlanticus and BDO USA, LLP and asked the Plaintiff

   if Plaintiff was "now willing to work with Atlanticus" and if PIaintiff was the one

   "asking for additional evidence to provide to the PCAOB." inspectors.

          728.     Plaintiff was Iate during that call. Scott Meier, BDO IS Assurance

   Principal, told Kas Naderi in the call that Plaintiff was in the bathroom. At the time of

   the said meeting, Plaintiffwas working from home. Plaintiff was.indeed in the bathroom.

   Scott Meier had no way of knowing the Plaintiff was indeed in the bathroom unless the

   Plaintiff was under surveiilance by BDO USA, LLP, its agents, and/or the Defendants.

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          729.    During the same 2021 PCAOB inspection of Atlanticus Holdings

   Corporation, Plaintiff was indirectly threatened by Mark Davenport (Audit Partner),

   Peter Poppo (Audit Partner), and Monica Burgess (Senior Aiidit Manager) who kept

   using the word "dead" in rriany meetings held to discuss responses to the PCAOB

   questions.

          730.    During the 2021, IT audit of BioHorizons, Elbert Jenkins, VP of IT, at
                                                                                                  i
   BioHorizons had postponed several meetings with Plaintiff, was missing calls, and              i

   attempted to blame Plaintiff for the missing calls and meetings in order to provide

   negative feedback to Plaintiff's siipervisor.

          731.    During the 2021 IT audit of NMS, Edward Burdekin, President of NMS

   had made a pointed reference to the Family Dollar store as one of their clients. The

   Plaintiff was. at a Family Dollar store the day before with her mother.

          732.    Plaintiff noted that recordings and evidence gathered during.that same

   meeting in September of 2021 witli Edward Burdekin were deleted from her laptop in

   an attempt to place her in a bad light. Plaintiff's IT experience allowed her to recover

   the data and prevent a possible by perfonnance evaluation comment.                                 i

          733.    Defendant BDO USA, LLP and other entities and individuals listed in                 i

   Group 2.conspired with entities and individuals listed in Group' 3 and Group 4 in order            l
                                                                                                      ~
   to cause intentional harm to the Plaintiff as retaliation for reporting the fraud to the
                                                                                                      i
   proper authorities.                                               ;                                I

          734.    The Defendants, singly and together, retaliated against Plaintiff by failing            ~

   to promote Plaintiff, harassing Plaintiff, discriminating against Plaintiff in the terms and       '


                                                                     i
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                                                                                                   i
   conditions of employment, broke into Plaintiff's home, for reporting conduct to the SEC         ~

   that the Plaiutiff reasonably believed violated the federal securities law.

           735.   Defendants, singly and together, retaliated against Plaintiff for disclosing

   information that is protected or required under SOX and under podd-Frank.

           736.   Defendants committed the crime of influencing Plaintiff with intent to

   deter Plaintiff from testifying freely, fully, and truthfully to any matter pending in any

   court, in any administrative proceeding, or before a grand jury, by conununicating,

   directly and indirectly, to Plaintiff any threat of injury or damage to the person, property,   i

   or einployment of the Plaintiff or to the person, property, or employment of Plaintiff's        ;

   relative.

           737.   Defendants knowingly used intimidation and threats, attempted to

   persuade Plaintiff by means of corruption, and engaged in misleading conduct toward

   Plaintiff with intent to hinder,. delay, andlor prevent the communication to a law

   enforcement officer, prosecuting attorney, or judge of the United States of information

   relating to the commission or possible commission of a Federal offense.

           738.   Defendants violated Georgia Anti-SLAPP Statute when they attempted               i
                                                                                                   i
   to prevent Plaintiff from "act[ing] in furtherance of the right of free speech or the right     !

   to petition government for a redress of grievances under the Constitution of the United             ~

   States or the Constitution of the State of Georgia in connection witli an issue of public           I

   interest or concern", which includes any official proceeding authorized by law, or any
                                                                     i
   written or oral staternent, writing, or petition made in connecti on with an issue urider

   consideration or review by a legislative, executive, or judicial body, or any other official        I

   proceeding authorized by law.
                                                                     I

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                                                                                              !



                                                                     4                        ~
                                         COUNT SEVEN:                i

                                 Violation of Duties of Attorney     i

                                         O.C.G.A.15-19-4             ,

                                    (Against All Defendants)                                  i

            739.    The Plaintiff re-alleges and incorporates b.y reference each and every

   paragraph of this Complaint and the facts as if set forth here in full for all purposes.

            740.    A violation of Attorney-Client Privilege occurs when the attorney fails   !
                                                                                              I
   to maintain inviolate the confidence and, at every peril to themselves, to preserve the    ~

   secrets of their clients. See O.C.G.A. § 15-19-4;                                          I

            741.    The following elements are required for attorney-client privilege to

   apply:

                    (1)     The disclosures and communication occurred between an

            attorney and client or potential client.

                    (2)     The purpose of the disclosures and communication was to obtain

            legal advice frotn the attorney.                         ;

                   (3)      The attorney' was acting in their professional capacity when

            receiving the information.                                                        j
                                                                                              i
                   (4)     The client or potential client reasonably expected that the
                                                                  ~                           I
            information disclosed to the attorney wouid remain confidential.                   j
                                                                  ,                           I
            742_  An attorney-client relationship must exist before information disclosed     I
                                                                  I
  to the attorney becomes privileged.
                                                                                              ~
            743.   As described more in this Complaint, the IDefendants, by force,            ~

   intimidation, or threat, agreed and conspired among themselves~ and with others as welI
                                                                  i
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                                                                                                  i
   as took separate action to create a hostile worlc environment, a toxic climate at work,

   and unsafe work conditions for the Plaintiff in order to stop her from reporting the fraiid.

            744.   As described more in this Complaint, the Defendants, by force,                 ~
                                                                     .

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate actioii to reprimand Plaintiff without just cause.

            745.   As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others. as well

   as took separate action to harass the Plaintiff in order to stop her from reporting the        ~

   fraud.

            746.   As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to deny the Plaintiff a promotion, advancement, and salary and         ~
                                                                                                  i
   bonuses associated with a promotion in order to prevent the Plaintiff from reporting the

   fraud.                                                                                             i

            747.   As described more in this Complaint, the :Defendants, by force,
                                                                                                  I
   intimidation, or threat, agreed and conspired among themsel:ves and with others as well        I
                                                                                                  I
                                                                                                  ,
   as took separate action to alter the employee's responsibilities and duties in order to         i

   prevent the Plaintiff from reporting the fraud.

            748.   As described more in this Complaint, the Defendants, by force,                     ~

   intimidation, or threat, agreed and conspired among themselves and with others as well
                                                                 1
   as took separate action to break into Plaintiff s home in order~to prevent the Plaintiff

   from reporting the fraud.




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           749.    As described more in this Complaint, the. Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to hack into Plaintiff's personal computer and phones in order to

   prevent the Plaintiff from reporting the fraud.

           750.    As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others, as well

   as took separate action, to retaliate and persecute Plaintiff at work and at home for

   engaging in a protected activity.

          751.    As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves,and with others, as well

   as took separate action, to retaliate and persecute Plaintiff at work and at home in order

   to force Plaintiff to resign from her position.

          752.    The parties in fhis case can be divided into four (4) main groups, together

  referred to as the "Defendants".

  Group 1— Plaintiff: is comprised of Raissa Djuissi Kengne, the Plaintiff, and former

  employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in the capacity

  of Experienced iT Audit Manager.

  Grou 2— Defendant: is comprised of BDO USA, LLP, the public accounting firm                   I

  where :the Plaintiff was formerly employed, as welI as Partners and members of
                                                                                                i

  management at BDO USA, LLP including Scott Meier, Wesley Freeman, Paul Davison,

  Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark Davenport, Johnson Wong,

  Interface, Atlanticus, Kas Naderi, BioHorizons, and NMS. Groeip 2 also includes Justin

  Mungal, a homeowner who lives directly across the Plaintiffs uiiit at the 1280 West


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                                                                    i
   Condominium in Atlanta, GA wlio admittedly stated that he worked for BDO USA,

   LLP.

   Group 3— Defendant: is comprised of the attorney's firms and its representatives who

   were previously retained by Plaintiff for representation in the whistleblower case. The

  attorney's firm was Finch McCranie and its representatives were Michael Sullivan and

   Walter Jospin.
           •                                                                                    I
   Group 4 — Defendant: is comprised of the 1280 West Condominium and its Board of
                                                                                                ~
   Directors as well as Beacon Management Services, LLC and its agents. Beacon

  Management Services, LLC lias served as the management company for the 1280 West              i

  Condominium Association where the Plaintiff resides for many. years.

          753.      Plaintiff reported a violation of SEC regulations, PCAOB standards,

  AICPA standards, the Antitrust law, and a circumvention bf the law prohibiting

  ernployers from asking about an applicant's pay history in the state of Georgia. The

  m'isconduct happened while working for Defendant BDO USA, LLP.

          754.      Plaintiff noticed that the workpapers for both private clients and public   ;
                                                                                                I
  clients were being rolled forward year after year without actually doing the work. The

  public clients included BlueLinx, Atlanticus, IZEA, BioHorizons, and Interface.               ~

  Interface has recently been under an SEC investigation and an executive employee at

  Interface has been suspended. The private clients included Janus, Dustex, FCCI, RSR

  Group, ProCare, Vacation Express, and many others.
                                                                    F
          755.   The issue with the IT audit work perfortned was that several deficiencies
                                                                   I
  that should have been identified as significant deficiencies or material weaknesses were

  actually identified as only control deficiencies. Because they we're never communicated

                                                                    ~
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   to the financial statements audit team as control deficiencies, 'the financial statements

   audit teams never adjusted their audit strategy and therefore, never addressed the risk of

   material misstatements due to ineffective IT general controls (ITGCs).

          756.    Plaintiff informed Defendant Wesley Freeman 6f the work that was not

   performed in rouglily 75% of the public and private engagernents he oversaw in the

   Atlanta office. Defendant Wesley Freeman did not deny it. Instead of fixing the issues

   going forward, he kept misreporting the IT findings to hide the significant deficiencies

   and/or material weaknesses in the IS Assurance workpapers froin both the core

   Assurance team and the clients.

          757.     Defendant Wesley Freeman enlisted the assistance of junior associates to

   attempt to smear Plaintiff's reputation; thereby preventing Plaintiff from being

   promoted.

          758.    Defendant Wesley Freeman enlisted the assistance of junior associates to

   attempt to smear Plaintiff's reputation; thereby preventing Plaintiff from being

   promoted. These associates enlisted to smear my reputation were part of the group who

   delivered such a poor work product.

          759.     Plaintiff started being retaliated against at work. Retaliation practices

   included, but were not limited to reprimanding Plaintiff in reviews without ground,

   harassing Plaintiff, creating a hostile work environment for Plaintiff, tnak'ing subtle

   threats to Plaintiff, and using intimidation tactics against Plaintiff.

          760.     During internal meetings in 2020 and early 2021,I Anthony Reh, a Partner

   at BDO USA, LLP in the firm's Atlanta office stated that the mid-tier public accounting      i

   frms (primarily BDO and Grant Thornton) and the big 4(E&Y, Deloitte, K.PMG,,and

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   PWC) were going to reach an agreement to stop employees from switching 'firms and

  asking for higher salary.

          761.    Defendant Antony Reh, an Assurance Partner at BDO, had also stated

   that Plaintiff "and her family should be careful".

          762.    PIaintiff Raissa Djuissi Kengne signed the engagement letter with

   Defendant Finch McCranie in June of 2021. A few months later Finch MeCtanie

   resigned as the attorney firm on the Plaintiff's case. Plaintiff started being persecuted

   and retaliated against at home when she sigiied the contract with Defendant Finch

   McCranie.

          763.    Defendants Finch and McCranie, Michael Sullivan, and Walter Jospin

   disclosed the content of their conversation to BDO USA, LLP and did not disclose the
                                                                     I

   conflict of interest they had with any of the other Defendants.
                                                                                               i
          764.    Plaintiff uploaded several documents she had in Defendant's Finch            ,

   McCranie's data room per their request. Defendant's Finch McCranie took several

   months to review the evidence provided by the client and asked many questions about
                                                                                               ~
   BDO USA, LLP, the clients Plaintiff was working on, and the Plaintiff's family.             I

          765.    The Plaintiff was at a meeting at Defendant's Finch McCranie's offices

   located at 225 Peachtree St NE #1700, Atlanta, GA 30303 for many hours when her

   home was broken into on June 29`h, 2021.

          766.    During the meeting on June 29`h, 2021 at Defendant Finch McCranie, an

  accountarit was brought in to look at the evidence provided by Plaintiff. The accountant
                                                                     ~
  asked the Plaintiff whether she believed that Defendant Wesley Freeman was drugged

  and that was why he could not deliver on the engagements. Plaintiff responded by asking

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                                    .                                                        ~
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   if "Defendant Wesley Freeman had been drugged for the past
                                                           ~ five (5) years" while           ;
                                                                                             `
   overseeing the public company's engagements.

          767.    The question asked by Defendant Finch McCranie's accountant is the

   same one Defendant Scott Meier, the Southeast IS Audit Partner at BDO USA, LLP had

   asked Plaintiff during their face-to-face meeting at the "Establishment" restaurant in

   Midtown Atlanta in early 2021.

          768.    Plaintiff advised Defendant Finch McCranie that she had received a pay

   increase of approximately 12% and that Plaintiff was up for promotion. Defendant

   Michael Sullivan stated "well, that is a good thing".

          769.    While leaving the meeting, Defendant Finch McCranie's accountant

   stated to the Plaintiff "Nobody is safe".

          770.    Plaintiff had several phone calls thereafter with Finch McCranie. During

   one of these calls, Defendant Michael Sullivan explained that.they did not have enough

   evidence to pursue the case. Plaintiff notes that it took Defendant Finch McCranie more   !

   than 6 months to determine whether they had enough evidence for the whistleblower

   case. Upon informing the Plaintiff on the phone that Defendant Finch McCranie could

   no longer represent her, Defendant Michael Sullivan asked if Plaintiff wanted to drop

   the case. Plaintiff responded "No". Plaintiff noted that there was a long pause on the

   phone. After a few minutes, there was a few laughs on the call. Defendant Michael

   Sullivan then told the Plaintiff that his firm would send her an email to withdraw from   ~
                                                                                             i,

  the case.                                                      !




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          771.     Plaintiff claims that after the phone call with Def.endant Finch McCranie,          I
                                                                         ,                             I
   the retaliation. practices and attacks she faced, both at work and, in her personal life, had

   increased.

          772.    Plaintiffls home was broken into at multiple tiines. Plaintiff lives in a
                                                                         i
   condominium that has concierge services, which include, but ai•e not limited to, trained
                                   ,                                     ~

   staff who keep watch over the whole building, visitors screeriing process, and smart

   elevators that require a key card in order to both, enter the building and access the           '

   residential areas. The intruders must have had the building access card and the                     j

   residential floors as well as a copy of the keys to the Plaintiff's home in order to have       '

  access to the 1280 West building and the Plaintiff's home respectively.
                                                                                                   ~
          773.    Plaintiff resigned and was blacklisted from relevant job opportuiiities by

  Defendants because she engaged in protected activities:

          774.    Defendant Finch McCranie breached the attomey-client privilege by                I
                                                                                                   ~
  reporting the attomey-client protected conversations it had with Defendant BDO USA,              ;

  LLP and failed to disclose to Plaintiff a conflict of interests.

          775.    Defendant Finch McCranie utilized the information provided by

  Plaintiff, client at the time, to cause her harm and solidify relationship with Defendant

  BDO USA, LLP and other members of Group 2.

          776.    Defendant 1280 West Condominium Association and 1280 West Board                  ;

  of Directors and other members in Group 4 facilitated and participated in the ilIegal

  entry and trespass into the Plaintiffs unit.                       j
                                                                                                   ~

                                                                     ,                             I




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                                                                   i
                                                                   I                            ;
          777.    Defendant 1280 West Condominium Association and 1280 West Board               ~

   of Directors and other members in Group 4 have persecuted Plaintiff at home by

   claiming she owed HOA fees and attempting to deny her homeowner's privileges.

          778.    Plaintiff's relationship with the 1280 West Condominiurn Association,

   the 1280 West Board of Directors, and other members in Group 4 have been strenuous

   in the past. Plaintiff is part of a class action lawsuit against the 1280 West Condominium

   Association, the 1280 West Board of Directors, and other niembers in Group 4 for
                                                                                                i
   breach of fcduciary duty, among other counts.
                                                                                                ~

          779.    Defendants 1280 West Condominium Association and 1280 West Board              ,
                                                                                                i

   of Directors and other members in Group 4 have been in contact with Defendant BDO            i

   USA, LLP and other members of Group 2 in other to cause harin to Plaintiff.

          780.    Defendant Interface, Inc's headquarters are located in 1280 West at 1280

   W Peachtree St NW, Atlanta, GA 30309. Members of Interface's management have a

   relationship with the 1280 West Condominium Association, the 1280 West Board of

   Directors, and other members in Group 4. Several Interface's' employees also live at

   1280 W Peachtree St NW in the same condominiutn as Plaintiff.

          781.    The clients of BDO USA, LLP, particularly the clients who are

   mentioned as part of the subject matter of the whistleblowing case, have threatened and

   engaged in retaliatory practices against the Plaintiff.

          782.    Kas Naderi, Chieflnformation Officer of Atlanticus, threatened Plaintiff

   during a meeting held between Atlanticus and BDO USA, LLP and asked the Plaintiff
                                                              I,
   if Plaintiff was "now willing to work with Atlanticus" and if Plaintiff was the one

   "asking for additional evidence to provide to the PCAOB" inspectors.

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                                                                                                i




                                                                                                ,



                                                                                                ~




          783.    Plaintiff was late during that call. Scott Meier, BDO IS Assurance            ~

   Principal, told Kas Naderi in the call that Plaintiff was in the b'athroom. At the time of

   the said meeting, Plaintiff was working from home. Plaintiff was indeed in the bathroom.

   Scott Meier had no way of knowing the Plaintiff was indeed in the bathroom unless the

   Plaintiff was under surveillance by BDO USA, LLP, its agents,' and/or the Defendants.

          784.    During the same 2021 PCAOB inspection of Atlanticus Holdings                      ~
                                                                   ~

   Corporation, Plaintiff was indirectly threatened by Mark Davenport (Audit Partner),
                                                                                                    i


   Peter Poppo (Audit Partner), and Monica Burgess (Senior Audit Manager) who kept                  '
                                                                                                    ~


   using the word "dead" in many meetings held to discuss responses to the PCAOB                ;
                                                                                                I
   questions.

          785.    During the 2021, IT audit of BioHorizons, Elbert Jenkins, VP of IT, at

   BioHorizons had postponed several meetings with Plaintiff, was missing calls, and

   attempted to blame Plaintiff for the missing calls and meetings in order to provide

   negative feedback to Plaintiff's supervisor.

          786.    During the 2021 IT audit of NMS, Edward Burdekin, President of NMS

   had made a pointed reference to the Family Dollar store as one of their clients. The

   Plaintiff was at a Family Dollar store the day before with her mother.

          787.    Plaintiff noted that recordings and evidence gathered during that same            I
                                                                                                    i
   meeting in September of 2021 with Edward Burdekin were deleted from her laptop in

   an attempt to place her in a bad light. Plaintiff's IT experience allowed her to recover

   the data and prevent a possible by performance evaluation comment.

          788.    Plaintiff informed Finch McCranie, her then attorneys, of all the

   retaliatory practices she was facing.

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          789.    Defendant BDO USA, LLP and other entities and individuals listed in

   Group 2 conspired with entities and individuals listed in Group 3 and Group 4 in order

   to cause intentional harm to the Plaintiff as retaliation for reporting the fraud to the

   proper authorities.

           790.   The Defendants, singly and together, retaliated against Plaintiff by failing
                                                                     ~
                                                                     i
   to promote Plaintiff, harassing Plaintiff, discriminating against Plaintiff in the terms and

   conditions of employment; broke into Plaintiff's home, for reporting conduct to the SEC

   that the Plaintiff reasonably believed violated the federal securities law.

           791.   Defendants, singly and togetlier, retaliated against Plaintiff for disclosing     ~

   information that is protected or required under SOX and under podd-Frank.

           792.   Defendatits committed the crime of influencing Plaintiff with intent to

   deter Plaintiff from testifying freely, fully, and truthfully to any matter pending in any

   court, in any administrative proceeding, or before a grand jury, by communicating,

   directly and indirectly, to Plaintiff any threat of injury or damage to the person, property,

   or emP loY ment of the Plaintiff or to the P erson ~P roP e rtY~ or emP loYment of Plaintiff s   I

   relative.

           793.    Defendants knowingly used intimidation and threats, attempted to

   persuade Plaintiff by means of corruption, and engaged in misleading conduct toward

   Plaintiff with intent to hinder, delay, andlor prevent the communication to a law

   enforcement officer, prosecuting attorney, or judge of the United States of information

   relating to the cornmission or possible cominission of a Federalloffense.
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          794. ' Finch McCranie, Michael Sullivan, and Walter Jospin violated the                ~

   Attorney-Client Privilege when they failed to maintain inviolatie the confidence and, at
                                                                  I
   every peril to themselves, to preserve the secrets of Plaintiff, their then client.

                                       COUNT EIGHT:
                                                              ,
              Violatibn of Client's Communication s To Attorney Privileged                       !

                                       O.C.G.A. § 24-9-24

                                   (Against All Defendants)

           795.    The Plaintiff re-alleges and incorporates by reference each and every             J

   paragraph of this Complaint and the facts as if set fortli here in full for all purposes.

           796.    A violation of CI'ient's communications to attorney privileged occurs             i

   when the Attomey discloses the advice or counsel Eie may give to his client, nor produce

   or deliver up title deeds or other papers, except evidences of debt left in his possession        I

   by his client. See O.C.G.A. § 24-9-24.                                                            '
                                                                                                     i
           797.    As described more in this Coniplaint, the Defendants, by force,                   ~

   iritimidation, or threat, agreed and conspired among themselves and with others as well

   as, took separate action to create a hostile work environment, a toxic clirriate at work,

   and unsafe work conditions for the Plaintiff in order to stop her from reporting the fraud.

           798.    As described inore in this Complaint, the Defendants, by force,

   intitnidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to reprimand Plaintiff without just cause.

           799.    As described more in this Complaint, the `Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well                '
                                                                ~



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                                                                                                I
   as took separate action to harass 'the Plaintiff in order to stop her from reporting the

   fraud.

            800.    As described more in this Complaint, the ;Defendants, by force,

   iritimidation, or threat, agreed and conspired among themselves and with others as well

   as took separ'ate action to deny the Plaintiff a promotion, advancement, and saiary and

   bonuses associated with a promotion in order to prevent the Plaintiff from reporting the

   fraud.

            801.    As described more iii this Complaint, the 'Defendants, by force,

   intimidation, or tlueat, agreed and conspired among themselves and with others as well

   as took separate action to alter the employee's responsibilities and duties in order to      ;

   prevent the Plaintiff from reporting the fraud.

            802.    As described more in this Complaint, the :Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to break into Plaintiff's home in order to prevent the Plaintiff

   from reporting the fraud.
                                                                    i

            803..   As described more in this Complaint, the ;Defendants, by force,

   intimidation, or threat, agreed and conspired among tliemselves' and with others as well

   as took separate action to hack into Plaintiffls personal •computer and phones in order to

   prevent the Plaintiff from reporting the fraud.

            804.    As described more in this Complamt, the Defendants, by force,

   intimidatiori, or threat, agreed and conspired among themselves 'and with others, as well

  as took -separate action, to retaliate and persecute Plaintiff at' work and at home for       ;

   engaging in a protected activity.                                ~

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          805       As described more in this Complaint, the 'Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves-and with others, as well

   as took'separate action, to retaliate and persecute Plaintiff at work and at. home in order

   to force Plaintiff to resign from lier position.

          806.      The parties in this case can be divided into four (4) main groups, together

   referred to as the "Defendants".                                  ;

   Group 1— Plaintiff: is comprised of Raissa Djuissi Kengne, the Plaintiff, and fofiner

   employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in the capacity

   of Experienced IT Audit Manager.

   Group 2— Defendant: is comprised of BDO USA, LLP, the 'public accounting firm

   where the Plaintiff was formerly eniployed, as well as Partners and members of

   management at BDO USA, LLP including Scott Meier, Wesley Freeman, Paul Davison,

   Jason Cuda, Justin Wilkes, Anthony Reh, PeterPoppo, MarkDavenport, Johnson Wong,               i
                                                                                                  ;
   Interface, Atlanticus, Kas Naderi, BioHorizons, and.NMS. Group 2 also includes Justin
                                                                                                  ~
   Mungal, a homeowner who lives directly across the Plaintiff's unit at the 1280 West

   Condominium in Atlanta, GA who admittedly stated that he worked for BDO USA,

   LLP.

   Group 3— Defendant: is comprised of the attorney's firms and; its representatives who          ~
                                                                                                  ~
   were previously retained by Plaintiff for representation in the whistleblower case. The        i

   attorney's firm was Finch NlcCranie and its representatives were Michael Sullivan and          '

   Walter Jospin.                                                    ;
                                                                                                  {
   Group 4— Defendant: is comprised of the 1280 West Condorriinium
                                                            ,      and its Board of

   Directors as well as Beacon Management Services, LLC and its agents. Beacon
                                                                     ;

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   Management Services, LLC has served as the management conipany for the 1280 West

   Condominium Association where the Plaintiff resides for many years.

          807.     Plaintiff reported a violation of SEC regulations, PCAOB standards,

   AICPA standards, the Antitrust law, and a circumvention 'of the law prohibiting
                                                                   i                            -
   employers from asking about an applicant's pay history in the state of Georgia. The

   misconduct happened while working- for Defendant BDO USA; L.LP.

          808.    Plaintiff noticed that the workpapers for both private clients and public

   clients were being rolled forward year after year without actually doing the work. The

   piiblic clients included B1ueLinx, Atlanticus, IZEA, BioHorizons, and Interface.

   Interface has recently been under an SEC investigation and ari executive employee at

   Interface has been suspended. Tlle private clients included Janus, Dustex, FCCI, RSR

   Group, ProCare, Vacation Express, and many others.              I

          809.    The issue with the IT audit work performed was that several def ciencies

   that should have been identified as significant deficiencies or material weaknesses were         i

   actually identified as only control deficiencies. Because they were.never communicated           ~

   to the financial statements audit team as control deficiencies, ihe financial statements

   audit teams never adjusted their audit strategy and therefore, never addressed the risk of

   material misstatements due to ineffective IT general controls (ITGCs).

          810.    Plaintiff informed Defendant Wesley Freeman of the work that was not

   performed in roughly 75% of the public and private engagements he oversaw in the

   Atlanta office. Defendant Wesley Freeman did not deny it. Instead of fixing the issues           ;

   going foiward, he kept rriisreporting the IT findings to hide the'significant deficiencies




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   and/or materiai weaknesses in the IS Assurance workpapers from both the core                 ;
                                                                                                ~

   Assurance team and the clients.

          811.    Defendant Wesley Freeman enlisted the assistance of junior associates to

   attempt to smear Plaintiff s reputation; thereby preventing Plaintiff from being

   promoted.

          812.    Defendant Wesley Freeman enlisted the assistance of junior associates to          ~
                                                                      ~
                                                                                                    I~
   attempt to smear Plaintiffls reputation; thereby preventing Plaintiff froin being

   promoted. These associates enlisted to smear my reputation were part of the group who            '

   delivered such a poor work product.

          813.    Plaintiff started being retaliated against at work. Retaliation practices         ~
                                                                                                    I
   included, but were not limited to reprimanding Plaintiff in reviews without ground,

   harassing Plaintiff, creating a hostile work environment for Plaintiff, making subtle            I

   threats to Plaintiff, and using intimidation tactics against Plaintiff.                          i

          814.    During intemal meetings in 2020 and early 2021,, Anthony Reh, a Partner           ;

   at BDO USA, LLP in the firm's Atlanta office stated that the mid-tier public accounting

   firms (primarily BDO and Grant'Thornton) and the big.4 (E&Y, Deloitte, KPMG, and

   PWC) were going to reach an agreement to stop employees from switching firms and

   asking for higher salary.

          81.5.    Defendant Antony Reh, an Assurance Partner at. BDO, had also stated               i

   that Plainfiff "and her family should be careful".                                                   ~

          816.     Plaintiff Raissa Djuissi Kengne signed the engagement letter with
                                                                       I
   Defendant Finch McCranie in June of 2021. A few months later Finch McCranie

   resigned as the attomey firm on - the Plaintiff s case. Plaintiff started being persecuted
                                                                       ~
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   and retaliated against at home when she signed the contract with Defendant Finch

   McCranie.

          817.    Defendants Finch and McCranie, Michael Sullivan, and Walter Jospin

   disclosed the content of their conversation to BDO USA, LLP ;and did not disclose the
                                                                    i
   conflict of interest they had with any of the other Defendaiits. ~'

          818.    Plaintiff uploaded several documents she had in Defendant's Finch

   McCranie's data room per their request. Defendant's Finch ;McCranie took several

   months to review the evidence provided by the client and asked many questions about

   BDO USA, LLP, the clients Plaintiff was working on, and the Plaintiff's family.

          8.19.   The Plaintiff was at a meeting at Defendant's Finch McCranie's offices

   located at 225 Peachtree StNE #1700, Atlanta, GA 30303 for-several hours when her

   home was broken into on 3une 29`h, 2021.

          820.    During the meeting on June 29`h, 2021 at Defendant Finch McCranie, an

   accountant was brought in to look at the evidence provided by Plaintiff. The accountant

   asked the Plaintiff whether she believed that Defendant Wesley Freeman was drugged

   and that was why~ he could not deliver on the engagements. Plaintiff responded by asking

   if "Defendant Wesley Freeman had been drugged for the past five (5) years" while

   overseeing the public company's engagements.

          821.    The question asked by Defendant Finch McCranie's accountant is the

   same one Defendant Scott Meier, the Southeast IS Audit Partner at BDO USA, LLP had

   asked Plaintiff during their face-to-face meeting at the "EstaUlishment" restaurant in
                                                                 i
   Midtown Atlanta in early 2021.




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          822.      Plaintiff advised Defendant Finch McCranie tha'.t she had received a pay

   increase of approximately 12% and that Plaintiff was up for promotion. Defendant              '

   Michael Sull'ivan stated "well, that is a good thing"

          823.      While leaving the meeting, Defendant Finch McCranie's accountant

   stated to the Plaintiff "Nobody is safe".                        !

          824.      Plaintiff had several phone calls, thereafter with Finch McCranie. During

   one of these calls, Defendant Michael Sullivan explained that they did not have enough

   evidence to pursue the case. Plaintiff notes that it took Defendant Finch McCranie more           ~
                                                                                                     i

   than six (6) rnonths to determine whether they had enough evidence for the                        ~

   whistleblower case. Upon informing the Plaintiff on the phorie that Defendant. Finch

   McCranie could no longer represent her, Defendant 1Vlichael Sullivan asked if Plaintiff           ~

   wanted to drop the case. Plaintiffresponded "No". Plaintiff noted that there was a long
                                                                    '                                f
   pause on the phone. After a few nunutes, there was a few laughs on the call. Defendant            !

   Michael Sullivan then told the Plaintiff that his firm would send her an email to withdraw

   from the case.

           825.     Plaintiff claims tliat after the phone call with Defendant Finch McCranie;

   the retaliation practices and attacks she faced, both at work and,in her personal life, had

   increased.

           826.     Plaintiff s horrie was broken into at multiple times. Plaintiff lives in a

   condominium that has concierge services, which include, but are not limited to, trained

   staff who keep watch over the- whole building, visitors screening process, and smart

   elevators that require a key card in order to both, enter the building and access the             ,
                                                                     i
   residential areas. The intruders must have had the building access card and the

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   residential floors as well as a copy of the keys to the Plaintiff's liome iri order to have

   access to the 1280 West b.uilding and the Plaintiff's home respectively.

          827.     Plaintiffresigned and was blacklisted fromxelevant job opportunities by

   Defendants because she engaged in protected activities.

          828. Defendant Finch McCranie breached the attorney-client privilege by

   reporting the attorney-client protected conversations it had witfi Defendant BDO USA,             ,

   LLP and failed to disclose to Plaintiff a conflict of interests.

           829.    Defendant Finch McCranie utilized the information provided by

   Plaintiff, client at the time,, to cause her harm and solidify relationship with Defendant

   BDO USA, LLP and other members of Group 2.

           830.    Defendant 1280 West Condominium Association and 1280 West Board

   of Directors and other menibers in Group 4 facilitated and participated in the illegal

   entry and trespass into the Plaintiff's unit.

           831.    Defendant 1280 West Condominium Association and 1280- West Board

   of Directors and other members in Group 4 have persecute;d Plaintiff at home by

   claiming she owed HOA fees and attempting to deny her homeowner's privileges.

           832.    Plaintiff's relationship with the 1280 West Condominium Association,

   the 1280 West Board of Directors, and other.members in Group 4 have been strenuous

   in the past. Plaintiff is part of a class actiop lawsuit against the .1280 West Condominium

                                                                            . 4 for
   Association, the 1280 West Board of Directors, and other niembers in Group                    .   ~

   breach of fiduciary duty, among other counts.                      ;
                                                                      I                              I'




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          833.    Defendants 1280 West Condominium Association and 1280 West Board
                                                                   ;
   of Directors and other members in Group 4 have been in contact with Defendant BDO

  USA, LI:P and other members of Group 2 in other to cause harfn to Plaintiff.

          834.    DefendantInterface, Ine's headquarters are located in 1280 West at 1280

   W Peachtree St NW, Atlanta, GA 30309. Members of Interface's management have a
                                                                   ;
   relationship with the 1280 West Condominium Association, the 1280 West Board of

  Directors; and other members in Group 4. Several Interface's employees also live at

  1280 W Peachtree St NW in the same condominium as Plaintiff.

         835.     The clients of BDO USA, LLP, particularly the clients who are

  mentioned as part of the subject matter of the whistleblowing case, have threatened and

  erigaged in retaliatory practices against the Plaintiff.

         836.     Kas Naderi, Chief Inforination Officer of Atlanticus, threatened Plaintiff

  during .a meeting held betvveen Atlanticus and BDO USA, LLP and aslced the Plainfiff

  if Plaintiff was "now willing to work with Atlanticus" and if Plaintiff was the one

  "asking for additional evidence to provide to the PCAOB" inspectors.

         837.     Plaintiff was late during that call. Scott Meier, BDO IS Assurance

  Principal, told Kas Naderi in the call that Plairitiff was in the bathroom. At the time of

  the said meeting, Plaintiff was working from home. Plaintiff was,indeed in the bathroom.

  Scott Meier had no way of knowing the Plaintiff was indeed in the bathroom unless the

  Plaintiff was under surveillance by BDO USA, LLP, its agents,,and/or the Defendants.
                                                                   i
         838.    During the same 2021 PCAOB inspection of Atlanticus Hold'ings
                                                                   i
  Corporation, Plaintiff was indirectly threatened by Mark Davenport (Audit Partner),

  Peter Poppo (Audit Partner), and Monica Burgess (Senior Audit Manager) who kept

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   using the word "dead" in many meetings held to discuss responses to the PCAOB
                                                                     ,
   questions.

          839.    During the 2021, IT audit of BioHorizons, Elbert Jenkins, VP of IT, at

   BioHorizons had postponed several meetings with Plaintiff, was missing calls, and
                                                                     ~
   attempted to blame Plaintiff for the missing calls and meetings in order to provide

   negative feedback to Plaintiffs supervisor.

          840.    During the 2021 IT audit of NMS, Edward Burdekin, President of NMS

   had made a pointed reference to the Family DolIar stoie as one of their clients., The

   Plaintiff was at a Family Dollar store the day before with her mother.

          841.    Plaintiff noted that recordings and evidence gathered during that same

   meeting in September of 2021 with Edward Burdekin were deleted from her laptop, in

   an attempt to place her in a bad light. Plaintiffs IT experience allowed her to recover

   the data and prevent a possible :by performance evaluation convneiit.

          842., Plaintiff informed Finch McCranie, her theu attorneys, of all the

   retaliatory practices she was facing.

          843.    Defendant BDO USA, LLP and other entities and individuals listed in

   Group 2 conspired with entities and individuals listed in Group, 3 and Group 4 in order

   to cause inteiitional harm to the Plaintiff as retaliation for reportirig the fraud to the

   proper authorities.

          844.    The De£endants, singly and together, retaliated against Plaintiff by failing

   to promote Plaintiff, harassing Plaintiff, discriminating against Plaintiff in the terms and
                                                                     ~
   conditions of employinent, broke into Plaintiff's home, for reporting conduct to the SEC
          .                                                          ~
   that the Plaintiff reasonably believed violated the federal securities law.
                                                                     ~
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                                                                      i




           845.   Defendants, singly and together, retaliated against Plaintiff for disclosing

   information that is protected or required under SOX and under podd-Frank.

           846.   Defendants committed the crime of influencing Plaintiff with intent to

   deter Plaintiff from testifying freely, fully, and truthfully to any matter pending in any

   court, in any administrative proceeding, or before a grand jury, by commiinicating,

   directly and indirectly, to Plairitiff any threat of injury or damage to the person, property,
                                                                      ~
   or employment of the Plaintiff or •to the person, property, or erimployment of Plaint'iff s

   relative.

           847.   Defendants known2gly used intimidation and threats, attempted to

   persuade Plaintiff by means of corruption, and engaged in mis:leading conduct toward

   Plaintiff with intent to hinder, delay, and/or prevent the communication' to a law

   enforcement off'icer, prosecuting attorney, or judge of the United States of.information

   relating to the commission or possible commission of a Federal: offense.

           848.    Finch McCranie, Michael Sullivan, and Walter Jospin violated the

   CIient's communications to attorney privileged agreement by disclosirig the advice or

   counsel .they have given to Plaintiff, their then client.

                                         COUNT NINE:

                     Tampering with a witness, victim, or an informant

                                      18 U.S. Code § 1512

                                    (Against All Defendants)

           849.    The Plaintiff re-alleges and incorporates by reierence each and every

   paragraph of this Complaint and the facts as if set forth here in full for all purposes.

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           850.   The offense of tampering with a witness, victim; or an informant occurs

   when:

                  (1)     An entity or individual uses physical force or the threat of

           physical force against any person, or attempts to do so, with intent to—

                          a.          influence, delay, or prevent the testimony of any person

                  in an official proceeding;
                                                                      i
                          b.          cause or induce any person to— :

                                 i,          withhold testimony;     or. withhold , a record,

                          document, or other object, from an official proceeding;                  ;
                                                                                                   i
                                ii.          alter, destroy, mutilate, or conceal an object with

                          intent to impair the integrity or availability of the object for use
                                                                     ~
                          in an official proceeding;

                               iii.          evade legal process summoning that person to

                          appear as a witness, or to produce a record, document, . or other

                          object, in an official proceeding; or

                                iv.          be absentfrom an officialproceeding to which that

                          person has been summoned by legal process; or

                          C.          hinder, delay, or prevent the communication to a law

                   enforcement officer or judge of the United States of information relating       '
                                                                                                   i
                  to the commission or possible conunission of a Federal offense or a

                   violation of conditions of probation, supervised release, parole, or release
                                                                       i
                  peciding judicial proceedings;




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               (2)     An entity or individual knowingly uses intimidation, threatens, or

        corruptly persuades another person, or attempts to 1 do so, or engages in

        misleading conduct toward another persori, with interit to—

                       a„      influence, delay, or prevent the testimony of any person

               in an official proceeding;                          '
                                                                   I
                       b.      cause or induce any person to— ;

                             i.          Withhold testimony, or withhold a record,

                       document, or other object, from an official proceeding;

                             ii.         alter, destroy, inutilate, or conceal an object with       ;
                                                                   ,                                I
                       intent to impair the object's integrity or availability for use in an

                       official proceeding;

                            iii.         evade legal process summoning that person to

                       appear as a witness, or to produce a record, document; oi other

                       object, in an official proceeding; or

                            iv.          be absent from an official proceeding to which

                       such person has been summoned by legal process; or

                       C.          hinder, delay, or prevent the communication to a law

                enforcement officer or judge of the United States of information relating               (
                                                                ~                                       I
                to the commission or possible commission of a Federal offense or a                      i

                violation of conditions of probation, supervised release, parole, or release

                pending judicial proceedings;

                (3)     An entity or individual corruptly—

                                                                       ~

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                         a.      alters, destroys, mutilates; ot conceals. a record,            I

                 document, or other object, or attempts~ to do so, with the intent to irnpair

                 the object's integrity or availability for use in an official proceeding; or

                         b.      otherwise obstructs, influences, or impedes any official       ~


                 proceeding, or attempts to do so, shall be fined under this title or

                  imprisoned not more than 20 years, or both.

                 (4)     An entity or individual intentionally harasses another person and

          thereby hinders, delays, prevents, or dissuades any person from—

                         a.      attending or testifying in an of8cial .proceeding;                 j

                         b.      reporting to a law enforcement ,officer or judge of the        ~

                  United States the coirimission or possible commission of a Federal                I

                  offense or a violation of conditions of probation 1 supervised release,l

                  parole, or release pending judicial proceedings;

                         C.      arresting or seeking the arrest of another person in

                  connection with a Federal offense; or

                          d.     causing a criminal prosecution, or a parole or probation

                  revocation proceeding, to- be sought or instituted, or assisting in such

                  prosecution or proceeding;

          851.    As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves; and with others as well

   as took separate action to create a hostile work environment, a toxic climate at work,
                                                                     l                              ~
   andunsafe work conditions for the Plaintiff in order to stop her from reporting the fraud.           ~
                                                                     ~



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            852.   As described more in this Complaint, the !Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to reprimand Plaintiff without just cause.

            853.   As described more in this Complaint, the ;Defendants, by force,             ;

   intimidation, or threat, agreed and conspired among themselves and with -others as well

   as took separate action to harass the Plaintiff in order to stop, her from reporting the

   fraud.

            854.   As described rriore in this Coriiplaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to deny the Plaintiff a promotion,, advancement, and salary and

   bonuses associated with -a promotion in order to prevent the Plaintiff from reporting the

   fraud.

            855.   As described more in this Complaint, the 'Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to alter the employee's responsibilities and duties in order to

   prevent the Plaintiff from reporting the fraud.

            856.   As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well      i
                                                                                               i
   as took separate acrion to break into Plaintiff's home in order'to prevent the Plaiiitiff   ;

   from reporting the fraud.

            857.   As described more in this Complaint, the ;Defendants, by force,
                                                                  '                                I
   "tntimidation, or threat, agreed and conspired among themselves: and with others as well




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   as took separate action to hack into Plaintiff's personal computer and phones in order to    ;

   prevent the Plaintiff from reporting the fraud.

          858.    As described more in this Complaint, the , Defendants, by force,
                                                                                                ~
   intimidation, or threat, agreed and conspired among themselves, and with others, as well     ~

   as took separate action, to retaliate and persecute Plaintiff at work and at home for

   engaging in a protected activity.

          859.    As described more in this Complaint, the .Defendants, by force,               ~

   intimidation, or threat, agreed and conspired among themselves and with others, as well      ~
                                                                                                ~
   as took separate action, to retaliate and persecute Plaintiff at work.and at home in order   ;

   to force Plaintiff to resign from her position.

          860.    The parties in this case can be divided into four•(4) main groups, together   ~

   referred to as the "Defendants".                                                             (
                                                                                                ~
                                                                                                ;
   Group 1— Plaintiff: is comprised of Raissa Djuissi Kengne, the Plaintiff, and former

   employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in the capacity

   of Experienced IT Audit Manager.
                                                                    i
   Group 2— Defendant: is comprised of BDO USA, LLP, the 'public accounting finn

   where the Plaintiff was formerly employed, as well as Partners and members of

   management at BDO USA, LLP including Scott Meier, Wesley Freeman, Paul Davison,

   Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark Davenport, Johnson Wong,

   lnterface, Atlanticus, Kas Naderi, BioHorizons, and.NMS. Group 2 also includes Justin

   Mungal, a homeowner who lives directly :across the Plaintiffs. unit at the 1280 West

  Condorninium in Atlanta, GA who admittedly stated that he worked for BDO USA,                 ~

   LLP.

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                                                                                                i
   Group 3— Defendant: is comprised of the attorney's firms and its representatives who         ~

   were previously retained by Plaintiff'for representation in the whistleblower case. The

   attorriey's firm was Finch McCranie and its representatives we're 1Vlichael Sullivan and

   Walter Jospin.

   Group 4— Defendant: is comprised of the 1280 West Condominium arid its Board of

   Directors as well as Beacon Management Services, LLC and its agents. Beacon

   Management Services, LLC has served as the management company for the 1280 West

   Condominium Association where the Plaintiff resides for many years.

          861.      Plaintiff reported a violation of SEC regulations, PCAOB standards,         ~

   AICPA standards, the Antitrust law, and a circumvention of the law prohibiting

   employers from asking aliout an applicant's pay history in the state of Georgia. The

   misconduct happened while workirig for Defendant BDO USA; LLP.

          862.      Plainfiff noticed that the workpapers for both private clients and public

   clients were being rolled forward year after year without actually doing the work. The       ;
                                                                                                i
   public clients included B1ueLinx, Atlanticus, IZEA, BioHorizons, and Interface.

   Interface has recently been under an SEC irivestigation and an executive einployee at

   Interface has been suspended. The private clients incliaded Janus, Dustex, FCCI, RSR

   Group, ProCare, Vacation Express, and many others.                                           ;
                                                                                                ~
          863.      The issue with the IT audit work performed was that several deficiencies

   that should have been identified as significant deftciencies or material weaknesses were

   actually identified as only control deficiencies. Because they were never conununicated

   to the fnancial statements audit team as control deficiencies, the financial statements




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                                                                                                ,




   audit teams never adjusted their audit strategy and therefore, never addressed the risk of   ;

   material misstatements due to ineffective IT general controls (ITGCs).

           864.   Plaintiff informed Defendant Wesley Freeman of the work that was not
                                                                      ~

   performed in roughly 75% of the public and private engagements he oversaw in the

   Atlanta office. Defendant Wesley Freernan did not deny it. Instead of fixing the issues

   going forward, he kept misreporting the IT fmdings to hide the significant deficiencies

   and/or material weaknesses in the IS Assurance workpape'rs from both the core

   Assurance team and the clients.

           865.    Defendant Wesley Freeman enlisted the assistance of junior associates to

   attempt to sinear Plaintiff's reputatiori; thereby preventing Plaintiff from being

   prorimoted.                                                         ~

           866.    Defendant Wesley Freeman enlisted the assistanee of junior associates to
                                                                                                    ~
   attemp"t to smear Plaintiff's reputation; thereby preventing Plaintiff from being                ~

   promoted. These associates enlisted to smear her reputation were part of the group who           ;

   delivered such a poor work product.

           867.    Plaintiff started being retaliated against at work. Retaliation practices

   included, but were not limited to reprimanding Plaintiff in reviews without ground,

   harassing Plaintiff, creating a hostile work environment for Plaintifif, rnaking subtle          i
                                                                                                    i
   threats to Plaintiff, and using intimidation tactics against Plaintiff.

           868:    During internal meetings in 2020 and early 202 1, Anthony Reh, a Partner

   at BDO USA, LLP in the fum's Atlanta office stated that the miii-tier public accounting
                                                                                                    I
   firms (primarily BDO and Grant Thornton) and the big 4(E&Y, Deloitte, KPMG, and

                                                                       I                            '


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   PWC) were going to reach an agreement to stop employees fr,om switching firms and

   asking for higher salary.

          869.    Defendant Antony Reh, an Assurance Parttier at BDO, had also stated

   that Plaintiff "and her.family should be careful".

          870.    Plaintiff started being persecuted and retaiiated against at home when she

   signed the contract with Defendant Finch McCranie.                 ;

          871.    Plaintiffs home was broken into multiple times. Plaintiff lives in a

   condominium that has concierge services, which include, but are not limited to, trained

   staff who keep watch over the whole building, visitors scr.eening process, and smart

   elevators that require a key card iri order to both, enter the building and access the      ~

   residential areas. The intruders must have had the building access card and the             ~

   residential floors as well as a copy of the keys to the Plaintiff's home in order to have

   access to the 1280 West building and the Plaintiff's home respectively.                     I

          872.     Plaintiff resigned and was blacklisted from relevant job opportunities by   ;

   Defendants because she engaged in protected activities

          873.     Defendant Finch McCranie breached the attorney-client privilege by '

   reporting the attomey-client protected conversations it had with Defendant BDO USA,

   LLP and failed to disclose to Plaintiff a conflict of interests.

           874.    Defendant Finch McCranie utilized the information provided by Plaintiff     ;

   and then client to cause her harm and solidify relationship with Defendant BDO USA,

   LLP and other members of Group 2.                                  i
                                                                                               ;




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          875.     Defendant 1280 West Condominium Association and 1280 West Board              ;

   of Directors and other members in Group 4 facilitated and participated in the illegal

   entry and trespass into the Plaintiff's unit.                   ;

          876.     Defendant 1280 `1Vest Condominium Assoc'iation and 1280 West Board

   of Directors and other members in Group 4 have persecuted Plaintiff at horne by              I
                                                                   !
   claiming she owed HOA fees and attempting to deny her homeowner's privileges.

           877.    Plaintiff's relationship with the 1280 West Condominium Association,         ~

   the 1280 West,Board of Directors, and other members in Group 4 have been strenuous

   in the past. Plaintiff is part of a class action lawsuit against the 1280 West Condominium

   Association, the 1280 West Board of Directors, and other members in Group 4 for

   breach of fiduciary duty, arriong other counts.

           878.    Defendants 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 have been in contact with Defendant BDO

   USA, LLP and other members of Group 2 in order to cause harm to Plaintiff.

           879.    Defendant Interface, Inc's headquarters are.located in 1280 West at 1280

   W Peachtree St NW, Atlanta, GA 30309. Members of Interfade's management have a

   relationship with the 1280 West Condominium Association, the 1280 West Board of

   Directors, and other menibers in Group 4. Several Interface's. employees also live at

   1280 W Peachtree St NW in the same condominium as Plaintiff.
                                                                           ~
           880.    The clients of BDO USA, LLP, particularly the clients who are

   mentioned as part of the subject matter of the whistleblowing case, have threatened and
                                                                       ,                            ~
   engaged in retaliatory practices against the Plaintiff.                                          ~




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          881.    Kas Naderi, Chief Information Officer of Atlanticus, threatened PIaintiff

   during a meeting held between Atlanticus and BDO USA, LLP and asked the Plaintiff

   if Plaintiff was "now willing to work with Atlanticus" and if Plaintiff was the one

   "asking for additional evidence to provide to the PCAOB" inspectors.
                                                                   i

          882.    PIaintiff was late during that call. Scott Meier, BDO IS Assurance

   Principal, told Kas Naderi in the call that Plaintiff was in the bathroom. At the time of

   the said meeting, Plaintiff was working from home. Plaintiff was indeed in the bathroom.

   Scott Meier had no way of knowing the Plaintiff was indeed in the bathroom unless the

   Plaintiffwas under surveillance by BDO USA, LLP, its agents, and/or the Defendants.

          883.    During the same 2021 PCAOB inspection of Atlanticus Holdings

   Corporation, Plaintiff was indirectly threatened by Mark Davenport (Audit Partner),

   Peter Poppo (Audit Partner), and Monica Burgess (Senior Audit Manager) who kept

   using the word "dead" in many meetings held to discuss responses to the PCAOB

   questions.

          884.    During the 2021, IT audit of BioHorizons, Elbert Jenkins, VP of IT, at

   BioHorizons had postponed several meetings with Plaintiff, was missing caIls, and

   attempted to blame Plaintiff for the missing calls and meetings in order to provide

   negative feedback to Plaintiff's supervisor.

          885.    During the 2021 IT audit of NMS, Edward Burd:ekin, President of NMS

   had made a pointed reference to the Family Dollar store as one of their clients. The
                                                                   ,

   Plaintiff was at a Family Dollar store the day before with her mother.
                                                                       i

          886.    Plaintiff noted that recordings and evidence gathered during that same

   meeting in September of 2021 with Edward Burdekin were deleted from her laptop in
                                                                       I

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   an attempt to place her in a bad light. Plaintiff's IT experience allowed her to recover

   the data and prevent a possible by performance evaluation comment.

          887.    Defendant BDO USA, LLP and other entities and individuals listed in

   Group 2 conspired with entities and individuals listed in Group 3 and Group 4 in order

   to cause intentional harm to the Plaintiff as retaliation for reporting the fraud to the

   proper authorities.

           888.   The Defendants, singly and together, retaliated against Plaintiff by failing

   to promote Plaintiff, harassing Plaintiff, discriminating against.Plaintiff in the terms and

   conditions of employment, broke into Plaintiffls home, for reporting conduct to the SEC

   that the Plaintiff reasonably believed violated the federal securities law.

           889.   Defendants, singly and together, retaliated against Plaintiff for disclosing         ~
                                                      .                          .                 .   I

   information that is protected or required under SOX and under podd-Frank.                           ~
                                                                                                       ,

           890.   Defendants committed the crime of influencing Plaintiff with intent to               j

                                 ~ g freelY~ fullY~ and truthfullY to an'Y matter Pending~m anY
   deter Plaintiff from testi fY m
                                                                                                       i
   court, in any admiriistrative proceeding, or before a grand jury, by communicating,                 I

   directly and indirectly, to Plaintiff any threat of injury or damage to the person, property,

   or employment of the Plaintiff or to the person, property, or employment of Plaintiffs

   relative.

           891.   Defendants knowingly used intimidation and threats, attempted to

   persuade Plaintiff by means of corruption, and engaged in misleading conduct toward

   Plaintiff with intent to hinder, delay, and/or prevent the communication fo a law

   enforcement officer, prosecuting attorney, or judge of the United States of information

   relating to the commission or possible commission of a Federal. offense.

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                                        COUNT TEN:

                                      Influencing Witness

                                      O.C.G.A. §16-10-93

                                   (Against All Defendants)

          892.    The Plaintiff re-alleges and incorporates by reference each and every

   paragraph of this Complaint and the facts as if set forth here in full for all purposes.

          893.    The offense of influencing a witness occurs when:

                  (1)     a person who, with intent to deter a witness from testifying freely,

          fully, and truthfully to any matter pending in any court, in any administrative

          proceeding, or before a grand jury, communicates, directly or indirectly, to such

          witness any threat of injury or damage to the person, property, or employment

          of the witness or to the person, property, or employment of any relative or

          associate of the witness or who offeis or delivers any benefit, reward, or

          consideration for such witness or to a relative or associate of the witness shall

          will be guilty of influencing witnesses.

                  (2)     any person knowingl.y to use intimidation, physical force, or

          threats; to persuade another person by means of corruption or to attempt to do

          so; or to engage in misleading conduct toward another p'erson with intent to:

                          a.      Influence, delay, or prevent the testimony of any person

                  in:an official proceeding;

                          b.      Cause or induce any person to withhold testimony or a

                                                                i
                  record, document, or another object from an official proceeding, alter,        I

                  destroy, mutilate, or conceal an object with intent to impair the object's
                                                                    ;

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                    integrity or availability for use in an official proceeding, evade legal

                    process sunimoning that person to appear- as a ,,witness or to produce a

                    record, document, or other object in an official proceeding; or be absent

                    from an official proceeding to which such persori has been summoned by       ;

                    legal process; or

                           C.      Hinder, delay, or prevent the communication to a law

                    enforceinent officer, prosecuting attorney, or' judge of this state of

                    infonnation relating to the commission or possible commission of a

                    criminal offense or a violation of conditions of probation, parole, or

                    release pending judicial proceedings.

            894.    Pursuant to O.C.G.A. §16-10-93, a witness can be influenced with or

   without force.

            895.    As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to create a hostile work environment, a toxic climate at work,

   and unsafe work conditions for the Plaintiff in order to stop her from reporting the fraud.

            896.    As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well
                                                                                                     ~
   as took separate action to reprimand Plaintiff without just cause.

            897.    As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to harass the Plaintiff in order to stop, her from reporting the          1
                                                                     i
   fraud.

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            898.    As described more in this Complaint, the Defendants, by force,
                                                                  ~
   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to deny the Plaintiff a promotion, advanceinent, and salary and

   bonuses associated with a promotion in order to prevent the Plaintiff from reporting the

   fraud.

            899.    As described more in this Complaint, the Defendaiits, by force,
                                                                  ~

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to alter the employee's responsibilities and duties in order to         ~
                                                                                                   ~

   prevent the Plaintiff from reporting the fraud.                                                 ;
                                                                                               .

            '900.   As described more in this Complaint, .the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves arid with others as well

   as took separate action to break into Plaintiff's home in order to prevent the Plaintiff

   from reporting the fraud.

            90-1.   As described more in this Complaint, the Defendants, by force,

   intimidation, or tlireat, agreed and conspired among themselves and with others as well

   as took separate action to hack into Plaintiff's personal computer and phones in order to

   prevent the Plaintiff from reporting the fraud.

            902..   As described more in this Complaint, the Defendants, by force,                     '

   intiinidation, or threat, agreed and conspired among themselves and with others, as well            ~

   as took separate action, to retaliate and persecute Plaintiff at work and at home for

   engaging in a protected activity.

            903.    As described more in this Complaint, the ~'Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves; and with others, as well
                                                                      I
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   as took separate action, to retaliate and persecute Plaintiff at w i rk: and at home in order   ;

   to force Plaintiff to resign from her position.

           904.     The parties in this case can be divided intoTour ('4) main groups, togethec

   referred to as the "Defendants".                                  ~                                 I

   Group 1— Plaintiff: is comprised of Raissa Djuissi Kengne, the Plaintiff, and former
                                                           i
   employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in the capacity

   of Experienced IT Audit Manager.

   Group 2-- Defendant: is comprised of BDO USA, LLP, the; piiblic accounting frm

   where the Plaintiff was formerly employed, as well as Partners and members of
                                                                ,
   management at BDO USA, LLP including Scott Meier, Wesley Freeman, Paul Davison,
                                                                I
   Jason Cuda, Justin Wilkes, Anthony Reh, Peterr Poppo, Mark.Da;venport, Johnson Wong,

   Interface, Atlanticus, Kas Naderi, BioHorizons, and NMS. Group 2 also includes Justin

   Mungal, a homeowner who lives directly across the Plaintiffs unit at the 1280 West

   Condominium in Atlanta, GA who admittedly stated that he ~vorked for BDO USA,

   LLP.

   Group 3— Defendant: is comprised .of the attorney's firms and its representatives who

   were prev'iously retained by Plaintiff for representation in the whisfleblower case. The

   attorney's fum was Finch McCranie and its representatives were Michael Sullivari and

   Walter Jospin.                                                     ;

   Group 4— Defendant: is comprised of the 1280 West Condoniinium and .its Board of

   Directors as well as Beacon Management Services, LLC and its agents. Beacon

   Management Services, LLC has served as the management corripany for the 1280 West

   Condominium Association where the Plaintiff resides for manyl years.

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          905.    Plaintiff reported a violation of SEC regulations, PCAOB standards,

  AICPA standards, the Antitrust law, and a circumvention 'of the law prohibiting

  emplo.yers from asking about an applicant's pay history in the state of Georgia. The

  misconduct happened while working for Defendant BDO USAi LLP.

          906.    Plaintiff noticed that the workpapers for both private clients and public
                                                                   ~
                                                                   ,
   clients were being rolled forward year after year without actually doing the work. The

  public clients included BlueLinx, Atlanticus, IZEA, BioHorizons, and Interface.

   Interface has recently been under an SEC investigation and an executive employee at

   Interface has been suspended. The private clients included Janus, Dustex, FCCI, RSR

   Group, ProCare, Vacation Express, and many others.

          907.    The issue with the IT audit work performed was that several deficiencies

   that should have been identified as significant deficiencies or material weaknesses were

   actually identified as only control deficiencies. Because they were never communicated

   to the financial statements audit team as control deficiencies, the financial statements

   audit teams never adjusted their audit strategy and therefore, never addressed the risk of

   inaterial misstateinents due to ineffective IT general controls ("ITGCs").

          908.    Plaintiff informed Defendant Wesley Freeman of the work that was not

   performed in roughly 75% of the public and private engagements he oversaw in the

   Atlanta office. Defendarit Wesley Freeman did not deny it. Instead of fxing.the issues

   going forward, he kept misreporting the IT findings to hide the significant defciencies

   and/or material weaknegses in the IS Assurance workpapers from both the core-

   Assurance team and the clients.




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          909.    Defendant Wesley Freeman enlisted the assistance of junior associates to

   attempt- to smear Plaintiff's reputation; thereby preventing Plaintiff from being

   promoted.

          910.    Defendant Wesley Freeman enlisted the assistance of junior associates to

   attempt to smear Plaintiff's reputation; thereby preventing Plaintiff from being

   promoted. These associates enlisted to smear my reputation were part of the group who

   delivered such a poor work product.

          911.     Plaintiff started being retaliated against at vti+oz;k. Retaliation practices .

   included, but were not limited to reprimanding Plaintiff in reviews without ground,

   harassing Plaintiff, creating a hostile work environment for Plaintiff, making subtle

   threats to Plaintiff, and using intimidation tactics against Plaintiff.

          912.     During internal meetings in 2020 and early 2021, Anthony Reh, a Partner

   at BDO USA, LLP in the firm's Atlanta office stated that the mid-tier public accounting

   firrns (primarily BDO and Grant Thornton) and the big 4(E&Y, Deloitte, KPMG, and

   PWC) were going to reach .an agreement to stop employees from switching firms and

   asking for higher salary:

           913.    Defendant Antony Reh, an Assurance Partner at BDO, had also stated

   that Plaintiff "and her family should be careful".                                                    f

           914.    Plaintiff started being persecuted and retaliated against at home when she

   signed the contract with Defendant Finch McCranie.

           915,    PlaintifPs home was broken into at multiple times. Plaintiff lives in a

   condominium that has concierge services, which include, but are not limited to, trained

   staff who keep watch over the whole building, visitors screening process, and sniart

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   elevators that require a key card in order to both, enter the building and access the
                                                                      I
   residential areas. The intruders must have had the building access card and' the

   residential floors as well as a copy of the keys to the Plaintiffls home in order to have

   access to the 1280 West building and the Plaintiff's home respectively.

           916.    Plaintiff resigned and was blacklisted from relevarit job opportunities by

   Defendants because she engaged' in protected activities.           ;

           917.    Defendant Finch McCranie breached the attorney-client privilege by

   reporting the attorney-client protected conversations it had witli Defendant BDO USA,

   LLP and.failed to disclose to Plaintiff a conflict of interests.

           918.    Defendant Finch McCranie utilized the information.provided by Plairitiff

   and then client .to cause her harm and solidify relationship with Defendant BDO USA,

   LLP and other' members of Group 2.

           919.    Defendant 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 facilitated and participated in the ilIegal

   entry and trespass into the Plaintiff s unit.

          920.     Defendant 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 have persecuted Plaintiff at home by

   claiming she owed HOA fees and attempting to deny her homeowner's privileges.

          921.     Plaintiffs relationship with the 1280 West Condominiuin Association,

   the 1280 West Board of Directors, and other members iri Group 4 have been strenuous
                                                                      !
   in the past. Plaintiff is part of a class action lawsuit against the 1280 West Condominium

   Association, the 1280 West Board of Directors, and other members in Group 4 for
                                                                      i
   breach of.fiduciary duty, among other counts.

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          922.    Defendants 1280 West Condominium AssociatiI n and 1280 West Board            I

   of Directors and other members in Group 4 have been in contact with Defendant BDO

   USA, LLP and other members of Group 2 in other to cause harin to Plaintiff.

          923.    Defendant Interface; Inc's headquarters are located in 1280 West at 1280

   W Peachtree St NW, Atlanta, GA 30309. Members of Interface's manageinent have a

   relationship with the 1280 West Condonunium Association, the 1280 West Board of

   Directors, and other members in Group 4. Several Interface's: employees also live at

   1280 W Peachtree StNW in the same condominium as Plaintiff.                                 `

          924.    The clients of BDO USA, LLP, particularly the clients who are                !~

   mentioned as part of the subject matter of the whistleblowing case, have threatened and     i

   engaged in retaliatory practices against the Plaintiff.         ;

          925.    Kas Naderi, Chief Information Officer of Atlanticus, threatened Plaintiff

   during a meeting held between Atlanticus and BDO USA, LLP and asked the Plaintiff           ;
                                                                                                   i

   if. Plaintiff was "now willing to work with Atlanticus" and if Plaintiff was the one        ;
                                                                   I                               i
   "asking for additional evidence to provide to the PCAOB" inspectors.                            ~

          926.    Plaiiitiff was late during that call. Scott Meier, BDO IS Assurance
                                                                   i                               I~
   Principal, told Kas Naderi in the call that Plaintiff was in the bathroom. At the time of           j

   the said meeting, Plaintiff was working from home. Plaintiff was 'indeed in the bathroom.

   Scott Meier had no way of knowing the Plaintiff was indeed in the bathroom unless the

   Plairitiff was under surveillance by BDO USA, LLP, its agents, and/or the Defendants:
                                                                   ;

          927.    During the same 2021 PCAOB inspection         f Atlanticus Holdings
                                                              j                                1
   Corporation, Plaintiff was indirectly threatened by Mark Davenport (Audit Partner),

   Peter Poppo (Audit Partner), and Monica Burgess (Senior Audit Manager) who kept

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   using the word "dead" in many meetings held to discuss responses to the PCAOB

   questions.

          928.     During the 2021, IT audit of BioHorizons, Elbert Jenkins, VP of IT, ,at

   BioHorizons had postponed several meetings with Plaintiff, was missing calls, and                I

   attempted to blame Plaintiff for the missing calls and meetings in order to provide

   negative feedback to Plaintiff's supervisor.

          929.     During the 2021 IT audit of NMS, Edward Burdekin, President of NMS

   had made a pointed reference to the Family Doliar store as one of their clients. The

   Plaintiff was at a Family Dollar store the day before with her mother.

          930.     Plaintiff noted that recordings and evidence ga'thered during that same

   meeting in September of 2021 with Edward Burdekin were deleted from her laptop in

   an attempt to place her in a bad light. Plairitiff's IT experience allowed her to recover

   the data and prevent a possible by performance evaluation comment.

          931.     Defendant BDO USA, LLP and other entities and individuals listed in

   Group 2 conspired with entities and individuals listed in Group 3 and Group 4 in order

   to cause intentional harm to tlie Plaintiff as retaliation for reporting the fraud to the

   proper authorities.

           932.    The Defendants, singly and together, retaliated against Plaintiff by failing
                                                                                                        ~
   to promote Plaintiff, harassing Plaintiff, discriminating against Plaintiff in the terriis and

   conditions of employment, broke into Plaintiff's home, for reporting conduct to the SEC              I

   that the Plaintiff reasonably believed violated the federal securities law.

           933..   Defendants, singiy and together, retaliated against Plainti£f for disclosing         ~

   information that is protected or required under SOX and under;Dodd-Frank.

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           934.   Defendants committed the crime of influencing Plaintiff with intent to           `

   deter Plaintiff from testifying freely, fully, arid truthfully to any matter pending in any

   court, in any administrative proceeding, or before a grand jury, by communicating,              i
   directly and indirectly, to Plaintiff any threat of injury or damage to the person, property,

   or employment of the Plaintiff or to the person, property, or employment of Plaintiff's

   selative.

           935.   Deferidants knowingly used intimidation and threats, attempted to

   persuade Plaintiff by means of corruption, and engaged in misleading conduct toward             I

   Plaintiff with intent to hinder, delay, and/or prevent the communication to a law
                                                                                                   i
   enforcement officer, prosecuting attomey, or judge of this state of information relating        ~

   to the commission or possible commission of a criminal offense.

                                      COUNT ELEVEN:

                               Conspiracy to Commit a Criine

                                       O.C.G.A..§ 16-4-8

                                   (Against All Defendants)          i

           936.   The Plaintiff re-alleges and incorporates by reference each and every

   paragraph of this Complaint and the facts as if set forth here in full for all purposes.
                                                                     I
           937.   The offense of conspiracy to commit a crime occurs when a person

   together with one or more persons conspires to commit any criine and any one or more

   of such persons does any overt act to effect the object of the conspiracy. See GA Code

   § 16-4-8.                                                         '.
                                                                     ~                             I
           938.   After conspiracy is formed, if a_ party joins 'therein, knowing of its

   existence and purpose, that party becomes as much a party thereto as if the person had

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   been an original member. Willson v. Appalachian Oak Flooring & Hdwe. Co., 220 Ga.

   599, 140 S.E.2d 830 (1965) (decided under prior law)

            939.   If in carrying out design of conspirators, overt acts are done, causing legal   i

   damage, the persoii so damaged has .a right of action. Pattetson;Pope Motor Co. v. Ford

   Motor Co., 66 Ga. App. 41, 16 S.E.2d 877 (1941).

            940.   As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed arid conspired among themsel.ves and with others as well

   as took separate actiori to create a hostile work environment, a toxic climate at work,

   and unsafe work conditions for the Plaintiff in order to stop her from reporting the fraud.

            941. .As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to reprimand Plaintiff without just cause.

            942.   As described more in this Complaint, the Defendants, by foice,

   intimidation, or threat, agreed and corispired among themselves and with others as well

   as took separate action to harass the Plaintiff in order to stop her from reporting the

   fraud.

            943.   As described more in this Complaint, the ' Defendants, by force,

   intimidation, or threat, agreed arid conspired among themselves and with others as well         ;
                                                                                                   ~
   as took separate action to deny .the Plaintiff a promotion, advancement, and salary and         i
                                                                                                   i

   bonuses associated with a promotion in order to prevent the Plaintiff from reporting the

   fraud.                                                                                          ~
                                                                     }                             ~
            944.   As described more in this Complaint, the 1 Defendants, by force,                ;
                                                                     ~

   intimidation, or threat, agreed and conspired among themselves and with others as well
                                                                     i

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                                                                   i




   as took separate action to alter the employee's responsibilities and duties in order to
                                                                   ;
   prevent the Plaintiff from reporting the. fraud.

           945.   As described more in this Complaint, the , Defendants, by force,
                          1




   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to break into Plaintiffls home in order to prevent the Plaintiff

   from reporting the fraud.

          .946.   As described more in this Complaint, the ; Defendants, by force,     iY




   intimidation, or threat,, agreed aiid conspired among themselves and with others as well

   as took separate action to hack into Plaintiffs personal computer and phones in order to      ~

                                                                                                 I
   Prevent the Plaintiff from rePorting the firaud.

           947.    As described more in this Complaint, the i Defendants, by force,              ~

   intimidation, or threat, agreed and conspired among themselves and with others, as well

   as tbok separate action, to retaliate and persecute Plaintiff at work and at home for

   engaging in a protected activity.

           948.    As described more in this Complaiiit, the Defendants, by force,

   intimidation, or threat; agreed and conspired among themselves arid with others, as well

   as took separate action, to retaliate and persecute Plaintiff at work and at home in order

   to force Plaintiff to resign from her position.

           949.    The parties in this case can be divided into four (4) main groups, together

   re£erred to as the "Defendaiits".

   .Group I— Plaintiff: is comprised of Raissa Djuissi Kengne, the Plaintiff, and former

   employee of13D0 USA, LLP. The Plaintiff worked.for BDO USA, LLP in the capacity               ~

   of Experienced IT Audit Manager.                                    ;

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                                                                    i




   Group 2— Defendant: is comprised of BDO USA, LLP, the; public accounting, firm

   where the PIaintiff was formerly employed, as well as Partners and members of

   management at BDO USA, LLP including Scott Meier, Wesley'Freeman, Paul Davison,

   Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark Davenport, Johnson Wong,

   Interface, Atlanticus, Kas Naderi, BioHorizons, and NMS. Group 2 also includes Justin

   Mungal, a homeowner who lives directly across the Plaintiff's unit at the 1280 West

   Condominium in Atlanta, GA who admittedly stated that he worked for 'BDO USA,

   LLP.

   Group 3— Defendant: is comprised of the attorney's firms and its representatives who

   were previously retained by Plaintiff for representation in the whistleblower case. The

   attorriey's firm was Finch McCraiiie and its representatives were MichaeI Sullivan and

   Walter Jospin.

   Group 4— Defendant: is comprised of the 1280 West Condominium and its Board of

   Directors as well as Beacon Management Services, LLC and its agents. Beacon

   Management S.ervices, LLC has served as the management conipany for the 1280 West

   Condominium Association where the Plaintiff resides for many years.

          950.      Plaintiff reported a violation of SEC regulations, PCAOB standards,

   AICPA standards, the Antitrust law, and a circumvention of the law prohibiting

   employers from asking about an applicant's pay history in the state of Georgia. The

   misconduct happened while working for Defendant BDO U.SA,' LLP.
                                                                        I   '

          951.      Plaintiff noticed .that the workpapers for both private clients and public

   clients were being rolled forward year after year without actuaily doing the work. The

   public clients included B1ueLinx, Atlanticus, IZEA, BioHorizons, and Interface.
                                                                        i




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   Interface has recently been under an SEC investigation and an executive employee at

   Interface has been suspended. The private clients included Jarius, Dustex, FCCI, RSR         ~

   Group, ProCare, Vacation Express, and many others.

          952.    The issue with the IT audit work performed was that several deficiencies

   that should have been identified as significant deficiencies or material weaknesses were

   actually identified as only control deficiencies. Because they were never communicated

   to the financial statements audit team as control deficiencies, the financial statements

   audit teams never adjusted their audit strategy and therefore, never addressed the risk of

   material misstatements due to ineffective IT general controls (ITGCs).

          953.    Plaintiff informed the Defendant Wesley Freeman of the work that was

   not performed in roughly 75% of fhe public and private engagements he oversaw in the

   Atlanta office. Defendant Wesley Freeman did not deny it. Instead of fixing the issues

   going forward, he kept misreporting the IT findings to hide the significant deficiencies

   aiid/or material weaknesses in the IS Assurance workpapers from both the core                ~

   Assurance team and the clients.

          954.    Defendant Wesley Freeman enlisted the assistance of junior associates to

   attempt to smear Plaintiffs reputation; thereby preventing Plaintiff from beirig

   promoted.

          955.    Defendant Wesley Freeman enlisted the assistance of junior associates to

   attempt to smear Plaintiff's reputation; thereby preventing Plaintiff from being

   promoted. These associates enlisted to smear my reputation were part of the group who

   delivered such a poor work product.




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                  Plaintiff started being retaliated against at work. Retaliation practices
                                                                      i

          956.

   included, but were not limited to reprimanding Plaintiff in reviews without ground,

   harassing Plaintiff, creating a hostile work environment for Plaintiff, making subtie

   threats to Plaintiff, and using intimidation tactics against Plaintiff.

          957.     During internaI meetings in 2020 and early 2021; Anthony Reh, a Partner

   at BDO USA, LLP in the firm's Atlanta office stated that. the mid-tier public accounting

   firms (primarily BDO and Grant Thornton) and the big 4(E&Y, Deloitte; KPMG, and

   PWC) were going to reach ari agreement to stop employees from switching firnis and

   asking for higher salary.

           958.    Plaiiitiffwas blacklisted from relevant job op,portunities by Defendants

   from engaging in protected activities.

           959:    Plaintiff started being persecuted and retaliated against at home when she

   signed the contract with Defendant Finch McCranie.

           960.    Plaintiff's home was broken into at multiple times. Plaintiff lives in a

   condominium that has concierge services, which include, but are not limited to, trained

   staff who keep watch over the whole building, visitors screening process, and smart

   elevators that reqiiire akey card in order to both, eiiter the building and access the

   residential areas. Intruders must have had a double of the.Plaintiffs key and a building

   access card in order to enter the Plaintiff s home.

           961.    Deferidant Finch McCranie breached the attorney-client privilege by

   reporting the attorney-client protected conversations it had with Defendant BDO USA,

   LLP and failed to disclose to Plaintiff a conflict of interests.       ~




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          962.    Defendant Finch McCranie utilized the information provided by Plaintiff

   and then client to cause her harm and solidify relationship with Defendan't BDO USA,

   LLP and other members of Group 2.

          963.    Defendant 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 facilitated and participated
                                                              ;           in the illegal

   entry and trespass into the Plaintiff s unit.

          964.     Defendant 1280 West Condominium Association and 1280'West Board

   of Directors and other members in Group 4 have persecuted Plaintiff at. hoiiie by

   claiming, she owed HOA fees and attempting to deny lier homeowner's privileges.

           965.    Plaintiff's relationship with the 1280 West Condominium Association,

   the 1280 West Board of Directors, and other members in Group 4 have been strenuous

   in the past. Plaintiff is part of a class action lawsuit against the 1280 West Condominium

   Association, the 1280 West Board of Directors; and othei members in Group 4 for

   breach of fiduciary duty, among other counts.

           966.   Defendants 1280 West Condominium Association and 1280 West Board
                                                               ~
   of Directors and other members in Group 4 have been in contact with Defendant BDO

   USA, LLP and other mecnbers of Group 2 in order to cause harm to Plaintiff.

           967.    Defendant Interface, Inc's headquarters are located in 1280 West at 1280

   W Peachtree St NW, Atlanta, GA 30309. Members of Interface's management have a

   relationship with the 1280 West Condominium Association, the 1280 West Board of
                                                               I
   Directors, and other members in Group 4. Several Interface'si employees also Iive at

   1280 W Peachtree St NW in the same condominium as Plaintiff.



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          968.    The clients of BDO USA, LLP, particul'arly the clients who are               I
                                                                                                   ~

   mentioned as part of the subject matter of the whistleblowing case, have threatened and         ~

   engaged in retaliatory practices against the Plaintiff.                                         i

          969.    Kas Naderi, Chief Information Officer of AtIanticus, threatened Plaintiff

   during a meeting held between Atlanticus and BDO USA, LLP and asked the .Plaintiff

   if Plaintiff was "now willing to work with Atlanticus" and if Plaintiff was the one

   "asking for additional evidence to provide to the PCAOB" inspectors.

          970.    Plaintiff was late during that caIl. Scott Meier, BDO IS Assurance

   Principal, told Kas Naderi in.the call that Plaintiff was in the bathroom. At the time of

   the said meeting, Plaintiff was working from home. Plaintiff was indeed in the bathroom.

   Scott Meier had no way of knowing the Plaintiff was indeed in the bathroom unless the

   Plaintiff was under surveillance by BDO USA, LLP, its agents, and/or the Defendants.

          971.   During the same 2021 PCAOB inspection of Atlanticus Holdings
                                                               ;
   Corporation, Plaintiff was indirectly threatened by Mark Davenport (Audit Partner),

   Peter Poppo (Audit Partner), and Monica Burgess (Senior Audit Manager) who kept

   using the word "dead" in many meetings held to discuss responses to the PCAOB

   questions.

          972.    During the 2021, IT audit of BioHorizons, Elbert 7enkins, VP of IT, at

   BioHorizons had postponed several meetings with Plaintiff, was missing calls, and

   attempted to blame Plaintiff for the missing calls and meetings in order to provide                 ~

   negative feedback to Plaintiffs -supervisor.                    ~
                                                                                                       I
                                                                   i                                   I



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          973.    During the 2021 IT audit of NMS, Edward Burdekin, President of NMS

   had made a pointed reference to the Family Dollar store as one of their clients. The.

   Plaintiffwas at a Family Dollar store the day before with her m.other.

          974.    Plaintiff noted that recordings and evidence gathered during that same

   meeting in September of 2021 with Edward Burdekin were deleted from her laptop in

   an attempt to place her in a. bad light. Plaintiff's IT experience allowed her to recover

   the data and prevent a possible by performance evaluation cominent.

          975.    Defendant BDO USA, LLP and other entities and individuals listed in

   Group 2 conspired with entities and individuals listed in Group 3 and Group 4 in order

   to cause -intentional harm to the Plaintiff as retaliation for reporting the fraud to the

  proper authorities.

          976.    The Defendants, singly and together, retaliated against Plaintiff by failing

  to promote Plaintiff, harassing Plaintiff, discriminating against Plaintiff in the terms and

  conditions of employment, broke into Plaintiff's home, for reporting conduct to the SEC

  that the Plaintiff reasonably believed violated the federal securities law.

          977.    Defendants, singly and together, retaliated against Plaintiff for disciosing

  information that is protected or required under SOX and under podd-Frank.

          978.:   Defendants cornmitted the act of conspiracy when together, Group 2,

  Group 3, and Group 4 cominitted the crirries described herein against Plaintiff and did

  the overt acts described herein to effect the object of the conspiTacy.

                                    COUNT TWELVE:            i
                                                             I
                           Violations of Computer Crimes Laws

                               O.C.G.A. §§ 16-9-90 -16-9-94

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                                   (Against All I)efendants)

           979.   The Plaintiff re-alleges and incorporates by reference each and every

   paragraph of this Complaint and the facts as if set forth here in full for alI purposes.

           980.   A violation of computer crimes law occurs, among other circumstances,

   when:

                  (1)      any person uses a coniputer or computer network with knowledge
                                                                                              I


           that such use is without authority and with the intention of:

                           a.     Deleting or in any way removing, either temporarily or

                  permanently, any computer program or data from a computer or

                  computer network;

                           b.     Obstructing, interrupting, or in any way interfering with

                   the use of a computer program or data; or

                           C.     Altering, damaging;       or in any way causirig the

                   malfunction of a computer, computer network, or computer program,

                   regardless of how long the alteration, damage, or malfunction persists

                   shall be guilty of the crime of computer tr•espass.

                   (2)     any person uses a computer or computer network with the

           intention of examining any employment, medical, salary, credit, or any other

           fnancial or personal data relatirig to any other person with knowledge that such

           examination is without authority shall be guilty of the crime of computer

           invasion of privacy.
                                                                                                  f
           981.    As described more in this Complaint, the Defendants, by force,

   intimidation, or. threat, agreed and conspired among themselves' and with others as well

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   as took separate action to create a hostile work environment, a toxic climate at work,

   and unsafe work cond'itions for the Plaintiff in order to stop her from reporting the fraud.

             982.   As described more in this Complaint, the .Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well
                                                                    ~
   as took separate action to reprimand Plaintiff without just cause.

             983.   As described more in this Complaint, the iDefendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to harass the Plaintiff in order to stop her from reporting the

   ffraud.

             984.   As described more in this Complaint, the ;Defendants, by force,

   irttimidation, or threat, agreed and conspired among theinselves: and with others as well
                                                                   i
   as took separate action to deny the Plaintiff a promotioii, advancernent, and salary and

   bonuses associated with a promotion in order .to ptevent the Plaintiff from reporting the

   fraud.
                                                             ~
             985.   As described more in this Complaint, the !Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves~ and with others as well

   as took separate action to alter the employee's responsibilities and duties in order to

   prevent the Plaintiff from reporting the fraud.                   '

             986.   As described more in this Coriiplaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves' and with others as well

   as took separate action to break into Plaintiff's home in order'to prevent the Plaintiff

   from reporting the fraud.                                         i
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                                                                     ~


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          987.    As described more in. this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to hack into Plaintiffs personal computer and phones in order to

   prevent the Plaintiff from.reporting the fraud.

          988.    As described more iri this Complaint, the 'Defendarits, by force,

   intimidation, or threat, agreed and conspired among- themselves,and with others, as well

   as took separate action, to retaliate arid persecute Plaintiff at work and at home for

   engaging in a protected activity.

          989.    As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others, as well

   as took separate action, to retaliate and persecute Plaintiff 'at work and at home in order

   to force Plaintiff to resign from her position.

          990.    The parties in this case can be divided into four (4) main groups, together

   referred to as the "Defendants".

   Group 1— Plaintiff: is comprised of Raissa Djuissi Kengrie, the Plaintiff, and former

   employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in the capacity

   of Experienced IT Audit Manager.

   Group 2— Defendant: is comprised of BDO USA, LLP, the public accounting firm

   where the Plaintiff was formerly employed, as well as Par'tners and members of                ~

   management at BDO USA, LLP including Scott Meier, Wesley Freeman,
                                                            ~
                                                                     Paul Davison,

   Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Ivlark Dayenport, Johnson Wong;
                                                                    ~
   Interface,,Atlanticus, Kas Naderi, BioHorizons, and NMS. Group 2 also includes Justin
                                                                    I                            I
   Mungal, a homeowner wlio lives directly across the Plaintiff's' unit at the 1280 West

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                                                                   i




   Condominium in Atlanta~ GA who admittedly stated that he I orked for BDO USA,

   LLP.

   Group 3— Defendant: is comprised of the attorney's firms and its representatives who

   were previously retaiiied by Plaintiff for representation in the whistleblower case. The

   attorney's firm was Finch McCranie and its representatives weie Michael Sullivan and

   Walter Jospin.

   Group 4— Defendant: is comprised of the 1280 West. Condominium and .its Board of

   Directors as well as Beacon Management Services, LLC arid its agents. Beacon

   Management Services, LLC has served as fhe management company for the 1280 West

   Condominium Association where the Plaintiff resides for many, years.

          991.      Plaintiff reported a violation of SEC regulations, PCAOB standards,

   AICPA standards, the Antitrust law, and a circumvention of the law prohibiting

                                                        . in the state of Georgia. The
   employers from asking about an applicant's pay history

   misconduct happened while working for Defendant BDO USA; LLP.

          992.      Plaintiff iiiformed Defendant Wesley Freeman of the work that was not.

   performed in roughly 75% of the public and private engagenients he oversaw in the

   Atlanta office. Defendant Wesley Freeman did not deny it. insiead of fixing the issues

   going forward, he kept.misreporting the IT fmdings to hide the° significant deficiencies

   and/or material weaknesses in the IS Assurance workpapers from both the core

   Assurance team and the clients.
                                                                  I                            ,
          993.      Defendant Wesley Freeman enlisted the assistance of junior associates to       ;

   attempt to smear Plaintiff's reputation; thereby preventing Plaintiff from being

   promoted.

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                                                                                                 i




           994.    Defendarit Wesley Freeman enlisted the assistan'ce of junior associates to    ~

   attempt to smear Plaintiff's reputation; thereby preventing Plaintiff from being

   promoted. These associates enlisted to smear my reputation weie part of the group who

   delivered such a poor work product.

           995.    Plaintiff started being retaliated against at woi-k. Retaliation practices

   included, but were not limited to reprimanding Plaintiff in reviews without ground,
                                                                      ~
   harassing Plaintiff, creating a hostile work environment for Plaintiff, making subtle

   threats to Plaintiff, and using intimidation tactics against Plaintiff.

           996.    During internal meetings in 2020 and early 2021, Anthony Reh, a Partner

   at BDO USA, LLP in the firm's Atlanta office stated that the mid-tier public accounting

   firms (primarily BDO and Grant Thornton) and the big 4(E&Y, Deloitte, KPMG, and

   PWC) were going to reach an agreement to stop employees from switching firms and

   asking for higher salary.

           997.    Defendant Antony Reh, an Assurance Partner at BDO, had also stated

   that Plaintiff "and her family should be careful".

          998.     Plaintiff Raissa Djuissi Kengne signed the engagement letter with

   Defendant Finch McCranie in June of 2021. A few months. later Finch McCranie

   "resigned as the attorney firni on the Plaintiff's case. Plaintiff started being persecuted       I
                                                                                                     I
   and retaliated against at home when she signed the contract with Defendant Finch

   McCranie.

           999.    Defendants Finch and McCranie, Michael Sullivan, and Walter Jospin

   disclosed the content of their conversation to BDO USA, LLP and did not disclose the
                                                                                                     I
   conflict of interest they had with any of the other Defendarits:                                  i

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                                                                                                  I




                                                                      ;

              1000. Plaintiff uploaded several documents she had in Defendaiit's Finch

       McCranie's data room per their request. D.efendant's Finch McCranie took several

       months to review the evidence provided by the client and asked many questions about

       BDO USA, LLP, the olients Plaintiff was working on, and the Plaintiff's family.

              1001. The.Plaintiff was at a meeting at Defendant's Finch McCranie's offices

       located at 225 Peachtree St NE #1700,, Atlanta, GA 30303 for many hours when her

       home was broken into on June 29`h, 2021.

              1002. During the meeting on June 29`h, 2021 at Defendant Finch McCranie, ari

       accountant was brought in to look at the evidence provided by Plaintiff. The -accountant

       asked the Plaintiff whether she believed that Defendant Wesley Freeman was drugged

       and that was why he could not deliver on the engagements. Plaintiff responded by asking

       if "Defendant Wesley Freeman had been drugged for the past five (5) years" while

       overseeing the public company's engagements.

              1003. The question asked by Defendant Finch McCranie's accountant is the

       same one Defendant Scott 1Vleier, the Southeast IS Audit Partner at BDO USA, LLP had

       asked 'Plaintiff during their face-to-face meeting at the "Establishment" restaurant in

       Midtown Atlanta in early 2021.

              1004. Plaintiff advised Defendant Fincli McCrariie that she had received a pay

       increase of approximately 12% and that Plaintiff was up for promotion. Defendant
r
       Michael Sullivan stated "well, that is a good thing".

              1005. While leaving the meeting, Defendant Finch McCranie's accountant

       stated to the Plaintiff "Nobody is safe".




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                                                                   ~
          1006. Plaintiff had several phone calls thereafter with Finch McCranie. During

   one of these calls, Defendant Michael Sullivan explained that they did not have enough

   evidence to pursue the case. Plaintiff notes that it took Defendant Finch McCranie more

   than 6 months to determ'ine whether they had enough evidence for the whistleblower
                                                                I
                                                                ~
   case. Upon informing the Plaintiff on the phone that Defendant Finch NlcCranie could

   no longer represent her, Defendant Michael Sullivan asked if Plaintiff wanted to drop

   the case. .Plaintiff responded "No". Plaintiff noted that there was a long pause on the

   phone. After a few minutes, there were a few laughs on the call. Defendant Michael

   Sullivan then told the Plaintiff that his fum would send her an,email to withdraw from

   the case.                                                        ,

          1007. Plaintiff claims that after thephone call with Def.endant Finch McCranie,

   the retaliation practices and attacks she faced, both at work and in her personal life, had

   increased.

          1008. Plaintiff's home was broken into at multiple: times. Plaintiff lives in a

   condominium that has concier.ge services, which include, but are not limited to, trained

   staff who keep watch over the whole building, visitors screening process, and smart

   elevators that require a key card in order to both,. enter the building and access the

   residential areas. The intruders must have had the building access card and the

   residential floors as well as a copy of the keys to the PlaintifPs home in order to have

   access to the 1280 West building and the Plaintiff's home respectively.
                                                                  i
           1009. Plaintiff's home was accessed inultiple times without her authorization

   and her data was compromised.                                    ;




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                                                                                                 ;


                                                                                                 ~




          '1010. Plaintiff reached out to Google Support to let them. know of the                i

   unauthorized access on the Gmail account rkengnel@gmail.com.

          1011. Plaintiff     is   now    unable    to   access    her    Gmail        account
                                                                   ~
   rkengnel @gmail.coin.

          1012. Defendant BDO USA, LLP had riot fully removed the Intune application

   from Plaintiffls persoiial cell phone she utilized for work as Plaintiff had requested at

   the height of the attacks. Plaintiff contacted IT support at BDO USA, LLP to ask them

   to remove the software several times, including on November' 21S`, 2021. BDO USA,

   LLP was still able to access information on Plaintiff's cell phone .and read her data

   afterwards.

          1013. Plaintiffs noted that the following neighbots -had a remote desktop

   connection on her personal laptop:

                  1.     Jamie Johnson, livirig in unit 2009 at 1280 West Peachtree ST

          NW Atlanta, GA 30309.

                  2.      Silvia Calloway, living in unit 2209 at 1280 West Peachtree ST

          NW Atlanta, GA 30309.

                  3.      Sirocus Barnes, living in unit 2010 at 1280 West Peachtree ST

          NW Atlanta, GA 30309.                                                    ,


          1014. Plaintiff resigned because of constructive discharge and was blacklisted

   from relevant job opportunities by Defendants because she engaged in protected                    ;

   activities. OSHA.. defines constructive dischar.ge as quitting wlien an employer makes

   working conditions intolerable due to the employee's protected ,activity.
                                                                                                     I



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           1015. Defendant Finch McCranie breached the attorney-client privilege by

   reporting the attomey-client protected conversations it had with Defendant BDO USA,

   LLP and failed to disclose to Plaintiff a conflict of interests. Tliereby, causing harm to

   their then client.

           1016. Defendant Finch McCranie, Michael Sullivarc utilized the information

   provided by Plaintiff, their client at the time, to cause her harm and solidify relationship

   with Defendant BDO USA, LLP and other members of Group 2.

           1017. Defendant 1280 West Condominium Associatioh and 1280 West Board

   of Directors and other members in Gr.oup 4 facilitated and participated in the illegal

   entry and trespass into the Plaintiffs unit.

           .1018. Defendant 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 have persecuted Plaintiff at home by

   claiming she. owed HOA fees and attempting to deny her homeowner's privileges.

           1019. Plaintiffs relationship with the 1280 West Condominium Association,

   the 1280 West Board of Directors, and other members in Group 4 have been strenuous

   in the past. Plaintiff is part of a class action lawsuit against the 1280 West Condominium

   Association, the 1280 West Board of Directors, and other members in Group 4 for

   breach of fiduciary duty, among other counts.

           1020. Defendants 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 have been in contact with Defendant BDO

   USA, LI:P and other members of Group 2 in order to cause harm to Plaintiff.

           1021. Defendant Interface, Inc's headquarters are located in 1280 West at 1280         1.
   W Peachtree St NW, Atlanta, GA 30309. Members of Interface's management have a
                                                                     i
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                                                                                                  I
   relationship with the 1280 West Condomiiiium Association, the 1280 West Board of               ~

   Directors, and other members iri Group 4. Several Interface's employees also live. at

   1280 W Peachtree St NW in the same condominiufn as Plaintiff.

          1022. The clients of BDO USA, LLP, particularly the clients who are

   mentioned as part of the subject matter of the whistleblowing case, have threatened and

   engaged in retaliatory practices against the Plaintiff.

          1023. Kas Naderi, Chief Information Officer of Atlanticus, threatened Plaintiff

   during a meeting held between Atlanticus and BDO USA, LLP and asked the Plaintiff

   if Plaintiff was "now willing to work with Atlanticus" and 'if Plaintiff was the one

   "asking for additiorial evidence to provide to the PCAOB" inspectors.

          1024. Plaintiff was late during that call. Scott Meier, BDO IS Assurance

   Principal, told Kas Naderi in the call that Plaintiff was in the bathroorri.. At the time of

   the said.meeting, Plaintiff was working from home. Plaintiff was indeed in the .bathroom.

   Scott Meier had no way of knowing the Plaintiff was indeed iii the :bathroom unless the

   Plaintiff was under surveillance by BD0 USA, LLP, its agents,, and/or the Defendarits.

          1025. During the same 2021 PCAOB inspection of Atlanticus Holdings

   Coiporation, Plaintiff was indirectly threatened by Mark Davenport (Audit Partner),

   Peter Poppo (Audit Partner), and Monica Burgess (Senior Au'dit Manager) who kept

   using the word "dead" in many meetings held to discuss responses to the PCAOB

   questions.

          1026. During the 2021, IT audit. of BioHorizons, Elbi rt Jenkins, VP of IT, at

   BioHorizons had postponed several meetings with Plaintiff, ~as missing calls, and




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                                                                                                  5


   attempted to blame Plaintiff for the missing calls and meetings in order to provide            ~

   negative feedback to Plaintiff's supervisor.

          1027. During the 2021 IT audit of NMS, Edward Burdekin, President of NMS

   had made a pointed reference to the Family Dollar store as one of their clients. The

   PIaintiff was at a Family Dollar store the day before with her mother.

          1028. Plaintiff noted that recordings and evidence gathered during that same

   meeting in September of 2021 with Edward Burdekin were deleted from her laptop in

   an attempt to place her in a bad light. Plaintiffls IT experience allowed her to recover

   the data and prevent a possible by perforrnance evaluation comment.

          1029. Plaintiff .informed Finch .1blcCranie, her theii attorneys, of all the

   retaliatory practices she was facing.

          1030. Defendant BDO USA, LLP and other entities and individuals listed in
                                                           I

   Group 12 conspired with entities and individuals listed in Group 3 and Groiip 4 in order

   to cause intentional harm to the Plaintiff as retaliation for reporting the fraud to. the

   proper authorities.

          1031. The Defendants, singly and togetlier, retaliated against Plaintiff by failing

   to promote Plaintiff, harassing Plaintiff, discriminating against Plaintiff in the terms and

   conditions of eniployment, broke into Plaintiffs home, for reporting condiict to the SEC

   that the Plaintiff reasonably believed violated the federal securities law.

          1032. Defendants, singly and together, retaliated against Plaintiff for disclosing

   information that is protected or required under SOX and under podd-Frank.

          1033. Defendants committed the crime of influencing Plaintiff with intent to
                                                                     ~

   deter Plaintiff from. testifying freely, fully, and truthfully to any matter pending in any

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   court, in any administrative proceeding, or before a grand jury, by comrnunicating,

   directly and indirectly, to Plaintiff any threat of injury or damage to the person, property,

   or employment of the PIaintiff or to the person, property, or employment of Plaintiff's
                                                                  ,
   relative.                                                                                           i

           1034. Defendants knowingly used intimidation and threats, attempted to

   persuade Plaintiff by means of corruption, and engaged in misleading conduct toward

   Plaintiff with intent to hinder, delay, and/or prevent the communication to a law

   enforcement officer, prosecuting attorney, or judge of the United States of information

   relating to the commission or possible commission of a Federal offense.

          1035. Finch McCranie, Michael Sullivan, and Walter Jospin violated the

   Client's communications to attorney privileged agreement by disclosing the advice or

   counsel they have given to PlaintifP, their then client.

          1036. Defendants committed a violation of computer crimes by utilizing a

   computer or computer network with knowledge that such use is without authority and

  with the intention of:

                  1..      Deleting or in any way removing, either temporarily or

          permanently, any computer program or data from• a•computer or computer

          network;

                  2.       Obstructing, interrupting, or in any way interfering with the use

          of a computer program or data; or

                  3.       Altering, damaging, or in any way causing the malfunction of a

          computer, computer networlc, or computer program, regardless of how long the

                                                                                                   r


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                                                                                                  i

                                                                                                  ~




          alteration, damage, or malfunction persists shall be ~guilty of the crime of            ;

          computer trespass.                                         '

          1037. Defendants committed computer invasion of privacy by utilizing

   Plaintiff's computer and/or computer network with the intention,of examining Plaintiffs

   employment, medical, salary, credit, and/or financial or peisonal data relating to

   Plaintiff with knowledge that such examination is without authority.

                                       COUNT TI:IIRTEEN:

                           Violations of Computer Security Laws                         '

                               O.C.G.A. §§ 16-9-150 -16-9-157

                                      (Against AlI Defendants)           I

          1038. The Plaintiff re-alleges and incorporates by reference each and every

   paragraph of this Complaint and the facts as if set forth here in full for all purposes.

          1039. A violation of computer security laws occurs, among other actions, when:

                  (1)     a person or entity that is not an authorized user, as defined in Code

          Section 16-9-151, of a computer in this state to knowiiigly, willfully, or with
                                                                I
          conscious indifference or disregard cause computer software to be copied onto

          such computer and use the software to do any of the following:

                          a.          Modify, through intentionally deceptive
                                                                     ,        means, any of           i~
                  the following settings related to the computer's access to, or use of, the          ~

                  Internet:

                                 i.         The page that ap.pears when an authorized user

                          launches an lnternet browser or similar software program used to            i
                                                                    I                                 '
                          access and navigate the Internet;

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                                                                                             i
                          ii.         The default provider or web proxy the authorized       ;

                     user uses to access or search the Intemet; or

                          iii.        The authorized user's list of bookmarks used to

                     access web pages;

                     b.         Collect,     through    intentionally   deceptive   means,

             personally identif able information that meets any of the following

             criteria:

                           i.         It is collected through the use of a keystroke-

                     logging function that records all keystrokes made by -an

                     authorized user who uses the computer and transfers that

                     information from the computer to another person;

                          ii.         It includes all or substantially all of the websites

                     visited by au authorized user, other than websites of the provider

                     of the software, if the computer software was installed in a

                     manner designed to conceal from -all authorized users of the

                     computer the fact that the software is being installed; of

                          iii.        It is a data element descrilied in subparagraph (B),

                     (C), or (D) of paragraph (12) of Code Section 16-9-151, or in

                     division (12)(E)(i) or (12)(E)(ii) of Code Section 16-9-151, that

                     is extracted from the consumer's or business entity's computer

                     hard drive for a purpose wholly unrelated to any of the purposes            ~

                     of the software or service described to ani authorized user;                ~




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     .                                                             '
     ;!                        J                         >         ,
                                                                       >
                                                     .             ,




                               iv.        Prevent,       without   the         authorization   of an   ;

                          authorized user; through intentionally deceptive means, an

                          authorized user's reasonable efforts to block the installation of, or

                          to disable, software, by causing software; that the authorized user

                          has properly removed or disabled to automatically reinstall or

                          teactivate on the computer without the authorization of an

                          authorized user;

                                V.        Intentionally misrepreseiit that software will be

                          uninstalled or disabled by an authorized user's action, with

                          knowledge that the software will not be so uninstalled or disabled;

                          or                                               ,

                               vi.        Through intentionally deceptive means, remove,

                          disable, or render .inoperative security, antispyware, or antivirus

                          software installed on the coniputer.

          1040. As described more in this Complaint, the '.Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves! and with others as well

   as took separate action to create a hostile work environrrient, a toxic climate at work;

   and unsafe work conditions for the Plaintiff in order to stop her from reporting the fraud.
                                                                                                           ~
          1041. As described more in this Complain.t, the Defendants, by force,
                                                                           ,
   intimidatiori, or threat, agreed and conspired among themselves, and with others as well

   as took separate action to reprimand Plaintiff without just cause~
                                                                           i                               I
          1042. As described more in this Complain.t, the befendants, by force,
                                                                                                           I
   intimidation, or threat, agreed and conspired among themselves, and with others as well                 ~

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       as took separate action to harass the Plaintiff in order to stop her from reporting the      ;

       fraud.

                1043. As described more in this Complaint, the ' Defendants, by force,

       intimidation, or threat, agreed and conspired among themselves and with others as well
i
       as took separate action to deny the Plaintiff a promotion, advancement, and salary and

       bonuses associated with a promotion in order to prevent the Plaintiff from reporting the

       fraud.

                1044. As described more in this Compiaint, the Defendants, by force,

       iritimidation, or threat, agreed and conspired among themselves and with others -as well

       as took separate action to alter the employee's responsibilities and duties in order ,to

       pTevent the Plaintiff from reporting the fraud.

                1045. As described more in this Complaint, the Defendants, by force,

       intimidation, or threat, agreed and conspired among themselves and with others as well

       as took separate action to -break into PIaintiff's home in order, to prevent the Plaintiff

       from reporting the fraud.

                1046. As described more in this Complaint, the Deferidants, by force,

       iritimidation, or threat, agreed and conspired among themselves and with others as well

       as took separate action to hack into Plaintiff's personal computer and phones in order to        ~
                                                                                                        i
       prevent the Plaintiff from reporting the fraud.

                1047. As described more in this Complaint, the iDefendants, by force,

       intimidation, or threat, agreed and conspired among themselves+and with others, as well

       as took separate actioii, to retaliate and persecute Plaintiff at- work and at home for

       engaging in a protected activity.

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          1048. As described more in this Complaint, the: Defendants, by force,

   intiinidation, or threat, agreed and conspired among themselves and with others, as: well

   as took separate action, to retaliate and persecute Plaintiff at work and at home in order   ~
                                                                                                ~
   to force Plaintiff to resign from her position.

          1049. The parties in this case can be divided into four (4) main groups, together

   referred to as the "Defendants".                                I

   Group I— Plaintiff: is comprised of Raissa Djuissi Kengne, the Plaintiff, and former

   employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in the capacity

   of Experienced IT Audit Manager.

   Gi•oup 2— Defendant: is comprised of BDO USA, LLP, the public accounting firm

   where the Plaintiff was formerly employed, as well as Partners and members of

   management at.BDO USA, LLP including Scott Meier, Wesley Freeman, Paul Davison,

   Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark Da'venport, Johnson Wong,.

   Interface, Atlanticus, Kas Naderi, BioHorizons, and NMS. Group 2 also includes Justin

   .Mungal, a homeowner who Iives directly across fhe Plaintiffs unit at the 1280 West

   Condominium in Atlarita, GA who admittedly stated that he worked for BDO USA,

   LLP.

   Group 3— Deferidant: is comptised of the attorney's firms and its representatives who        ~

   were previously retained by Plaintiff for representation in the whistleblower case. The      I

   attorney's firm was Finch McCranie and its representatives were Michael Sullivan arid

   Walter Jospin.                               .
                                                                                                i
   Group 4— Defendant: is comprised of the 1280 West Condominium and its Board of
                                                                                                ~

   Directors as well as Beacon Management Services, LLC and its agents.. Beacon                 ,

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                                                                                                 i
   Manageinent Services, LLC has served as the management company for the 1280 West              ~

   Condominium Association where the Plaintiff resides for many years.

           1050.   Plaintiff reported a violation of SEC regulations, PCAOB standards,           ~

   AICPA standards, the Antitrust law, and a circumvention ;of the . law prohibiting

   employers from asking about an applicant's pay history in the state of Georgia. The

   misconduct happened while working for Defendant BDO USA, LLP.

          1051. Plaintiff informed Defendant Wesley Freeman of the work that was not

   performed in roughly 75% of the public and private engagements he oversaw in the

   Atlanta office. Defendant Wesley Freeinan did not deny it. Instead of fixing the issues

   going forward, he kept iiiisreporting the IT findings to hide the, significant deficiencies

   and/or material weaknesses in the IS Assuratice workpape'rs from both the core

   Assurance team and the clients.

          1052. Defendant Wesley Freeman enlisted the assistance of junior associates to

   attempt to smear Plaintiff's reputation; thereby preventing Plaintiff from being

   promoted.

          1053. Deferidant Wesley Freeman enlisted the assistance of junior associates'to

   attempt to smear Plaintiff's reputation; thereby preventing Plaintiff from being

  promoted. These associates enlisted to smear my reputation were part of the group who

  delivered such a poor work product.

          1054. Plaintiff started being retaliated against at work. Retaliation practices

  included, but were not limited to reprimanding Plaintiff in reviews without ground,

  harassing Plaintiff, creating a hostile work environment for Plaintiff; making subtle
                                                                      j
  threats to Plaintiff, and using intimidation tactics against Plaintiff.

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          1055. During internal meetings in 2020 and early 2021, Anthony Reh, a Partner

   at BDO USA, LLP in the.firm's Atlanta office stated that the mid-tier public accounting

   firms (primarily BDO and Grant Thornton) and the big 4(E&Y, Deloitte, KPMG, ana                 ,
                                                                                                   I
   PWC) were going to reach an agreement to stop employees from switching firms .and

   asking for higher salary.                                                                   ~

          '1056. Defendant Antony Reh, an Assurance Partner at BDO, had also stated

   that Plaintiff "and her family should be careful".                '

          1057. Plaintiff Raissa Djuissi Kengne signed the engagement letter with

   Defendaiit Finch McCranie in June of 2021. A few months later Finch McCranie

   resigned as the attorney fium on the Plaintiff's case. Plaintiff started being persecuted

   and retaliated against at home when she signed the contract with Defendatit Finch

   McCranie.

          1058. Defendants Finch and McCranie, Michaei Sullivan, and Walter Jospin

   disclosed the content of theit conversation to BDO USA, LLP and did not disclose the

   conflict of interest they had with any of the other Defendants.

          ~059. Plaintiff uploaded several docizments she had, in Defendant's Finch

   McCranie's data room per their request. Defendant's Finch McCranie took several

   months to review the eviderice provided by the client and asked many questions about

   BDO USA, LLP, the clients Plaintiff was working on, and the P-laintiff s family.
                                                                                                   I
          1060. The.Plaintiff was at a meeting at Defendant's Finch McCranie's offices

   located 'at 225 Peachtree SY NE #1700, Atlanta, GA 30303 for many 'hours when her

   home was broken into on June 29t', 2021.

                                                                     ~                             I

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           1061. During the meeting on June 29`h, 2021 at Defendant Finch McCranie, an

   accountant was brought in to look at the evidence provided by Plaintiff. The accountant

   asked the Plaintiff whether she believed that Defendant Wesley Fteeman was drugged

   •and that was why he could not deliver on the engagements. Plaintiff responded by asking

   if "Defendant Wesley Freeman had been drugged for the past five (5) years" while

   overseeing the public company's engagements.

          1062. The question asked by Defendant Finch McCranie's accountant is the

   same one Defendant Scott Meier, the Southeast IS Audit Partner at BDO USA, LLP had

   asked Plaintiff during their face-to-face meeting at the "Establishment" restaurant in

   Midtown Atlanta in early 2021.

          1063. Plaintiff advised Defendant Finch McCranie that she had received a pay

   increase of approximately 12% and that Plaintiff was up for promotion. Defendant

   Michael Sullivan stated "well, that is a good thing".

          1064. While leaving the meeting, Defendant Finch ,McCranie's accountant

   stated to the Plaintiff "Nobody is safe".

          1065. Plaintiff had several phone calls thereafter with Fi.nch McCranie. During

   one of these calls, Defendant Michael Sullivan explained that tliey did not have enough

   evidence to pursue the case. Plaintiff notes that it took Defendant Finch McCranie more

   than 6 months to deterinine whether they had enough evidence for the whistleblower

   case. Upon informing the Plaintiff on the phone that Defendani Finch McCran.ie could

   no longer represent her, Defendant Michael Sullivan asked if Plaintiff wanted to drop

   the case. Plaintiff responded "No". Plaintiff noted that there was a long pause on the

   phone. After a£ew minutes, there was a few laughs on the call. Defendant Michael
                                                                  i

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   Sullivan then told the Plaintiff that his firm would send her an;email to withdraw from

   the case.

          1066. Plaintiff claims that after the phone call with Defendant Finch McCranie,

   the retaliation practices and, attacks she faced, both at work and in her personal life, had

   increased.

          1067. Plaintiff's home was broken into at multiple times. PIaintiff lives in a

   condominium that has concierge services, which include, but are not limited to, trained

   staff who keep watch over the whole building, visitors screening process, and smart

   elevators that require a key card in order to both, enter the building and access the

   -residential areas. The intruders must have had the building access card and tlie

   residential floors as well as a copy of the keys to the Plaintiff's home in order to have

   access to the 1280 West buildiiig and the Plaintiff's home respectively.

          1068. Plaintiffls home was accessed multiple times without her authorization

   and her data was compromised.

          1069. Plaintiff reached out to Google Support to - let them know of the

   unauthorized access on the Gmail account rkengnel @gmail.coin.

          1070. Plaintiff     is   now     unable       to   access       her   Gmail   account

   rkengnel@ginail.com.

          1071. Defendant BDO USA, LLP had not fully removed the lntune application               ~

   from Plaintiffls personal cell phone she utilized for work as Plaintiff had requested at
                                                                      i
   the height of the attacks. Plaintiff contacted TT support at BDO USA, LLP to ask therii

   to remove the software several times, including on Novembe'r 2151, 2021. BDO USA,




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   I:LP was still able to access information on Plaintiff's cell phone and read her data            ~

   afterwards.

           1072. Plaintiffs noted that the following neighborsi had a reinote desktop

   connection on her personal laptop:                                                               ;

                   1.      Jamie J.ohnson, living in unit 2009 at 11!280 West Peachtree ST

           NW Atlanta, GA 30309.
                                                                      I
                   2.      Silvia Calloway, living in unit 2209 at 1280 West Peachtree ST

           NW Atlanta, GA 30309.

                   3.      Sirocus Barnes, living in unit 2010 at 1,280 West Peachtree ST

           NW Atlanta, GA 30309.

           1073. Plaintiff resigned because of constructive discharge and was blacklisted.

   from relevant job opportunities by Defendants because she engaged in protected

   activities. OSHA defines constructive discharge as quitting when an employer makes

   working conditions intolerable due to the employee's protected activity.
                                                                      i
           1074. Defendant Finch McCranie breached the atto'rney-client privilege by

   reporting the attorney-client protected conversations it had with Defendant BDO USA,

   LLP and failed to disclose to Plaintiff a conflict of interests. Thereby, causing harm to

   their then client.

           1075. Defendant Finch McCranie, Michael Sullivan ;utilized the information               ~

   provided by Plaintiff, their client at the tiine, to cause her harm ;and solidify relationship   '
                                                                                                    f

   with Defendant BDO USA, LLP and other members of Group 2.                                        ~
                                                                      '                             I




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              1076. Defendant 1280 West Condominium Association and 1280 West Board                 ;

       of Directors and other members in Group 4 facilitated and participated in the illegal

       entry and trespass into the Plaintiff s unit.

              1077. Defendant 1280 West Condominium Association and 1280 West Board

,      of Directors arid other members in Group 4 have persecuted Plaintiff at home by

       claiming she owed HOA fees and attempting to deny her homeowner's privileges.

              1078. Plaintiff's relatioiiship with the 1280 West Condominium Association,

       the 1280 West Board of Directors, and other members in Group 4 have been strenuous

       in the past. Plaintiff is part of a class action lawsuit against the 1280 West Condominium

       Association, the 1280 West Board of Directors, and bther: tnembers in Group 4 for

       breach of fiduciary duty, among other counts.                   i

               1079. Defendants 1280 West Condoininium Association and 1280 West Board

       of Directors and other members in Group 4 have been in contact with Defendant BDO

       USA, LLP and other members of Group 2 in other to cause harm to Plaintiff.

               1080. De£endant Interface, Inc's headquarters are located in 1280 West at,1280

       W Peachtree St NW, Atlanta, GA 30309. Members of Interface's management have a

       relationship with the 1280 West Condominium Association, the 1280 West Board of

       Directors, and other members in Group 4. Several Interface's employees also live at              I

       1280 W Peachtree St NW in the same condominium as Plaintiff.                                 ;J

               1081. The `clients of BDO USA, I.;LP, particularl.y the clients who are

       mentioned as part of the subject matter of the whistleblowing case, have threatened and

       engaged in retaliatory practices against the Plaintiff.                                      ~
                                                                       I                            .


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          1082. Kas Naderi, Chief Information Officer of AtIanticus, threatened Plaintiff        ;

   during a meeting held between Atlanticus and BDO USA, LLP and asked the Plaintiff

   if Plaintiff was "now willing to work with Atlanticus" and if Plaintiff was the one

   "asking for additional evidence to provide to the PCAOB" inspectors.

          1083. Plaintiff was late during that call. Scott Meier, BDO IS Assurance

   Principal, told Kas Naderi in the call. that Plaintiff was in the liathroom. At the time of

   the said meeting, Plaintiffwas working from home. Plaintiffwas indeed in the bathroom.

   Scott Meier had no way of knowing the Plaintiff was indeed in the bathroom unless the

   Plaintiff was under surveillance by BDO USA, .LLP, its agents, and/or the Defendants.

          1084. During the same 2021 PCAOB inspection of Atlanticus Holdings

   Corporation, PIaintiff was indirectly threatened by Mark Davenport (Audit Partner),

   Peter Poppo (Audit Partner), and Monica Burgess (Senior Audit Manager) who kept

   using the word "dead" in many meetings held to discuss re'sponses to the PCAOB

   questions.

          1085. During the 2021, IT audit of BioHorizons, Elbert Jenkins, VP of IT, at

   BioHorizons had postponed several meetings with Plaintiff, ,was rnissing calls, and           I
                                                                                                 ~
   attempted to blame Plaintiff for the missing calls and meetings in order to provide           i
                                                                   .
   negative feedback to Plaintiff's supervisor.

          1086. During the 2021 IT audit of NMS, Edward Burdekin, President of NMS               ~

   had made a pointed reference to the Family Dollar store as one of their clients. The

   Plaintiff was at a Family Dollar store the day before with her niother.

          1087. PIaintiff noted that recordings and evidence gather during that same
                                                                   ~
   meeting in September of 2021 with Edward Burdekin were been deleted from her laptop

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   in an attempt to place her in a bad light. Piaintiff s IT experience allowed her to recover

   the data and prevent a possible by performance evaluation cominent.

           1088. Plaintiff informed Finch McCranie, her then attorneys, of all the

   retaliatory practices she was facing.

           1089. Defendant BDO USA, LLP and other entities and individuals listed in

   Group 2 conspired with entities and individuals listed in Group 3 and Group 4 in order

   to •cause intentional harm to the Plaintiff as retaliation for reporting the fraud to the

   proper authorities.

           1090. The Defendants, singly and together, retaliated against Plaintiff by failing

   to proriiote Plaintiff, harassing Plaintiff, discriminating against Plaintiff in the terms and

   conditions of employment, broke into Plaintiff's home, for reporting conduct to the SEC

   that the Plaintiff reasonably believed violated the federal securities law.

          1091. Defendants, singly and together, retaliated against Plaintiff for disclosing

  information that is protected or required under SOX and under podd-Frank.

          1092. Defendants committed the crime of influencing Plaintiff with intent to

   deter Plaintiff from testifying freely, fully, and truthfully to aiiy matter pending in any
                          .                                           ~


  court, in any administrative proceeding, or before a grand jury, by communicating,

  directly and indirectly, to Plaintiffany threat of injury or damage to the person, property,

  or employment of the Plaintiff or to the person, property, or employrnent of Plaintiff's

  relative.

          1093. Defendants knowingly used intimidation and threats, attempted to
                                                                     i
  persuade Plaintiff by means of corruption, and engaged in mi'sleading conduct toward
                                                                     i
  Plaintiff with intent to hinder, delay, and/or prevent the communication to a law

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   enforcement officer, prosecuting attorney, or judge of the United States of information

   relating to the commission or possible commission of a Federal; offense.

          1094. Finch McCranie, Michael Sullivan, and Walter Jospin violated the

   Client's communications to attorney privileged agreement by disclosing the advice or

   counsel they have given to Plaintiff, their then client.

          1095. Defendants committed a violation of computer crimes by utilizing a

   computer or computer network with knowledge that such use is without authority and

   with the intention.of:

                  1.        Deleting or in any way removing, , either temporarily or

          permanently, any computer program or data from a computer or computer

          network;

                  2.        Obstructing, interrupting, or in any way interfering with the use

          of a computer program or data; or

                  3.        Altering, damaging, or in any way causing the malfunction of a

          computer, computer network, or computer program, regardless of how long the

          alteration, damage, or malfunction persists shall be guilty of the crime of

          computer trespass.

          1096. Defendants committed computer invasion of privacy by utilizing

   Plaintiff's computer and/or computer network with the intention. of examining Plaintiff's

   employment, medical, salary, credit, and/or financial or personal data relating to           ~

   Plaintiff with knowledge that such examination is without authority.

          1097. Defendants committed a violation of computer security laws., when they,         ;

   without authorization, knowingly, willfully, or with conscious indifference or disregard

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                                                                                                       ,




   caused computer software to be copied onto Plaintiff s corriputer and used the software

   to do the following:

                   (1)     Modify, through intentionally deceptive means, any of the

           settings related to the computer's access to, or use of, tlie Internet:

                   (2)     Collect, through intentionally deceptive means, personally
                                                                i
           identifiable information..

                                     COUNT FOURTEEN:

                                             Bribery

                                       O.C.G.A. §16-10-2

                                   (Against All Defendants)

           1098. The Plaintiff re-alleges and incorporates by reference each and every

   paragraph of this Complaint and the facts as if set forth here iri `full for all purposes.

           1099. The offense of bribery occurs in one of the following two ways:

                           (1)     when a person gives or offers to give to any person actirig

                   for or on behalf of the state or any political subdivision thereof, or of any

                   agency of either, any benefit, reward, or consideration to which he or she

                   is not entitled with the purpose of influencing him or her in the

                  performance of any act related to the functions of his or her office or

                  employment.

                           (2)     when a public official, elected or appointed, or an             ~
                  employee of this state or any agency, authority,: or entity of the state, or

                  any county or municipality or any agency, authority, or entity thereof,

                  directly or indirectly solicits, receives, accepts,~ oir agrees to receive a     I
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                                                                                                 I
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                  thing of value by inducing the reasonable belief that the giving of the        ~

                  thing will influence his or her performance or, failure to perform any

                  official action.

            1100. As described more in this Complaint, the : Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to create a hostile work environment, a toxic climate at work,

   and unsafe work conditions for the Plaintiff in order to stop her from reporting the fraud.

            1101. As described more in this Complaint, the ; Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to reprimand Plaintiff without just cause.

            1102. As described more in this Complaint, the ' Defendants., by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to harass the Plaintiff in order to stop her from reporting the

   fraud.

            1103. As described more in this Complaint, the Defendarits, by force,

  intimidation, or threat, agreed and corispired among themselves aiid with others as well

  as took separate action to deny the Plaintiff a proriiotion, advancement, and salary and

  bonuses associated with a promotion in order to prevent the Plaintiff from reporting the

  fraud.

            1104. As described more in this Complaiiit, the Defendarits, by force,
                                                                   ~

  intimidation, or threat, agreed and conspired among themselves and with o'thers as well

  .as took separate action to alter the employee's responsibilities and duties in order to

  prevent the Plaintiff from reporting the fraud.

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              1105. As described more in this Complaint, the iDefendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to break into Plaintiff's home in order to prevent the Plaint'iff        t

   from reporting the fraud.

              1106. As described more in this Complaint, the ' Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves arid with others as well

   as took separate action to hack into Plaintiffls personal cornputer and phones in order to

   preveiit the Plaintiff from reporting the fraud.

              1107. As described more in this Complaint; the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves' and with others, as well

   as took separate action, to retaliate and persecute Plaintiff at work and at home for

   engaging in a protected activity.

   r          1.108. As described mote in this Complaint, the Defendants, by force,

       intimidation, or threat, agreed and conspired among themselves and with others, as well

   as took separate action, to retaliate and persecute Plaintiff at work and at home in order

       to force Plairitiff to resign from her position.

              1109. The parties in this case can be divided into four (4) main groups,. togetlier

       refenred to as the "Defendants".                                ~

       Group 1— Plaintiff: is comprised of Raissa Djuissi Kengne, the Plaintiff, and former

       employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in the capacity

       of Experienced IT Audit Manager,
                                                             I
       Group 2— Defendant: is comprised of BDO USA, LLP, .thel public accounting firm
                                                                       I
       where the Plaintiff was formerly employed, as weIl as Paitners and members of
                                                                       ~
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                                                                 ~

   management at BDO USA, LLP including Scott Meier, Wesley Freeman, Paul Davison,

   Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark Da:venport, Johnson Wong,

  Interface, Atlariticus, Kas Naderi, BioHorizons, and NMS. Group 2 also includes Justin

  Mungal, a homeowner who lives directly across the Plaintiff s unit at the 1280 West

   Condomin'ium in Atlanta, GA who admittedly stated that he worked for BDO USA,

  LLP.

  Group 3— Defendant: is comprised of the attorney's firms and its representatives who

  were previously retained by Plaintiff for representation in the whistleblower case. The

  attorney's firm was Finch McCranie and its representatives were Michael Sullivan and

  Walter Jospin.

  Group 4— Defendaut: is comprised of the 1280 West Condoininium and its Board of

  Directors as well as Beacon Managemerit Services, LLC and its agents. Beacon

  Management Services, LLC has served as the management company for the 1280 West

  Condominium Association where the Plaintiff resides for many:years.

         1110. Plaintiff reported a violation of SEC regulations, PCAOB standards,

  AICPA standards, the Antitrust law, and a circumvention of the law prohibiting

  employers from asking about an applicant's pay history in the state of Georgia. The

  misconduct happened while working for Defendant BDO USA,, LLP.

         I I 11. Plaintiff noticed that the workpapers for both private clients and public

  clients were being rolled forward year after year without actually doing the work. The

  public clients included B1ueLinx, Atlanticus, IZEA, BioHorizons, and Interface.

  Interface has recently been under an SEC investigation and ari executive employee at




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   Interface has been suspended. The private clients included Janus, Dustex, FCCI, RSR

   Gr.oup, ProCare, Vacation Express, and.many others.

          1112. The issue with the IT audit work performed was that several deficiencies

   that should have been identified as significant deficiencies or material weaknesses were

   actually identifed as.only control deficiencies. Because they were never communicated

   to, the financial stateinents audit team as control deficiencies, the financial statemenfs

   audit teams never adjusted their audit strategy and therefore; never addressed the risk of

   inaterial misstatements due to ineffecti've IT general controls (ITGCs).

          1113. Plaintiff informed Defendant Wesley Freeman of the work that was not

   performed in roughly 75% of the public and private engagements he oversaw in the

   Atlanta office. Defendant Wesley Freeinan did not deny it. Instead of fixing the issues

   going fozward, he kept misreporting the IT.findings to hide the significant deficiencies

   and/or material weaknesses in the IS Assurance workpapers from both the core
                                                                   !

   Assurance team and the clients.                                     ~

          1114. Defendant Wesley Freeman enlisted the assistance of junior associates to

   attempt to smear Plaintiffs reputation; thereby preventing Plaintiff from being

   promoted.             /
                                                                       ~

          1115. Defendant Wesley Freeman enlisted the assistance of junior associates to

   attempt to smear Plaintiff's reputation; thereby preventing Plaintiff from being

   promoted. These associates enlisted to smear my reputation were part of the group who

   delivered such a poor work product.                                 I

          1116. Plaintiff started being retaliated against at wo lk. Retaliation practices
                                                                  I
   included, but were not limited to reprimanding Plaintiff   in r,eviews without ground,

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   harassing Plaintiff, creating a hostile work environment for Lintiff, making subtle

   threats to Plaintiff, and using intimidation tactics against Plaintiff.

           1117. During internal meetings in 2020 and early 2021, Anthony Reh, a Paitner

   at BDO USA, LLP in the firm's Atlanta office stated that the mid-tier public accounting

   ftrms (primarily BDO and Grant Thornton) and the big 4(E&Y, Deloitte, KPMG, and

   PWC) were going to reach an agreement to stop employees from switching firms and

   asking for higher salary.

           1118. Defendant Antony Reh, an Assurance Partner at BDO, had also stated

   that Plaintiff "and her family should be careful".

           1119. Plaintiff Raissa Djuissi Kengne signed the engagement letter with

   Defendant Finch McCranie in June of 2021. A few months later Finch McCranie

   resigned as the attorney firm on the Plaintiffls case. Plaintiff started being persecuted

   and retaliated against at home when she signed the contract with Defendant Finch

   McCranie.

           1120. Defendants Fincli and McCranie, Michael Suilivan, and Walter Jospin

   disclosed the content of their conversation to BDO USA, LLP and did not disclose the

   conflict of interest they had with any of the other Defendants..

           1121. Plaintiff uploaded several documents she had in Defendant's Finch

   McCranie's data room per their request. Defendant's Finch McCranie took several

   months to review the evidence provided by the client and asked many questions about         '

   BDO USA, LLP, the clients Plaintiff was working on, and the Plaintiff s family.

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          1122. The Plaintiff was at a meeting at Defendant's Finch McCranie's offices

   located at 225 Peachtree St NE #170.0, Atlanta, GA 30303 for many hours when her

   home was broken into on June 29'h, 2021.

           1123. During the meeting on June 29`h, 2021 at Defendant Finch McCranie, an

   accountant was brought in to look at the evidence provided by Plaintiff. The accountant

   asked the Plaintiff whether she believed that Defendant Wesle.y Freeman was drugged

   and that was why he could not deliver on the engagements. Plaintiff responded by asking

   if "Defendant Wesley Freeman had been drugged for the past five (5) years" while

   overseeing the public company's engagements.

          1124. The question asked by Defendant Finch 1VIcCranie's accountant is the

   same one Defendant Scott Meier, the Southeast IS Audit Partner at BDO USA, LLP had

   asked Plaintiff during their face-to-face meeting at the "Establishment" restaurant in

   Midtown Atlanta in early 2021.

          1125: Plaintiff advised Defendant Finch McCranie tfiat she had received a pay

   increase of approximately 12% and that Plaintiff was up for promotion. Defendant

   Michael Sullivan stated "well, that is a good thing".

          1126. While leaving the meeting, Defendant Finch McCranie's accountant

   stated to the Plaintiff "Nobody is safe".

          1127. Plaintiff had several plione calls thereafter with Pinch McCranie. During

   one of these calls, Defendant Michael Sullivan explained that they did not have enough

   evidence to pi,irsue the case. Plaintiff notes that it took Defendant Fiiich McCranie more

   than 6 months to determine whether .they had enough evidence for the whistleblower

   case. Upon informing the Plaintiff on the phone that Defendant Finch McCranie could

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  no longer represent her, Defendant Michael Sullivan asked if Plaintiff wanted to drbp

  the case. Plaintiff responded "No".. Plaiiitiff noted that there was a long pause on the

  phone. After a few minutes, there was a few laughs on the call. Defendant Michael

  Sullivan then told the Plaintiff that his fum would send hei an email to withdraw from

  the case.

          1128. Plaintiff claims that after the phone call with Defendant Finch McCranie,

  the retaliation practices and attacks she faced, both at work and in her personal life, had

  increased.

          1129. Plaintiff's home was broken into multiple tinies. Plaintiff lives in a

   condominium that has concierge services, which include; but are not limited to, trained

  staff who keep watch over the whole building, visitbrs screehing process, and smart

   elevators that require ,a key card in order to both, enter the building and access the

   residential areas. The intruders must have had the building access card and the

   residential floors as well as a copy of the keys to the Plaintiff s home in order to have

   access to the 1280 West building and the Plaintiff's home respectively.

          1130. Plaintiff resigned and was blacklisted from relevant job opportunities by

  Defendants because she engaged in protected activities.

          1131. 'Defendant .Finch McCranie breached the attorney-client privilege by

   reporting the attorney-client protected conversations it had witli Defendant BDO U.SA,       I

  LLP and faiied to disclose to Plaintiff a conflict of interests.

          1132. Defendant Finch McCranie utilized the information provided by
                                                                     i
  Plaintiff, client at the time, to cause her harm and solidify relationship with Defendant     i

   BDO USA, LLP and other members of Group 2.                        ~                          :I

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          1133. Deferidant 1280 West Condominium Association and 1280 West Board                 j
                                                                                                 i
   of Directors and other members in Group 4 facilitated and participated in the illegal

   entry and trespass into the Plaintiff's unit.

           1134. Defendant 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 have persecuted Plaintiff at home by

   claiming she owed HOA fees and attempting to deny her homeowner's privileges.

           1135: Plaintiff's relationship with the 1280 West Coridorninium Association,

   the 1280 West Board of Directors, and other members in Group 4 have been .strenuous

   in the past. Plaintiff is part of a class action lawsuit against tlie 1280 West Condominium

   Association, the 1280 West Board of Directors, and other members in Group 4 for

   breach of fiduciary duty, among other counts.

           1136. Defendants 1280 West Condominium Association and 1280 West Board

   of Directors and other mezribers in Group 4 have been in conta:ct with Defendant BDO

   USA, LLP and other members of Group 2 in order to'cause harin to Plaintiff.

           1137. Defendant Interface, Inc's headquarters are located in 1280 West at 1280

   W Peachtree St NW, Atlanta, GA 30309. Members of Interface's management have a

   relationship with the 1280 West Condominium Association, the 1280 West Board of

   Directors, and other members in Group 4. Several Interface's: employees also live at

   1280 W Peachtree -St NW in the same condominium as Plaintiff

           1138. The clients of BDO USA, LLP, particularly the clients who are

   mentioned as part of the subject matter of the whistleblowing case, have threatened and

   engaged in retaliatory practices against the Plaintiff.                                           ~




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          1139. Kas Naderi, Chief Information Officer of Atlanticus, threatened Plaintiff        I
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   during a meeting held between Atlanticus and BDO USA, LLP and asked the Plaintiff

   if Plaintiff was "now willing to work with Atlanticus" and if Plaintiff was the one

   "asking for additional. evidence to provide to the PCAOB" inspectors.

          1140. Plaintiff was late during that call. Scott Meier, BDO IS Assurance

   Principal, told Kas Naderi in the call that Plaintiff was in the bathroom. At the time of

   the said meeting, Plaintiff was worlcing-from home. Plaintiff was indeed in the bathroom.

   Scott Meier had no way of knowing the Plaintiff was indeed in the bathroom unless the

   Plaintiff was under surveillance by BDO USA, LLP, its agents; and/or, the Defendants.

          1141. During the same 2021 PCAOB inspection of Atlanticus Holdings

   Corporation, Plairitiff was indirectly threatened by Mark 'Davenport (Audit Partner),

   Peter Poppo (Audit Pattner), and Monica Burgess (Senior Audit Manager) who kept

   using the word "dead" in many meetings held to discuss responses to the PCAOB

   questions.

         1142. During the 2021, IT audit of BioHorizons, Elbert 3enkins, VP of IT, at
                                                               ~
   BioHorizons had postponed several meetings with. Plaintiff, , was missing calls, and

   attempted to blame Plaintiff for the missing calls and meetings in order to provide

   negative feedback to Plaintiffs supervisor.

          1143. During the 2021 IT audit of NMS, Edward Burdekin, President of NMS               ;

   had made a pointed reference to the Family Dollar store as one of their clients. The

   Plaintiff was at a Family Dollar store the day before with her mother.
                                                                !                                I
          1144. Plaintiff noted that recordings and evidence. gathered during that same

   meeting in September of 2021 with Edward Burdekin were deleted from her laptop in

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   an attempt to place her in a bad light. Plaintiff's IT experience allowed her to recover        I

   the data and prevent a possible by performance evaluation comment.

          1145. Plaintiff informed Finch McCranie, her then attorneys, of all the

   retaliatory practices she was facing.

          1146. Defendant BDO USA, LLP and other entities and individuals listed in

   Group 2 conspired with entities and individuals listed in Group 3 and Group 4 in order

   to cause intentional harm to the Plaintiff as retaliation for reporting the fraud to the

   proper authorities.

           1147. The Defendants, singly and together, retaliated against Plaintiff by failing

   to promote Plaintiff, harassing Plaintiff, discriminating against Plaintiff in the terms and

   conditions of employment, broke into Plaintiff's home, for reporting conduct to the SEC:

   that the Plaintiff reasonably believed violated the federal. securities law.

           1148. Defendants, singly and together, retaliated against Plaintiff for disclosing

   information that is protected or required under SOX and under I podd-Frank.

           1149. Defendants committed the crime of influencing Plaintiff with intent to

   deter Plaintiff from testifying freely, fully, and truthfully to any matter pending in any

   court, in any administrative proceeding, or before a grand jury, by communicating,

   directly and indirectly, to Plaintiff any threat of injury or damage to the person, property,

   or employment of the Plaintiff or to the person, property, or einployment of Plaintiff s

   relative.                                                         .                             ~

           1150. Defendants knowingly used intimidation and threats, attempted to                  i

   persuade Plaintiff by means of corruption, and engaged in misleading conduct toward             I
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   Plaintiff with intent to hinder, delay, and/or prevent the commuiiication to a law              !
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   enforcement officer, prosecuting attorney, or judge of the United States of information

   relating to the cornmission or possible commission of a Federal offense.                       ~

          1151. Finch McCranie, Michael Sullivan, and Walter Jospin violated the

   Attomey-Client Privilege when they failed to maintain inviolate the..confidence and, at

   every peril to themselves, to preserve the secrets of Plaintiff, their then client.

                                                         , when they attempted to give
          1152. Defendants coinmitted the offense ofbribery

   or offer the Plaintiff an unusual increase in salary and inducing the reasonable belief that

   the giving of the salary increase will influence her performance,or failure to perform her

   civic duty of reporting the fraud to the proper authorities.
                                                                      i
                                      COUNT FIFTEEN:

                                            Burglary

                                       O.C.G.A. § 16-7-1.

                                   (Against All Defendants)

          1153. The Plaintiff re-alleges and incorporates by reference each and every
                                                                    I
   paragraph of this Complaint and the facts as if set forth here inifull for all purposes.
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          11.54. The offense of burglary occurs when an entity~ or a person breaks and

   enters into any structure with the iiitent to commit a felony theiein; there must be intent
                                                                    ~
   to commit an underlyiung offense. See O.C.G.A. §16-7=1.
                                                           ~
          1155. An entity or person can be convicted of burglary even if he or she

   obtained permission to enter into a house through fraud, deceit,or false pretenses.

          1156. An entity or person does not have to take any personal property items to

   be convicted of burglary.




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            1157. As described more in this Complaint, the i Defendants, by force,               ~
                                                                    ~                            !
   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to create a hostile work environment, a toxic cliniate at work,

   and unsafe work conditions for the Plaintiff in order to stop her from reporting the fraud.

            1158. As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to reprimand Plaiiitiff without just cause.

            1159. As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed. and conspired among themselves and with others as well

   as took separate action to harass the Plaintiff in order to stop her from reporting the

   fraud.

            1160. As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to deny the Plaintiff a promotion, advancement, and salary,and

   bonuses associated with a promotion in order to prevent the Plaintiff from reporting the

   fraud.

            1161. As described more in this Complaint, the ' Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to alter the employee's responsibilities -and duties in order to

   prevent the Plaintiff from reporting the fraud.

            1162. As described more in this Complaint, the Defendants, by force,
                                                                    i
   intimidation, or threat, agreed and conspired among themselves and with others as well




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   as took separate action to break into Plaintiff s home in ordez; to prevent the Plaintiff

   from reporting the fraud.

          1163. As described more in this Complaint, the Defendants, by force,                     i

   intimidation, or threat, agreed and conspired among theniselves and with others as well

   as took separate action to hack irito Plaintiff's personal corriputer and phones in order to

   prevent the Plaintiff from reporting the fraud.

          1164. As described more in this Complaint, the Defendants, .by force,

   intimidation, or threat, agreed and conspired among themselves and with others, as well

   as took separate action, to retaliate and persecute Plaintiff at work and at home for

   engaging in a protected activity.

          1165. A.s described more in this Complaint, the ' Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others, as well

   as took separate action, to retal'iate. and persecute Plaintiff. at work and at home in order

   to force Plaintiff to resign from her position.

          1166. The parties in this case can be divided into four (4) main groups, together

   referred to as the "Defeudants".

   Group 1— Plaintiff: is comprised of Raissa Djuissi Kengne, the Plaintiff, and former

   employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in the capacity

   of Experienced IT Audit Manager.                                                                ;

   Group 2— Defendant: is comprised of BDO USA, LLP, the public accounting firm

   where the Plaintiff was formerly employed, as well as Partners and members of

   management at BDO USA, LLP including Scott Meier, Wesley; Freeman, Paul Davison,                I

   Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark Davenport, Johnson'Wong,
                                                                     ~
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   Interface, Atlanticus,, Kas Naderi, BioHorizons,, and NMS. Group 2 also includes Justin

   Mungal, a homeowner who lives directly across the Plaintiffs unit at the 1280 West

   Condominium in Atlanta, GA who admittedly stated that he worked for BDO USA,

   LLP.

   Group 3— Defendant: is comprised of the attorney's firms and its representatives who

   were previously retained by Plaintifffor representation in the whistleblower case. The

   attorney's firtn was Fincb McCraiiie and its representatives were Michael Sullivan and

   Walter Jospin.

   Group 4— Defendant: is comprised of the 1280 West Condominium and its Board of

   Directors as well as Beacon Management Services, LLC and its agents. Beacon

   Management Services, LLC has served as the management company for the 1280 West

   Condominiurn Association where the Plaintiff tesides for many; years.

          1167. Plaintiff' reported a violation of SEC regulations, PCAOB standards,

   AICPA standards, the Antitrust law, and a circumvention of the law prohibiting

   employers from asking about an applicant's pay history in the state of Georgia. The

   misconduct happened while working for Defendanfi BDO USA, LLP.

          1168. Plaintiff noticed that the workpapers for both private clients and public

   clients were beirig rolled forward year after year'without actually doing the work. The

   public clients included B1ueLinx, Atlanticus, IZEA, BioHorizons, and Interface.

   Interface has teceritly been under an SEC investigation and an executive employee at

   Interface has been suspended. The private clients included Janus, Dustex, FCCI, RSR
                                                                 i                           ~

   Group, ProCare, Vacation Express, and many others.            ~




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                                                                     i                          !




          1169. The issue with the IT audit work performed was'that several deficiencies        I

   that should have been identified as significant deficiencies or material weaknesses were

   actually identified as only control deficiencies. Because they were never communicated

   to the fmancial statements audit tearii as control deficiencies, the fmancial statements,

   audit teams never adjusted their audit strategy and therefore, never addressed the risk of

   material misstatements due to ineffective IT general controls (ITGCs).

          1170. Plaintiff informed the Defendant Wesley Freeman of the work that was

   not performed in roughly 75% of the public and private engagemerits he oversaw in the

   Atlanta office. Defendant Wesley Freeman did not deiiy it. Instead of fixing the issues

   going forward, he kept misreporting the IT findings to hide. the significant deficiencies

   and/or material weaknesses in the IS Assurance workpapers from both the core

   Assurance team and the clients.

          1171. Defendant Wesley Freeriian enlisted the assistance of junior associates to

   attempt to smear Plaintiffs reputation; thereby preventing Plaintiff from beirig

   promoted.

          1172. Defendant Wesley Freeman enlisted the assistance of junior associates to

  attempt to smear Plaintiff s reputation; thereby preventing Plaintiff from being

  promoted. These associates enlisted to smear rny reputation were part of the group who

  delivered such a poor work product.

         1173. Plaintiff staTted being retaliated against at work. Retaliation practices
                                                               i
  included, but were not limited to reprimanding Plaintiff in reviews without ground,

  harassing Plaintiff, creating a hostile work environment for Plaintiff, making subtle         ~~

  threats to Plaintiff, and using intimidation tactics against Plaintif£                        i

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           1174. During internal meetings in 2020 and early 202I; Anthony Reh; a Partner

   at BDO USA, LLP in the firm's Atlanta office stated that the mid-tier public accounting
                                                                 ~
   .firtns (primarily BDO and Grant Thornton) and the big 4(E&Y, Deloitte, KPMG, and

   PWC) were going to reach an agreement to stop employees from switching firins and

   asking f6r higher salary.

           1175. Plaintiff was blacklisted from relevant job opportunities by Defendants

   from engaging in protected activities.
                                                                     i
           1176. Plaintiff started beiiig persecuted and retaliated against at home when she

   signed the contract with Defendant Finch McCranie.                  ,
           1177. Plaintiff s home was broken into. multiple times. Plaintiff lives in a

   condomiriium that has concierge services, which include, but are not limited to, trained

   staff who keep watch over the whole building, visitors screening process, and smart
                                                                                     ~
   elevators that require a key card in order to both, enter the building and access the

   residential areas. Intruders must have had a double of the Plaintiffs key and a building

   access card in order to enter the Plaintiff's home.

           1178. Defendant Finch McCranie breached the attor,ney-client . privilege by

   reporting the attorney-client protected coriversatioiis it had with Deferidant BDO USA,

   LLP and failed to disclose to Plaintiff a conflict. of interests.   '

          1179. Defendant Finch McCranie utilized the information provided by Plaintiff

   and then client to cause her hann and solidify relationship with Defendant BDO USA,

  LLP and other members of Group 2.




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          1180. Defendant 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 facilitated and participated in the illegal

   entry and trespass into the Plaintiffs unit.

          1181. Defendant 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 have persecuted Plaintiff at home by

   claiming she owed HOA fees and attempting to deny her homeowner's privileges.

          1182. Plaintiff left her home to meet with her then atfomey Michael Sullivan

   and Waiter Jospin from Finch McCranie on July 29`h, 2022 to discuss the whistleblower

   case. When Plaintiff returned; she noted that her home had beeri broken into because her

   safe was opened.

          1183. Plaintiff notes that the only parties with knowledge of her whereabouts

   or that she had left her unit on July 29`h, 2022 were Walter Jospin, Michael Sullivan,

   Beacon Management's employees and contractors as well as 'the 1280 West's Board

   -members, management, the building's employees/contractors, and her Plaintiff's

   neighbors living on the same floor (215' floor).

          1184. Plaintiff's privacy was violated. Plaintiff's personal information such as

   bank account information, social security number, HIPAA protected health information,

   life insurance, health insurance infotmation, and passwords to websites had been

   accessed.

          1185. Plaintiff called the non-emergency line of the police the next day of the

   noted break-in because it was already late when Plaintiff noticed the crime. Officer
                                                                   ,
                                                                                                i
   Caleb responded to the call. Upon her arrival at the scene ofthe crime on June 31S`, 2021,   I

   Officer Caleb had already decided that she was not going to write a police statement for
                                                                   i

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   the crimc. Plaintiff was reporting. In addition, Officer Caleb had declined to look at the
                                                                                                ~
   cameras.

          1186. Plaintiff had to wait several days to discover that the police report was       I

   classified as a non-crime. As soon as Plaintiff realized the enormous mistake, Plaintiff
                                                                                                ~
   went to the Precinct at CNN. Plaintiff talked to Officer Caleb who refused to update the     j

   report. Plaintiff talked to Officer Caleb's supervisor who referred her to Detective

   Finney at Precinct.l. Officer Caleb's Supervisor told Plaintiff that only Detective Finney

   at Precinct 1 could update the police report.

          1187. Plaintiff then visited Precinct 1 in order to talk to Officer Finney.

   Unfortunately, Officer Finney was not present. An officer at Precinct 1 sent Plaintiff to

   the main police station in Downtown Atlanta.

          1188. Plaintiff talked to Officer Derrell at the main police station in Downtown

   Atlanta and Officer Derrell explained that the responding officer at Zone 5 would be

   responsible for updating the police report.

          1189. Plaintiff reached out to Officer Finney again andhe refused to update the

   report. Plaintiff then talked to Officer Finney's supervisor, Lieutenant Dawson.

          1190. Lieutenant Dawson called Precinct 5 and arranged for Officer Caleb to

   go back to the Plaintiffs unit on September 2"d, in order to retake Plaintiffs full

   statement, dust for fingerprints, and review the footage.

          1191. Plaintiff's unit was accessed by someone with the keys to her unit. Only

   the building management has a copy of the Plaintiffs keys because it is required by the

   1280 WestGoverning documents, which Plaintiff explained to;Officer Caleb.                    ~




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                                                                     I                            i
           1192. Despite the fact that Plaintiff has explained to Officer Caleb that someone      !
                                                                                                  I
   in the management's office could be involved, Officer Caleb was not discreet enough            ;

   when talking with the building management. Officer Caleb laid down the scope of her

   activities in Plaintiff's unit and what Offzcer Caleb would do or,would not do in front of

   management.

           1193. Officer Caleb took Plaintiff's updated statement, dusted for fingerprints,

   and refused to look at the camera footage. Officer Caleb stated "I am not being paid the

   big bucks."

           1194. Plaintiff's unit was again accessed oii August 28`h, 2021. During Officer

   Caleb's second visit to Plaintiff s unit, Plaintiff explained to Offcer Caleb thaf Plaintiff

   had a video footage showing that someone had accessed my unit again on August 28a',

   2021 when Plaintiff was away from home. Office Caleb did not request Plaintiff to

   provide a copy of the video.

           1195. Officer Caleb took notes of the new security system Plaintiff had

   installed during her second visit.
                                                                    ~

           1196. On September 3`a, 2021, Plaintiff's unit was again accessed while

   Plaintiff was sleeping. The intruders knew how to enter the• premises and where the

   cameras were located because the cameras were turned away from whoever accessed

   Plaintiff s unit.

           1197. Officer Caleb indicated a Detective would be in touch with Plaintiff, but

   has not provided a contact information. Plaintiff has not heard back. from the police since

   then.                                                            ~

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                                                                   ~                            1
          1198. Plaintiff's storage unit was also broken into by members of the                 ~

   management's team in order to access information about Plaintiff's personal life.

          1199. Plaintiff's relationship with the 1280 West Coiidominium Association,

   the 1280 West'Board of Directors, and other members in Group 4 have been strenuous

   in the past. Plaintiff is part of a class action lawsuit against the 1280 West Condominium

   Associatioii, the 1280 West Board of Directors, and other members in Group 4.for

   breach of fiduciary duty, among. other counts.

          1200. Defendants 1280 West Condominium Association and 1280 West Board

   of'Directors and other members in Group 4 have been in contact with Deferidant BDO

   USA, LLP and other members of Group 2 in order to cause harm to Plaintiff.

          1201. Defendant Interface, Inc's headquarters are located in 1280 West at 1280

   W Peachtree St NW, Atlanta, GA 30309. Members of Interface's management have a

   relationship with the 1280 West Condominium Association, the 1280 W.est Board of

   Directors, and other members in Group 4. Several Interface's employees also live at

   1280 W Peachtree St NW in the same coridominium as Plaintiff.

          1202. The clients of BDO USA, LLP, particularly the clients who are

   mentioned as part of the subject matter of the whistleblowing case, have threatened and      ~

   engaged in.retaliatory practices against the Plaintiff.

          1203. Kas Naderi, Chief Information Officer of Atlanticus, threatened Plaintiff

   during a meeting held between Atlanticus and BDO USA, LLP and asked the Plaintiff

   if Plaintiff was "now willing to work with Atlanticus" and ifPlaintiff was the one           ;

   "asking for additional evidence to provide to the PCAOB" inspectors.                         I
                                                                                                i


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          1204. Plaintiff was late during that call. Scott Meier, BDO IS Assurance                 ;

   Principal, told Kas Naderi in the caIl that Plaintiff was in the bathroom. At the time of

   the said ineeting, Plaintiffwas workiiig from home. Plaintiffwas indeed in the bathrooin.

   Scott Meier had no way of knowing the Plaintiff was indeed in the bathroom unless the           I

   Plaintiff was under surveillance by BDO USA, LLP, its agents, and/or the Defendants.

          1205. During the same 2021 PCAOB inspection of Atlanticus Holdings

   Corporation, Plaintiff was indirectly threatened by Mark Davenport (Audit Partner),         1;

   Peter Poppo (Audit Partner), and Monica Burgess (Senior Audit Manager) who kept

   using the word "dead" in many meetings held to discuss responses to the PCAOB

   questions.

          1206. During the 2021, IT audit of BioHorizons, Elbert Jenkins, VP of IT, at

   BioHorizons had postponed several meetings with Plaintiff, was missing calls, and

   attempted to blame Plaintiff for the missing calls and meetings in order to provide

   negative feedback to Plaintiff's supervisor.

          1207. During the 2021 IT audit of N1VIS, Edward Burdekin, Pr.esident of NMS

   had made a pointed reference to the FamiIy Dollar store as one of their clients. The

   Plaintiff was at a Family Dollar store the day before with her rriother.

          1208. Plaintiff noted that recordings and evidence. gathered during that same

   meeting in September of 2021 with Edward Burdekin were deleted from her laptop in

   an attempt to place her in a bad light. Plaintiff s IT experience allowed her to recover

   the data and prevent a possible by performance evaluation comment.

          1209. Defendant BDO USA, LLP and other entities and individuals listed in            I
                                                                    ,

   Group 2 conspired with entities and individuals listed in Group 3 and Group 4 in order

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                                                                   ~                                  I
   to cause intentional harm to the Plaintiff as retaliation for reporting the fraud to the           I
                                                                                                      `
   proper authorities.

           1210. The Defendants, singly and together, retaliated against Plaintiff by failing         ,
                                                                                                       j
   to promote Plaintiff, harassing PlaintifP, discriminating against Plaintiff in the terms and       i

   conditions of employment, broke into Plaintiff's home, for reporting conduct to the SEC
                                                                     i
   that the Plaintiff reasonably believed violated the federal securities law.

          1211. Defendants, singly and together, retaliated against Plaintiff for disclosing

   information that is protected or required under SOX and under podd-Frank.

          1212. Defendants cominitted the offense of burglary when they broke and / or

   arranged for a person to break and enter into Plaintiff's home with the intent to commit

   the felony therein. Defendants perinitted burglary even if they; obtained permission to

   enter into Plaintiffs house through fraud, deceit or false pretenses. Defendants did not

   obtain permission to enter into Plaintiffls home. Defendants did not have to take any

   personal property iteins for their crimes to be considered burglary.

                                         COUNT SIXTEEN:

                                Theft By Possession Of Stolen M[ail                               I

                                         O:C.G.A. § 16-5-24                                       ~

                                      (Against All Defendants)      ,

          1213. The Plaintiff re-alleges and incorporates by reference each and every

  paragraph of this Complaint and the facts as if set forth here in full for all purposes.

          1214. The offense of theft by possession of stolen Mail occurs when an entity

  or person:                                                                                      ;




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                                                                        ,
                                                                                                      I
                   (1.)    Possesses stolen mail addressed to three or more different.                I
           mailboxes or addresses; and

                   (2)     Possesses a minimum of ten separate pieces of stolen mail.
                                                                                                      i
           1215. The fact that the person who stole the mail has not been convicted,                  ~

   apprehended, or identified shall not be a defense to the charge of theft by possession of          ~

   stolen mail.

           1216. As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to create a hostile work environment, a toxic climate at work,

   and unsafe work conditions for the Plaintiff in order to stop her from reportirig the fraud.

           1217. As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agieed and conspired among themselves and with others as well

  as took separate action to reprimand Plaintiff without just cause.

           1218. As described more in this Complaint, the -Defendants, by force,                  j

  intimidation, or threat, agreed and conspired among themselves and with others as well

  as took separate action to harass the Plaintiff in order to stop her from reporting the

  fraud.

           1219. As described niore in this Complaint, the Defendants, by foice,                  I
                                                                            .                     ~
  intimidation, or threat, agreed and conspired among themselves and with others as well

  as took separate action to deny the Plaintiff a promotion, advancement, and salary and

  bonuses associated with a promotion in order to prevent the Plaintiff from reporting the

  fraud.                                                            ;




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                                                                    i
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           1220. As described more in this Complaint, the , Deferidants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to alter the employee's responsibil'ities and duties in order to

   prevent the Plaintiff from reporting the fraud.

          1221. As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to break into Plaintiff's home in order to prevent. the PIaintiff

   from reporting the fraud.

          1222. As described imore in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to hack into Plaintiffs,personal computer and phones in order to

   prevent the Plaintiff from reporting the fraud.

          1223. As described more in this CompIaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselvesi and with others, as well

   as took separate action, to retaliate and persecute Plaintiff at work and at home for

   engaging in a protected activity.

          1224. As described more in this Complaint, the Defendants, by force,

  intimidation, or threat, agreed and conspired among themselves, and with others, as well

  as tookseparate action, to retaliate and persecute Plaintiff at work and at home in order

  to force Plaintiff to resign from her position.
                                                                    i
          1225. The parties in this case can be divided into four-(,4) main groups, together

  referred to as the "Defendants".                                I                            '




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   Group 1-- Plaintiff: is comprised of Raissa Djuissi Kengne, the Plaintiff, and former

   employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in the capacity

   of Eicperienced IT Audit Manager.

   Group 2— Defendant: is comprised of BDO USA, LLP, the;public accounting firm

   where the Plaintiff was formerly employed, as well as Partners and members of

   management at BDO USA, LLP including Scott Meier, Wesley Freeman, Paul Davison,

   Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo,, Mark Davenport, Johnson Wong,

   Interface, Atlanticus, Kas Naderi, BioHorizons, and NMS. Group 2 also includes Justin

   Mungal, a homeowner who lives directly across the Plaintiffs unit at the 1280 West

   Condominium in Atlanta, GA who admittedly stated that he worked for BDO USA,

   LLP.

   Group 3— Defendant: is comprised of the attorney's firms and, its representatives who

   were previously retained by Plaintiff for representation in the whistleblower case. The
                                                                 ~
  attomey's firm was Finch McCranie and its representatives were Michael Sullivan and

  Walter Jospin.

  Group 4— Defendant: is comprised of the 1280 West Condominium and its Board of

  Directors as well as Beacon Management Services, LLC and its agents. Beacon

  Managemerit Services, LLC has .served as. the management cotnpany for the 1280 West

  Condoininium Association where the Plaintiff resides for many,years.

          1226. Plaintiff repor,ted a violation of SEC regulations, PCAOB standards,

  AICPA standards, the Aiititrust law, and a circumvention of the law prohibiting
                                                                 ~

  employers from asking about an applicant's pay history in thi state of Georgia. The

  misconduct happened while working for Defendant BDO USA,iLLP.

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          1'227. Plaintiff Raissa Djuissi Kengne signed the engagement letter with
                                                                                                  I
   Defendant Finch McCranie in June of 2021. A few months Iater Fincli McCranie

   resigned as the attomey firm on the Plaintiff's case. Plaintiff started being persecuted

   and .retaliated against at home when she signed the contract with Defendant Finch

   McCranie.

          1228. During the meeting. on June 29`h, 2021 at Defendant Finch McCranie, an

  accountant was brought in to look at the evidence provided by Plaintiff. The accountant

  asked the Plaintiff whether she believed that Defendant Wesley Freeman was drugged

  arid that was why he could not deliver on the engagements. Plain'tiff responded by asking

  if "Defendant Wesley Freernan had been drugged for the past five (5) years" while

  overseeing the public company's engagements.

          1229. The question asked by Defendant Finch McCrariie's accountant is the

  same one Defendant Scott Meier, the Southeast IS Audit Partner at BDO USA, LLP had

  asked Plaintiff during their face-to-face meeting at the "Establishment" restaurant in

  Midtown Atlanta in early 2021.

          1230. While leaving the meeting, Defendant Finch McCranie's accountant

  stated.to the Plaintiff "Nobody is safe".

          1231. Defendant Finch McCranie breached the attorney-client privilege by

  reporting the attorney-client protected conversations it had with Defendant BDO USA,        i
                                                                                              ~
  LLP and failed to disclose to Plaintiff a conflict of interests.                            i

         12.32. Defendant Finch McCranie atilized the information provided by
                                                                     i
  Plaintiff, client at the time, to cause her harm and solidify relationship with Defendant

  BDO USA, LLP and other members of Group 2.                         I
                                                                     ~

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                                                                   ~



          1233. Defendant 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 facilitated and participated in the illegal

   eptry and trespass into the Plaintiff's unit.                    I

          1234. Piaintiff's relationship with the 1280 West Coridominium Association,

   the 1280 West Board of Directors, and othcr members in Group 4 have been strenuous

   in the past. Plaintiff is part of a class action lawsuit against the 1280 West Condominium

   Association, the 1280 West Board of Directors, and other rnembers in Group 4.for

   breach of f duciary duty, among other counts.

           1235. Defendants 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 have been in contact with Deferidant BDO

   USA, LLP and other members of Group 2 in order to cause hann to Plaintiff.

           1236. The Defendants listed as part of Group 4 have withheld mail from the

   Plaintiff including mail from the Georgia Department of Driver Services and the

   Deparlment of State.

          '1237. The mail withheid from Plaintiff included Plaintiff's Georgia Driver

   License, Georgia ldentification Card, and United States passport.

          1238. Plaintiff has also been delayed for months from responding to her banks

   and other public services letters because the letters were withheld.

           1239. The Defendants in Group 4 have access to or have significant influence

   over the people with access to the back of the mailbox where the post office would

   deliver the mail. Plaintiff has been obligated to open a mailbox at a USPS location.




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          1240. Defendants committed the offense .of theft by possession of stolen mail         ~
   when they intentionally withdrew mail from the Plaintiff's mailbox several times in          I
   order to cause Plaintiff s harm.

                                  COUNT SEVENTEEN:

                              Obstruction of Mails Generally

                                      18 U.S. Code § 1701

                                  (Against All I2efendants)           ;

          1241. The Plaintiff re-alleges and incorporates by reference each and every

  paragraph.of this Complaint and the facts as if set forth here in full for alI purposes.

          1242. The offense of obstruction of mails generally occurs when an entity or

  person knowingly and willfully obstructs or retards the passage of the maiI, or any carrier
                                                                   i
  or conveyance carrying the mail, shall be fined under this title or imprisoned not more

  than six months, or both.

         1243. As described more in this Complaint, the ~Defendants, by force,
                                                                ?
  intimidation; or threat, agreed and conspired among themselves; and with others as well

  as took separate action to create a hostile work environment, a toxic cIimate at work,

  andunsafe work conditions for the Plaintiff in order to stop her from.reporting the fraud.

         1244. As described more in this Complaint, the ±Defendants, by force,

  intimidation, or threat, agreed and conspired among themselves; and with others as well

  as took separate action to reprimand Plaintiff without just cause

         1245. As described more in this Complaint, the befendants, by force,
                                                                                                ~
  intimidation, or threat, agreed and conspired among themselves;and with others as well        I
                                                                ;



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                                                                       I,                        II


   as took seP arate action to harass the Plaint'iff in order to stoP;~ her from rePorting the

   fraud.

            1246. As described more in this Complaint, the ' Defendants, b.y force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to deny the Plaintiff a promotion, advancement, and salary and

   bonuses associated with a promotion in order to prevent the Plaintiff from reporting the
                              .                                        ,
   fraud.

            1247. As described more in this Complaint, the Defendants, by force,

  intimidation, or threat, agreed and conspired among themselves and with others as well

  as took separate action to alter the employee's responsibilities and duties in order to

  prevent the Plaintiff from reporting the fraud.

            1248. As described more in. this Complaint; the Defendants, .by force,

  intimidation, or threat, agreed and conspired among themselves and with others as we11

  as took separate action to break into Plaintiff s home in order to prevent the Plaintiff

  from reporting the fraud.

            1249. As described more in this Complaint, the Defendants, by force,

  intimidation, .or threat, agreed and conspired among themselves and with others as well

  as took separate action to hack into Plaintiffs personal computer and phones in order to

  prevent the Plaintiff from reporting the fraud.

            1250. As described more in this Complairit, the .Defendants, by force,

  intimidation, or threat, agreed and conspired among themselvesiand with others, as.well

  as took separate action, to retaliate and persecute 'Plaintiff at, work and at home for

  engaging in a protected activity.                                ,
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          1251. As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others, as well      i

   as took separate action, to retaliate and persecute Plaintiff at work and at home in order

   to force Plaintiff to resign from her position.

          1252. The parties in-this case can be divided into four (4) rnain groups, together

   referred to as the "Defendants".

   Group 1— Plaintiff: is comprised of Raissa Djuissi Kengne, the Plaiiitiff, and former

   employee of BDO USA, LLP. The Plaintiff worked for BD0 USA, LLP in the capacity

  of Experienced IT Audit Manager.

  Group 2— Defendant: is comprised of BDO USA, LLP, the public accounting firm

  where the Plaintiff was formerly employed, as well as Partners and members of

  management at BDO USA, LLP including Scott Meier, Wesley Freeman, Paul Davison,

  Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark Davenport, Johnson Wong,

  Interface, Atlanticus, Kas Naderi, BioHorizons, and NMS. Group 2 also iiicludes Justin

  Murigal, a homeowner who lives directly across the Plaintiff's unit at the 1280 West

  Condominium in Atlanta, GA who admittedly stated that he worked for BDO USA,

  LLP.

  Group 3— Defendant: is comprised of the attorney's firms and: its representatives who

  were previously retained by Plaintiff for representation in the whistleblower case. The
                                                                                                i
  attorney's fnTn was Finch MeCranie and its representatives were Michael Sullivan and

  Walter Jospin.

  Group 4— Defendant: is comprised of the 1280 West Condominium and its Board of                I

  Directors as well as Beacon Management Services, LLC and its agents. Beacon                   ~

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                                                                  ~
   Management Services, LLC has served as the management company for the 1280 West

   Condominium Association where the Plaintiff resides for many; years.

          1253. Plaintiff reported a violation of SEC regulations, PCAOB standards,

   AICPA standards, the Antitrust law, and a circumvention 'of the law prohibiting

   employers from asking about an appIicant's pay history in the state of Georgia. The

   misconduct happened while working for Defendant BDO USA; LLP.

          1254. Plaintiff Raissa Djuissi Kengne signed the engagement letter with

  Defendant Finch McCranie in June of 2021. A few months later Finch McCrariie

   resigned as the attorney firm on the Plaintiffs case. Plaintiff started being persecuted

   and retaliated against at home when she signed the contract with Defendant Finch

  McCranie.

         1255. During the meeting on June 29"', 2021 at Defendant Finch McCranie, an
                                                                ;
  accountant was brought in to look at the evidence provided by Plaintiff. The accountant

  asked the Plaintiff whether she believed that Defendant Wesley Freeman was drugged

  and that was why he could not deliver on the engagements. Plaintiff responded by asking

  if "Defendant WesIey Freeman had been drugged for the past five (5) years" while

  overseeing the public company's engagertients.

          1256. The question asked by Defendant Finch McCranie's accountant is the

  same one Defendant Scott Meier, the Southeast IS Audit Partner at BDO USA, LLP had

  asked Plaintiff during their face-to-face meeting at the "Estalilishment" restaurant in
                                                                 ~
  Midtown Atlanta in early 2021.                            ~
                                                           I
          1257. While leaving the meeting, Defendant Finch McCranie's accountant

  stated to the Plaintiff "Nobody is safe".

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           1258. Defendant Finch McCranie breached the attorney-client privilege liy

   reporting the attorriey-client protected conversations it had with Defendant BDO USA,

   LLP and failed to disclose to Plaintiff a conflict of interests.

           1259. Defendant Finch McCranie utilized the information provided by                  i

   Plaintiff, client at the time, to cause her harm and solidify relationship with.Defendant

   BDO USA, LLP and other members o£ Group 2.

          1260. Defendant 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 facilitated and participated in the illegal

   entry and trespass into the Plaintiff's unit.
                                                                      1

          1261. Plaintiff's relationship with the 1280 West Coridominiuin Association,

   the 1280 West Board of Directors, and other members in Group 4 have been strenuous

   in the past. Plaintiff is part of a class action lawsuit against the 1280 West Condominium

  Association, the 1280 West .Board of Directors, and other rriembers in Group 4 for

   breach of fiduciary duty, among other counts:

          1262. Defendants 1280 West Condominium Association and 1280 West Board

  of Directors and other members in Group 4 have been in contact with Defendant BDO

  USA, LLP and other rneinbers of Group 2 in order to cause harin to Plaintiff.

          1263, The Defendants listed as part of Group 4 have:withheld maii from the            I
                                                                      i
  Plaintiff including mail froin the Georgia Department of Driver Services and the              ~

  Depariment of State.

          1264. The mail withheld from Plaintiff included Plaintiffls Geoigia Driver

  License, Georgia ldentification Card, and United States passport.                             j


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           1265. Plaintiff has also been delayed for months from'responding to her banks

   and other public services letters because the letters were withheld.

           1266. The Defendants in Group 4 have access to or have significant influence

   over the people with access to the baek of the mailbox wherb the post office would

   deliver the mail'. Plaintiff has'been obligated to open a-mailbox at a USPS location.

           1267. .Defendants committed the offense of theft by possession of stolen mail

   when they' intentionally withdrew mail from the Plaintiff's mailbox several times in

   order to cause Plaintiff's harm.

           1268. Defendants committed the offense of obstruction.of mails generally when

   they knowingly and willfully obstructed and/or retarded the passage of the Plaintiff's

   mail, or any carrier or conveyance carrying Plaintiff's mail.

                                      COUNT EIGHTEEN:

                               Obstruction of Correspondence

                                      18 U.S. Code § 1702

                                   (Against All Defendants)

           1269. The Plaintiff re-alleges and incorporates by reference each and every

   paragraph of this Complaint and the facts as if set forth here in fall for all purposes.

          1270. The offense of obstruction of correspondence occurs when an entity or a

   person takes any letter, postal card, or package out of any post office or any
                                                                                . authorized
                                                                    ,
   depository for mail matter, or from any letter or mail carrier, oi wh'ich has been in any

   post office or authorized depository, or in the custody of any letter or mail carrier, before

   it has been delivered to the person to whom it was directed, wifh design to obstruct the
                      .                                           I
   correspondence, or to pry into the business or secrets of another, or opens, secretes,
                                                                   i
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   embezzles, or destroys the sariie, shall be fined under this title'or imprisoned not more

   than five years, or both.

            1271. As described more in this Complaint, the ;Defendants, by force;

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to create a'hostile work environment, a toxic climate at work,

   and unsafe work conditions for the Plaintiff in order to stop her from reporting the fraud.

            1272. As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took.separate action to reprimand Plaintiff without just cause.

            1273. As, described more in this Complaint, the Defendants, by force,

   intimidation; or threat, agreed and conspired among themselves and with others as well

   as took separate action to harass the Plaintiff in order to stop her from reporting the

   fraud.

            1274. As described more in this Complaint, the ;Defendants, by force;

   intimidation; or threat, agreed and conspired. among themselves, and with others as well

   as took separate action to deny the Plaintiff a promotion, advancement, and salary and

   bonuses associated with a promotion in order to prevent the Plaintiff'from reporting the

   fraud.

            1275. As described more in this Complaint, the Defendants, by force,                 ~

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to alter the employee's responsibilities and duties. in order to
                                                                  I
   prevent the Plaintiff from repor.ting the fraud.




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                                                                    I
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                                                                    i

          1276. As described more in this Complaint, the IDefendants, by force,                  ~

   intimidation, or threat, agreed and conspired among themselves and with others as well        I

   as took separate action to break into Plaintiff s home in order; to prevent the Plaintiff

   from reporting the fraud.

          1277. As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to hack into Plaintiff's personal computer aiid phones in order to

   prevent the Plaintiff from reporting the fraud.

          1278. As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves; and with others, as well

   as took separate action, to retaliate and persecute Plaintiff at worlc and at. home for

   engaging in a protected activity.

          1279. As described more in this Complaint, the Defendants, by force,

   intimidatiori, or threat, agreed and conspired among themselves and with others, as well

   as took separate action, to retaliate and persecute Plaintiff at work and at home in •order

   to force Plaintiff to resigii from her position.

          1280. The parties in this case can be divided into four (4) main groups, together

   referred to as the "Defendants".

   Group 1— Plaintiff: is comprised of Raissa Djuissi Kengne, the Plaintiff, and former          ;
                                                                                                 ,

   employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in the capacity

   of Experienced IT Audit Manager.

   Group 2— Defendant: is comprised of BDO USA, LLP, the' public accounting firm

   where the Plaintiff was formerly employed, as well as Partners and members of
                                                                    ;

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                                                                      ~
                                                           I
   management at BDO USA, LLP including Scott Meier, WesleyiFreeman, Paul Davison,

   Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark Davenport, Johnson Wong,

   Interface, Atlanticus, Kas Naderi, BioHorizons, and NMS: Group 2 also includes Justin

   Mungal, a homeowner who lives directly across the Plaintiff s unit at the 1280 West

   Condominium in Atlanta, GA who admittedly stated that he worked for BDO USA,

   LLP.

   Group 3— Defendant: is comprised of the attorney's firms and its representatives who

   were previously retairied by Plaintiff for representat'ion in the whistleblower case. The

   attorney's firm was Fianch McCranie and its representatives were Michael Sullivan and

   Walter Jospin.

   Group 4— Defendant: is comprised of the 1280 West Condonninium and its Board of

   Directors as well as Beacon Management Services, LLC and its agents. Beacon

   Management Services, LLC has served as the management conipany for -the 1280 West
                                                                  i
  Condomiriiiim Association where the.Plaintiff resides for many; years.

          1281. Plaintiff reported a violation of SEC regulations, PCAOB standards,

  ATCPA standards, the Antitrust law, and a circumvention of the law prohibiting

  employers from asking about an applicant's pay history in the state of Georgia. The

  misconduct happened while working. for Defendant BDO USA, LLP.

          1282. Plaintiff Raissa Djuissi Kengne signed the engageinent letter with

  Defendant Finch McCranie in June of 2021. A few months later Finch McCranie

  resigned as the attorney firm on the Plaintiff's case. Plaintiff started being persecuted
                                                                  I
  and retaliated against at home when she signed the contract with Defendant Finch

  McCranie.                                                       i
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                                         347 of 407               +
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                                                                         ~

                                                                         ~
           1283. During the meeting on June 29`h, 2021 at Defendant Finch McCranie, an

   accountant was brought in to look at the evidence provided by 'Plaintiff. The accountant

   asked the Plaintiff whether she believed that Defendant Wesley Freeman was drugged

   and that was why he could not deliver on the engagements. Plairitiff responded by asking

   if "Defendant Wesley Freeman had been drugged for the past five (5) years" while

   overseeing the public company's engagements.

          1284. The question asked by Defendant Finch McCranie's accountant is the

   same one Defendarit Scott Meier, the Southeast IS Audit Partner' at BDO USA, LLP had

   asked Plaintiff during their face-to-face meeting at the "Establishment" Testaurant in

  Midtown Atlanta in early 2021..

          1285. While leaving the meeting, Defendant Finch McCranie°s accountant

  stated to the Plaintiff "Nobody is safe".

          1286. Defendant Finch McCranie breached the attorney-client privilege by

  reporting the attorney-client protected conversations it had with Defendant BDO USA,

  LLP and failed to disclose to Plaintiff a conflict of interests.

          1287. Defendant Finch McCranie utilized the information provided b.y

  Plaintiff, client at the time, to cause her harm and solidify relat;ionship with Defendant

  .BDO USA, LLP and other members of Group 2.

          1288. Defendant 1280 West Condominium Association and 1280 West Board                i
                  .                                                                            i

  of Directors and other members in Group 4 facilitated and participated in the illegal        ~
  entry and trespass into the Plaintiff s unit.                                                ;
                                                                     i
                                                                                               i
         1289. Plaintiff's relationship with the 1280 West Con'dominium Association,           ~
                                                                     t
  the 1280 West Board of Directors, and other members in Group 4 have been strenuous
                                                                     ~

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   in the past. Plaintiff is part of a class action lawsuit against the 1280 West Condominium

   Association, the 1280 West Board of Directors, and other mefnbers in Group 4 for

   breach of fiduciary duty, among other counts.

           1290. Defendants 1280 West Condominium Association and 1280 West Board

   of Directors and other members in Group 4 have been in contact with Defendant BDO

   USA, LLP and other members of Group 2 in other to cause harin to Plaintiff.

          1291. The Defendants listed as part of Group 4 have withheld mail from the

   Plaintiff including mail from the Georgia Department of Driver Services and the

   Department of State.

          1292. The mail withheld from Plaintiff included Plaintiff's Georgia Driver

   License, Georgia ldentification Card, and United States passport.

          1293. Plaintiff has also been delayed for months from responding to her banks

   and other public- services letters because the letters were withheld.

          1294. The Defendants in Group 4 have access to or have significant influence

   over the people with access to the back of the mailbox where the post office would

   deliver the mai1. Plaintiff has been obligated to open a rriailbox at a USPS location.

          1295. Defendants committed the offense of theft by possession of stolen mail

  when they intentionaIly withdrew mail from the Plaintiff's mailbox several times in

  order to cause Plaintiff s harni.

          1296. Defendants committed the offense of obstruction of correspondence

  when they took Plaintiff s letter, postal card, and/or package out of the authorized

  depository for mail matter, or from any letter or mail carrier,   or which has been in any
  authorized depository, or in the custody of any letter or mail carrier, before it has been

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                                                                                                    ~


                                                                                                    ~




   delivered to the Plaintiff, with design to obstruct the correspondence, or to pry into the       ~

   business or secrets of PIaintiff, or opens, secretes, embezzles, or destroys the same.

                                    COUNT NINETEEN:

                         Violation of Telephone Number PortabiIity

      61 FR 38687 (47 CFR 20,47 CFR 52) (CC Docket No. 95-116, FCC 96-286)

                                   (Against All Defendants)

          1297. The Plairitiff re-alleges and incorporates by reference each and every

   paragraph of this Complaint and the facts as if set forth here in full for all purposes.

          1298. A violation of the telephone number portability regulations occurs wheii

   Once an.entity or a person requests service from a new company, and the old company

   refuses to port the person or entity's number, even if the entity or person owes money

   for an outstanding balance or termination fee.

          1299. FCC rules require simple ports, which generally do not involve moie than

   one line or more complex. adjustments to telephone switching equipment, to be

   processed in one business day. An entity or a person may be - able to use their phone

  within a few hours for changes among wireless service providers. However, porting

  from wireline to wireless service may still take a few days.                                  i

         1300. As described more in this Complaint, the Defendants, by force,
                                                               i
  intimidation, or threat, agreed and conspired among themselves and with others as well

  as took separate action to create a hostile work environment, a toxic climate at work,

  and unsafe work conditions for the Plaintiff in order to stop her from reporting the fraud.

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            1301. As described more in this Complaint, the !Defendants, by force,

 \ intimidation, or threat, agreed arid conspired among themseives and with others as well

   as took separate action to reprimand Plaintiff without just cause.

            1302. As descr'ibed more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to harass the Plaintiff in order to stop her from reporting the

   fraud.                                                             :

            1303. As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to deny the Plaintiff a promotion, advancement, and salary and

   bonuses associated with a promotion in order to prevent the Plaintiff from reporting the

   fraud.

            1304. As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to alter the employee's resporisibilities and duties in order to

  prevent the Plaintiff from reporting the fraud.

            1305. As described more in this Complaint, the Defendants, by force,              i

  intimidation, or threat, agreed and conspired among themselves and with others as well
                                                                  ~
  as took separate action to break into Plaintiffs home in order to prevent the PIaintiff

  from reporting the fraud.

            1306. As described more in this Complaint, the : Defendants, by force,

  intimidation, or threat, agreed and conspired among themselves and with others as well      i
                                                                  .                           i




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   as took separate action to hack into Plaintiffl s personal computer and phones in order to    i
                                                                       ,
                                                                                                 I

   prevent the Plaintiff from reporting the fraud.

           1307. As described more in this Complaint, the ' Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others, as well

   as took separate action, to retaliate and persecute Plaintiff ai work and at home for

   engaging in a protected activity.

           1308. As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others, as well

   as took separate action, to. retaliate and persecute Plaintiff at work and at home in order

   to force Plaintiff to.resign from her position.

          1309. The parties in this case can be divided. into four (4) main groups, together

  referred to as the "Defendants".

          1310. Group 1— Plaintiff: is comprised of Raissa Djuissi Kengne, the Plaintiff,

  and former employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in

  the capacity of Experienced IT Audit Manager.

          1311.   Grouo 2— Defendant: is comprised of BDO ; USA, LLP, the public

  accounting firm where the Plaintiff was formerly employed, as well as Partners and

  members of management at BDO USA, LLP including Scott.Meier, Wesley Freeman,

  Paul Davison, Jason Cuda, Justin Wilkes, Anthony Reh., Peter Poppo, Mark Davenport,

  Johnson Wong, Interface, Atlanticus, Kas Naderi, BioHorizons,!and NMS. Group 2 also

  includes Justin Mungal, a homeowner who lives directly across'the Plaintiffs unit at the

  1280 West Condominium in Atlanta, GA who admittedly stated ithat he worked for BDO
                                                                   i
  USA, LLP.


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           1312. Group 3— Defendant: is comprised of the attorney's ftrms and its

   representatives who were previously retained by Plaintiff for representation in the

   whistleblower case. The attorney's firm was Finch McCranie and its representatives

   were Michael Sullivan and Walter Jospin.

          1313. Group 4— Defendant: is comprised of the 1280 West Condominium and

   its Board of Directors as welI as Beacon Management Services, LLC and its agents.

   Beacon Management Services, LLC has served as the management company for the

   1280 West Condominium Association where the PIaintiff resides for many years._

          1314. Plaintiff's primary phone number has been blocked and Plaintiff has been

   unable to port her number to a different carrier effectively preventing plaintiff from

   communication witli family, friends; and business partners.

          1315. Phone icompanies are reqtiired by law to port your number out when you

  start service with a new carrier. According to the FCC, a company cannot refuse to port

  your number even if you have an outstariding balance or unpaid termination fees.

          1316. Plaintiff has had five (5) different phone numbers since she was retaliated

  against and attacked at work and in her private life. Plaintiffls phones were been hacked

  and spoofed by Defendants. Plaintiff could not communicate her new phone numbers to         i
  all her contacts causing isolation and facilitating the persecution and intentional         I
  emotional distress caused by the Defendants' actions.                                       i
                                                                                              '
         1317. Plaintiff believes that her inability to port her phone number is also a       ;
  retaliatory practice against her from Defendants

                                   COUNT TWENTY:                                              ;
                                                                                              i
                     Interference With Plaintiffs Access To Funds                             ~

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                                   (Against AII Defendants)

           1318. The Plaintiff re-alleges and incorporates by refer.ence each and every

   paragraph of this CompIaint and the facts as if set forth here in full for all purposes.

           1319. By withholding the Plaintiffs' access to funds in her Gemini

   cryptocurreiicy trading account, the Defetidants have engaged in outright theft.

   Intentional misappropriation of funds, or unlawful conversion, as it is also known, is a

   direct violation of FINRA Rule 2150.

           1320. As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to create a hostile work environment; a toxic climate at work,

  and unsafe work conditions for the Plaintiff in order to stop her from reporting the. fraud.

           1321. As described more in this Coinplaint, the Defendants, by force,                     ;
                                                                    ,                            i,
  intimidation,, or threat, agreed and conspired among themselves and with others as well            i

  as took separate action to reprimand Plaintiff without just cause.                                 ~
           1322. As described more in this Complaint, the Defendants, by force,

  intimidation, or threat, agreed and conspired.among themselves and with others as well

  as took separate .action to harass the Plaintiff in order to stop her from reporting the

  fraud.

           1'323. As described more in this Complaint, the Defendants, by force,                 '
                                                                    ,                            i
  intimidation, or threat, agreed and conspired among themselves and with. others as well
                                                                   I
  as took separate action to deny the Plaintiff a promotion, advancement, and salary and
                                                                   ~
  bonuses associated with a promotion in order to prevent the Plaintiff from reporting the       ~
                                                                   i                             ,
  fraud.                                                            I

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                                                                       i                       I
           1324. As described more in this Complaint, the ' Defendants, by force,              i
                                                                                               I
   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to alter the employee's responsibilities and duties in order to

   prevent the Plaintiff from reporting the fraud.

           1325. As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed arid conspired among themselves and with others as well

   as took separate action to break into Plaintiff's home in order to prevent the Plaiiitiff

   from reporting the fraud.

          1326. As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves and with others as well

   as took separate action to hack into Plaintiffls personal computer and phones in order to

   prevent the Plaintiff from reporting the fraud.

          1327. As described more in this Complaint, the Defendants, by force,

   intimidation, or threat, agreed and conspired among themselves, and with others, as well

  as took separate action, to retaliate and persecute Plaintiff at work and at home for

  engaging in a protected activity.                                I

          1328. As described more in this Complaint, the Defendants, by force,

  intimidation, or threat, agreed and conspired among themselves and with others, as well

  as took separate action, to retaliate and persecute Plaintiff at work and at home in order

  to force Plaintiff to resign from her position.
                                                                  i

          1329. The parties in this case can be divided into four (4) main groups, together
                                                                  ~
                                                                  ;
  referred to as the "Defendants".
                                                                  i




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          1330. Group 1— Plaintiff: is comprised of Raissa Djuissi Kengne, the Plaintiff,          ~
   and former employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in

   the capacity of Experienced IT Audit Manager.

          1331. Group 2— Defendant: is comprised of BDO USA, LLP, the public                       ~

   accounting firm where the Plaintiff was formerly employed, :as well as Partners and

   members of management at BDO USA, LLP including Scott Meier, Wesley Freeman,

   Paul Davison, Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark Davenport,

   Johnson Wong, Interface, Atlanticus, Kas Naderi, BioHorizons, and NMS. Group 2 also

   includes Justin Mungal, a homeowner who lives directly across the Plaintiff s unit at the

   1280 West Condominium in Atlanta, GA who admittedly stated that he worked for BDO

   USA, LLP.

          1332. Group 3— Defendant: is comprised of the attorney's firms and its               ,

   representatives who were previously retained by Plaintiff for representation in the

   whistleblower case. The attorney's firm was Finch McCranie and its representatives

  were Michael Sullivan and Walter Jospin.                        ;

          1333. Group 4— Defendant: is comprised of the 1280 West Condominium and

  its Board of Directors as well as Beacon Management Services, LLC and its agents.

  Beacon Management Services, LLC has served as the management company for the

  1280 West Condominium Association where the Plaintiff resides for many years.

         1334. Plaintiff's access to her funds in her Gemini account
                                                               i     has been blocked.

  Plaintiff created an account online on 05/25/2021 on the Gemini Trust Company, LLC's
                                                                i
  website. Plaintiff reached out to Gemini customer support at support@gemini.com on
                                                                                               I

                                                                  ~

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   the following dates/times: March 31 st, 2022, April 1 st, 2022, April2nd, 2022, April3rd,

   2022, April 4th, 2022, April5th, 2022, and April 13th, 2022.

          '1335. The Plaintiff has reached out to the Genuni Trust Company's support

   team    using     the   following    email    addresses:    rkengnel@gmail.com        and        I
   cianeseya2022@gmail,com. The support team members Plaintiff corresponded with

   were Richard, Frances, Saul, Jessica„ and Isla. Ptaintiff has provided Gemini with a copy

   of my bank statements to verify Plaintiff's account in multiple instances. Gemini claims

   that Plaintiff can only withdraw funds via wire, which is extremely costly to Plaintiff at       f
                                                                                                    i

   the moment.                                                                                      i


          1336. Gemini:has declined to withdraw funds using the debit card account that

   Plaintiff provided on the Gemini platform, which was successfully verified by Gemini.

  Gemini has refused to allow any other forms of identification to verify in order to assert

  the Plaintiff's ownership of the account.

          1337. All the communications Plaintiff had with Gemini happened before

  Plaintiff was locked out of her Gemini account for requesting Plaintiff's money. PIaintiff

  lost fuIl use of her Gmail account, rkengnel@gmail.com, due to the fact that Plaintiff

  reported BDO USA, LLP's violation of PCAOB and SEC standards.

          1338. Plaintiff is unable to access her account at Gemini and Gemini refuses to

  provide any other way to identify Plaintiff.

          1339.    Plaintiff lack of access to her funds caused further isolation with her
                                                                   ~
                                                                   I
  contacts and facilitated the persecution and intentional emotional distress caused by tlie
                                                                   i
  Defendants' actions.                                                                          ~



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           1340. Plaintiff believes that her inability to access funds on the Geznini
                                                                                                   ~'
   cryptocurrency platform is also a retaliatory practice against her from Defendants.

           1341. Defendants have engaged in outright theft by withholding the Plaintiffs'          .
   access to funds in her Gemini cryptocurrency trading account as well as violated FINRA

   Rule 2150 by intentionally misappropriating funds and/or practicing unlawful

   conversion.

                                   COUNT TWENTY-ONE

                        .Intentional Infliction of Emotional Distress

                                   (Against all Defendants)

          1342. The Plaintiff re-alleges and incorporates by reference each and every

   paragraph of this Complaint and the facts as if set forth hette in full for all purposes.

          1343. The offense of intentional infliction of emotional distress ("IIED'.')

   occurs when the employer purposely causes severe emotional distress to the employee         ~
   as a result of extreme and outrageous conduct. Examples of Intentional Infliction of        i

  Emotional Distress claims can include racial insults, sex discriminatiori, false

  imprisonment, and conduct that threaten your physical security (a physical injury is not

  necessary).

          1344. To show that IIED occurred in the workplace, all of the following must
                                                                                               ~
  be present:
                                                                                               i
                  (1)     Extreme and Outrageous conduct by the employer or a

          representative of the eniployer. Courts have interpreted this to mean conduct that

          exceeds what is tolerated in a civilized society or that has gone beyond all
                                                                                               ~
         reasonable bounds of decency.            Outrageous conduct does not include

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          annoyances, hurt feelings, insults, rough langnage, 'or bad manners that a

          reasonable person is expected to endure.

                  (2)      The employer must have intended to cause the employee to suffer

          extreme emotional distress, or must have known that such distress was                          ~

     I    siibstantially likely to result.

                  (3)      The employee suffered severe or extreme emotiorial distress.

          Severe emotional distress is that which is substantial or enduring. It has also been

          defined as a kiiid of distress no reasonable person is expected to endure. It may

          consist of any higlily unpleasant reacEion such as fright, grief, shame,

          huiniliation, embarrassment, anger, or worry. Both the intensity atid the duration

          of the employee's emotional distress are factors to be considered in defiermining

          whether it is severe. Your emotional distress need not have been so bad that you

          were unable to function in business or personal relationships.

                 (4)      The employer's conduct caused the employee's distress.

          1345. As described more in this Complaint, the ~Defendants, by force,

  intimidation, or threat, agreed and conspired among themselves and with others as well

  as took separate action to create a hostile work environment, a toxic climate at work,

  and unsafe work conditions for the Plaintiff in order,to stop her from reporting the fraud.

         1346. As described inore in this Complaint, the 'Defendants, by force,                      i
  intimidation, or threat, agreed and conspired among themselves and with others as well             ~
                                                                                                     ~
  as took separate action to reprimand Plaintiff without just cause.
                                                        ;                                        •   i
         1347. As described more in this Complaint, the ~Defendants, by force,                       i
  intimidation, or threat, agreed and conspired among themselves and with others as well             ~
                                                •               i                                    ,
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                                                                   i
i
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        as took separate action to harass the Plaintiff in order to
                                                                    stop her from reporting the
        fraud.

                 1348. As described more in this Complaint, the
                                                                  Defendants, by force,
                                                                ,
                                                                                                           ,
       intimidation, or threat, agreed and conspired amon
                                                              g themselves and with others as well
       as took separate action to deny the Plaintiff a. promotion
                                                                  , advancement, and salary     and
       bonuses associated with a promotion in order to preve
                                                                 nt the Plaintiff from reporting the
       fraud.

                 1349. As described more in this Complaint, the
                                                                ' Defendants, by force,
       intimidation, or threat, agreed and conspired amon
                                                              g themselves and with others as well
      as took separate action to alter the employee's respo
                                                            nsibilities and duties in order to
      prevent the Plaintiff from reporting the fraud.
                                                                      ;
              1350. As described more in this Complaint, the
                                                                      Defendants, by force,
      intimidation, or threat, agreed and conspired amon
                                                         g themselves and with others as well
      as took separate action to break into Plaintiffs
                                                       home in order; to prevent the Plaintiff
      from reporting the fraud.

                1351. As described more .in this Complaint,
                                                            the ; Defendants, by force,
                                                                           ;
     intimidation, or threat, agreed and conspired amon
                                                        g themselves and with others as well
     as took.separate action to hack into Plaintiff's perso
                                                           nal computer and phones in order to
     prevent the Plaintiff from reporting the fraud.

            1352. As described more in this Complaint, the
                                                                        Defendants, by force,          ~
     intimidation, or threat, agreed and conspired amon
                                                        g themselves and with others, as well
                                                                      ~
                                                                                                       ~
     as took separate action, to retaliate and persecute
                                                          Plaintiff at work and at home for            I
     engaging in a protected activity.
                                                                                                       '

                                            360 of 407                 ;
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                                                                      ~



           1353. As described more in this Complaint, the ' Defendants,, by force,

   intimidation, or threat, agreed and conspired among themselves and with others, as well              ;
   as took separate action, to retaliate and persecute Plaintiff at work and at home in order

   to force Plaintiff to resign from her position.                                                      ~
          1354. The parties in this case can be divided into four (4) main groups, together

   referred to as the "Defendarits".

   GrouQ 1— Plaintiff: is comprised of Raissa Djuissi Kengne, the Plaintiff, and former

   employee of BDO USA, LLP. The Plaintiff worked for BDO USA, LLP in the capacity

   of Experienced IT Audit Manager.

   Group2 — Defendant: is comprised of BDO USA, LLP, the: public accounting fu7n

   where the Plaintiff was formerly empIoyed, as well as Partners and niembers of                   I
   management at BDO USA, LLP including Scott Meier, WesleyFreeman, Paul Davison,

   Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark Davenport, Johnson Wong,

   Interface, Atlanticus, Kas Naderi, BioHorizons, and NMS. Group 2 also includes Justin            I
  Mungal, a homeowner who lives directly across the Plaiiitiff 's unit at the 1280 West

  Condominium in Atlanta, GA wlio admittedly stated that he worked for BDO USA,

  LLP.

  Group 3— Defendant: is comprised of the attorney's finns and its representatives who

  were previously retained by Plaintiff for representation in the whistleblower case. The

  attorney's firm was Finch McCranie and its representatives were Michael Sullivan and

  Walter Jospin.                                                                                i
                                                                  I
  Group 4— Defendant: is comprised of the 1280 West Condorminium and its Board of               ;
  Directors as well as Beacon IVlanagement Services, LLC and its agents. Beacon                 '

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  Management Services, LLC has served as the management co i pany for the 1280 West

  Condominium Association where the Plaintiff resides for many years.
                                                             i
       1355. Plaintiff reported a violation of SEC regulations, PCAOB standards,

  AICPA standards, the Antitrust law, and a circumvention of the law prohibiting

  employers fiom ask'ing about an applicant's pay history in the state of Georgia. The

  misconduct happened while working for Defendant BDO USA,, LLP.

         1356. Plaintiff noticed that the workpapers for both piivate clients and public

  clients were being rolled forward year after year without actually doing the work. The

  public clients included BlueLinx, Atlanticus, IZEA, BioHorizons, and Interface.

  Interface has recently been under an SEC investigation and aii executive employee at

  Interface has been suspended. The private clients included Janus, Dustex, FCCI, RSR

  Group, ProCare, Vacation Express; and many others.

         1357. The issue with the IT audit work performed was that several deficiencies

  that should have been identified as significant deficiencies or material weaknesses were

  actually identified as only control deficiencies. Because they were never communicated

  to the financial statements audit team as control deficiencies, the financial statements

  audit teams never adjusted their audit strategy and therefore, never addressed the risk of

  material.misstatements due to irieffective IT general controls (ITGCs).

         1358. Plaintiff informed the Defendant Wesley Freeinan of the work that was

  not performed in roughly 75% of the public and private engagements he oversaw in the

  Atlanta office. Defendant Wesley Freeman did not deny it. Instead of fixing the issues

  going forward, he kept misreporting the IT findings to hide the significant deficiencies




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   and/or material weaknesses in the IS Assurance workpapers from both the core              ;
                                                                                             ;
   Assurance team and the clients.

          1359. Defendant Wesley Freeman enlisted the assistance of junior associates to

   attempt to smear Plaintiff s reputation; thereby preventing Plaintiff from being          ~i

  promoted.

          1360. Defendant Wesley Freeman enlisted the assistance of junior associates to

  attempt to smear Plaintiffs reputation; thereby preventing Plaintiff from being            ~

  promoted. These associates enlisted to smear my reputation were part of the group who

  delivered such a Poor work Product.                                                        ,I
                                                                                             i
          1361. Plaintiff started being retaliated against at work. Retaliation practices     I

  included, but were not limited to reprimanding Plaintiff in reviews without ground,

  harassing Plaintiff, creating a hostile work environment for Plaintiff, making subtle      I

  threats to Plaintiff, and using intimidation tactics against Plaintiff.

         1362. During internal meetings in 2020 and early 2021, Anthony Reh, a Partner

  at BDO USA, LLP in.the finn's Atlanta office stated that the mid-tier public accouriting

  finns (primarily BDO arid Grant Thornton) and the big 4(E&Y, Deloitte, KPMG, and

  PWC) were going to reach an agreement to stop employees from switching firms arid

  asking for higher salary.

         1363. Plaintiff was blacklisted from relevant job oppoz-tunities. by Defendants     !
                                                                                             I
  from engaging in protected activities.                                                      I
                                                                      I                       i
         1364. Plaintiff started being persecuted and retaliated against at home when she    !
                                                                                             ~
  signed the contract with Defendant Finch McCranie.
                                                                      I                      ,


                                                                      I
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          1365. . Plaintiff's bome was broken into at multiple times. Plaintiff lives in a

   condominium that has concierge services, which include, but aie not limited to, trained

   staff who keep watch over the whole building, visitors screening process, and smart              i~

   elevators that require a key card in order to both, enter the building and access the

   residential areas. Intruders must have had a doubie of the Plaintiffs key and a buiiding

   access card in order to enter the Plaintiff's home.
                                                                                                    i
          1366. Defendant Finch McCranie breached the attomey-client privilege by                   !

   reporting the attorney-client protected conversations it had with Defendant BDO USA,

   LLP and.failed to disclose to Plaintiff a conflict of interests.

          .1367. Defendant Finch McCranie utilized the information provided by Plaintiff

   and then client to cause her harm and solidify relationship witfi Defendant BDO USA;

   LLP and other members of Group 2.

          1368. Defendant 1280 West Condominium Association and 1280 West Boaid
                                                                                                    i
   of Directors and other members in Group 4 facilitated and participated in the illegal            f

   entry and trespass into the PlaintifPs unit.                                                     i

          1369. Defendant 1280 West Condominium'Association and 1280 West Board
                                                                      '
   of Directors and other members in Group 4 have persecuted Plaintiff at home by
                                                                                                ,

   claiming she owed HOA fees and attempting to deny her home.owner's privileges.

          1370. Plaintiff's relationship with the 1280 West Coridominium Association,

   the 1280 West Board of Directors, and other members in Group 4 have been strenuous                i
                                                                      I
   in the past. Plaintiff is part of a class action lawsuit against the 1260 West Condominium

   Association, the 1280 West Board of Directors, and other members in Group 4 for                   ,

   breach of fiduciary duty, among other counts.                      ;

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          1371. Defendants 1280 West Condominium Association and 1280 West Board
                                                                  ~
   of Directors and other members in Group 4 have been in contact with Defendant BDO

   USA, LLP and other members of Group 2 in order to cause harm to Plaintiff.

          1372. Defendant Interface, Inc's headquarters are located in 1280 West at 1280

   W Peachtree St NW, Atlanta, GA 30309. Mefnbers of Interface's management have a

   relationship with the .1280 West Condominium Association, the 1280 West Board of

  Directors, and other members in Group 4. Several Interface's employees also live at

   1280 W Peachtree St NW in the same condominium as Plaintiff

          1373. The clients of BDO USA, LLP, particularly the clients who are

  mentioned as part of the subject matter of the whistleblowing case, have threatened and

  engaged in retaliatory practices against the Plaintiff.

          1374. Kas Naderi,.,Chief Information Officer of Atlanticus, threatened Plaintiff

  during a meeting held between Atlanticus and BDO USA, LLP and asked the Plaintiff

  if Plaintiff was "now willing to work with Atlanticus" and if Plaintiff was the one
                                                                  I
  "asking for additional evidence to provide to the PCAOB" inspectors.

         1375. Plaintiff was Iate during that call. Scott Meier, BDO IS Assurance

  Principal, told Kas Naderi in the call that Plaintiff was iri the bathroom. At the time of

  the said meeting, Plaintiff was working from home. Plaintiff was indeed in the bathroom.

  Scott Meier had no way of knowing the Plaintiff was indeed in'the bathroom unless the

  Plaintiff was under surveillance by BDO USA, LLP, its agents,' and/or the Defendants.
                                                                  I
                                                                  i
         1376. During the same 2021 PCAOB inspection of Atlanticus Holdings
                                                                  I
  Corporation, Plaintiff was indirectly threatened by Mark Davenport (Audit Partner);

  Peter Poppo (Audit Partner), and Monica Burgess (Seniot AIdit Manager) who kept

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                                                                    ~
  using the word "dead" in many meetings held to discuss responses to the PCAOB.
                                                                                                 ~
   questions.                                                                                    I

          1377. During the 2021, IT audit of BioHorizons, Elbert Jenkins, VP of IT, at

  BioHorizons had postponed several meetings with Plaintiff, was missing calls; and

  attempted to blaine Plaintiff for the missing calls and meetiiigs in order to provide

  negative feedback to Plaintiff's supervisor.

          1378. During the 2021 IT audit of NMS, Edward Burdekin, President of NIVIS

  had made a pointed reference to the Fainily Dollar store as one of their clients. The

  Plaintiff was at a Family Dollar store the day before with her mother.

          1379. Plaintiff noted that recordings and evidence gathered during that same

  meeting in September of 2021 with Edward Burdekin were deleted from her laptop in

  an attempt to place her in a bad iight. Plaintiff's IT experience allowed her to recover

  the data and prevent a possible by performance evaluation cominent.

          1380. Defendant BDO USA, LLP and other entities and individuals listed in

  Group 2 conspired with entities and individuals listed in Group 3 and Group 4 in order

  to cause intentional harm to the Plaintiff as retaliation for reporting the fraud to the

  proper authorities.

          1381. The Defendants, singly and together, retaliated against Plaintiff by failing

  to promote Plaintiff, harassing Plaintiff, discriminating against Plaintiff in the terms and

  conditions of employment, broke into Plaintiff s, horne, for repoi-ting conduct to the SEC

  that the Plaintiff reasonably believed violated the federaI securities law.
                 .                                                  ~
         1382. Defendants, singly and together, retaliated against Plaintiff.for disclosing

  information that is protected or required under SOX and under podd-Frank.
                                                                   I
                                                                   i
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          1383. Defendants engaged in extreme and outrageous conduct and intended to

   cause Plaintiff to suffer extreme emotional distress or knew that such distress was

   substantially likely to result. As a result of Defendants' actions and conduct, Plaintiff

   suffered severe or extreme emotional distress.

                                  COUNT TWENTY-TWO:

                 Attorney's Or Per Se's Fees And Expenses of Litigation

                                    (Against all Defendants)

          1384. The Plaintiff re-alleges and incorporates by reference each and every

   paragraph of this Complairit and the facts as if set forth here in -full for all purposes.

          1385. Plaintiff Raissa Djuissi Kengne has standing to+ bring this Complaint in

   Co.urt because she has been, and continues to be, adversely - affected by the illegal,

   unlawful, and criminal actions of the Defendants.

          1386. As described herein, Defendants have retaliated against Plaintiff, have

   engaged in criininal, unlawful, illegal,. and atrocious activities in order to prevent

   Plaintiff from reporting the fraudulent actions at BDO USA, LLP, including intentional

   violations of the SEC and PCAOB standards as well as cause intentional emotionaI

   distress, and financial harm. Several Defendants have acted illegally, criminally, and

   unlawfully in concert in order to hide their responsibilities in the fraudulent actions by

   causing intentional emotional distress and financial harm to the Plaintiff.

          1387. For the prosecution of this claiin, Plaintiff has tieen compelled to spend

  resources. Plaintiff is entitled to recover a sum for the reasonablie and necessary services

  performed per se and/or services of Plaintiff's attorneys in the preparation and trial of
                                                                      i
   this action, including any appeals to the Court of Appeals and/or the Supreme Court.
                                                                      I




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            1388. Therefore, pursuant to O.C.G.A. § 13-6-11, Plaintiffs are entitled 'to

  recover their expenses of litigation, including, without limitation, its reasonable per se's

  and/or attorney's fees, from Defendants.



                                              V.

                                        ItNOWLEDGE

            1389. Each of the acts described above, together and singly, was done

  "knowingly" by Defendants and was a producing cause of Plain;tiff's damages described

  herein.
                                 S




                                             VI.

                                          DAMAGES

            1390. Plairitiff would show that all of the aforementioned acts, together and

  singly, were done "knowingly" by Defendants and constitute the proximate and

  producing causes of Plaintiff's damages sustained and described herein.

            1391. For intimidation, Plaintiff is entitled to compensatory damages, including

  all forms of loss, resulting from the Defendants' illegal, criminal, and unlawful actions,

  such as additional costs and econoniic hardship pursuant to O.C.G.A. § 51-12-4, to

  exemplary damages, to general and special damages pursuant to O.C.G.A. 51-12-2, and

  punitive damages pursuant to O.C.G.A. 51-12-5.1 in an amount as determined by a jury.          I~
                                                   _                                             I
            1392. For slander, Plaintiff is entitled to general damages pursuant to O.C.G.A.     ~

  51-12-2 and punitive damages pursuant to O.C.G.A. 51-12-5.1 in an amount as

  determined by a jury.                                            '


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                                                                                                  ~



                                                                                                  ~




            1393. For burglary, Plaintiff is entitled to compensatory damages, including all
                                                                                                  f
   forms of loss, resuIting from the Defendants' illegaI, criminal, and unlawful actions,         I
  such as add'itional costs and economic hardship pursuant to O.C.G.A. § 51=12-4, to

  exemplary damages, to general and special damages pursuant to O.C.G.A. 51-12-2, and

  punitive damages pursuant to O.C.G.A. 51-12-5.1 in an amount as determined by a jury.

            1.394. For invasion of privacy, Plaintiff is entitled to compensatory damages,
                                                                    i
  including all forms of loss, resulting from the Defendants' illegal, criminal, and unlawful

  actions, such as addifiorial costs and economic hardship pursuant to O.C.G.A. § 51-12-

  4, to exemplary damages, to.general and special damages pursuant to O.C.G.A. 51-12-

  2, and punitive damages pursuant to O.C.G.A. 51-12-5.1 in an amount as deten-nined by

  a jury.

            1395. For computer crimes, Plaintiff is entitled to compensatory damages,

  including all forrris of loss, resulting from the Defendants' illegal, criminal, and unlawful
                                                                    I
  actions, such as additional costs and economic hardship pursuant to O.C.G.A. § 51-12-

  4, to exemplary damages, to general and special damages pursuant to O.C.G.A. 51-12-

  2, and punitive damages pursuant to O.C.G.A. 51-12-5.1 in an amount as determined by

  a jury.

            1396. For computer security crimes, Plaintiff is en;titled to compensatory

  damages, including all forms of loss, resulting from the Deferidants' illegal, criminal,

  and unlawful actions, such as additional costs and economic hardship pursuant to
                                                            ~

  O.C.G.A. § 51-12-4, to exemplary damages, to general and special damages pursuant to

  O.C.G.A. 51-12-2, and punitive damages pursuant to O.C.G.A. 1~51-12-5.1 in aii amount

  as determined by a jury.                                          ,


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                                                                                                i




          1397. For bribery, Plaintiff is entitled to: general damages pursuant to O.C.G.A.

   51-12-2 and punitive damages pursuant to O.C.G.A. 51-12-5.1 in an amount as                  I
   determined by a jury.
                                                                                                ~

          1398. For retaliation, Plaintiff is entitled to compensatory damages, including       ~
                                                                                                I

   all forms of loss, resulting from the Defendants' illegal, criminal,.and unlawful actions,
                                                                   ~

  such as additional costs and economic hardship pursuant to O.C.G.A. § 51-12-4; to             I

  exemplary damages, to general and special damages pursuant to O.C.G.A. 51-12-2, and
                                                                   ,



  punitive damages pursuant to O.C.G.A. 51-12-5.1 in an amountlas determined by a jury.

          1399. For breach of client-attorney privileges, Alaintiff •is entitled to

  compensatory damages, including all forms of loss, resulting from the Defendants'

  illegal, criminal, and unlawful actions, such as additional costs,i and economic hardship

  pursuant to O.C:G.A. § 51-12-4, to exemplary damages, to gendral and special damages          i
  pursuant to O.C.G.A. 51-12-2, and punitive damages pursuant to O.C.G.A. 51-12-5.1 in          i
  an amount as determined by a jury.

          1400. For theft by possession of stolen mail, 1?laintiff is entitled to               i
                                                                                                I
  compensatory datnages, including all forms of loss, resulting from the Defendants'            I

  illegal, criminal, and unlawful actions, such as additional costs, and economic hardship

  pursuant.to O.C.G.A. § 51-12-4, to exemplary damages, to general and special damages
                                                                   ,
  pursuant to O.C.G.A. 51-12-2, and punitive damages pursuant to O.C.G.A. 51-12-5.1 in

  an amount as determined by a jury.

         140.1. For obstruction of mails generally, Plaintiff is ehtitled to compensatory

  damages, including all forms of loss, resulting from the Deferi dants' illegal, criminal,
                                                                i
  and unlawful actions, such as additional costs and .economic hardship pursuant to

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                                                                                              ,



  O.C.G.A. § 51-12-4, to exemplary damages, to general and special damages pursuant to

   O.C.G.A. 51-12-2, and punitive damages pursuant to O.C.G.A.. 51-12-5.1.in an amount

  as determined by a jury.

          1402. For obstruction of mail correspondence, Plaintiff is entitled to

   compensatory damages, including all forms of loss, resulting from the Defendants'

  illegal, criminal, and unlawful actions, such as additional costs and economic hardship

  pursuant to O.C.G.A. § 51-12-4, to exemplary damages, to general and special damages

  pursuant to O.C.G.A. 51-12-2, and punitive damages pursuant to O.C.G.A. 51-12-5.1 in

  an amount as determined by a jury.

         1403. For violation of telephone number portability; Plaintiff is entitled to

  general damages pursuant to O.C.G.A. 51-12-2 and punitive damages pursuant to               I

  -O.C.G.A.   51-12-5.1 in an amount as determined by a jury.                                 ~

         1404. For interference with. plaintiff's access to funds, Plaintiff is entitled to   {

  -compensatory damages, including all forms of loss, resulting from the Defendants'          ~

  illegal, criminal, and unlawful actions, such as additional costs and economic hardship     ~

  pursuant to O.C.G.A. § 51-.12-4, to exemplary damages, to general and special damages

  pursuant to O.C.G.A. 51-12-2, and punitive damages pursuant to O.C.G.A. 51-12=5.1 in

  an amount as deternuned by a jury.

         1405. For blacklisting the Plaintiff and for providing negative job references,

  Plaintiffis entitled to compensatory damages, including all forms of loss, resulting from   ,i
                                                                                              i
  the De£endants' illegal, criminal, and unlawful actions, sucli as additional costs and

  economic hardship pursuant to O.C.G.A. § S1-12-4, to exemplary damages, to general




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  and special damages pursuant to O.C.G.A. 51-12-2, and punitrve damages pursuant to

   O.C.G.A. 51-12-5.1 in an amount as deterinined by a jury.

          1406. For civil conspiracy to comunit a crime, Plaintiff is entitled to

   compensatory- damages, including all forms of loss, resulting from the Defendants'

   illegal, criminal, and unlawful actions, such as additional costs and economic hardship

   pursuant to O.C.G.A. § 51-12-4, to exemplary damages, to general and special damages

   pursuant to O.C.G.A. 51-12-2, and punitive damages pursuant to O.C.G.A. 51-12-5.1 in

  an amount as determined by a jury.

          1407. For interitional infliction of emotional distress; Plaintiff is entitled to

   compensatory damages, including all forms of loss, resulting from the Defendants'

   illegal, criminal, and unlawful actions, such as additional costsi and economic hardship

  pursuant to O.C.G.A. § 51-12-4, to exemplary damages, to general and special damages

  pursuant to O.C.G.A. 51-12-2, punitive damages pursuant to Q.C.G.A. 51-12-5.1 in an

  amount as determined by a jury, and actual damages, which, include the loss of the

  benefits that should have been earned pursuant .to the Plaintiff's Policies with State Farm

  Irisurance company but for the retaliation, persecution, court costs, consequential

  damages not covered by Plaintiff's Policy and attorney's fees. For knowing conduct of

  the acts described above, Plaintiff asks for damages as determined by a jury.

          14.08. For negligent infliction of emotional distress, Plaintiff is entitled to

  compensatory damages, including all forms of loss, resulting from the Defendants'

  illegal, criminal, and unlawful actions, such as additional costs; and economic hardship
                                                                   i
  pursuant to O.C.G.A. § 51-12-4, to exemplary damages, to general and special damages
                                                                   ~
                                                                   ~


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                                                                                               ~




  pursuant to O.C.G.A. 51-12-2, and punitive damages pursuant to O.C.G.A. 51-12-5.1 in

  an amount as determined by a jury.
                                         1                        '
         1409. The acts of each Defendant were coinmitted knowingly,' willfully,                   ;

  intentionally, with actual awareness, andlor with actual malice. In order .to punish

  defendants for such unconscionable overreaching and to deter such actions and/or

  omissions in the future, Plaintiff seeks recovery from all D,efendants of exemplary

  damages as provided by Title 51 Chapter 12 of the Georgia Torts for Punitive damages

  and Additional.Damages for Aggravating Circumstances Code § 51-12-5.1; § 51-12-5.



                                             VII.

                                 PRAYER FOR RELIEF

  WHEREFORE, Plaintiff respectfully requests this Court that Defendants be cited to

  appear and answer herein; that, on final hearing, the Court eriters a judgment against

  Defendants in Plaintiff's favor and. grants relief to Plaintiff against the Defendaiits as

  follows:

         (1)     Declare that the Defendants violated the law as set forth above;

         (2)     Order the Defendants to pay actual money damages to the Plairitiff in an

                 amount to be determined at trial;

         (3)     Order the Defendants to pay punitive damage's to the Plaintiff in an

                amount to be determined at trial;                                                  I

         (4)     Order the Defendants to pay compensatory damages to the Plaintiff in an
                                                                  i

                amount to be determined at trial;




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         (5)      Order the Defendants to stop• blacklisting the Plaintiff and to stop
                                                                   ~
                  providing negative job references;

          (6)    Award the Plaintiff reasonable attorneys' fees and costs and/or pro se fees

                  and costs for her investigation and prosecution of this action; and

          (7)     Grant any such additional relief to Plaintiff in law or equity as the Court

                  deems just and proper under the circumstances.



                                          VIII.
                              REQUEST FOR DISCLOSURES

          1410. Puisuant to the Georgia Civil Practice Act Article 5 Depositions arid

  Discovery code and/or the Federal Rules of Civil Procedure Rule 26 Duty to Disclose;

   General Provisions Governing.Discover, Plaintiff requests that Defendants each.provide

  the information required in a Request for Disclosures.

                                 Definitions and Instructions

          1411. The following defnitions and rules of construction apply to this

  attachment:

                 (1)     The term "document" includes, but is riot limited to, all records,

          materials and other tangible forms of expressiori in your possession or custody,

          or under your control, whether originals, copies, annotated copies, drafts or final

          versions, and however ,created, produced, stored or maintained, including, but

          not limited to, working papers, audit docuinentation, charts, lists, logs,
                                                                   ~
         spreadsheets, financial iriformation or analyses, books, papers, files, notes,

          memoranda, reports, schedules, charts, lists, transcriptions, correspondence,


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        telegrams, telexes, wire messages, telephone messages, ' calendars, diaries,

        budgets, invoices, audio and video recordings, electronic mail, text messages,

        electronic data compilations, computer disks (or hard copy of the data contained

        on such disks), and other electronic media, microfilm, microfiche, and storage

        devices. The term "document" includes furnished versions and drafts of

        documents; it also includes original documents (or copies thereof if the originals

        are not available), dnnotations, non-conforming copies, and aIl copies that differ

        in any respect from the original, as well as. attachments, apperidices,

        amendments, and any other materials created or transmitted in connection with

        a responsive document.

               (2)     The term "communication" inciudes any transmittal or receipt of

        information, whether by chance or prearranged, formal or informal,            oral,

       written or electronic, and includes without limitation: conversations, meetings

       and discussions in person; conversations; meetings and discussions by telephone;

       and written correspondence through the use of the mails, courier services,

        electronic media (such as electronic mail), and telephone lines and wires.

               (3)     A communication or document "conceirning," "involving," or

       "related to" any given subject means any communication or document that

       constitutes, contains, discusses, embodies, evidences, reflects, identifies, states,

       refers to, deals with, bears upon, or is in any way pertinent to that subject,

       including documents concerning the preparation of otlie'r documents.

               (4)    Reference to an entity shall also inclucle that entity's parents',

       subsidiaries, affiliates, predecessors, successors, officers, directors, employees,

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        agents, part-ners, and independent contractors, and all other persons or entities

        acting or purporting to act on its behalf.

                (5)     The disjunctive ("or") shall be deemed to include the conjunctive
                                                                                                i
        ("and"), and the conjunctive ("and") shall be deemed to include the disjunctive         ;

        ("or"); and each of the functional words "eaeh," "every," "any" and "aIl" shall

        be deemed to include each of the other functional words.

                (6)     "BDO USA, LLP" refers to BDO USA,-LLP arid all present and

        former subsidiaries, affiliates, predecessors, successors, officers, directors,

        agents, employees, shareholders, partnerships, . general and limited partners

        thereof, and all other persons or entities acting or purporting to act on its behalf.

                (7)     The term "Clients" refers to a person or organization using the

        services of BDO USA, LLP and all of their officers, commissioners, employees,

        representatives, and agents, and all other persons or entities acting or purporting     :
                                                                                                ~
       'to act on their behalf, including any special or independent committees of their        ;

        Boards of Directors, and any successor audit hrms.

                (8)     The tenn "SEC" ineans the U.S. Securities and Exchange

        Commission, all divisions thereof, all of its officers, board members, employees,

        representatives, agents, and all other persons or entities acting or purporting to

        act on its behalf.
                                                                               ,
                                                                                                I
               (9)      The term "Working papers" or "Work papers" refers to records
                                                                  I
        kept by the auditor of the procedures applied, the tests performed, the
                                                                  I
        information obtained, and the pertinent conclusions reached in the engagement.          ~

        Examples ofworking papers are pre-plann'ing and planning documentation, audit

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          programs, analyses, memoranda, letters of confirmation, prepared by client

          "PBC" list, and representation, abstracts of company documents, and schedules

          or commentaries prepared or obtained by the auditor. Working papers also

          include fmancial audit work papers, IT audit workpapers, Employee Benefit Plan

          ("EBP") work papers, and any other audit or tax engagement work papers created

          through all the phases of the audit process.

          1412. Documents produced pursuant to this request shall be produced in the

  order in which they appear in Defendants' files and shall not be shuffled or otherwise

  rearranged. Documents that in their original conditiori were stapled, clipped, or

   otherwise fastened together shall be produced in that form.

          141'3. Electronic rriail produced pursuant to this request for disclosures shall,be

  provided in its original electroriic format on a USB Flash Drive with a label clearly

  identifying the drive as containing material responsive to this attachment and indicating

  the request to which the docurrients are responsive or uploaded to a document

  management tool.

          1414. Provide a list of'the documents Defendants produce, indicating~ in each

  instance the request to which the document is responsive. ?.lso, identify and generally

  describe all requested documents that Defendants do not produce and indicate the

  location of each such document and Defendant's reason•for not;producing it.

          1415. If Defendants withhold any document based on a claim of privilege,

  please provide the following information as to each such document: (a) the author(s);
                                                               i
  (b) the date the document was created; (c) each person who ~received a copy of the

  document or was informed of its contents; (d) the person who riow has the document or
                                                                   I

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  was last known to have it; (e) the general subject matter of the document; and (f) the
                                                                 i
  privilege asserted.                                            i

         1416. If any documents responsive to this docuinent request were in                 ~

  Defendants' possession, custody, or control at some time in the past, but are no longer

  available, provide a list of such documents, indicating in each instance the request to

  which the document was responsive. Please provide the following information with

  respect to each such document: (a) the author(s); (b) the date the document was created;

  (c) each person who received a copy of the document or was informed of its contents;

  (d) the person who now has the document or was last known to have it; (e) the general

  subject matter of the document; (f) a detailed description of the document; 4 and (g) a

  detailed and complete explanation of why such document is. no longer in Defendants'

  possession, custody, or control.

         1417. All system generated reports created as part of the request for disclosures
                                                                                             i
  should be accompanied with evidence showing how the reports were generated by              ;

  providing dated screenshots of queries, parameters, etc ...

         1418. Current and previous 1280 West Board of Directors are Brett Dettmering,

  Jill Byers, Jonathan Byers, Wayne .Johnson, Victor Roth, Micah Kiirtzberg, Ronnie

  Bridges, Rohan Rupani, Kimberly Bennett, Michael Shaffer, and Daniel Vasquez.



                                           IX.                                               i
                                                                                             i
   FIRST REQUEST FOR PRODUCTION TO DEFENDANT BDO USA, LLP, SCOTT
                                                                                             i
   MEIER, WESLEY FREEMAN, PAUL DAVISON, JASON CUDA, JUSTIN WILKES,                           {




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    ANTHONY REH, PETER,POPPO, MARK DAYENPORT, JOHNSON WONG, AND                              ~
                                    JUSTIN MUNGAL

                      Document Request — Group 2: BDO USA, LLP

        ' 1419. Produce all emails, paper documentation, Jabber communication,               ~

  Yammer communication, Instantaneous Messages ("IM"), 1Vlicrosoft Teams IM, and             (

  other forms of communications 'between and among BDO USA, LLP, Scott 1Vleier,

  Wesley Freeman, Paul Davison, Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo,

  Mark Daveriport, Johnson Wong, and Justiri Mungal, their agents, employees, or

  representatives and relating to, inentioning, concerning or evidencing. Plaintiff Raissa

  Kengne, he'r work, and her performance.

         1420. Produce      all   emails,   paper    documentatiori,   Jabber,   Yammer,

  Instantaneous Messages ("IM"), Microsoft Teams IM, and other forms of

  communications from and to BDO USA, LLP, Scott Meier, Wesley Freeman, Paul                 ~

  Davison, Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark Davenport,              j

  Johnson Wong, and Justin Mungal, their agents, employees, or representatives to and

  from Plaintiff Raissa Kengne.

         1421. Produce all emails and other forms of communications between and

  among BDO USA, LLP's employees in the Atlanta, New York, Tennessee, Florida, and

  Potomac offices referencing Plaintiff Raissa Kengne.

         1422. Any partnership agreements or contracts between and among BDO USA,            ~

  LLP, Interface, BioHorizons, Atlanticus, NMS, and/or 1280 West Condorninium                '

  Association.




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           1423. Report showing Plaintiff Raissa Djuissi Kengne 's hours entered into the
                                                                I
   billing system with the details of the engagement she worked on and the cost per hour

   of her services from her date of hire (September 3rd, 2019) to the date she resigned

  (November 18`h, 2022). To be provided in an excel fonnat.
                                                                  ~

          1424. Report showing Defendant Wesley Freeman's; hours eritered into the

  billing system (client and -non-client) with the details of the engagement he worked on

  and the cost per houir of his services from September 3`d; 2019 to November 18'h, 2021.

  To be provided in an excel format.

          1425. Report showing BDO USA, LLP's einployee 1Vleldrick WiIsoii's hours

  entered.into the billing system (client and non=client) with the details of the engagement

  he worked on and the cost per hour of his services from September 3rd, 2019 to

  Noveinber 18th, 2021. To be provided iri an excel format.

         1426. Report showing BDO USA, LLP's employee-manager Alex Goetz's

  hours entered into the billing system (client and non-client) with the details of the

  engagement he worked on and the cost per hour of his services from September 3rd,

  2019 to November 18th, 2021. To be provided in an excel formriat.

         1427. Report showing BDO USA, LLP's employee-manager Ashley Brooks'

  hours entered into the billing system ,(client and non-client) with the details of the

  engagement he worked on 'and the cost per hour of his services from the date he was

  hired to November 18th, 2021. To be provided in an excel format.

         1428. Report showing BDO USA, LLP's employee-manager Jose Urbaez's
                                                                  I
  hours entered, into the billing system (client and non-client) iwith the details of the




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  engagement he worked on and the cost per hour of his services from the date he was
                                                               i
  hired to November 18th, 2021. To be provided in an excel format.

         1429. List of private clients in the Atlanta offce of BDO USA, LLP that were
                                                                ,
  audited for the fiscal year 2018, 2019,. 2020, and 2021.

          1430. List of public clients in the Atlanta office of BDO USA, LLP that were

  audited for the fiscal year 2018, 2019, 2020, and 2021.

          1431. List of private clients in the Atlanta office of BDO USA, LLP that were

  audited for the fscal year 2018, 2019, 2020, and 2021 showing management and staff

  on each engagement and. the number of hours charged.

          1432. List of public clients in the Atlanta off ce of BDO USA, LLP that were

  audited for, the fiscal year 2018, 2019, 2020, and 2021 showing management and staff

  on each engagerrient and the number of hours charged.

         1433. All help desk tickets in their entirety created by; Plaintiff Raissa Djuissi

  Kengne and the responses from IT Support at BDO USA, LLP.,

         1434. All documents constiiuting or reflecting commuiucations between BDO

  USA, LLP and their clients Interface, Atlanticus, BioHorizons; NMS, and FCCI related

  to (a) any requests from the SEC or PCAOB or other government bodies, or regulatory
                                                                                    .

  bodies seeking audit workpapers and/or related documents, or (b) producing audit

  workpapers to the SEC or the PCAOB, either on a general basis or in response to a

  specific request or subpoeiia.

         '1435. All documents constituting or reflecting communications between and

  among BDO USA, LLP and their clients Interface, Atlanticus, BioHorizons, NMS, and

  FCCI conceming Plaintiff Raissa Djuissi Kengne.                ;

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             1436. All documents constituting or reflecting coinmunications between BDO

  USA, LLP and Beacon Management, Lisa Simmons, Steven Weibel, Michael Shinners,
                                                                  I
  1280 West Condominium Association, and 1280 West Board of Directors concerning

  'Plaintiff Raissa Djuissi Kengne.
                                                                  ,
             1437. Contract between BDO USA, LLP and Justin 1V~ungal.

             1438. Disclosures of any relationships between BDO USA, LLP and residents

  at 1280 West Peachtree ST NW Atlanta, GA 30309.

             1439. Disclosures of any relationships between BDO USA, LLP and the 1280

  West Association Condominium and its Board of Directors for the years 2016, 2017,

  2018, 2019, 2020, 2021, and 2022.                               '

             1440. Disclosures of any relationships between BDO :USA, LLP and Beacori

  Management, Lisa Simmons, and Steven Weibel for the years 2016, 2017, 2018, 2019,

  2020, 2021, and 2022.

             1441. Disclosures of any relationships between BDO USA, LLP and Rohan

  Rupani.

             1442. Disclosures of any relationships between BDO USA, LLP and T-Mobile.

             1443. Disclosures of any relationships between BDO USA, LLP and Gemini.

             1444: Phone records of Defendant Wesley Freeman from September 3`d, 2019

  to date.

             1445. Phone records of Defendant Scott Meier from January 191, 2021 to date:   i

             1446. Phone records of Defendant Anthony Reh fromi September 3~d, 2019 to

  date.
                                                                  ~
                                                                                            ~


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             1447. Phone records of Defendant Mark Davenport from September 3`d, 2019

  to date.

             1448. Phone records of Defendant Paul Davison froni Septeinber 3`d, 2019 to

  date.

             1449. Phone records of Defendant Justin Wilkes frorii September 3`d, 2019 to

  date.

             1450. Phone records of Defendant Jose Urbaez from January 15t, 2021 to date.

             1451. Phone records of Defendant Peter Poppo from, September 3`d, 2019 to

  date.

             1452. Phone records of Defendant Johnson Wong from September 3`d, 2019 to

  date.

             1453. Copy of text messages sent from and to Defendant Wesley Freeman's

  phone number from September 3`d, 2022 to date. The scope is limited to BDO USA,

  LLP's partners, employees, and BDO USA, LLP's clients.

          1454.     Copy of text messages sent from arid to Defendant Scott Meier's phone

  number from September 3`d, 2022 to date. The scope is limited to BDO USA, LLP's

  partners, employees, and BDO USA, LLP's clients.

          1455. Copy of text messages sent from and to Defendant Justin Wilkes' phone

  iiumber from September. 3"', 2022 to date. The scope is lirnited to BDO USA, I:LP's

  partners, employees, and BDO USA, LLP's clients.

          1456. Cop.y of text messages sent from and to Defendarit Jose Urbaez's phone

  number from January       l st,   2021 to date. The scope is limited to BDO USA, LLP's ,
                                                                   i

  partners, employees, and BDO USA; LLP's clients.                 i                         !
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                                                                   I
                                             383 of 407
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         1457. Copy of text messages sent from and to Defendant Anthony Reh's phone

  number from January 151, 2021 to date. The scope is limited to BDO USA, LLP's

  partners, employees, arid BDO USA., LLP's clients.
                                                                I                       ~
         1458. Copy of text messages sent frorn and to Defendant Paul Davison's phone

  number from January 151, 2021 to date. The scope is limited to BDO USA, LLP's

  partners, employees, and BDO USA, LLP's clients.

         1459. Copy of text messages sent from and to Defendant Mark Davenport's

  phone number from January 1S`, 2021 to date. The scope is limited to BDO USA, LLP's

  partners, employees, and BDO USA, LLP's clients.

         1460. Copy of text messages sent from and to Deferidant Peter Poppo's phone

  number from January 1S`, 2021 to date. The scope is limited to BDO USA, LL:P's

  partners, employees, and BDO USA, LLP's clients.

         1461. All contracts and agreements between and .among BDO USA, LLP and

  Roedl &. Partner from 2016 to 2022.

         1462. All contracts and agreements between and among BDO USA, LLP and

  Finch McCranie, Michael Sullivan, and Walter Jospin from 201'6 to 2022.

         1463. All documents and emails between BDO USA, LLP and Roedl & Partner

  discussing Plaintiff Raissa Djuissi Kengne from 2016 to 2022. '

         1464. All contracts and agreements between and amorig BDO USA, LLP and

  Beacon Management from 2016 to 2022.

         1465: All contracts and agreements between and amorig BDO USA, LLP and

  1280 West Condominium Association and its Board of Directors from 2016 to 2021.




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         1466. All work papers created for Interface for the following years 2016, 201.7,

  2018, 2019, 2020, 202.1, and 2022.                                                        ;
                                                                ~
         1467. AIl work. papers created for Atlanticus for the following years 2016,
                                                                I                           ~
  2017, 2018, 2019, 2020, 2021, and 2022.                       ;

         1468.   All work papers, created for BioHorizons for the following years 2016,

  2017, 2018, 2019, 2020, 2021, and 2022.                       ;

         1469. All work papers created for NMS for the follo.wing years 2016, 2017,

  2018, 2019, 2020, 2021, and 2022.

         1470. All workpapers created for the following clients Janus, D.ustex, FCCI,

  RSR Group, ProCare for the years 2016, 2017, 2018, 2019, 2020, and 2021.

        1471. BDO USA, LLP Audit Manual.

        1472. BDO USA, LLP's Ethics standards, policies, and procedures.

        1473. BDO USA, LLP's Whistleblower standards, policies, and procedures

  documents.



                                          X.

      FIRST REQUEST FOR PRODUCTION TO THIRD-PARTY DEFENDANTS:

    INTERFACE, INC., ATLANTICUS HOLDINGS CORPORATION, KA.S NADERI,

  SPAR GROUP, INC. (NMS SPAR), AND BIOHORIZONS IMPLANT SYSTEIVIS, INC.

                         (AN HENRY SCHEIN SUBSIDIARY) ;

                        Document Requests — Group 2: Iriterface                             1
                                                                1
        1474. Produce all emails, paper documentation, Jabber communication,
                                                                i
  Yanuner communication, Instantaneous Messages ("IM"), Microsoft Teams IM, and             i


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   other forms of communications between and among lnterface, its agents, employees,

   or representatives and BDO USA, LLP, Scott Meier, Wesley Freeman, Paul Davison,             I

   Jason Cuda, Justin Wilkes, Anthony Reh,.Peter Poppo, Mark Davenport, Johnson Wong,

   and Justin Mungal, their agents, employees, or representatives and relating to,
                                                                     ;
   mentioning, concerning or evidencing Plaintiff Raissa Kengne,: her work, and her

   performance.

          1475. Produce      all   emails,     paper      documentation,   Jabber,   Yammer,

   Instantaneous Messages ("IM"), Microsoft Teams IM, and other forms of

   conununications from and to Interface, its agents, employees, or representatives to and

   from Plaintiff Raissa Kengne.

          1476. Produce all emails and other fonms of communications between and

   amorig Interface's employees referencing or related to Plaintiff Raissa Kengne.

          1477. Any partnership agreements or contracts between and among BDO USA,

   LLP, Interface, BioHorizons, Atlanticus,. NMS, Beacon Management, Lisa Simmons,

   Steven Weibel, 1280 West Condominium Association, and/or 1280 West Board of

   Directors.

          1478. All documents constituting or retlecting communications between BDO

  USA, LLP and Interface related to (a) any requests from the SEC or PCAOB or other

  government bodies, or regulatory bodies seeking audit workpapers and/or related

  documents; or (b) producing audit workpapers to the SEC or the PCAOB, either on a

  general basis or in response to a specifc request or subpoena.
                                                                     i

          1479. All documents constituting or reflectirig comniunicatioris. between and
                                                                     ;
  among BDO USA, LLP and Interface concerning Plaintiff Raissa Djuissi Kengne.
                                                                     I
                                             386 of 407              ~
                                                                     I
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          1480. Al1 documents const'ituting or reflectmg commum
                                                           I    cat'ions between

   Interface and Beacon Management, Lisa Simmons, Steven Weibel, .Michael Shinners,

  1280 West Condominium Association, and 1280 West Board of Directors concerning           !

  Plaintiff Raissa Djuissi Kengne.                              i
                                                                ~
          1481. Contract between Interface and Justin Mungal. ;
                                                                i
          1482. Disclosures of relationship between Interface and residents at 1280 West

  Peachtree ST NW Atlanta, GA 30309.

          1483. Disclosures of relationship between Interface and the 1280 West

  Association Condominium and its Board of Directors for the years 2016, 2017, 2018,

  .2019, 2020, 2021, and 2022.

          1484. Disclosures of relationship between Interface and Beacon Management,

  Lisa Simmons, and Steven Weibel for the years 2016, 2017, 2018, 2019, 2020, 2021.,

  and 2022.

          1485. Disclosures of any relationships between Interface and Atlanticus.

          1486. Disclosures of any relationships between.Interface and NMS.

          1487. Disclosures of any relationships between Interface and BioHorizons.

          1488. Disclosures of any relationships between Interface and Rohan Rupani.

          1489. Disclosures of any relationships between Interface and T-Mobile.

          1490. Disclosures of any relationships between Interface and Gemini.

         1491. Phone records of. Defendant Interface's employee Tom Farmer from

  January lst, 2021 to date.

         1492. Phone records of Defendant Interface's employee Christie Lambert from

  January .151, 2021 to date.

                                                               i
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          1493. Phone records of Defendant Interface's employee Joe DiBiase from
                                                           ~
  January 15t, 2021 to date.

          1494. Copy of text messages sent from and to Defendant Interface's eniployee      ~
                                                                                            ;
  Tom Farmer's phone number from January 15', 2021 to date, iThe scope is limited to        I

  BDO USA, LLP's partners, employees, and BDO USA, LLP'sicIients.
                                                         ~
       1495. Copy of text messages sent from and to Defendant Christie Lambert's

   phone, number from January 15`, 2021 to date. The scope is limited to BDO USA, LLP's

   partners, employees, and BDO USA, LLP's clients.

          1496. Copy of text messages sent'from and to Defendant Interface's employee

  Joe DiBiase's phone number from January 1S`, 2021 to date. The~ scope is limited to BDO

  USA, LLP's partners, employees, and BDO USA, LLP's clienfs.

          1497. All contracts and agreements between and among Interface and Firich         1

   McCranie, Michael Sullivan, Walter Jospin, Beacon Management, Lisa Simmons,              ~

   Steven Weibel, Michael Shinners, 1280 West Condominium Association, and/or 1280          i

   West Board of Directors, LLP from 2016 to 2022.

          1498. All contracts and agreements between and among Interface and Finch

   McCranie, Michael Sullivan, and Walter Jospin from 2016 to 2022.

          1499.. Ali documents and emails between BDO USA, I;LP and Roedl & Partner

   discussing Plaintiff Raissa Djuissi Kengne ftom 2016 to 2022.

          1500. All contracts and agreements between and: among Interface and

   Atlanticus from 2016 to 2022.                        1
                                                        ~
          1501. All contracts and agreements between andj among Interface and

   BioHorizons from 2016 to 2022.                                  ~

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                                                            1
                                                            1
                                                            i
          1'502. All contracts and agreements between and among Interface and NMS

   from 2016 to 2022.                                               1




                        Documents Request— Cnoup 2: Atlanticus

          1503. Produce all emails, paper documentation, Jabber communication,

  Yammer communication, Instantaneous Messages ("IM"), Microsofl Teams IM, and

  other forms of communications between and among Atlanticus, its agents, employees,

  or representatives and BDO USA, LLP, Scott Meier, Wesley Freernan, Paul Davison,

  Jason Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark Davenport, Jolinson Wong,

  and Justin Mungal, their agents, employees, or representatives and relating to,

  meiitioning, concerning or evidencing Plaintiff Raissa Kengne, her work, and her

  performance.

         1504. Produce     alI   emails,   paper    documeritatiop,     Jabber,   Yammer,

  Instantaneous Messages ("IM"), Microsoft Teams IM, and other forms of

  communications from and to Atlanticus, its agents, employees, or representatives to       ;

  and.from Plaintiff Raissa Kengne.

         1505. Produce all emails and other forms of communications between and

  among Atlanticus' employees referencing or related to Plaintiff Raissa Kengne.

         1506. Any partnership agreements or contracts between and among BDO USA,

  LLP, Interface, BioHorizons, Atlanticus, NIvIS, Beacon Management, Lisa Simmons;

  Steven Weibel, 1280 West Condominium Association, and/or
                                                        ,
                                                           1280 West B'oard of              ;
                                                                                            ,

  Directors.

         1507. All documents constituting or reflecting communications between BDO

  USA, LLP and Atlanticus related to (a) any requests from the SEC or PCAOB or other
                                                                i
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  government bodies, or regulatory bodies seeking audit woikpapers and/or related

   documents, or (b) producing audit workpapers to the SEC or the PCAOB, either on a
                                                              ;

   general basis or in response to a specific request or subpoena.

          1508. All.. documents constituting or reflecting communications between and
                                                                     ;
   among BDO USA, LLP and Atlanticus concerning Plaintiff Raissa Djuissi Kerigiie.

          1509. All documerits constituting or reflecting comrnunications between

   Atlanticus and Beacon Management, Lisa Simmons, Steven Weibel, Michael Shinners,

   1280 West Condominium Association, and 1280 West Board 'of Directors concerning

   Plaintiff Raissa Djuissi Kengne.

          1510. Contract between Atlanticus and Justin Mungal.;

          1511. Disclosures of relationship between Atlanticus and residents at 1280

   West Peachtree ST NW Atlanta, GA 303 09.

          1512. Disclosures of relationship between Atlanticus and the 1280 West

   Association Condominium and its Board of Directors for the years 2016, 2017, 2018,

   2019, 2020, 2021, and 2022.

          1513. Disclosures of relationship between Atlanticus aiid Beacon Management,

   Lisa Simmons, and Steven Weibel for the years 2016, 2017, 2018, 2019, 2020, 2021,

   and 2022.

          1514. Disclosures of any relationships between Atlanticus and Interface.

          1515. Disclosures of any relationships between Atlanti~cus and NMS.
                                                                     ~
          1516. Disclosures of any relationships between Atlanti us and BioHorizons.

          1517. Disclosures of any relationships between Atlanticus and Rohan Rupani.

          1518. Disclosures of any relationships between Atlanticus and T-Mobile.

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           1519. Disclosures of any relationships between Atlanticus and Gemini.

           1520. Phone records of Defendant Atlanticus' employee Kas Naderi from              ~

  January 15`, 2021 to date.

           1521. Phone records of Defendant Atlanticus' employee Ann Nieves from
                                                                  I

  January lst, 2021 to date.

           1522. Phone records of Defendant Atlanticus' employ,ee. Jonathan Harte from

  January 15', 2021 to date.

           1523. Copy of text messages sent from and to Defendant Atlanticus' employee

  Kas Naderi's phone number from January 11, 2021 to date. The+scope is limited to BDO

  USA, LLP's partners, employees, and BDO USA, LLP's clients.

           1524. Copy of text messages sent from and to Defendant Atlanticus' Ann

  Nieves' phone number from January 1 gt, 2021 to date. The scope is limited to BDO USA,

  LLP'.s partners, employees, and BDO USA,.LLP's clients.

           1525. Copy of text messages sent from and to Defendant Atlanticus' employee

   Jonathati Harte's phone number from January 1 S`, 2021 to date'. The scope is limited to

  BDO USA, LLP's partners, employees, and BDO USA, LLP's clients.

           1526. Copy of text messages sent from and to Defendant A:tlanticus' employee

  Sri Navudu's phone number from January 1S`, 2021 to date. The scope is limited to BDO

   USA, LLP's partners, employees, and BDO USA, LLP's clients.

           1527. All contracts and agreements between and among Atlanticus and Beacon

  Management, Lisa Simmons, Steven Weibel, Michael Shinners, 1280 West                        ~
                                                                                              f
   Condominium Association, and/or 1280 West Board of Directors, LLP from 2016 to             fi

   2022.

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         1528. All contracts and agreements between and among Atlanticus and Finch

  McCranie; Michael Sullivan, .and Walter Jospin from 2016 to 2022.

         1529. All contracts and agreements between and ;among Atlanticus and

  Interface from 2016 to 2022.

         1530. All contracts and agreements between and among Atlanticus and

  BioHorizons from 2016 to 2022.

         1531. All contracts and agreements between and among Atlanticus and NMS

  from 2016 to 2022.

                         Docutnents Request --- Group 2: BioHorizons

         1532. Produce all emails, paper documentation, Jabber communication,

  Yammer communication, Instantaneous Messages ("IM"), Microsoft Teams IM, and

  other forms of communications between and among BioHorizons, its agents,

  employees, or representatives and BDO USA, LLP, Scott Meier, Wesley Freeman, Paul

  Davison, Jason Cuda, Justiri Wilkes, Anthony Reh, Peter Poppo, Mark Davenport,

  Johnson Wong, and Justin Mungal, their agents, employees,, or representatives and

  relating to, mentioning, concerning or evidencing Plaintiff Raissa Kengne, her work,

  and her performance.

         1533. Produce       all   emails,     paper      documentation,   Jabb.er,   Yammer,

  Instantaneous Messages ("IM"), Microsoft Teams IM, and other forms of

  communications from and to BioHorizons, its agents, employees, or representatives to

  and from Plaintiff Raissa Kengne.

         1534. Produce all emails and other forms of communications between and

  among BioHorizoris' emp loyees referencing or related to Plaintiff Raissa Kengne.

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         1535. Any partnership agreements or contracts between and among BDO USA,

  LLP, lnterface; BioHorizons, Atlanticus, NMS, Beacon Management, Lisa Sinunons,

  Steven Weibel, 1280 West Condominium Association, and/or 1280 West Board of

  Directors.

         1536. All documents constituting. or reflecting communications between BDO

  USA, LLP and BioHorizons related to (a) any requests from the SEC or PCAOB or other

  government bodies, or regulatory bodies seeking audit workpapers and/or related

  documents, or (b) producing audit workpapers to the SEC or fhe PCAOB, either on a

  general basis or in response to a specific request or subpoena.

         1537. All documetits constituting or .reflecting communications between and

  among BDO USA, LLP and BioHorizons concerning Plaintiff Raissa Djuissi Kengne.

         1538. All, documerits constituting or reflecting communications between

  BioHorizons and Beacon Management, Lisa Simmons, Steven Weibel, Michael               I

  Shinners, 1280 VVest Condoniinium Association, and 1280 West Board of Directors       {;

  conc.erning Plaintiff Raissa Djuissi Kengne.

         1539. Contract.between BioHorizons.and Justin Mungal.

         1540: Disclosures of relationship between BioHorizoris and residents at 1280

  West Peachtree ST NW Atlanta, GA 30309.

         1541. Disclosures of relationship between BioHorizons and the 1280 West

  Associatiori Condominium and its Board of Directors for the years 2016, 2017, 2018,

  2019; 2020, 2021, and 2022.                                       ~




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         1542. Disclosures of relationship between BioHorizons and Beacon

  Management, Lisa Siinmons, and Steven Weibel for the years 2016, 2017, 2018, 2019,

  2020, 2021, and 2022.                                       ~
         1543. Disclosures -of relationship between BioHorizons and Interface.

         1544. .Disclosures of relationship between BioHorizons and NMS.

         1545. Disclosures of any relationships between BioHorizons and Atlanticus.

         1546. Disclosures of any relationships between BioHorizons and Rohan

  Rupani..

         1547. Disclosures of only relationships between BioHorizons and T-Mobile.

         1548. Disclosures of any relationships between BioHorizons aiid Gemini.

          1549. Phone records of Defendant BioHorizons' employee Elbert Jenkins from

  January ls', 2021 to date.

         1550. Phone records of Defendant BioHorizons' employee Wanda. Dobbins

  from January 1st, 2021 to date.

          1551. Phone records of Defendant BioHorizons' employee Sandra Feagans

  from January ls`, 2021 to date.

          1552. Copy of text messages sent from and to Defendant BioHorizons'

   employee Elbert Jenkins's phone number from January ls', 2021 to date. The scope is

  limited to BDO USA, LLP's _partners, employees, and BDO USA, LLP's clients.

          1553.   Copy of text messages sent from and to Defendant BioHorizons'

   employee Wanda Dobbins' Phone number from January 1', 2021 to date. The scope .is

   limited to BDO USA, LLP's partners, employees, and BDO USA, LLP's clients.




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          1554. Copy of text messages sent from and to Defendant BioHorizons'
                                                                 ~
  employee Jay Knight's phone number from January 1S`, 2021 to date. The scope is

  liinited to BDO USA, LLP's partners, employees, and BDO USA, LLP's clients.

          1555. All contracts and agreements between and among BioHorizons and

  Beacon Management, Lisa Simmons, Steven Weibel, Michael Shinners, 1280 West

  Condominium Association, and/or 1280 West Board of Directors, LLP from 2016 to

  2022.

          1556. All contracts and agreements between and among BioHorizons and Finch

  McCranie, Michael Sullivan, and Walter.Jospin from 2016 to.2022.

          1557. All contracts and agreements between and among BioHorizons and

  Interface from 20.16 to 2022.

          1558. All contracts and agreements between and ainong BioHorizons and

  Atlanticus from 2016 to 2022.

          1559. All contracts and agreements between and among BioHorizons and NMS

  from 2016 to 2022.

                           Documents Request — Group 2: NMS '

          1560. Produce all emails, paper documentation, Jabber communication,

  Yammer communication, Instantaneous Messages ("IM"), Microsoft Teams IM, and
                                                                 I
  other forrns of communications between and among NMS, its agents, employees, or

  representatives and BDO USA, LLP, Scott Meier, Wesley Freeman, Paul Davison, Jason

  Cuda, Justin Wilkes, Anthony Reh, Peter Poppo, Mark Davenport, Johnson Woiig, and

  Justin Mungal, their agents, employees, or representatives andl relating to, mentioning,

  concenung or evidencing Plaintiff Raissa Kengne, her work, and her.performance.
                                                                I
                                         395 of 407
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         1561. Produce      all    emails,     paper      documentation,   Jabber,   Yammer,

  Instantaneous Messages ("IM"i ), Microsoft Teams IM, and other forms of

  communications from and to NMS, its agents, ernployees, oi representatives to and

  from Plaintiff Raissa Kengne..

         1562. Produce all emails and other forms of communications between and

  among NMS' employees referencing or related to Plaintiff Rais'sa Kengne.

         1563. Any partnership agreements or contracts between and among BDO USA,

  LLP, Interface, BioHorizons, Atlanticus, NMS, Beacon 1Vlanagement, Lisa Simmons,

  Steven 'Weibel, 1280 West Condominium Association, and/or 1280 West Board of

  Directors.

         1564. All documents constituting or reflecting communications between BDO

  USA, LLP and NMS related to (a) any requests from the SEC or PCAOB or other

  government bodies, or regulatory bodies seeking audit woikpapers and/or related

  documents, or (b) producing audit workpapers to the SEC or the PCAOB, either on a

  generai basis or in response to a specific request or subpoena.

         1565. All documents constituting or reflecting conununications between and

  among BDO USA, LLP and NMS concerning Plaintiff Raissa Djuissi Kengne.

         1566. All documents constituting or reflecting communications between NMS

  and Beacon Management, Lisa Simmons, Steven Weibel, Mich~ael 'Shinners, 1280 West

  Condominium Association, and 1280 West Board of Directors concerning Plaintiff

  Raissa Djuissi Kengne.
                                                                     i
         1567. Contract between NMS and Justin Mungal.               ~
                                                                     ~




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          1568. Disclosures of any relationships between NMS and residents at 1280

  West Peachtree ST NW Atlanta, GA 30309.

          1.569. Disclosures of any relationships between NMS and the 1280 West
                                                              ~
  Association Condominium and its Board of Directors for the years 2016, 2017, 2018,

  2019, 2020, 2021, and 2022.

          1570. Disclosures     of any relationships between      NMS    and Beacon

  Management, Lisa Simmons, and Steven Weibel for the years 2016, 2017, 201.8, 2019,

  2020, 2021, and 2022.

          1571. Disclosures of any relatioriships between NMS and Interface.

          1572. Disclosures of any relationships between NMS and BioHorizons.

          1573. Disclosures of any ielationships between NMS and Atlanticus.

          1574. Disclosures of any relationships between NMS and Rohan Rupani.

          15'15. Disclosures of any relationships betweeii NMS and T-Mobile.

          1576. Disclosures of any relationships between NMS and Gemini.

          1577: Phone records of Defendant N1VIS' Presideiit Edward l3urdekin from

  January 1s1, 2021 to date.

          1578. Copy of text messages sent from and to Defendant NMS' employee

  Edward Burdekin's phone number from January 1S`, 2021 to d'ate. The scope is limited

  to BDO USA, LLP's partners, employees, aiid BDO .USA, LLP's clients.

          1579. A.11 contracts and agreements between and ainorig NMS and Beacon

  Management, Lisa Simmons, Steven Weibel, Michael ' Shinners, 1280 West

  Condominium Association, and/or 1280 West Board of Directors, LLP from 2016 to
                                                    .         ~

  2022.


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         1580. All contracts and agreements between and among NMS and Finch

  McCranie, Michael Sullivan, and Walter Jospin from 2016 to h22.
                                                                 ~
          1581. All contracts and agreemeiits between and among NMS and Iiiterface
                                                                 ,
   from 2016 to 2022.

          1582. All contracts and agceements between and among NMS and Atlanticus

   from 2016 to 2022:

          .1583. All contracts and agteements between and among NMS and BioHorizons
                                                                 ,
   from 2016 to 2022.




                                           XI.

     FIRST REQUEST FOR PRODUCTION TO DEFENDANTS -FINCH 1VICCRANIE,

                     MICHAEL SULLIVAN, ANID WALTER JOSPIN

                             Documents Re uest — Group 3

          1584. Produce copy of the contract between Plairitiff Raissa Djuissi Kengne

   and Defendarits Finch McCranie, Michael Sullivan, and Walter, Jospin.

          1585. Produce all emails, paper documentation, Jabber communication,

   Yammer communication, Instantaneoiis Messages ("IM"), Microsoft Teams IM, and

   other forms of communications between and among Deferidants Finch McCranie,

   Michael Sullivan, and Walter Jospin, their agents, employees, or representatives and

   BDO USA, LLP, Scott Meier, Wesley Freeman, Paul Davison, Jason Cuda, Justin

   Willces, Anthony .Reh, Peter Poppo, Mark Davenport, Johnson Wong, and Justin
                                                                I
   Mungal, their agents, employees; or representatives and ielating to, mentioning,

   concerning or. evidencing Plaintiff Raissa Kengne, her work, aiid her performance.     ~
                                                                .                         '

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                                                                                           ,




          1586. Produce       all   emails,     paper      documentation,   Jabber,   Yanuner,

  Instantaneous Messages ("IM"), Microsoft Teams IM, ; and other forms of

  communications from and to Defendants Finch McCranie, Michael Sullivan, and

   Walter Jospin, their agents, employees, or representatives to and from Plaintiff Raissa

   Kengne,

          1587. Produce all emails and 'other forms of communications between and

   among Defendants Finch McCranie, Michael Sullivan; and Walter Jospin, and Finch

   McCianie's employees referencing or related to Plaintiff Raissa Kengne.

          1588. Produce all evidence provided by Plaintiff Raissa Djuissi Kengne in the

   Finch McCranie data room.

          1589. Any partnership agreements or contracts between and among Defendants

   Finch .McCranie, Michael Sullivan, Walter Jospin, BDO USA, LLP, Interface,

   BioHorizons, Atlanticus, NMS, Beacon Managetnent, Lisa Simnions, Steven Weibel,

   1280 West Condominium Association, and/or 1280 West Board of Directors.

          1590. All documents constituting or reflecting. communications between BDO

   USA, LLP and Defendants Finch.McCranie, Michael Sul livan, and Walter Jospin related

   to (a) any requests from the SEC or PCAOB or other government bodies, or regulatory

   bodies seeking. audit workpapers and/or related documents, or (b) producing audit

   workpapers to the SEC or the PCAOB, either on a general basis or in respon"se to a

   specific request or subpoena that is the subject matter of this case.

          1591. All documents constituting or reflecting communications between and
                                                                      ~

   among Defendant BDO USA, LLP. and Defendants Finch McCranie, Michael Sullivan,

   and Walter Jospin concerning Plaintiff Raissa Djuissi Kengne. '

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          1592. All documents constituting or reflecting communications between

   Defendants Fineh MeCranie and its agents, Michael Sullivan, WalterJospin, and Beacon

   Management, Lisa Sinunons, Steven Weibel, .Michael , Shinners, 1280 West               '

   Condominium Associatiori, and 1280 West Board of Directors concerning Plaintiff

   Raissa Djuissi Kengne.

          1593. Cbntract between Defendants Finch McCranie, Michael Sullivan, Walter

   Jospin and Justin Mungal.

          1594. Disclosures of relationship between Defendants Finch MeCranie,

   Michael Sullivan, Walter Jospin and residents at 1280 West Peachtree ST NW Atlanta,

   GA 30309.

          1595. Disclosures of any relationship between Deferidants Finch McCranie,

   Michael Sullivan, Walter Jospin and the 1280 West Association Condominium and its

   Board of Directors for the years 2016, 201'7, 2018, 2019, 2020,, 2021, arid 2022.

          1596. Disclosures of any relationships between Defendants Finch McCrariie,

   Michael Sullivan, Walter Jospin, and Beacon Management, Lisa Simmons, and Steveii

   Weibel for the years 2016, 2017, 2018, 2019, 2020, 2021, and 2022.

          1597. Disclosures of any relationships between Defendants Finch McCranie,

   Michael Sullivan, Walter Jospin, and Interface.

          1598. Disclosures of any relationships betvireen Defendants Finch McCranie,

   Michael Sullivan, Walter Jospin and NMS.

          1599. Disclosures of any relationships between Defendants Finch McCranie,       ~

   Michael Sullivan, Walter Jospin and Atlanticus.                ~                       I~




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           1600. Disclosures of any relationships between Defendants Finch McCranie,

  Michael Sullivan, Walter Jospin and Rohan Rupani.

           1601. Disclosures of aiiy relationships between Defendants Finch McCranie,

  Michael Sullivan, Walter Jospin and T-Mobile.

           1602. Disclosures of any relationships between Defendants Finch McCranie,             ~

  Michael Sullivan, Walter Josp'in and Gemini.

           1603. Phone records of Defendant Michael Sullivan from January 15`, 202~1 to          ~
                                                                                                 I
                                                                                                 I
   date.

           1604. Phone records ofDefendant Walter Jospin from January 151, 2021 to date.

           1605. Phone records of Defendant Finch McCranie fr.om January 1 S`, 2021 to

   date.

           1606. Copy of text messages sent from and to Defendant Michael Sullivan's

   phone number from January ls`, 2021 to date. The scope is limited to BDO USA, LLP's

   partners, employees, and BDO USA, LLP's clients.

           1607.   Copy of text messages sent from and to Defendant Walter Jospin's

  phone number from January lst, 2021 to date. The scope is limited to BDO USA, LLP's

  partners, employees, and BDO USA, LLP's clients.

           1608. Copy of text mes5ages sent from and to Defendant Michael Sullivan's

  phone number(s) to Defendant Walter Jospin's phone number(s) from January 15t, 2021

  to date. The scope is limited to communication concerning or related to Plaintiff Raissa

  Djuissi Kengne, Atlanticus, lnterface, NMS, BioHorizons, BDO USA, LLP's partners,

  employees, and BDO USA, LLP's clients.




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               1609. All contracts and agreement between and -arnong Defendants Finch

       McCranie, Michael Sullivan, Walter Jospin and Beacon Management, Lisa Simmons,.

       Steven Weibel, Michael Shinners, 1280 West Condominium Association, and/or- 1280

       West Board of Diirectors, LLP from 2016 to 2022.

               1610. All contracts and agreements between and among Defendants Finch

       McCranie, Michael. Sullivan, Walter Jospin and Defendants BioHorizons from 2016 to
                                                                                            i
       2022.                                                                                ;
                                                                                            i
            1611. All contracts and agreement between and among Defendants Finch            ~
                                                                    .                       I
       McCranie, Michael Sullivan, Walter Jospin and Interface from 2016 to 2022.           ~

               '1612. All contracts and agreements between and among Defendants Finch

      McCranie, Michael Sullivan, Walter Jospin and Atlanticus from 2016 to 2022.

               1613. All contracts and agreements between and among Defendarits Finch

      McCranie, Michael Sullivan, Walter Jospin and NMS from 2016'to 2022.



                                            XII.

                FIRST REQUEST FOR PRODUCTION TO DEFENDANTS BEACON

       MANAGEMENT SERVICES, LLC, LISA SIMMONS, STEVEN WEIBEL,1280 WEST

,      ASSOCIATION, MICHAEL S.HINNERS, MICAH KURTZBERG, RONNIE.BRIDGES,

               BRETT DETTMERING, MICHAEL SHAFFER, AND ROHAN RUPANI

                                  Documents Request — Group 4

               1614. Produce copy of the 1280 West Declaration of Condominium.

               1615. Produce copy of the 1280 West Condominium Association ByIaws.




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         1616. Produce all emails, paper documentation; Jabber communication,

  Yammer communication, Instantaneous Messages ("iM"), Microsoft Teams IM, and
                                                                         i

  other forms of communications between and among Defendants in Group 4, the'ir

  agents, employees, or representatives and Finch McCranie; Michael Sullivan, Walter

  Jospin, BDO USA, LLP, Scott Meier, Wesley Freeman, Paul Davison; Jason Cuda,

  Justin Wilkes, Anthony Reh, Peter Poppo, Mark Davenport, Jo hnson Wong, and Justin
                                                             j
  Mungal, their agents, .employees, or representatives and relating to, mentioiiing,

  concerning or evidencing Plaintiff Raissa Kengne, her work, and
                                                                ~
                                                                  her performance.

         1617. Produce      all   emails,     paper      documentation,      Jabber,   Yarrimer,

  Instantaneous Messages ("IM"), Microsoft Teains IM, ' and other forms of

  communications from and to Defendants in Group 4, their agents, employees, or

  representatives to and from Plaintiff Raissa Kengne.

         1618. Produce all emails and other forms of communications between and

  among Defendants in Group 4, and Defendants in Group 4's employees referencing or                ~

  related to Plaintiff Raissa Kengne.

         1619. Any partnership agreements or contracts between and among Defendants

  Finch McCranie, Michael Sullivan, Walter Jospin, BDO ' USA; LLP, Iriterface,

  BioHorizons, Atlanticus, NMS, Beacon Management, Lisa Simmons, Steven Weibel,

  1280 West Condominium Association, and/or 1280 West:Board of Directors.

         1620. All documents constituting or reflecting communications betu+een BDO

  USA, LLP and Defendants in Group 4 related to (a) any requests from the SEC or
                                                                     I
                                                                     i
  PCAOB or other governinent bodies, or regulatory bodies seeking audit workpapers

  and/or related documents, or (b) producing audit workpapers to ithe SEC or the PCAOB,

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  either on a general basis or in response to a specifc requestlor subpoena that is the

  subject matter of ihis case.
                                                               i
         1621.. All documents constituting or reflecting coirununications between and
                                                               ~
  among Defendant BDO USA, LLP and Defendants in Group 4 concerning Plaintiff

  Raissa Djuissi Kengne.                                       ;

         1622. All documents constituting or reflecting coinmunications between

  Defendants in Group 4 and Beacon Management, Lisa Sirnmons; -Steven Wei6el,

  Michael Shinners, 1280 West Condominium Association, arid 1280 West Board of

  Directors concerning Plaintiff Raissa Djuissi Kengne.

         1623. Contract between Defendants in Group 4 and Ju'stin Mungal.

         1624. Disclosures of relationship between Defendants in Group 4 and

  Defendants Finch McCranie, Michael Sullivan, and Walter Jospin.

         1625. Disclosures of any relationships between Defendants in Group 4 atid

  Interface.

         1626. Disclosures of any relationships between Defendants in Group 4 and

  NMS.

         1627. Disclosures of any relationships between Defendants in Group 4 and

  Atlanticus.

         1628. Disclosures of any relationships between Defendants in Group 4 and T-

  Mobile.
                                                              i
         1629. Disclosures of any relationships between Defendants in Group 4 and

  Gemini.                                                      ~
                                                              ~

         1630. Phone records bf'Defendants in Group 4 from January ls`, 2021 to date.

                                        404 of 407,           ;
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          1631. Copy of text messages sent from and to Defendants in Group 4's phone

   number from January ls`, 2021 to date. The scope is liml'ited to communication

   concerning or related to Plaintiff Raissa Djuissi Kengne, Atlanticus, Interface, NMS,
                                                                 I

   BioHorizons, BDO USA, LLP's partners, employees, and BDO USA, LLP's clients.

          1632. .Copy of text rnessages sent from and to as welf as between and among

   Defendants in Group 4's phone number(s) from January 15t, 2021 to date. The scope is

   limited to communication concerning or related to Plaintiff Raissa Djuissi Kengne,

   Atlanticus, Interface, NMS, BioHorizons, BDO USA, LLP's Rartners, employees, and

   BDO USA, LLP's clients.

          1633. AlI coiitracts and agreement between and aniong Defendants Finch

   McCranie; Michael Sullivan, Walter Jospin acid Beacon Mariagement, Lisa. Simmons,

   Steven Weibel, Michael Shinners, 1280 West Condominium Association, and/or 1280

   West Board of Directors, LLP from 2016 to 2022.

          1634. .All contracts and agreements between and among Defendants in Group         I

  4 and Defendants BioHorizons from 2016 to 2022.               ;
         .                                                                                  i
          1635. Ali contracts and agreements between and among. Defendants in Group

  4 and Interface from 2016 to 2022.

          1636. All contracts and agreemerits between and among Defendants in Group

  4 and Atlanticus from 2016 to 2022.

          1637. All contracts and agreements between and among Defendants in Group

  4 and NMS from 2016 to 2022.

          1.638. Produce all tax returus filed with the: Internal Revenue Service ("IRS")
                                                                   ~
   from the date the Plaintiff became a homeowner to 2021.         ;
                                                                   ~
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            1639. Produce all compiled, reviewed, and/or audited Financial statements and

  accompanying reports from the date the Piaintiff became a homleowner to 2021.               ;
                                                                 ;
                                                                                              ;
                                            XIII.                 ~                           I

                               DISCOVERY CONTROL. PLAN i

  Plaintiff intends for discovery to be conducted under Article 5 Depositions and             ~


  Discovery of the Georgia Civil Practice code. This case involves complex issues and

  will require extensive discovery. Therefore, Pl'aintiff wiIl ask; the Court to order that

  discovery be conducted in accordance with a discovery control plan tailored to the

  particular cir.cumstances of this suit.



                                            XIV.
                               .                                 ;

                                       JURY DEMAND
                                                                 ,
                                                                                              I
  Pursuant to Article 5 Trial Juries of the Georgia Code of Coizrts, Plaintiff demands a
                                                                 ;                            ~


  trial by jury on all issues triable as such and by the maximum number of jurors permitted
                                                                 ;
  by law.                                                                                     I



                                            XV.

                                     PLACE OF TRIAL              i

  Pursuant to O.C.G.A. § 9-11-40, Plaintiff hereby requests tha't trial of this case takes

  place in Atlanta, Georgia.




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                                        CERTIFICATION

      Under Federal Rule of Civil Procedure 11, I certify to the Ibest of my knowledge,

      information, and belief that this complaint: (1) is not being presented for an improper

      purpose, such as: to harass, cause unnecessary delay, or needlessly increase the cost of

      litigation; (2) is supported by existing law or by a nonfrivolous argument foi- exteriding,

      modifying, or reversing existing law; (3) the factual contentions have evidentiary

      support or, if specif cally so identified, will likely have evidentiary
                                                                            . support after a

      reasonable opportunity for further investigation or discovery; and (4) the corriplairit

      otherwise complies with the requirements of Rule 11.



      I. agree to provide the Clerk's Office witli any changes to my address where case—related

      papers may be served. l understand that my failure to keep a cuiTent address on f le with

      the Clerk's Office may result in the dismissal of my case.



      Dated:                         , 2022


                                                            Respectfully submitted,




       Physical Address:                                    Raissa Djuissi Kengne
      •1280 W. Peachtree ST NW. Unit 2109                   Pro Se
      Atlarita, GA 30309
                                                            Mailing Address:
      Telephone: (404) 932-1561                             570 Piedtnont Ave. NE #55166
      Email: cianeseya2022@gmail.com                        Atlanta, GA 30308
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                                                                               Date: 5/25/2022 2:30 PM
                                                                             Cathelene Robinson, Clerk

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                    EXHIBIT I
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        ATTACHMENT TO PLAINTIFF'S ORIGINAL COMPLAINT

        EXCERPTS FROM THE 2019 AND 2020 INTERFACE l OK REPORTS
                                                      Source: https://sec.report/CIK/00007i5787



                                                          Exhibit 1- Reference 245; Page 66 of 407
 245. Under §404(a) of the SOX Act, Interface is required to annually report on Interface's own
                 - assessment of the effectiveness of Interface's controls.



                                                                                          Year 2019

                     Companies. Docufn,ents ;'Forms                        Alerts                                           ;           ;{ internal controls over Financ
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                                                                            ._--___ . -_._.                                             •., _ __.__.—,~---_.._:_"_._ _._. _._"_.                 .       I
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            ; DIBCLOSLJRE
            ~ hTot applicabla. [TEAI 9:\. CON'rROLS.\ND PROCLI)IIRES
            j niscJosrn•e C.'onrt•ols mrd f'rocedures. As of the en(i of the period covered by this Annual Reliort on Form 10-K, au evaluation
            i was perforn3ed under the sui)ervision and witlt thc participatiun o1' our roanagetnent• includitig our principal executive otTicer

              and our priucipal linancial 6(licer. af tltc eflectiveness of the desi,•n atttl operation of'our tlisclosure controls and procedures as
              delinetl iu kule 13a- I>(c) under Ihe Securiiies Exchange Act of 1934. pursnant ro Rule l3a- Id(c) under lhe Act. Based on tltat
            ' evaluation, our ptincipal executive oYlicer and our prinoipal 5nancial oificer concluded that hur discloxure controls und
              procedures were elTectiv~ ns or tlic end of the periocl covered bv this Anuual Report. Changas in Grrernnl ConID•ol ot•er-
              Firraneial Rt:porrirr;. There a'ere no chnuges in our internal conu-ol over financial reporting (liat occun•ed duritig our last fisenl
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            ~ quatier that have materinlly nflocted, or are reasounbly lilxly to materially atrect, out intemttl control over financial
            1 reporting. Afonngenrenl S .arvren! Repor•! ar bvarna! Canrt-ol over Finonciol Rqporrine. The inanagement of the Contpany is
              rasponsible for establfshing and tuaintaitiine adequate intemal control ever.tinancinl reponing as (lefined in Rule !3a-I5(f) or
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            ~ I id-la(f) promulgated uncler tlte Securities Exchangc r\ct nt' 1934. At cause nf its inhcrcnl (imitations, inlcrnal conuol aver
            ~ linnncial reponino mav not prevent ur cletect ntisstatements. Therefore. evcu those sl•stetns detertnined to be effective can                                                 +•
    .           provide ouly rt,.xonable assurance tvith resIx-.- t lo financial statement r. rep~tratiou and r res~ntation.
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                ifie cilectiveness ol•our internal coatrol over Gnmmial reponins:u• of Decentber 39, 3019 based on the critcria set fonh bv. the
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           , dte effectiveness ol'our intcntnl "conuol over finoncial reporting as ofDecember 29. 2019 based on llte criteria set fonit 6v tlte
             C:onunittee of SponsotYng ()rganizarions ol'Iltc Treadtva q Conuui,sion (COSO) in "InternallCoutrol -- Inteeratcd Frarnevcork
                (2013)." 13ased on tha[ asse:iment, tnanaeemznl coucluded that, as of December 29. 2019, dur ioternal conlrol over financial
                reporiine tvas etTective hased on those criteria. Out' independent auditors hnve issued an audit rtport on the efleetiveness ol'our
             internal control over financial repnrting. This tLporl inuuediately precedos hcm 9 ol'Ihis Report. ITEi41 9B. OTHER
           . t~t:nrra,r.vrin~                                                                                                                                                                •

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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 416 of 547




   Reporr uf Indepeudent Rt-gIsterrdPublicAccuunting blrnt

   Sltarelioldcrs nnd E3oadlEot'Dircelors
   Interfaec, lnc..and Subsidiaries                                                                        '
   Ailanta, Geurgia
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   Optnlon tin Intental Cnntnr( uver Pluauclnl Reportlng
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    \tic haee nud'ual [uterface. Ine, and Snbsidiaries' (the "Company's") intetnal contrul over fiwineial rlporting as of Ueeembcr 29, 2019, l+ased on criteria
   tstabli.v;ed in fnki•nul Corrlml - Itrregtvred f~ruutenrork (2(1l31 issued by lhe Cotumiricc of Sponsnring Org:tnizntinny uf thc Treadtvay Connuission (the:
   "COSO eriteda ). ht our opiuion, Ihe C.onIpVN nl:nntained, in all material respu:ts, olTcclicc inlernal contrt)l ot:er 8naircial [vporting ay ofUcccmber 29, 2019,
   based oll tltc COSO crilcria.

   We also have audilcd, in accordance .vid) thc standardi of the Public Cumpany Acconnting Oversighl Elnarrl (Uniled Slatas) ("1'CAIIB'), Ihe cousulidated
   balaucr sheets of the Cbmpauy as of.11ecuuber 29. 2.019 andDecemher A. 2015, the relrned consolidated sLirou)cnls of'opcmnions. cotnpruheusive.income;
   and cash'tloes'far each of lbe threa yoars in• the perind ondcd pecenrbrr 29. 2019, dndlhe relaled notes nnd schcdtde> and our report dated Febntary 2d, 20?0
   ixpr.+sscd au unqualified opinion thercon.

   pusls.fnr Opinion                                                                                                                   ,

   '1he-Company'v mnnageincnt,is resl;c)n§ihle for maPnLaining c(fective intem:d cnntml uvcr financial reporting and for its assessmqnt oC. thc cffeciivrncss.yf.
    iniemd eonlrol m•er Gnancial reporling, included in lite aceqmpan}v)g hcm Q A. ~Managenrenfs Keport'on loternal Centrol over 1'inancinl lteporting. Our
   respnneibility is to expres's an opinion nn the Compnnvs intunal comtol over iinancinl rcporting ba>ed on utir:nudil. \Vc;irc 5 publie hccutuuing timr rcgisrercd



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   '1'he C.op)pnny ti nlanngetnenl is wsponsibte for maiutainiug.effective-iwemnl amtri+l over financial reporting•a nd fi+r-its assessmenlruf (he effeelivencss of
   iltlenLll cotlltUl ,ovar fimmcial'mpqning. included in.U)c accompanying ]tetn 'JA, Managemenr's' Rcpon on hucknal .c:'aorol pver Pinancial Relinrtiilg. Oitr
   reSponSllNLty.11 tf) exprC55-nti'oprtllau olt ihe C.oIIlpany'i inten]JI Onllnol oVer fNnnClal reporllug ba4l'll.on llur an(Gt. NYe aro a public-accounting limrce;,,istered
   with rlte PCA(113.and am reqtifred to br'iudepentlet)l witll.respret tn the-Comluvey En aecordanco u•ith 11.5; fedeinl securilics Imes and the applicablearvles :md
   rogulalion.cof Ihe Snnurilics and Gxchango-Cotmniesion and lltc PCAOfi,
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     perforin tltc audittir.obtnin ren.ciinable.assnrtnec aboal n•hcthcr clYeai)'e'inlernal conwl iwer:Gnanc'ral reportiug was mnintnincd in all nr;tterial respects: Onr
   , audil inclndnd ubtaining ati understandinu til' inlemal control ovcr fin:mcial rcparting, assessing the risk lhat a irtaleri;d tveakness
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               ~ FLtiANCfALDISC'LOSURE.
               ~ Not applicable. ITeAI 9A. CONTROLS A:VD PROCF.DIIRES                                                                          I
                Duclo.rnre Cardwls rurd Pinredrrrrs. Ax of Ihe cud of thu puriod cut crcd by Ihiy.umual Repuri on Fonu 10-K. an evauation w:ts L
                perfotmcd uqder tlw supeivision nnd tvilh the panicip:+tion of our utanagcmcnt, including our'lirincipal executive ofPreer and our                                                                      i
               ~ principal fin:tncial of6cer, of Lhe effet:tiveness of ihc design and.operuiou of our tlisclosuro contcofs «nd procedures as deftncd in
               i Rule 13u-15(u) under the St uurities F..xch:mgeAct o1' 1934, pursuant lu Rule 13a-Id(c) tmder the.Act. Fiased on th:u evaluation,
               i olir principal executive itflicer and our prnicipnl linancial onicer concluttetl tiuu nur disclosuc0 ctintrols ai,d-procedures,rere                                                                    ;
                etf`ective as of.the end of the.poriod covered by Lhis Anntrol Report. C7rnnres iu Irrrcrrrnl C:'onn)of orcr !'frunrrird Rrpor-ting.. There                                                             )
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               I adeilttnte internal conuol over linancinl reporting us delitied in Rule 13a-I5(1) ur 15ii-15(L) prormdgnted uuder the Securitics
                 Hxchonge Act of 1934. Hocnuse of its initcrenl liniitatiotts, iuternal control over finoncial repoiting Inay.nul prevent or detict
  1             ntisstateiuunts, Thereforc, even those systen)s determiaed to be etT'eclive Ean providc unly reasonable ossurancc %vilh respect'In `                                                                    L• ' F"~'
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               t reporting as of lariunry 3. 2021 based i,u (he niieri6 set 1'onh by the•Connnittee ot' Sjtonsoring Organizations ol'the Treadway
   t           ; Conrtnissiotr(COSb) in "lnterual C'ontrol - Integrnted•lFrauretvork 12013)." Based on that assissulent, nranagement concludetl
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       +        ~ tuisstatcnrelnts, Therefore, even those systems'dcterutincil lu be e(leetivc can provitte oniy reaionable nssumnce with'respect to
       i        j liti:incinhstnleuient'preparaliin),aritt prescntation. Onransna¢eruen[ assesseil thE efticiivenesstirf.our internal contn~l ovei finnucild
                i repnriiug :rs of.lauuary. 3, 2021 based on the criteria sit fortlt by tlte Commitree of Spomoririg!Or;nnizations of the Treadway
                 Coitinriss.itin (COSU) in "iluctn:A Control - Integmtcd Frntne,vork (2013)." 13a5ctil ot1 that aesessurcnt, titanag,erucot concluded.
                ; llrat, as of Jauuary 3, 1-021, ourintenral conlrol over tinancial repotvhg tvas etTective baseil ort thnse criil~rin. 0ur independent
                 auilitors havc issued nir'anditreporl un the eLTcctiveiress ofrnirintcin:d conlrol ovcc.fiu:utcial• rry>orling.'1'Itis rcpiirt itimtediatcly

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       Wc havr,auditc1 Inwrface, Inc. and Subsidiaric.v' (dl2 "Comjnny's"1 iutental coatiol i,ver rinattcinl re!ibniitg ue of )anualy 3, 20'_1, bauil on criteria
       eslnblisheefin ]nrenlal Contrtil -- Inlcgr,ltcd Prametvork (2013) Ihtiued IIY Ille-(.n11111111tY Of 5111in5UrlRe Org:tniz:uiuns uf tlte Trcldn:ry'Conuniacion (Ihe
       "C.OSO eritexia"), Ln our opinion: the Cnmpnny maiutaincd, in Al mareri:d respects, elfectivc intern:d enntrol ns•cr tinalicial reponing as oClannary ;, 30:1,
       baseg on tltc CSOSO ariteria.

       l9e also have audiled, in accordance with dm stxndards of the Public Company Accuunting Ovcrsight ltoard'(United Stutes) (- PCAOII"), the consolidatciL
       balance shccls of the Lomparry as of Jamlan• 3. 20=1 and Dcccmbcr 2'J.'_OIEI, the rclatcd consolidated sratemerits of operations, comprehciLsivc,incunm (Idss),
       nnd cas,t flon's fureach uf Ihe,three years in Ihc perilxl ended Januan• 3. 2D21. and tlte relatcd notes and schedulc nitd our rcpon dated March 3, 2021
       oxpressdd an unyualified opinion therron.                                                                                                              -
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       Ilnsis rorOpinion                                                                                                                                                                                                    '
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       The C:oml+ao,v's ivamlgement is responsible fur m:iimaining cLTcetive internal'ctvurol over finoncial rvlwning(anil fi,r its asaesstacut of the ell'acticeness of
       intemnl oontrol over.lituneinl rcpurtinp. ineluded in tlte accompanying Item 9A, Managcnrcm's AnnnaL Repui on Irrternal CuntruPover pinancial Reponing.
       Our rceponsibility i's to espn.•ss an opinion on •tlre Cumpany's intental control nver linanoial rcporiing based on our mldit. 1vc arc a ptublio accoanling frmt
       reRLctered with the'PCAOn nnd an requbed to 6e independem tviW ~tupect to Ihe Compani• iu accuniance,eiili U.S. federol accurilies la,vs and the. applieable
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 418 of 547




   The Cornpany's manngoment is rosporu'ible lor mainlnining efloctive intenetl cantml ocer financial rcportiit~ nnd lor in assessntent'uf thc cMetiveness of
   irttenutl conuol uver flnnncial repurting. inchtded in tha actmnpanying hctn 9A. A1:magcment's Annual Itepuit on Imetnal Canmi nvar Fiaancinl lirpnning.
   Our nspousibility is tu expnss :ut upinion un the Cotnpauy's interual control over linaucial rcpuriing basedl ou our audit. R'e• are a publie aeeouuting linu
   ngistcntil u•iih the PCAOB and are-required tn be indipendent with respcct to the Cotnpany iit accnrdance with IJ.S. fndeml u:cttrities lau•s and the npplicoble
   rules and rxgulations of rlte Sceuritid nud Efxch:mge Comntission and the 1'CAi713.

   We eonducted'our audit of inicrnal control over fittrntciol reportinl in accordancc tvilh Ihc slundurds of lhe YC.`jV)ES. Thosc standards r-quire ih:n tce plmt and
   perfonn Ute audit to obtain rea>ouable aisur.utce about mhelher eileetivc internal control over livaneial repnriing aas ntuinlained in all tnnterial respects. otv
   audil included obta'vung an understanding oC interrtnl control ocer tinancial reportine. ;~s.aes.cing the risk that a material weokness exisis, atid tasting aud
   evaluating thc design and optnting ctreativeness of Imernal comrol b.isud on tha assetsrd risk. (lur audit also itielnded pertisrnting sueh othor procedur" is we
   considered neeescnry in dre cirn:ulnstnnees. 1\e lxlieve that nur nudit provides a reasonable basis for nur opinimi.

   Dcfiuitinn und Lirnitotlons nf Inlcruul Canitvil ovrr.Pinancinl Rcportinp

   A cotnpany c imerul control nvcr finaneial reporting is a pnxcs.v desiined to procide reasonnhle aesurnncc reparding lhe reliability of linancial reponing und
   tite prepantion of tinancinl statcrnants for mlernnl pumoses in accordnnro wiW ganenily accepred accountin; principles. A compmty's intemal control ovcr
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   the. traacactions and dispoaitions of the nssets of titc comp:ntv; (]) procidc rcasonable assur.mcc lital tr.msactious arc recorded ns necesiary to pennit
   prepantion of tinancial stalrutcnts in nccnrdanec tcith gcnerally occapled accountiug priuciplm and th;u reccipts :utd rxpendintrrs ol' ihc company are bciug
   utadc only in acconhmce tcillt aulhoriealions ut nuinagement nud elirectors ol' thc company: nnd (3) prtvide rcasonable a;sunnce mgarding pt'evcnlion or
   tiincly deux;tion of annnhorizYI aequisltion. use, or dispnsition of the. conpany's assats titat cnold have n nnnerial etTect on the nunncial stnlamenis.

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     Atlanta. Georgin•

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                                                 Exhibit I- Reference 247; Page 67 of 407
247. Under §302 of the SOX Act, Interface's corporate officers must (arnong other things) accept
    responsibility (as evidenced by individual signatures) for the content of Interface's annual
 §404(a) report. The CEO and CFO must personally certify the content of the reports filed w.ith
 the SEC and the procedures established by the issuer to report disclosures and prepare financial
                                           stateinents.


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           Vursunnt tq.thc rcqtiirements of Scclion 13:or IS(d) pf 117e 5ccurltje~, l:'xcll.Vl$c ACt of 19.14. Iha R'diStraal haR duly CanSCd tlti5 Report tn b2 Siglrid'otl ilG
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       Datcf Febninry 26.?U20                                                                                     ..[\ fERFAC:E, INC:.                i
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           .Pursliant to tbamquireunents bf the Securities lixchange Act ol' 19.44. this Reparl hns bchn slgncd bclolv -by the follon•iup persoos on behalf uf the
       rcgistr.uittmS in thc eapneitiee antt on'thc datea ineticared.                                               I
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    .Isl DANIELT. HSNDRIX                                                           1'resident. Chici'Executive Ofricer ond Chainnan;of dtc                                   Fcbruary 36. ^_t120
                                                                                    Uoard and 1Jirector    ,                        I
    Daniel T. Hcndrix'


    islDRUCE'A. HAUSMAh'N                                                           4icc Presidcnt aud ChiefFinancial OlTicor                     i                           February 2G, 2020
    QmceA.11ailsmvtn                                                                (PrinelpalFinaneialOfGcer)                                    I
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    7s1 JC1HN P. RLiRK1:                                                            Dinwtor                                                                                   Febru:uv 26. 2020
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    John P. Rurke

    ;sf,VNDRE15' B. COGAN                                                           Dircctor                                                                                  February 26. _(20
    Attdre•w.B. CoFcm

    %s1 DIVIGHT CilB50N                                                            I)iachtr                                                                                   Febncrr)• 26. _020
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    WCIIRISTOPHER G. KENNFDY                                                        Direrwr                                                      ~                            Pchruary?G, 2020
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    !s!CIIRISTOPfD3RG..KENNIiDY                                                     Diractor ,                                                   I                            Fcbnutry2G,2020
    Cbtistnphcr G..Kcnncdy                                                                                                                       ~
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    ls170SfiPHKEOUGH                                                               Director                                                                                   Fcbrvary'_G.2020
    Juselih Keough                                                                                                                               ~t
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    :s' CATF3FRINL' M. I:ItiBANF:                                                  Dint~tor                                                     ;                             1 ebntnn 2G, 2U'<0
    Cadlerinc hl, Kilbane


    /s11aAVID KOIiLER                                                              Directur                                                                                   Febrnmrp 26. 20211
    K. TYavid Kohlcr

   Ici JAME•S D. ;.11LLER, JR.                                                     Dircctor                                                                                   Febnlary 26. 20?0
    Jamus U.147iller. Jr.

   !nf SHERYL D. I'ALMER                                                           Directur                                                                                   Febntnry2G,.20?0
    Shcryl D. Palutct


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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 420 of 547




 20,19 Certification of Chief Executive Officer with respect to the Company's Annual Report on
                     Form .10-K forthe fiscal yeai- ended December 29, 2019.
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   2. -II:+scd un,tny knorvledge, this repcirr doasmol caotaia any untrue uatemcnt oCa mmeoal fact or amit to st:uI a materiol Pact nec~ssary'to make the
       staternenl.s roade, in liglit of dte circumstnnecs under+ehich such-statcmcuts +verc tunde.,nnt misleading +viiti respect to the "periud crovcrcd by'lhis.rcpon;

   3.     Ilased on nty.lnrou•ledga, thc linancial statemetus, :+nd"ndterdinmtcial infunnalion tncludFA iu this.ropon; f•lirly present in all nuirerial respects tho 6nanciol
          coudiuon, risrllrsofoperatio»s nnd eash; tlows ofiho rcgi'stranbas of, pnd for. thd perinds presemed.iu Jiis report:
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       Act Rulos 13a-15(n) and 15d-IS(e)) and inicrnal control ovurfinpucial roporfing(ds delined in L-rch:+nge Act Rnles l3n-(S(t)and"1:d-1i(Il) for dte
          rcgis'tnti'and hai'c:                                                                                             ,
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              eccaninnce %+ith grnently accepmd accuunting'principles:
          (c) Cvaloated dre ellectivcness oftltr registnul's disclospre cymuols and procedures and prescme&fn dtis I•pon our conclusinns nbouCthe.e(fcctivcness"
              ofihe:Jisclosurr:contruL}:and,pec~ecduns, as of.the.erul uftheporioJ'cuvered'by thi's report.ba.ml ou suelr evaluatioa; and

         (d) llisclosed ih.tlris rbportany-changoiu the registrant's intemal control over.GuancinLreporting lhit uccumd duringthc n)rislnnt'e.most recent fisc:d
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         'registram'saiul'irors twd;the audit cutnmitter of thc regi6ir.urr's tward ol'directnrs (or persons perfnnuing the eyuivalenl functimzy):

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              to adversoly alfect'die-ragistnut's•ubilityto recoid,.f.mcess;.iuuunuize and report ,rrtnmcial inforivation; and
         (b) .Any Fraud, tvltcdter or noLmaterinl. tlut.invoh•es mmu+goment orother ernployccs+vlto haeea sipuifcantrola io~lhe.regisrr.•uu's,interual control over
              financial reponhrg,,

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 2019 Certification. of Chief Finaricial Officer with respect to the Company's Annual Re"port on
                     Form 10"-K for'the fiscal year ended December 29, 2019.
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     .condirioit: results ufoporations andbnsli Iloivs of tho registr.lnt.as oG alyd.for, tlie.periods presented in this reponc
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  3. The registnnl's otlter.certifying ofGcer and I are responsible for establishinc nnd inaimaining di'schisurc controls and pruccdures (as dviincd in Erehangc
     Act Rtiles 13a-15(eland l5d-J S(e))'aitd intenral conriol uver financial reponing (.0 defined'iu Erchanee Alct Rulcs L3a-15(t)•uud ISd-.IS(f)) for tlrc
     rcgistrmn mid havc:-.
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       (a); [hs'igned sttch disclosure controls and proecdures; or caused sueh diu:losure controls and,pnn:edures Lii be designed tiotier onr stipervisiou, to ensure
            that ntatorinl ~nfonnatinn.rclqiing•to tlrc n:gisrraut. Including its culsolidnted sibsidiarics. is made l:tiown to us'by others µ•ithin those cntilics,
            larticularly during Ihc period iowhich tbis report is bcing prep:ued,
       (b). Designed'sucli intenlal cuiitrul uvcr frm•Irtcial rcliorting, or cauvcd stieh inten>ai cuntrul ovcr finmlcial ri-porting.to be designed under uur supervision,
            tn provido n:asonable assunncc,roghrnlin~.tlic relinfiility oflinancinl rrporting and thc proparation of (inanciaFslatenicuts for cxtemal purposes-in
            i1cCllydancC 1vit11 l,̀rtitlnlltv:lcccpteitacl'Dtlming principlCS;                                            '
       (c) Evaluated'llrc eflcctiveness of Iho reglstrani's disclnsurc controls nnd:prucedures-and pre.sented'in.this report our.cunclusions about ihe e17ectivenes.e
           oC lhr disclosure_ronlmEsan pnxedmes; as of the e»d ot tha !xrind covered.by Iliis-repon based oqsuch valuatiuu: and
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       (d) 'Discliised in tlus,crport :uly cluangu in llK.rogislrauis Imeriial eoiitrol uvar linaneial reporting tlla(;i+crurmil dur'ing thr registcunis most meent fssiil
            qu:uter (tlle registranCs•faurcli:fucel qu:nter in the caso qfon, annual rrpori) tliar bas mnterially aRcelcd. or is- re:isnnnbly likely-to nraleriallv aAect. tlrc.
            registr,vti.'s internal contmL qver fnancial, relmrting; nnd'                                                   I
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  ~3: Tlru                  eBAifying otlicer aud I hni2 ilicciciseg. based.onour most rccent evalu:ioon of iarenial control oeer Iirtanti:+l riporting, to.the.
      registrrnis audiiors and Ihe audit commiiice,gf t)1a registrant's board of dircctors (or parsons perfanning tliL cqnivalcnt functions):

       (a) AII signiScant deficiertcies and.mnterial u•caknesscs:in tlio desifen or oporation of intenial cuntrul over linancinl repuning,a•lit'ch me reasonabhy likely
            toadversrly atTect-die regisuhnt's, ability to recorcl. process. +lumrnir¢e and report f.nancial~intomlation; and
       (b)• .1ny fnud, tvherlrer or nol.matcrial; that involves mxnngemeut ur udier employms rvho have a sil;nificant mla in thcregistraut's intern:d caxitrol uvcr
            6nancial reportiilg,

  Uat6: February:26; 2U?0

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                                                                                         Gliief,Finoncinl UOirv           ,




 2019 Certification Pursuant to Section 1350 of Chapter 63 of Title 18 of U.nited States Code by
  Chief Executive Officerwith respect. to the Company's Annuai Report on Form 1.0-K for.the•
                              fiscal. year ended December'29,.2019'.
   EX-32.1 9 cx-321.htrn FXIiIBIT 32.1
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  1, Denicl 7:.L1cnd[ix. CI»clds:eeutive QtlPcer of ]ptuface, lnc. (the "Cornpany'~. ecnify, pursuaul to 18 li.S.C:. 5 a?50 ns adopted by § 996 nfthc Sarbanes-
   Oxlcy Act of ?002. t hat:                                                                                              i

          (1) thc Annttal Repivt un Fonn 10-R of thc Gompany fur ihe year endrd D«ember'_9, 2019 (the'•Ripun;) fully compliox sviQi thc requinmentsrof
              Stirion l3(0) or 15(i1) of thc Sccnrities Bxchange Acl of 1934: and
          (2) tlrainfomation eonluineti in Ihn Rcpurt f:rirly presents. in :dl material respects, the fin:+ncial'conelitioniand resulls of uperaEions of tho Company.
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  Dated: February.2G, 2020


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                                                                                         Cbicf Exrcutive Otlicer
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 422 of 547




 2019 Certification Pursuant to 8ection 1350 of Chapter 63 of Title 18 of United States Code by
  Chief Financia! Officer witli respect to the Company's Annual Report on F.orm 10-K for the
                              fiscal year ended December 29, 2019.
                                                             ..._...-__-.. _.. _.._._._......                      ,,-._.   ...          . ._.         ._._       -
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1. Brucn: A. Haustnanu. Chief Finmtcial Oilicer of Interface. lue. (dte'•Cootpany"), eertify, putxuant ti, 18 U.S.C. § I350 as adopied by § J06 of tlic Sarhanes-
Oxlcy Act or2002, tlLit:

          (1) tha Anoual Report on Fom 10-K orthe Contpam fi)r Iho ycar ended December 29, ?019 (the "I(eporl") tidly complies ttith tha requirements of
              Sectian l3(a) or l5(d) of thc Securitics rxchan_c Aet oC 1934; and
          (2) the inPommtion contained in thc Rcport fnidy prexents. in all motedal respccts, the tivancial cnuditian and neults otbporations of tlte Company.


Dued: February 26. ?020


                                                                                    !vl Rmco A. llnnsroaun
                                                                                    Bmcc A. Hausm:mn
                                                                                    C'Itief Fivancial OfTicer



                                                                           Year 2020
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  ~             Cornpaines,      DocUrnenfs        Fiirms: Alerts             .     `                   Y          I~ SIGNATURE ~,            ,y- ~- I•               -,


         i Table of Contents      p• e t S Pursuant to the requirements of Section 13 or 15(d) of the Securities Exchange Act of 1934, the ;
         t registrant.has duly caused this Report to be signed on its behalf by tha uuctersigued, thereunto; duly atttltorized.
         j Date: March 3, 2031                                                             INTERFACE,:INC.                                                    '
         ~
         I                                                                                                                                                    `
         ~                                                                        By:      is! DANIEL T. HENDRIX                                              E
                                                                                                                                                              i
                                                                                           Daniel T. Heudrix                                                  t
                                                                                    Presirfenr attd C'/tie(Eeertrrire Off+cer                                 t
        ; POR'ER OF ATTORNEY KNOw ALL PERSONS BY THESE PRESENTS. that onch person whose signature appears below
        ~ constitutes and appoints Daniel T. Henctrix as attomey-in-fnet• u•ith power of substitution. (or him or her in am mtd all capaeilies,
                                                                                                            ~                                               ,.
        i to sign any amendments to this Report on Form 10-K, and to file the same, tvith exhibits tliereto, and qther documents in                         ~
        ; cotmection theretvith, with the Sectirities and Exchange C'omntission, hereby ratitying and coittirming all tLat said attomey-iu-fact             '
         i may do or cause to be done by virtue ltereot: Pursuant to tlie requirentents of thc Securities L-zchanee Act of 1934, this Report has
        ~ been signcd belnw by the followiue persnns ou behalf of the registr:mt :md in the cnpacities atid on the dates indicated. 113                     ~ _T
                                                                                                                                                            ~—

         ~~                                                                                                                                                 ~, F$~ ►




2020 Certification of Chief Executive Officer with respect to the Company's Annual Report on
                     Forrll 10-K forthe fiscal year ended January ~3, 2021.
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 423 of 547




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             CERTIFICaTIOIV                                                                                    !
             I, Daniel T. Iiendria, eertify tltat:                                                             I                                   L.
                  1. d Irave reviewed tlus anuual report on Form 10-I: oflnterfacz. lnc.;                                                          i
                  2. Based on my knotvledge• tbis report.dnes nnt contain.any untrue stntentent of a mateiial fact nr omit ta, state a material
             fact necessary to make tlre statenients made, in light of the circtrnrstances tmder tvhlch such statentents wzre made, not misleading .;
             witli respeet to the period covered by this report;
                  3. Bastd on my know7edge, the financial statetuents. artd otlrer finaucial information iucluded in this report; fairly present in
                                                                                                                ,                                                                          ;
             all material respects.the frnancial condition, resnits of ope[ations and cash flotvs of the regisu•ant as of, and for. d[e,periods
             presented in this.reporr
         }      4. The registiant's otlter certifying otFeer and i are respousible for establishing and niaintaining disclosure coutrols and
         i procedures (as de5ned in Exchange Act Rules 13a-15(e) and 15d-15(e)) and internal control over fipancial repnrting (as defined iri
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         (~ EXchange'Act Rttles L3a-15(F1 vid 15d- I S(I)) for tlre reristd
                                                                          rant an have:                         i                                        •~'"`:
                    (a) Designed sttcli disclosure;comurols and procedures, or caused sucli diselosure cotttrols and piocedures to be desigited t'' ' " •
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            under our supervision. to ensure that tpaterial utfortnation relatntg to the registrant, ineludi[ig iis consoliilated subsidiories, is tnade z:=tp:J"4
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  [          knotv[rto us by others witltin tltose entities, partictdarly during the period in which this reportlis being prepared;
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                              (b) Designed-such intcrnal control over fiiiancial repurting, or.caused such internal dnntrol oyer linancial reporting'to
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  t          +                (b) Designed such internsd contrvl uver financial repoilinb, or caused such• inlental ntrol over tinancial reporting to be '
  k          ~ desigtre<I undcr our iupervisiou, to provide rcnsonahle assnr.utcc n garding'll(e reliatiility of tinaucial rn
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  ~~ ~ uf financial statentenLs"fnrexternal puqxses in aca,rdaoce with'gcuerally acceptad accnunting principle"s;                                (c) Evaluated ~
               llre eflectiveness of tlic registcanl's disclasure couti•qls ond procedures and prescnted in tlils report our conclusions about the                       i     1
               eGcctiveness of the disclosute controls and procedures; as of thc ead ol'the period covemd by lhis repbrt t>ased on szrch
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               has matzrially al£ecied: or is reasonably lil:elv to materially allect, tlte registr.,nt's intental coritroi over 6nnncinl reporting; and
                     S. The registrant"s other certifyhitg otT'icer'i,nd I havA di'sciosed, basetl on our titiist recent evaluatitiqof iiuzrnal control over t
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               finaneial rzporting. to thz regi'stnnl's auditors and the audit conm,iuee of the registtant's bo:iqi of dirzctors (or persons perfomting '
               the tduivalent.fttnctions):                                                                                 ~                                            ~      r
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               nponing tvhich arereasonnbly likcly tu adverszfy aflcct tlic registr.rnt's.ability tn rccord, proccss, srmnn:m'r.c nnd report.lin:mciAl ,4x,•y`~
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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 424 of 547
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 2020 Certification of Chief Financial Officer with respect to the Company's Annual Report on
                      Form 10-K for the fiscal year end ed January! 3, 2021.
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      a~_ -_<`- •---"-------- '- -._ .....                                       . _.
         Eihibit 31.2
            1 CERTIFICATIOIV

            , 1. Bnlce A. Haustnanu, certify that:                                                               ,
            ~       1. I have reviewed this nnnual report on Fomt 10-K oflnterface, Inc.:                                                            ±
                    3. Based on nry knon•ledga• this report does uot contain any untrue statemeut'of a mateiial fact or ornit to state a tnaterial
            ~ fact necessary to ntake the statements made.,in lighl of the circnmstmlees under which such statelnents were tnade, not tnisleadino
            t tvith respect to dle period covered by this report;
                    3. Based on my knowledge, Ilie financiai statemcnts, aud other linancial infomtation include(1 in this report, fairly present in i
              all tuaterial respects the financial condition. results of operations and cash tlmvs of thc registranl as of, and for, the periods
            ; presented iu Ihis report:
                  A. The registrant's otlier certitying ofticer and 1 are responsible for establishing and mai ntaininc disclosure controls and  ~
                                                                                                              ,
            ~ proceduies (as delined in Exchauge Act Rules l3a-I 5(e) and 15d-15(e)) and internal control oyer 6nancial reporting (as detined in (
              Exchauge Act Rules l3a-l5(t) and l5d-l5(f)) for the registraul aud hnve:
                      (a) Designed sucli disclosure controls and procedures, or caused such disclosttre colitrols and procedures to be designed
           : uttder our supervision, to easura tliat material inforuiation relating to the registrant, including its consolidated subsidiaries, is rnade 9
             knotvn lo us by o[hers tvithin those entities, p:ulicularly duriag tlie period in tvltich this report 'is being prcpared;                  3
                                                                                                                                                          1~ `
           ~          (b) Desigued snch intemal cantrol over financial repalting, or caused such internal control over linancial reporting to be
            i d...,o..o,t ,u.d....,.,. a,...,..v.c.nn tr, .,..,,,;.10 ,•..e~.,,,ohlo o«,,.o..e., ...•„•d:.,~ d,e r..11ehir            r„•,.,,.:oI               —A Il,n ,.o..o.,li.,..

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                                                                                                                                                         prCparClq"
                       (b) Designed such internal contlrol over linancial reporting, or caused iuch intemal control over financial reporting to be
           ~ designed tmder our supervision; to provide rersonable assurance re,ardiug cltc rcliability of fitlaucial reporting and the preparation
           ! of tinaneial statements for exterhal purposes'in accordance tvitlt genenlly accepted accounling principlesc                  (c) Evaluated
             the efiectiveness of thc registrant's disclosttre coutrdls and procedures mld prescnted in this report our conclusions abottt the
           ~ ellectiveness of the diselostu•e controls and procedures, as of the end of tlte period covered by,this report based on such
           ; evaluatinn: and           (d) Disdoszd in dtis repat an} change in ihe registrant's internal control over finilncial reporting that
             ocetirred diuvtg the registrant's utost recent tiscal quarler (the registrant's fotrth fiscal quarter in tlre case of an anuual reporl) that
             has tnaterially at7ected. or is reasonably likely to roaterially aflect. the registrant's internal colirrol over liaancial reporting;and
                  5. The registrant's other certifyiog oflicer nnd I heve disclosed, based on otn• most recent•evdluation of intemal control over
              finaneial reporting, to [lte regi'stranl's auditors and the audit conmtictez of the registrant's board ol'directols (or persous perfornting
            ~ Ihe eqttivalent fimctions):
           ~            (a) All significant deHciencies.and Inaterial weaknesses in the design or operation of internal control over ftnancial
           ~ reporting whiolt are reasonably likely to adversely attect the registrant's ability to record. process, sunnuarize and report fin:utcial ~.     f
           )
              infonnation; aud            (b) Any fnud. tvhether or not material, that invokes tnanagetnent or other entployees tvho have a               ~~
              signfi
                  icant role in the t'egisuant's in ternal control overancial
                                                                          liit     reporting.                                                             ~


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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 425 of 547




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              financial reporting, to the registrant's euditors and the audit committee of the registrant's boa Ild of dircctors (or persons pedonning
            + the equivalent runctions):
                       (a) AII signiricant deficiencies and material lvealmesses in the design or operation of internal control over financial         ~
            i reporting which are reasouably likely to adversely altect the registrant's abiliry to record. process, aummnrize and report tinancial t
            I infomiation: and             (b) Any Iraud. whether or not material, thnt involves management or otlier employces Nvho have a
            I signilicant role in tlhe registrant•s internal cantrol over tinancial «porting.


                Date:A•Inrch 3, 2021

                                                                                    / 5! Bruce A. 1-lan5man11

                                                                                    Bntce A. Hatl,sniann
                                                                                    Chief Financial O tticer




 2020 Certification Pursuant to Section 1350 of Chapter 63 of Title 18 of United States Code by
   Chief Executive Officerwith respect to the Company's Annual Repol-t on Form 10-K forthe
                                      fiscal year ended January 3, 2021. ;
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        • • .., . . . •--  ; ~,~ .. - -. ..
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        % Eshfblt 32.1
        ; CERT Fi 'A ION PIIRSi1;z,NT TO 18 LJ:S.C. SECTION 1350
        , I, Daniel T. Hendrix. Cilief Exectttive Oflicer ot' Interl:ice• Inc. (tha "C:ompany-"), certith~ pursuant to I S U.S.C. § 1350 as adopted
          by § 906 oCthe Sarbanes-OxleyAct of200?, that:
                       (1) the Annual Report on Futm 10-K of the Compnny tiir tha year ended Januvy,3, 20-' 1(the "Report") lully
            coniplies witll the requirements of Scetiou 13(1) or 15(d) of the Secnrities Exchan_e Act of 1934: and                 (2) the
            information contained in the Report fairly presents, in all nlaterial respects, the financial condition and results of operntions of the :
        i COillpiltly.                                                                                                                                                                                    i
        7

        !                                                                                                                                            .                                                    ,



        ~ DateNarch 3, 2031
        i                                                                                                    Is! Daniel T. Hendrix

                                                                                                             Dauiel'T. Hendrix                                                                                       t
                                                                                                             Chief EXecutive Offteer




2020 Certification Pursuant to Section 1350 of Chapter 63 of Title 18 of United States Code by
 Chief Financial Officer witli respect to the Company's Annual Report on Form 10-K for the
                               fiscal year ended January 3, 2021.
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 426 of 547




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     j CERTIFIC.aT10N PIJRSIlaNTTO 18 U.S.C. SECTION 13,-0
     ; I, Bruce A. Hausmann, Chief Finaucial Oflicer of )nterface, Inc. (the'`Company"). cerlify. pfirsuaul to 18 U,S.C. § 1350 as
     ~ adopled by § 906 of tlie Sarbanes-Ox(ey Act of 2002, that:                                   ~
     t             (1) the rinnual Reprn7 on Fonn I O-K of rhe Company Yiir the year ended.January l, 2021 (the ' Report") fitlly                 ~
                                                                                                                                                        ~
     ; cotnplies with the rrquireutents of Section 13(a) or 15(d) of the Securities Exchange Aet of 1934; aud                   (2) the
                                                                                                                                                  i
       infortuation eontained in the Report fairly presettts, in all material respects. the.financial conclition and resu(ts'of operations of the j
     ( Company.
     i                                                                                                   ,                                        I
                                                                                                                                                                  I
     ~ Date:March 3, 2021

                                                          !,i Brucc A. Haustimim
                                                          BntceA. Hattsmaun                                                                             i~
     ~                                                    Chief Financial UtHcer                                                                        ~




                                          Exhibit I- Reference 252; Page 69 of 407

                252. Tlie objectives of the auditor, and therefore BDO USA, LLP in an audit

                                                               of ICFR are to:
(1) obtain reasonable assurance about whether material weaknesses exist as of the date specified
          in management's assessment about the effectiveness of ICFR (as of date) and
 (2) express an opinion on the effectiveness of ICFR in a written report, and conununicate with
        management and those charged with govemance, based on the auditor'sfindings                                                                               '


                                                                    Year 2019
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 427 of 547




 ltupot•roffndependeul Reglstet•erI 1'ublic:lccnuu(htg~Firm

 Shareholders and Flourd uf I)irectorx
 Intcrface.Inc. and'Sulnidiaries
 Atlarmt, Georgia

 Opin[nn on Ihe (.7onsolidriled :Blnuuclal Slnlcmenls


 1Vc havo audilcd ihc aecoutpanying consolidated balanuc:sltects oflntcrface, lne, and Subsidiaries (the "C:otitpany") as, of Deccmbcr 29. 3019 and Clicember
 30.'2t11$, Ihe reLned cimsolidatod slalctncnts or operttions. cumprehenxive income, :md cash tlotvs' Ibr c5chinl't)tc dtr e yean in Ihc peritxl ended l)cccmber
 29,?019, anti thc rclaicd nores and financial s`tntentcut schcdule listed in Iltu accomp:mying index (collcctideh• tcicrred to as.lhe "consolidated financial
 statemont.a'). In our opinion, tlte consolithncd linancial statemcuts presanl titirly, in all matcrial respects, thc linancial poxitiim of Ihc• Compiiny et Uccemher
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 29, 2Ul) aud Uew:eutber.30. 2U13, and tlio results of ils upentivae and it.c cash llow•s li,r each of.tlte tltrec yearsin the period ended I)ecemfler'29, ?O19, in
 confonniry with accounting principles goncrally acccptcd in,thc Unitcd Staltne of Amcrica.

 IVo aLco Lavc nuditcd, in accordancc .tvith tltc sumdurds. of tltc Puhlic Cotnpany Accounting Ch•crsighl Honrd (United St:des) (^PCAQD"), the Company's
 internalcnntrol over financial reporting a's ot'llecember 29, 20I~; has[d oll crllena tlstJbhtihtld in•bneroal C'rntp•ol -lurugrared Front¢ivork.(201j) issued by
 the Coinmitrcc of Sponsoring Organizatious of thc Treadceay Commission ("COSO'~ and our rcport datcd Fc'xttary 2G,.20'_'0 capressed ait unqnalitied-opiniou
 lhereutt.

 Change in Accnunting Principle.                                                                                    I


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 the Cothruiuee of. Sponsoriug Organiz•rtions ofthc Treadivay Commission (••C:OSO':) nnd our report dated fkbrunry''C, 20'_o.espressed .m unqualified opinion
 tltcrwn.

 Cliange inAccounting Principlc


 As discusscd in Norc 1 to tho consolidated Bnancial slTmtents.,thc Company has ehangcd its metltod oi'aceounting for Ieases durinF ihc ycar ended pteantbcr
 29.201) (luc lo Ihc adoptiott oGthc Accounting Standards Codificalion ("ASC") Topic•SA?, bonsu.v ("ASC 13a2").

 Huvie forOpiniun                                                                                                  ~

 Tttcse.consolidatcd finnocial statemcnts aro the responiibility of the.Ctaupany's manngement. Oor respc+nsiliility is to cspresv an opinion on thc Contpany's
 eonsolidnted liu:mcial etatements Ixt,ed on uur audits. Wc aroa public accuuntiitg lin» rcgistcred with•the PCAOH and arc reyuirod ro bc independent u•ilh
,respect to thc Cotnpany in accorrlanca with the U.S. faleral securitics Imvs and the applicablc rvlcs and reoilaPions of ncc Securitics :md L'xchange
 Cnmt»issian aud thc P:C.'A013.                                                                              ~

 Wc cottdtuctcd oqr audits in•accordancc tvith tlic st:utdards of r)tc PC3AOf3. Thosc standards mriuirc Ihal ivciplatt and perfomt thc audit to obtain rcasonahlc
 assur.tnceafiout wlietlter thc consolidated tin:mcial statemcnts arc.free uf material misstatcmcnt. wbetlter duc u) crn r ur lcmd.
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 Onr andils includcd perlitmting procedures.to assess thc risky of tnateri:d misstatumant of the consolid:ned linancial stalemenls. whetlter (lue to errqr nr I'r.tud,
-and perfnnning prucedures that respnnd to Ihose risl:s, Such proccdures inclndcd exantining• on a tcst haxis, ecidcncc rogardiae Ihc :unountsand diselosnres.iu
 the consolidatei3 tinnnciaf stntcutcnts. Our audits also includod ecaluating tttc accountinc principlcs ilsed antl signiGcanr estimaros madc by mamtgcrncnl, as
 tvell as cvalnntiug [he overall pras::ntation of dte consolidatcd lin:tncial titatenteots. R'e believe that our audils {tmvide a reasonahle basis titr odr opinion.
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CriticnlAudit.\Tniter                                                                                              ~




CrilicnlAudit Matter

'fhe critical mrdit mauer comtimnicalcd bt:low i's:a nmtter:trising fruni Ihe citrrLnt perind audit ar the cwudlid;ued tinimchd slatemcnls that was cirtnmunic:ited
or rcqidred to be conunutiicaled to Ihe audit.mntmil(ce and Iltat: (l) relatus io accounts or dinelusures that'areltnateri:il to the con.solidated linancial statentents
and (2) involved our espccially challenging, subjeciive, or cotuplex judgments,'fhe commmnication of critical audit rttatters does not alter in any u•ay obr
opiuion on ttte consolidated financial snatements, taken as a tvltole. nnd tve are nor, by coutmunicatinc thc crilic:rl audit ntatter belon; provitting sepamte
opinions ou ihc criticatl audit mattcr or ou thc aecounts or disclosures to which it relates.                     I




                                                                          Year'2020
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 428 of 547




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   Slureltoldcrs and Boani uf Directori
   L$erface. ]nc. and tinbsidinries
   Adnnta, Georgin                                                                                                        i
   Opinion:nn lLe Conso11d4tcd'Plnuncinl Siutrmcnts                                                                       i

   We have eudited the accompanying.runsolidalcd'bilance sltcels ef Inrerincc•.Inc. nnd Sub.,idi:vies (thc "C.omliaoy") v of Jnnuarg 1 • 2021 aod'Aeccntbor 29•
   2019, dte rclmed consnlidated.statemcnis uf opemtiona• comptclien.aiiv ihcomc (loss). and cnsh llootvs ('oe rnch of dte thicc years-iit dtJ period•cndeii )anuary 3,
   3021, add ihe relnled noles and linancial shnnnent uhedtde listed in ilie necompanying' indmN (collactit)e(y n:ferred to as d)e "cfmsohllated fioancial
   staicntents'7.,In uur opinion. dto wtt_.olidiled linancinl snnemems pnsent fnirly'in all material,respects. the fivancial povition~of thc Campam•'al Jununry 3.
   20_1 and Decentber 29. 2019• aadlhc tcsults'of itx upemtions end its caslt lloas fitr ench of nc.- thrce year.c In t6 period onded .tanuary 3.'_021, in confonnity
   tviilt accotmtiog prhtciples gener,illy accepted in (hc []nitcit Stnles ol'Americn.                                1
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   ',Vc•olso have audited, in accordaocm wi0t tha siaudarcls.of dte I'uGlic Catnpany Accntuuing Ovcni~fu Doa~d (l)nirrd Smrcs) ('l'C;AO[1'). lhc Cnmpvtys
   imontal conirol oeer financial n:lwrting as of January 3.,2021, hased on criteria establishul in Intcmal Contrc~l = hneuated Fnmeivork (2013) issucd by drc
   Cumtnilfce of Spott.Krring Org:mintiotu nf dl e Treadway Canunission ("COSO") und nnr repon dated !~tarcft 3. 2021 acpressed an unqualifed epiniun
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   thereoir.                                                                                                              ~
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   Dncts for Opinloo                                                                                                      I
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   These consolidated financial st nemauts are tlie ticspunsibilily of tite Contpany's manngemenl. Our respdn,ifiility iv ro expmss an upinion on the'Comliany.'s
   consblidmed gnoncial statemcuts bnsed on our audits. R'e nre a publie necounting fimt registered tvilh the 1'('j'AOB-nnd nce rcquircd to ho.iitdepeudent teith
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   BnsLi for Opininn                                                                                                      ~

    Thcse copsolidalcd finaucial statcmcnls aro thc responsibility uf Ihe Cumpanys manngctncnt. Our resptmsibility is to express an opinioo un the Company's
    oonsulidarcd finmtciul.slatements hased on our nutlhs.     are a ptiblie accounting finn registered aith the 1'GAOU mtil are reqnired to be independenrwiih
    t'es{icet to the. Company in accor.Linec tvith the U.S. tedenl .-ecuritics laws and thc appliaable ivles and rdguiations -of thr Securitics and Greltiinge
   'C'ouintissiou nnd rhe Pf:;AOR.                                                                                  I

   Ne condueted our nuelits in ncaudmtec with thu st:urdanls uf tha pC'AOB. Those standards rct)uirt that tco pllan and pertortn dte audit to ubtain rcasmuble
   assurvtee about whcrher the consolidatcxl Pmmtciql :statemcats un: frec of nnaterial mi<siatement, tvhciher duataierroror fraud..
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   Our audits included porfomting proeednros to asset,ti the ri.ckssof nnterinl missnrement nf rhe cans0lidatad tin incial-statnments, whedter due tn error or fraud,
   nnd pcdorming prooedures dtnt,respond to:those.risks.'Sueh proeednres inoludpl examhdng, on n tost basis, evidonee regarding the nmounts aad disclosurea in
   lhe consolid:ned fitvincinl`statenrertts. Otir audits nlso included evaluating the accounting principles' used anAignifiean6 cstiutntes tuadc by nmmngetuem, as
   tvell as evaluating thc ovcrxll presentation of tlte consolidnted fin,mcinl statements. %W.believc that our avdit+ prot idc a rraumablc ha.si9 for onr upiniun:
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  'opinunt on the eonsolidated rivancial etatuncnts. wken as a tvhnle: and ae are'not• by cotntuunicnting tbe, c ,itical :mdit matter below. proiddiug a sepai-aid
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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 429 of 547




                   EXHIBIT 2
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 430 of 547




  ATTACHMENT TO PLAINTIFF'S ORIGIl~AL COIVIPLAINT

     EXCERPTS FROM THE 2018, 2019, AND 2020 ATLANTICUS I OK
                         REPORTS
                                               Source: https://sec.report/Ticker/ATLC


                                               Exhibit 2- Reference 272; Page 78 of 407

272. Under §404(a) of the SOX.Act, Atlanticus is required to annually report on Atlanticus' own
                    assessment of the effectiveness of Atlanticus' controls.


                                                                            Year 2018
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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 431 of 547




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    i                 controf ovur.fcnnitcial re~oriing. Rlanagclncitt7s repctrt is not 5ubjccl to actastntion by our ittdcpcudcnt pu6tic accountingYinit ~ k`''a ~
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                                                                  Exhibit 2- Reference 274; Page 79 of 407
                      274. Under §302 of the SOX Act, Atlanticus' corporate officers must (among
   other thirigs) accept responsibility (as evidenced by individuall' signatures) for the content
    .of Atlanticus's annual §404(a) report. The CEO and CFO rn~st personally certify the
   content of the reports filed with the SEC and the procedures cstabIished -by the issuer to

                                                     report disclosures and prepare financial staterrJents.
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 432 of 547




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 ;               Pursuant to the requirenients of the Sectarities Bschange Act of 1934• os autended, this Repott hns been cigned below by
      ; the following p2rsons in the capacities and on the dates indicated.                                                               i
 .    ;                                                                                                                                   .
                           Signnture                                               Title                                       Dtuc
       i
                      Is'Dacid G. Hannn
                                                     Chief bxecutive OFticer and Chairman of the F3rnrd
       (~              Da~'id G. Hannn               (Principal Executi~•e,Officer)                                      ivlarch 3C1.2019
                                                                                                                                                   .
      .;

                    /sllVillinm R. Mc<:amm                                                                                                         {
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       i            N1911(ntn R. DIcCameg            ChiefFinancial OEticer.(Principal Financial Oiticer)                1`4arch'6, 2019
      1                                                                                                                                            I
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                    ;s/hlitchcll C'. Saunders
      !                                                                                                                                            e
       I             \iitchell C. Saunders           ChiefAccountiug.OfGcer (1'rincipal Accountine Otficer)              A4arch 3G,'_U19            ~

      I              WJeffrey A. Ho.%ard                                                                                                           ,r
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 434 of 547




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                Companles      Docurnents       Forms     Alerts                                                    rickc~r. FICU
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       ~            Al,laffrey A. Howard                                                                                                                 i
       7             Jeffrey A. fIon•ard            Director                                                                  \laroh 26r=019

       I             !w`Deal NV. Hudson
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       ~              Deal 1\'. Iludson            Director                                                                  March 26. 2019
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                     Aincic F. 3Ltttinglv          Director                                                                  Alarch 36, 3019

                  /sThonras G. Rocencrants
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                  Tfiomns G. Rosencrimts           Dircctor                                                                  March 26, 3019                  1

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                  2018 Certification ofPl'illcipal Executive Officerpursuant to Rule 13a-14(a)
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                Companie"s' D"ocument5         Form ° Alerts'                                                 ~ 1"icker, FICO                                L
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       ~                                                                                                                                 Txhibit 31.1 '
 .     1                                                           CERTIFICAr[ONS                                                                        ~
       1 1. David G. Hanna, certify that:                                                                                                                i
       i
                    1.1 have reviets•ed this Report on Form 10-K of Atlamicus Holdings Caporation;

                     2. 6ased on tuy l;uowledge. this report doas not contain anv untrue statement o1`a mnterial fhcl ur omit to state a tn~terial
           facl necessmy to mal:e the stateinents made, in liglit of the circuntstances mider tvhich such siatemeutc tvere tuade. not misleadine ~
           tvith respact to the periods covered by this report; and

                  3. Dased on tny Latowlecige, Itrc livaucial statements: nnd other timucial infonnatioti included in Ihis report. fairiy presenl
       ; in all maktrial respecls the tinancial condition, resulls of operations and cash flotvs of the reeistr.mt es ol; and for, the periods
       i present~d in this raport.
       i
                 4. The rcgistrant's uther.cettil'ying oflicer ancl I are respunsiUle for esrablishing and maintaininY diselosure coutrola and
       I procedures (as deflned in Fschange Act Rules 13a-I5(c) and 15d-L5(e)) and interual control ovcr linancial reporting (as iletltied in j~1 f
       i Exchange Act Rules 13a-15(1) and I id-15(1)1 for tha registranl aud have:
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 435 of 547




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       ExehangeAct Rules 13a-1 i(f).and I5d-15(t)) fiir the registrant aucl havo:                                                                                              +
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                         desigued sucL disclosure controls mtd procedures, or caused sucL disclostire oonuols and.procedures to be,                                            i
                         desi_>ned uttdcr our supervisioa, to ettsure that material information relatin_e to Ihrregistrant, including its
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                         consolidated subsidiarids: is ntade'kuown to us by others tvithui those entines, particularly during the pzriod in `
                         which this iroport is being prepared;                                                                                t
                                                                                                                                              ~
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                         designed such internal control over linancial reporting. or caused'suclt jnternal control over'titumcial reporting ~
                         to bc designed under:our supervisiitn, to providc reasonable assurance regerding tlie troliability uf tinancial
                         reporting and the prepintion of financial stntements for extemal puiposes~in accordance with cenerally
                         accepted accotutting principles:



                c)       evaluated the effectivene:s of the registmnt's disclosure controls and,proc~dures and presemcd in this rLport our t "' • t
                         conclusions about flie etlectiveness oflhe disalosure controls and procediiies. as of the end of the period
                         covered by'tLis report based un such evalitation: au(i                                                            F~

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                d)       disclosed in this report.any change in the regisuant's internal control over!finaucial reporting tliat occun•ed           ?,
   f                     during the registrant's most recent tiscal quarter (the fourth.liscal period iri tho case of an annual relx>i•O tliat has ;
                                                                                                          i                                        i.. •
                         materially all'ecteil, or is reasonablv likely to materially afi'rcl, the registmix's internal control over financial
                         repotting;

   I          5. Tlie regisn•ant's other certifyine officer and I hove disclosed. based on our ntost recant evaluation of internal coturol                                     j
                                                                                                       t
   I over financial reporting, to the registrant's'auditors and the audit corrimittee of registrant's bqard•of directors (or persons
     perfOmung the equivalent fuuctlons):
   j          •                                                                                                                                                                i          .

                n)       all signiGcantdeliciencies and material weaknesses in the design or operatiou of internal control over Guancial '
   i                     reporting w•hiclt.aro reasonably likcly to aciversely' afiect the t'egistrant's asiility to.record, process, sununarize t
   ~                     and report financial iuformatiou; and                                            I



               b)        any fraud, tchclher or not material, tliat involves ut,utagement or othcr emp' loycrs wlio trave a signific:mt rote`in:
                         the tegistranCs internal eoirtrul over financial.reporting.
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 436 of 547




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          ~                 b)           auy frnud• whether or not.matcrinl. that im.•oh•es managetnent or other employees'wlio have n significaiu role in '.
                                         the registnnl's intenial control over fitLineial reporting.

          ~ Date: Ivlarch 26, ?019


          st
          i                                                                                                                 A% DAVID G. HANN.4                                ;
          +                                                                                                                       David G. I-Iannn
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                          2018 Certification of Principal Financial Officerpursuant to Rule 13a-14(a)
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           !~                                                                    CERTIFICATIONS
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               r 1, Willimn R. IolcCmnCy, certify tltnt;                                                                                                                  ;


                            I. 1 have reF•ietced tlr'rs Raport on Form 10-IC ol'Atianticus Holdings C'orporotion:
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               1           ^—. Based on ury k-nowledge, this reporl does not conmin nny untrue st:ucmeut of a malerinl Ftct or otnit to state n tuaterial I
               ~ lact neccssary to mnke thc stiatemcnts matle. iu light oC tlte circunutauces irn<Icr which sucli starcmcnls.rerc tuode, not utisleading 1
  t            ~ u•ith respect to the periocls covered by this rcport; and                                                                                j

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               f            3. Based on my knowledge• the Gnancial statcments, aud otlter finencial inforrnnticnrlincluded in this report. fairly present. ~
               ~ III aIl nlaterinl rCSPtcts IIrC Ln:I11c1nI condltlOn. 1'estllts'ot ol)2rntlolls Ond Cash Ilo\Y% ot tlle reQt$Irnnt Rs.of tnld IOI'. thC PCrtods
                   psrsented in this mporr.


                            4. TLe regisu•ant's other certifying otficer ;tnd 1 arr responsilile Cor estnblishing antl mairitaining. disclosure cl?nu'ols and
 ici • , tnocedures ~•~s dciined in L-schan ge Act Rulrs 13a-15(r) and 15d-15(e)~ •~nd iutornol control over linancial rePorting ~•~s defined in .                                   '
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 437 of 547




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                                      4.'l'ha rtpgistnnt's nther certifying ol3icar and I are responsilile.for 2stablishiitg and ntiaintairiiitg disclosure contrvls anti ;
                             proctklun.'s (as.deliried in•F«tchanga Act Itules 13a-1'5(c) and ISd-li(a)) and internalcona•oPoi•ar 6naucial raporting (as defned in i
                             EzcltnucuAct Rulcs 130-13(1) ntid I5d-l5(1)) for tl+c registrnnt and bavc:                                                                   ~
               '                                                                                                                                                                   I                                       •

                                         a)               desigtted such disclosuro conu•ols :md procedures,.or caused such ciisclosuro controls and procadures to be                                                      f           '
                                                          designed under ciur supervision, to ensurc that tn5terial iitfomuttion rcl:itingFto ttie registrant, including its                                               j
       °                                                  consolitlatod subsidiaries, is nia(lc l;nown to t+s by otlicrs ttithin thox cntities, pnrticnlarly during tite period in                                         ~
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                       !                 c)               evaluattxl the elTc•otiveness ol'the ret:istrant's disa:losurc controls and procedures
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                   ~ I>rrfotiniug the cquiv:'tlent functious):

                   i                    a)               all sienificant deticieucie; aud material treakncssas in ihc design or operat on ot' idtcrnal control over ftnancial '
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  ~                       li)          any fraud, witether or not maratial. titnt involves management or otlter cuiplovcas who llave a signifcant role in !.                                             '
                                       the registrant's'internal control over livancial reporting.                  '
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 20'18 Certification of Principal Executive Officer and Principal Fiilancial Officer pursuant to 18                                                                                                          :
                                       U.S.C. Section 1350          ;




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         i           '1'ha undersigned• as Iie C:hief t„teculivc Officer and C.hairman ot`tho Aoarci: and'aslrhe Cltiaf Finaucial Ofticer,                                                        +
        .i respecti'vcly. ofAllanticus Holdings Corporatiou, rertify ihat• ro iltc hest of their fmowledge and beliaf, the Annual Feport om
  i        Form 10-K lor ttte year ended Decemb'er 31, 2f118, .which accompanies this certitication fully camplios tvith Ihe requirerncnts of
  I
  I+. . b Section 13(a) of the Securities Lxchange Act of 193•1 and'tlte information coutaiited in the periodic report fairly presents, in all                                                    t
        ~ matetial respcccs, the fnancialcondition and resulis of operations ofAtlanticus lIoldings Co~poraiion at tltr d'ates'atid tor tlie                                                      li
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         j periodi indicated. The foregoing c"e.rtifications are made pursuant to Section 906 of the Snrbaitcs-0xlev Act:of 3002 {1S iJ.S.C.                                                      {
        ; Sectiou 1350) and shall not be relied upon for any oiher purpdse:                                 I
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          ~              This 26th dov ot' hdarn:h, '_019.


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           ~           Purstcmf to tlic riequirements ol'Ilte Securities Exchnnge Act of 1934. as amtndad. ibis Report has beeu signe(I belo«•
           ; by [hc lidlowing persons in thc capaciiies and ou tLo datec indicated.

                              Signirtttre                                                'l'itic                                       llnle

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                        !cT)avid G. Hanna
                                                          (;bizf Executiae Olticer and C]mimran of tlie Honrd
                         Dncid G. i.1»nnn                 (Principal Exccmiva OCu`ccr)                                           tiiarch 30.2020



           t         JtMillimn R. NfcC:nmey

       !              \1'illinm R. dlcCarnev              Chieffinaiicial Ofticer(Principal Financial OOicer)                    March 30, 2030

           ~
           ti        %sMitchcll C. Saunders

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                      !s/JefYrrevA. Howard

                       Jeffrep A. FIorcnrJ                Director                                                              illareb 30,30_'0              +


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       i                Uen) \4'. Hudsan'                 Director                                                               Marclt 30. 2020

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       i               \lack F.;•[attingl}'               Dircctor                                                               Nlarch 30. 2020

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                   Thomas G. Rosencrorots                 Director                                                               Marclt 30, 2020
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                       201.9 Certification of Principal Executive Officer pursuant to Rule 13a-14(a)
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           j 1, David G. Hanna. ccrfify thnt:                                                                                                                                  ~
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           ~]           1. I have t-nviewed this Report on Form 10-K o!'Atlanlicus Holdings Corpontion;                                                                       !,
  '        +                                                                                                                                                                   f

             fj       2. 13ased ou mv knoivledge. this report does not contaiu any unlruc stalement of a m' aterial fact or ootit to stute a
           ~ material fact ueccssary to make the stalentents made, in ligln of Ilte circutustances under tvhidi such stateuients w•ere otade, not ;
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           ? misleading witlr respec[ to thc. periads covercd by tltis rcpott: vid
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           f present in3.allBased on mv kuowledge, tlte financial stateuicnts, and other tivancinl infonnntioir iucluded in thie report, lairly
                             material respects the tittaucial condition, restdts of operations and cash }lotvs of ihe regisirant as of. and fot.. the
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          i pct`iods presented in ihis report:

          :         4. The registrant's other certifyine iiflicer and 1 are responsible fiir establistring mid'ruaintaitting diselosure controls and
          ~ procedure> (as cleiined in ExchangeAct Rules 13a•IS(c) and 15(1-15(c)) and interual control over tinanci:d reportiug (as dcfincil ;' m•≥
     ;    1 in Exchangc Act Rules 13a-15(t) atid 15d-15(1)) for thc registrmt and have:




              Cotnpnes Docurtients                        Forrris~r Alerts '-             `--;       -'^-                       -- --    r fc6er:r1TLC
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                        A. "!'lie registi•ant's other certilying olFcer and 1 are responsible for establishine and:roaintaiiune disclosure controls and
           j proccdures (as defined in 6schange Act Rules 13a-15(e) and 15d-15(e)) and intemal control ovei• linancial reporting (as derined
          s in Exchange Ac1'Rules 13a-15(I) an(l 15d-1,5(t)) for thc registr:mt and have:

         !              a)          designed sucly disclosuee controls aud procedures• or caused such disclosuix controls and procedures to be                                      .
         !                          decig»ed uuder otu'supen'ision, to ensure that utaterial infonnation relating to the registrnnt• including its
         ~                          cousolideted subsidiaries, is made knowtt to us by others within those.entities. particularlv durin¢ the period
         ;                          in which this report is bcin~., preliared:

 •       f
          j             b)          designed such internal control over financial reporting. ot• caused such intemal contral over tinancial
          ~                         reporting to be desigucd under our supen-ision, to provide reasonable assurance regarding Ihc reliabilitv of
          ~                         ❑nancial reporting and Iht: preparation of linanciol statements for externa4 purpqses in accorchutce tvitlt                                         j
          ~                         Lenually accepletl acwunting priuciples;                                                                                                            ~


                        c)          evaluated die eCli•ctiveness of thc registrant's diselosurc controls and proccdures aud presented in this report                                : 3
          ~,                        our conclusions about the cfiecliveness of thc disclosure coutrols and proGedures, as of the end of thc period                             !
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 443 of 547




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                           c)            erduoted tlJc efl'ectiveness of tht JLgistr.lnis disclosure cotttrols and procedurcs and presented in this report                                         ~
                                         our conclusions about the:efCectiveness uf the disclnsure controls and procedurts, us of lhe end of the period                                            ~
                                         covered bv this'report iiased on stich evaluaiion: and                        i                                                                            r


                           d)            discloced in this:repoJl any cltange in the registrant'_ iutemal conlrol overItinancial reportingtltat ocu:urred
          "1                             during the registrnnt's most recent frscal quarter (the Courth riscnl period in lhe case o£an annual report)'that                                         !
                                         has materially alYected, or is raasonably likely'to rnaterially aRect, the re_eistrant's internal control ovel•
            I                            finnneial reportiug;                                                                                                                                      1̀

                                                              tTi
                       5. Tltz registrdnt's other certifying ocer   and Jhave disclosed, hased on our most lIecelJt evaluation of intemal control ~
 I          i over linancial reporting, to the registrnnt's auditors and the audit.comniittee of,regi.ctrant's h6ard of directots (or persons     ~
            ~ perforrniug the equivaleJtt lunctions):

            i               a)           all signifiaant deficieucies and tnaterial tveakne.sses in ilre design or oporation ot=intcrnal controJ over
            )!                           financia6rr.portiiJ2 tvhicB a re reasonably likely to adversaly affecl the:re_istrau['s.ability to record. pmcess.
                                         surnmar•ize and•report frnancial infornlnrion: and

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            ~                            in the reg.istrawt:s iutemal control over Gnanciol reporting.                                     i

 t ,.            Date: MarclJ 30. 2020
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                         2019 Certification of Principal Financial Officerpursuant to Rule 13a-14(a)
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 444 of 547




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                                                                                 CF..RTIFIC:ATIONS                                                                              j
            I                                                                                                               ,
                ; 1, William R. \3ct'amev, certify tltat:
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                           1.1 have reviewed tliis Rcport on Fonn I O-K ofAtl.•tnficus Hcldings Corpurrtion;                                                                    ,
            i
                           2. Based on my knotvledge, tttis report docs nol cotttain any untruu staletnent of a materisd t'act or ontit to stato a ~
                 utaterial fuct ueccssary to make the stalcntents made, in li2ht of the circumstances uttder which such statements tvere made. not
                 misleading with respect to the periods ccrvered by this report: attd

 ~                         3. Based on my knowlcd_ e. the financial st:aeutents. aud other tinancial information included'in this rtport. litirly
                  presant in all materinl respects tlte tinaucial condition, results of operations aud cash flotvs of tlte registmnt as ol; and for, the
                i periods presenteti in this reporl.


                         4. The re~istrant's otlier certifyvtg officer and I are responsible for estoblishing and utaintaining disclosure controls and.
                 procedures (as defrncd in ExchnngeAct Rules 1:1a-15(e) and l5d-I i(c)) tmd intemnl controt over linanciul reporting (as deGned ;
 ._.. ___.- ---- -•-• ---- _..._.:•- --                     -___ __._ ._.... _-- - ------- -                -•---.. ...             . .           - - --- -     - ---- - ^ --,_
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                         4.'rha reeistrant's other cettifying ofticer aud I are responsible for establislting and maiutainiitg t{isclosure couteols m1d
                 proceduros'(as tlefined in ExchangeAct:Rulas 13n-15(c) and 15d-1S(e)) and intental control over financial reporting (as defrned
                 tn E%chnngeAct Rttles 13a-15(tj and 15d-li(t))1'or the registr:utt aad have;
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            ~              a)        designed such <[isclastve conirnls and procedures, ur crutsed suclt disclosnre coutrols and proccdures lo be .
                                     ciesigned uucler ottr supervision, to eu.sttn: that material information relatintt to tht: registrant, including its
                                     consolidaled subsidiaries. is made l:noxtm to us by others a•ithin those eutities, parlicularly during the perio(l                         ,
                                     in which this report is being prepared:


                           b)       designe(I sach interntrl coutrol uver financial reportitrg, ur causetl suclt tutemal ..ontro( over iinaucial
                                    reporting to be de;igned tmder our supen•i.ion. to provide reasonable assttrance regardiag tho reliabilitv ot.
                                    linaucial reporting and the preparation of linaucial stalements for externnl purposes iit accordance tivith
            r                       generally eccepted aecoun[ing principles;                                                                                                              t
                                                                                                                                                                               : .,,...1:

                           t:)      ev t)uated the ctTectiveness o1'the registrant's disclosure controls nnd procedures and presented in this rcpqrt                                  .iu i
                                    our cqnclusion.s about the etTectiveness of tlie disclusurr controls aud procedttres: as of the end 6f the period                           ~
            t                       covered by dtis report based on suclt evaluaticni; and
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 445 of 547




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 ~.                                            our.conclusions aboucthe etlrctiveness of the.disclbsure controls and prqcedures, tis of tlte end of the period
                                               coverect by,thi's repoi•t based on suclr evaluation: anii                   i


               t                d)             disclosed in this report :uyy change in thc registranl's intemal conlrol ovei liunncial reponing that occun'ed                                                         ~
               ~                               during the regisiranta most receiu tiscal qtiarter (the fourtlt tiscal period ~ n the case•ofan annusil report) that
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                                               has materially-affecte(L. or is reasonably likely to tnaterially aticet, the.reustrant's intcrnal'amtrol over                                                          1. •'
                                               financial repotxing;                                                           I
 ~•                                                                                                                                                              ~                                                              '       .
 j       •                   3. The registrvit's otlie'r'certifying officer: and l have disclosed, based on ourmostlrtcem evaluation ot internal control
                    over financial reporting. to the registr•aiit's auditors and,the audit caumiuee of reaisn•ant's lioard of dii•cetors (or persons     ~• .
                    perfonning Ihe aquivalent.Cunctiotis):                                                           ~
 I_          ' i                                                                                                     •                                        ~                                                       ~                 '

                                a)           all signifivatit deliciencics and material weaknesses in dte design or oper lion of.intcrnal control over
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               19                            6nancial'reporting wbich are rreasonatil v likcly to.adversel,v atFect the re~;~strant's abilit y to r.u:ord, process.
                                             sumtnarize.and raport tinmn cial inforcnation; tmd                           l
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2019' Certification. of Principal Executive Officer arid Principal Fi- ancial Officer plirsuant to 18
                                                                                     U.S'.C. Section 1350
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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 446 of 547




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t -i                                                                                                                                        ~                                                          r'.          •
              i           The undersigned, as the Chief Executive Officerand C'hainitan of tHe Board; and as the Chiet' Financial Ofiicer,                                                            t
              I re,pectiyel'y, ofAtlanticus Holdings CoiPorStion, cer(f1y thal, to the besl of tlieir Iptowledgi aud.belie( tbe Annunl Report on                                                      j
                Fonn l0-K for the year ended Deceruber 31, 2019, which accompanies tttis certifrcation fillly cornplics with the requiretuents ql'                                                    ;
                                                                                                               i
              + Sectioa 13(a) of the-Securities Excli:mge Act of 1934 ,md the infnrniationcontained iu the jseriodic report fairly prescnts, in all
                ivaterial respects; the financial con(lition and resnits of operations of Atlanticus Holdings Cf orporation at ilie dates and fitr the                                                l         `
             : periods ittdicated. The foregoing cortiHcatians are made pursuant tn Section 906 of the Sarlrancs-bslcy Act of 2002 ( l8'U.S.C:.                                                       t         +
                Section I350) and shnll not be relied upon:for any other•purposc.                              i                                                                                                y
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             • ~,        This 30th day of March, 202U.,
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t • ,~                                                                                                                                      I Chairma,r•oJ'rlrc hnarzf                                {'        .

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              ~                                                                                                                             I William R. b4cCamey                                     ~
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     Il          A sigried original of this tvritten sfatemenvrequired.by Section 906, or other docupient aruhenticating. aclatowledging,                                                             ;
     ! or olhernvise adopting tlte sign:uure that appears in typrd fonn within thaelectronic version of tlris written stmement required by                                                            t'            !
I. Y ~ 3ection906, has been provided toAtlautieuiNoldinss Corporntion:uid trillbe rornined liylAtlanticus HoldinGs Corporation and                                                                    ~
;•    f futnished to the Securities and Exchange Coumiission orits staffupon request.               I                                                                                                 f

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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 447 of 547
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                           Pursuant to llte requirements of thd Secvritics Exchango Act of 1934. as antcnded. thi; Report has lx:en signed below by             ;
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                  -eCompanies         , • Fo.Prns Ale.rts
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                         Pursuaut )o the requirements of tlie Secut•ities Exchange Act ol' 1934, as ame,ded, lliis RrNor1 I)as becn signeci belolti• by         t
               the follolving pctsons in thc cupacilies and nn thc dates.indicated.
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                                     Sigunlu, re                                          Title                                      Dnte
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                          .'s/ e rep A, Howarcl
                                                          President..C'hief Executiee Oilieer a,td Director (Principal
                           JeffreyA. Floll•urcl           Executive O1licar)                                                   March 31, 2(1'!1
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                         (srWilliom R. h-Iccamry,                                                                                                               i
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                         «`illinm R. ;1lcCilmey           Ghief Financial Oflicn• (Principal Financial Otlicar) ,              March.31. 2O21                   `.
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          ~              !s/Mitchell C. Snuoders

          '              A1iteLell C. tittuttders                                                            '
                                                          Chief Accounting OfGcer (Yrincipal Accountin ? 017icar}              ,~larch 31, 2021                 ~I
          I                                                                                                 ~
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    Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 449 of 547




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                       I            \ •[itchell C. 3ounders           ChiefAccouunng Uflicer (Principal Acciiunting U~iier)              March 31. 2021         1
                   ,
                                     /s'David G. Hanna                                                                  II

                                      David G. Hnnita                 Execu tive Chaitan
                                                                                    m of the Doard                          j            Marcli 31. 20''1


                   ~                 /sDenise Nl. Harrod                                                                I                                       (

                                     Donise ilt. Hai•rod              Director                                          I                Morch 31, 2021         `
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         t             j             isQkal       Hudson
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                       ~              Deal VI`. Hudson                Director                                                           Ivlarch 31. 2021
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                       ~               Jonnn G..lones                 Dircctnr                                                           M:ach 3l; ?031         r,      ~

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                                      Joimu_G..loncs                  Director                                         y,                March 31, 2021             i
                  i                                                                                                                                                 I   .
                                    ,slMnck F. t.-lattingiy
                   t                 illnck F. :13icningly            Director                                          ~                March 31, 2021         .
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     ,                            is.rfltomasG..Rosencnnts

                                  Thontns G. Rosencrnnts              Director                                          I                Niarch 31, 2011
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                                  2020 Certification of Principal Executive Officerpursuant to Rule 13a-14(a)




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              ,                                                                                     CERTIFIC:►TIONS
              , 1, JeiPiry A. Hotvard, certify that:                                                                                           i                                         1

                                 1.1 have revietved this Report on Fortn'10•K ofAtlanticus Holdings C'orp'nrarion:
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                               2.:BasLcl on nry knotvled_~e, this repad does nol confaiit any uultve stntcutent ofa material f:rct or omit w stata a material j
                      fact necessary to tnake the statenients ma¢e. iu liglit of llie circumstances under tvhiclt such statemcnts weie made, not niislead'nrg i
                      with respect to theperiod's covered by this report; and                                                                               -~
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              r                                                                                                                                ,                                         ~
              ~           3. Based on my ktrott4edge• the frnancial statements, and otlter linancial informatioq'ineluded in tltis reptut, tairly.present t
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              ! in all inateiial respects the tinancinl condition, results o}`operations and cash tlows of tlie.tegisttaut as of, aud i'or• the periods   (
              i                                                                                                    t                                      ,
                presented in tliis reporl.

                        a. Tlie ragistrant's other certi]ying olTicer and I are-responsible'l'or establishing and miiintaining disclosure eontrols and
              ' procedures (as deftned, in Exchange Act Rulas' 13a-1 j(e) and 1:d-1 S(e)) and iutenml control pver linancial reporting (as de8ned'iti ~..gi I!
                Exehange Aa Rules 13a-1':(f) aud 15d-13(i)) for tbe registrnnt and hnve:                          ~                                    t. i
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                                                                                                                                          ..•      ..;`._.__._._~_r  --~. ~:.~i::._ `f1
 I            j Exchange Act Rttles 13a-15(f) and I5ii•I5(f)) for thc registrant attd haee:                                                                                    '

                                 a)            designed such disclosure controLs' anet procedtires, or caused such disclosuSe controls and procedtcres to be
                                               designed ttnder our sttp2rvision, to etisure tltat material ittformation relating to tha ragistrant. ineluding its
                                               emtsolidsted subsidiories, is tntule kuown to us by others ivithin (liose etuities, particularly during the lieribcl in                   ,
                                               whiclt this report is being prepared;                                           ~
                                                                                                                                               t                                              , .
                                 b)            designed such intetnal control over tinaucial reliorting. or caused sucli inttnial controt over fina»cial reporting
                                               to he designed under our supervision, to provide reasonable assur-attce regarding the reliability of Gnancial                             I
                                               reportine attd thc pttipai•ation of financial statements for. exterrial purposes in accordance with generally                             ~
             t                                 accepted accountinu principles:
 ~           C
              ~                  t:)           evaluated thc:cliectivcucss'of the registrant's clisclosnre a.mrrols and procedure, and prescnted in this report•our 1
                                               couclusions about thc ef2®ctivcness of thc disclosure conu•o1s :utd procedures, as of tho cnd of rhe period                                        t
             t                                 coverecl by tltis report base(I on such evaluation: nud
              f
             I                   d)            disclosed in this report:any chauge in tlic registrant's interual control over'(ivancial reporting that occurred
 t           .}                                duriug tlre registrant's most recent fiscal qunrter (the 1'ourth liscal period in the case of an aunual report) that has ~~
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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 451 of 547




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                       d)        disclosed in this report'any chattpe in the regicuant's ituernal control ovcr i innttcial'rcponulg that occurred — —
      '                          duriug dta registrant's nwst'reccnt fiscal quarter (ihe ti~urth fiscal Pcriod inl the case uf an annual report) that Las ;
                                 ntateri-tlly all'ected, or is raasonably likely to materially aft'ect, the i•egisintiis intet-nal contirol over financial
                                                                                                                    ,
                                 reporting;

          I            ?. The registtant's othtr ccrtifying utTicer and I Itave disclosetl. bnse(i on our tnost rtcent ev-aluation of intetnal coutrol           ~
              over financial t-eporting..to thc registnnt's auditors and tlte audit conunittec of rtgistrant's buard of directors (or persons
              perfomiing the cynivalent ftmctiuns):


                       a)                icant deficiencics aud material tveaknesses in the desigu or olieratioti of internal conunl over linaneial
                                 all sign6
                                 reporting tvhiclt are reasonably likely to adversely affect the registtanis abtlity to record, process. suntntarize                      .
 ~
                                 and report finaucial inforntation; imd                                                                                          ;


          ~             b)       any fiaud. tvhether or nnt ntateriol, that involves tnanagetnent or other etnl~loyces tivlio have a signiticaut role iu:~:'
      ~
          I                      the registrnnt's internal crnurol over financial reporting.

              Date: March 31, 2021

~.. ~                                                   .              .
          •~Coinpariies      ~: Doaumetits Fotms> i Alerts                                                ! Tcket: ATLC
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    l                  li)    any fraud, wltethar or nut utaterial. that involvcs tuanagemcnl ur other entployees tvho have a significanl'role ln I 5
                                 the registntut's internal control uver financial reporting,                                                                         I

      I                                                                                                             i                                                t
      I Date: tiiarcli 3l, 2l)21                                                                                   ;
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                                                                                                                  fsl JEFFREY A. HCIWARD                             i
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                      2020 Certificatiion of Principal Finaricial Officerpursuant to Rule 13a-14(a)
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 452 of 547




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         I I,.R°illiam R. D+IcCamey, certily tbat:
 ,                                                                                                                                                        I
         i
         ~            1. I have reviewed this Report on Forin 1 U-Ii of AClanticus Eloldings Corporation;

                       2. Based on my knowledge, this report does not contain any untnte statement of a ntaterial fact or omit to state a material t
             1•act necessary to make [hc statcmcnts made, in ligLt of the ciibutnsmnces undcr «hich such siatements x•ere madc, not misleading
                                                                                                          ,                                                     .
             tvith respec.t to'thqperiods covered hy ttiis report; and                                    I


         ~            3. Basecl'on my ]:note•ledce, the financial statements. and other 6nnncinl infonnalion inclucied' in Ittis reporl, fairly presenl ? r _
          j in all niaterial respects- tha tinancinl condition. results of operntions and caslt llotvs of ihe rebistrant as of, and tiir, tlie periods
                                                                                                                 t
         ~ pn:sentedin this report.
 t       i                                                                                                                                             , ~:•~:..I
         ~           4. The registr-ant's olher certifying oflicer and I:ue rt5ponsible for establisliine and maintainiug clisclos•ure coutrols and
             procedures (as defined in ExchangeAct Rules 13a-15(e) and 1 Sd-15(e)) and ititerital control:over financial reportin-    g(as dafiited in t


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                 Co[nPantes      Documerits        Fdrms— ;Aldrts ~                                     ,   ' ? Ticker: ATLC

 E       _--1----------=- -. ..- - -- . _._._ . _..__. __                           , -_. _._._.. .~__ ~ _ .~_.~~Tw~ ~ ~~~•                                   =a
                   4. The regisuaut's mher cartifyiug ofticer and 1 are respousible for tstablishing and tiiaintainin¢ disclosure controls and f
         ~ prooeduies (us defined in Exchauge Act Rules 13a-15.(e) and 15d-15(e)) and internal conlrol itver linancial reporling (as definei in ~
 :       ! Eachange Act Rules 13a-15(1) and 15d-15(f)) for the registrant and have:                                                             !' •,

                      .a)       designed suoh disclosutr controls and procedures, or caused such-disclostve controls and.procedures to be                 ~
                                designed under our supervision, lo eusure that nlateriei inl(innmion relating to the registrant: including its            ~
         I                      consolidated.subsidiaries, is made known to us by otbers within iltose entities, particularly durinc the period in        j
         i
         '                      tvhich this report is baing prepared;                                                                                     ;
         t                                                                                                    t                                           t
         I            b)        designed sucli internal control over Hoancial reportiue, or caused suclt intemnl control o'ver financial reportinc
 o       I                      to be dcsigned under our supervision, to provide reasonable assurancetre~arding tlic reliability of financial             ~
         !                      reporting and the pn pamtioa nf financial statements `for eztemal purposcs
                                                                                                        -tInaccordanca svith genenlly                     ~    :
         ~                      occepteciaccounting principles:

         I                                                                                                                                         •     ~.   _,~
         !            c)        evaluated the effeotiveuess of the reeisttaqt's disclosttre controls and proce'dures and presented in tllis report oui !
         i                      conclusions about the etTectiveness of thc disclosure controls and procedures. as of the cncl of Ilic period           l'
         I                      covered by this report based on suclt evaluation; aud                         t
                                                                                                                                                       F
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 453 of 547




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 i       ~         M          ~    covered hy Ihis report based on sttclt evaluation; aud

                         d)        disclosed in this report any change in the registrnnt's intemal control over financial reporting that occurred            1
                                                                                                                     I
                                   duriug tlie registrant:s wost recent tiscal quarter (the fourth liscal period in tlie case of an cumtial report)that ]tas ~
                                   tnaterially atYected, or is rensonably likely to materially ntZi:ct, the ragist,atin's interital control over financial
                                   reporling;                                                                        I
                                                                                                                   I
                      5. The registraiu's other certifying diticer and I have disclosed, based on ourmost rrcent evaluationrof internal control
             over financial reporting,. to thc registrant's au(litors and the audit conunittce of registrant's hoard of directors (or persons
              perfonuing the eqttivalent lunctions):                                                                                                                I


         i               a)        all signiticint deficieneies wd material tveakncsses in tlte design or operation of ittternal control over finanoial             ~
         ~                         reporting wltich are reasuuably likelv lu adversely al7ect the registr.ntl's a[jility to recard, process. sunnnari2e
                                   and repon financial itifomtation: aud

                         b)        any fraud. tvhctlter'or nol'tnaterial, tlial 'utvolves mana,emenl or ollier crnRloyces wlto itnvc a•signiticanl role-iir
         ~                         the resistrtnt's internal control over financial reporting.                                                                              j
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                       mpariie's Doctiinents Eorms ,Aleit's ~                   V ^ -.          J—^. — " `        ;W Tirker. aTl_C)~a

             ~                      and report futancial iqfonna[iou: and                                                                                -~
     ,
             `               b)     any fi•and, tvhethci• or not material: that involves management oi• other etuployees tvlio hdvc a sigitificaut rule in i
     •       ~                      thc re@isu:+nl's intern~d•control over financial reporting.                   ~
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     .       I Date: Marclt 31. 2031                                                                               i                                           I.
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             ~-----          '------.Y.._. _ _._._...._..--- . . , —, ~--- -•--'--- ---c                      -._ ".t__-_ . ._.. _ . _..._.._._._.._           ~ -I




 2020 Certification of Principal Executive Officer and Principal Financial Officer pursuant to 18
                                      U.S.C. Section 1350
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 454 of 547




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                        Corripan'ies Documents Forms ;Alerts                                                                              TickerAfLC
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          i.                                                                                                                                                     rchibit 32.1. ;

              y                                                                 CERTIFIC 1rIO'\                                       I
          I                                                                                                                           I                                                 ,
          ~                                                                                                                           i                                                 1
              t                The undersigned: as the President and Chief.Executive 17iTicer, and as the C'hief Finaacidl 017icer, respectively: of

              l
               j Atlnntieus Holdings CorpSrntion. cerlify that. to the best ottheir kuo+vledgeeoanplias
                                                                                               and belief, thc A+inual Repott on Fonn 10-K for the
                                                                                                                 ,
                                                                                                        with the requirements oC Section 13(a) of:the                                   '
                year ended llecamfxr 31. 2039. which accomp.wies this certiiication fully
              I Securities Exchange Act oE 1934 and dte inliinualion contained in Ihe periodic repod fairly prescnu>, in all tuaterial rs.spects, the
                fin:+ncial condilion and results of operations ofAtlaNicus Hol(lici_s C:urporation at the (4•ues and for the periods indicated. The
              t foregoing certilicaliuns ore uiade purs•uant (o Section 906 of the Sarbanes-OSlcy Act ol'2002 { I s IJ.S.C. Scctiomt 135(1) and shall
                  not be relied up+in,tiv any olher puq)use.                                                                                                                            '
                                                                                                                                                                                                ,»~
                               This 31st day of Mnreh, 2021,                                                                                                                            1



                                                                                                                            !sr JIiFFREY A. HQWARD                                  .~.
          ,                                                                                                                       ,leflieyA. Howard                                     . .
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          I                                                                                                                  /s1:,lEFFREY A. HOLVARR
                                                                                                                                   Je(freyA. Howard                                         f         ;
          I                                                                                                                                Rresidenrrind                                 !
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          t
          ;          A signed original ol'this ivriuen statetnent requirad by Section 906. or other documcnt authenticating. acknowfedging. or. ,
          ~ olfterwise adopting tlte sisnature that appears in typed fenn within,the cldctronic version of this written statement required by   i
            Section 906. has baen pros'ided to Atlanticus Holdings Corpi+ralion and will be retaiueci hy Atlanticrvs Iloldings Corporotion and.
            furnished to.the Securities and Exchaap,e Cummis.ciun or its sralTupon rayuest.                                                     !~
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          ~-~v.-`----~-.-•++_--.._                 .,..r _.-.. .,~...~-..-..   __~    _.__..._._.._...       .. ._f..~   .._ .               _.     _ .   _   __._       _. _.__

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                                                        Exhibit 2- Reference.278; Page 83 of 407
     278. The objectives of the auditor, and therefore BDO •USA, LLP in an audit of ICFR are to:
(1) obtain reasonable assurance about whether material weaknesses exist as of the date specified
                in manageinent's assessmerit about the effecfiveneis of ICFR and
 (2} express an opinion on the effectiveiiess of ICFR in a written report, and communicate with
       management and those charged with governance, based on the auditor's findings.


                                                                                     Year 2018
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              1 Cornpa_nies                                                                            r M—                              Ticker: F
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                                                       Report or,lodepeudetri kty;(slered })ublicAcrnnnting f

                  Sharcholders nnd Board of Diroctots
                  Attanticus Holdings Corponition
                  Adaula. Georgia
                                                                                                                                     ~
  1               Opiuion on tlie conxolidated Pinuncial Statententi                                                                                                   j
                                                                                                                                                                      !
  ~            We'have audite(i rhe accompanying consolidated.balance sheets of Atlamicus lloldings Corpontion (ihe "Company") atid                                   i
  ~            subsidiaries as of December.31, 2013 and 2017, the related consolidated statements otc*perati'ons• comprehensive. incomo (loss):                       ~
               shareliolclers' deficit, and cash 11:itvs for eadh of tbe two years in the period cnded Deccntbar 4 1. 201 t3.:and tha rulatecl notcs
              ~(coller:tively referred to as thc "consolidate•d financial statautents"). ln our opinion, the consolidated tinaucinl statentents presetit              '
               fnirly: in all m;rterial respecls, tlie 4nancial position of the Cotnpany and;,ubsidinries at Decetiiber 31. 2018 and °017,:nnd the                    ~
               resullx of their operalions and their cash pows for each bl'thc two vears iu the period euciecl DLeutber 31, 201 S, iu coul'omlity                     t" '
              Iwith accouutiug principles generallv accep'ted in the United States ofAtuericn.

           ~ IInsis for Opinion                                                                                                                                            w r~
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                  ~BasicrorOpinloii -- --•-----

                    These consolidated tmancial stntements are thc respansibiiity ol'tlrc (;amp:my:s mnnngemcnt. (.)ur responsihility'is to express.nu            ,
                    opinion an ilie Crnnpahv's con'solidatL•d iinancialstuuGnents bascd on our au(iits. NVa arc a pulilic accounting tirm registcred witlr        ,
                  ~ tha Rtblic:Cinnpany Accvunting Oversiglu Boartl (linited Statcs) ("1'CA013") and ore rcquirul to lit indepcodent witlt respei:t lo            '
                  t the Company in accotilance tvith ihc U.S. fedcral sLwurities Invs and tht applicablc rules ar.d ~gulatious of the $Lt:urities and
                    EschangcComntissioa and tlte PC:AOL3.
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              t                                                                                                                                                   f
              ~VVe conducred our nuilits in acconlancc With thc_ standartls ot'thc PCAO[i. Tltosc standanls rc,quire that tve plan ru:d "perronu the     y
                audit to obtain roasonable assannce about tvhelher the consolidatcd financial statcmcnts are frYc.of material misstatement.
              % tcltelher duc.to t:rror or tnttd. Tltc Company is not reyaired to havc; nor wcrc: tva eng;tgei[ to p,crtbrm, an audit oi its inrernal
              ~ coittrol over financial reportiug. As pirt of ottr audits tvc are rcyuired to obtain an undrtstanding uf iuternal eontrnl over fruancial ,
              t reporting but not•for the purypo9e of c.ylressiug an opiuion on thc elTectivene.cs oi'tlte Company's nnemal control over frnanclal'      y
              ' mporiiitg. Accordingly, we Lrpress no sueb opioion:
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         ~ Ouraodits includcd perfntmingprocedures taasscss the.risls ol'ntalerial misstateuient ofthc cansalidatcd linnitci:d statcnrcins,
           trhether duo to error or rraud, :md perConning procedtues thnt respond to those risks. Stieli pro'cedttres included examining, on u.
           test.basis, evidencc reg-arding tlie :mtounts and disclosures in thc consolidatcd fmuncinl'smtanteuts. Our audits also'includcd
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      t               rcporiing. rlecarclingly, tve exprusnn suclt upiuion.~

             ; Our audits incli[ded.liertornting procedures to aiscss tlie risks of ntatcrial.misslatcmenl uf the coustilidated ittiancial s[aleroents.
                Whethor eine to orror or 1'mnd, and performiugi procedures tlr.rt respond to those risks. Such proczdures inelnded ucamining, on a
                                                                                                                 I
                tcst basis, evidcace reprding the amuunts and disclosures in tha.consolidated Gnaucial s[alen icnts. Our audits also includcd
              i evalimting tha accountine prirtciptes t7sed and sig,niticant estinlales made bv managemcnt, as ivell as evailuating.thc ovenll
                preseniation of ncv consolidated Sinancial statements. 1Vc lxlieve that our audits pro"-ide a reasonable basi: for our opinion.



              ~ W. BDO USA. Gt.P

              { ll'e Itave sert'ed ns lfie Cnmpany's audilor sinca 3002.                                          -'
              1! Atla[lla, Georgia
              { 1v(arch 261 2019                                                                                                                           i
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              I                                                     Report of lndrpeudent RegisPcrt•d I'ublic.lccoutdiug Pirm
              i
                                                                                                                                                           I
              j Shareholdrrs ancl Board of llirectnrs                                                                                                                                                 '
              ~ Atlaniicns Holdings Corporation                                                                                                                                                       :
              ~ Atlanta. Geo[gia

              t Opinlon on Ihe coasolidnted Finaucinl Stutetrients

              ~ VVe.havc audired tlic accompanying con<olidated balance sheets ofAtlantictts Holdiugs C:orporation (the "Co[npany~") and
              t sttbsidiaries as of Decembcr 31, 3019'and 2018, the related consolidnted statbmenzs of operations, comprettensive income,
                  j
                shareholders' eqt»ty (deficit), and cash flou•s.for each of the two years in the period znded I3ecember 31. 2019, and the [elated                                                     ;
              ~ notes (collective(v referred to as the "cdnsolidated tinancial stnle[tteuts"). In our opitiion, the consolidated tittaucial statenients                                               f
              iPreseu[ fairl y.'tn all.matcrinl resP'
                                                    ~cts, rhe tinaucial position of tlte Comp)'
                                                                                             an attd subsidiarics at Dcccmber 3I. 2019 and 2018.                                                      I
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              i and the restQts oElhcir operations and their cash llotvs for each of the hvo years in the, period cndcci Dece[nber 31, 2019, in

                coul'nrtnity with aceotititing principles generally'accepted in the liniled States of America.

                      BnsisforOpinlon
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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 457 of 547




     ~             Companie`s        f}ocumerits y Forms        Ale~ts
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               I 13utils fitr Opiniou~                                                                                                                                        ,
          .
                    Thcse.consofidated itn:utcial statemcnts arc the responsibility of tlic C'ompany's tnanagament. Our responsibility i's to express an ~
               { opiniou on tlte Company's consolidated itnancial statunents bascd on our andits,.\Pe are a public accounting'fimt registcrad            ;
                ))) wilh dte 1 ublioCom pan y' Accouniin8 Oversiglit llo:vd (Unitcd Sudas)("1'C'A013") anrl are.rcquircd ro be intlependenl with         ~.
                    respcct to the Company ilraccordmtce with.!ite.U.S,, fcderal securiiies law; nnd dtc applicablc rulcs and regulatinns of dte

     ,         ft Securities and [:.xchange Commission and the PC'AO~.          •
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               i
                 'tVetcondttcted our audit-s in accordauce «zth tha staudards of the PC.\UIi, Those standards rcyuire dtarwa plan auti perform thc         ;
               ~ audit t6 obt5iu rc:tsonable nssnrancc bbnut wheUtec,thc eonsulidaled.financial stmemettts'arc,iree of uwlerial misstatemenl,
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               ~ whetlter'due tp erwr or fr.tud, "fhc Gornpany is nnt rcyuircd ta Iuttv. nor wcrc n•c cnga8e¢ tti perforni, an audit of its initrnal,
                  control ov~cr fiq:incial reporting. As par! uf otu:audits ~ee are required tmobtain an undersnmi!inr of internal control ovcr            t
               I                                                                                                                                           1
               i fituncial rr puning but uol far thc puqmse otcxprrssing au opinioti on lhe efTecliVeness of tlic Company's intetnal cuntrii] ovur         ;
               ~ fitt5itcial reponing. Accordingly, ive cxpress uo suclt opiniou.                                i                                         p.• • i
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                Our audits included perfontting proceilun:.s'ro assess the.riskS of utat'erial tuisslatetueut ofthc concolidnwd finnncial stalcuicutst
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                whether due to crroror rraud, tmd pecforming.prucedurrs thal respond !o thosa ri.sks. Sitch proccdures included esnmining. on a
                tcstb:isis, evidence reganling 1hc autounts and disclosures in ihe consolidatod Financiai starenicnts, i7ur audits also ineiuded
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              If a•ltether dun to ernu• or fraud. The Contpany is not requittd to have, oor were vve en8aged td pert'urm, au nudit of its intental ~!
              j control over financial raporting. As part of our audits we are required to obtain an understsutding of interual contrul over        +
                 frnattcial'reporting but not tor the purpose of expressing ;m opinion on the effectiveness of Ihe.Company's iniernal aontrol over !
 f            ~ fmaucial reportine. Accordinglv «•e express•no.such opinion.                                                                        ~
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                 Ottr audits included pertonning proceclures to asscss the risks of matcrial missiatement ofahe consolidated 8nancial statement,. '
               j vvhether dtw to•en•or or fraud, und perfomring>procedures Ihat.respond lo those risls.Such pi-ocedures iucluded examining, oa a i
                 test basis, evideucc regarding the amounts and disclosures in the consolid:ued financial stalements. Our attdits also included   I
              ~ evalunting tlie accomtting pr'titeiples used.and.sienificaut estimates niade by manaeemeut; as we11 as evaltiatine tlie overall
                                                                                                                                                  t
              ~ presentation of the consolidated finaucial statements. R'e beliece that our auditsproti'ide a rcasonable basis for our opinion.

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               Is/ HDO USA, LLP                                                                                                                                l

               We have served as tha Cbmpany's auditor since. 2002.                                             1                                                                 ~
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               Atlanta,: Gairgin                                                                                                                                   .
               Mantli 30, 3020




                                                                          Year 2020
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         ~                                              Report uf Itidependent Registered Public accounling fiirm
                                                                                                                            i
         I Shareholders:and IIoard of Uirectors                                                                             I
         ~ Atlanticus Holdings Corpontion                                                                                   ;
         ~ Atlanta, Georgin

         ~ Opiniomon the Consolitlutod.Finnnchil Shttcmcnls

           We have audited the accompanying consolidated balance sheets ofAtlanticus Holdings Corporation (dre "Compan_v") and
         I stibsidiaries as of December 31, 2020 and 2019, the related cunsolidated statements of operttious. compreheusive inconte.
         ~ shareholders' equit}: and cash tlows for the tnvo years in the period ended Deccntber3l, 3020. and tha reiated notes (collectively
           reCerred lo as the "consoiidated Hnancial sta,entents"). In our opiuioit. tlie consolidated financial ctatements present fairly, iu all
         ~ material respects, the iinnncial position of the Company and subsidiarics a1,Dccember 37.?020 and 2019, and the result.s of,their
         t
           operations vtd tlteir cash tlows for each of the nvo years in the period endcil December•31. 2020, in conforntity with.accounting;
         ~ priuoipies generally acceptcd in the Uniteti States ofAtnerica.

             Basis for Opinion

             ~r4._. ..____~:~.._~ .:____:_t._.........-._._-~.,....~.....r:~.:,:.....G.t.~r..~.....,.:~....              ... ... —........~...:4:...................
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     ~         .. Companies Documents Forttis' Aleits. -                                                             1           icker. ATLC                 .
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             17rese consolidated tinancial statements pre the raspottsibility of the C:umpany's manageuient. Our responsibility is to express an                                4
             opinion ou the Cbmpany's eonsoliclateci tinancial statements based on uur audits, QVe.are a.public accountiug fiim registered with                                 !
             the Public Cotnpauy Accounting Oversight Board (United States) ("PCAOIl") and are requirzd to be independent w'ith respect to                                      ~
             dte C'ompany in accordance avith thc U.S. fedetAl securities latvs and the applicable rules and regttlations of the.Securities and                                 ;
             Excltangc Commission and Qie PCAOB.

             We conducted our audits in accordance with the staudards of Ihe PCAOB. Those standarcls require that we plau and pert'ommhe                                        I
             audit to obhain reasonable assttrancc about tvhcther die consolidatod itnancial statements are Pree ot' meterial misstatement,
             whether due to ercor or f'raud.l7te Company is not-required to have, uor were we engaged to'perform, an audit of its iuternal
           coutnil over finaneial.feporting. As part of'our audits we are rrcquired to obtain an undcrstanding of intcrnal contml over fmancial
           reporting,but not for the purpose of cxpressing an opinion ou tfte affectivencss of the Compaity's internal control over financial   1
         ~ reporting: Accordinaly. u•e espress no suah opinion.                                                                                 )~

 ,       I Our:mdits included performing procedttres to assess the risks of nuueri;d misstatement of Ihc consolidaled linancial statemcnts. r                                       I,~
         ~ whether due to crror or liaud, and performing procedures that raspond tu those risks. Such pracedures includcd esatnining, on a'                                     ~
     `test basis, evidence regacding the atuounts and disclosures in dte consolidated financial statements. Our audits also included               P   ~
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 ____i evaluatine,the accnuntine ndncinles,used,aud sieni.tica.nt estim ttes~nadz hv utnnaqeu.tent.:nctitell,ac.evaluatine..tlte over.ill..___-.-__i.-_1
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         ~ reporung. Accortlmgly, we express no such opinion.
 .                                                                                                           I                                                         t
 i           Our audits include<i perfiunung.procetiures to assess tlte risks of malerial miss[atentent of Iho consolidated (inancial statements,                      I
             whether due to etTor or fraud, and perforniing procedures thal respond to those ti'sl s. Such procedures ineiuded examining. on a
 '           (est basis, evidenco regarding tha autounts and disclosures in the consolidated finanoial statetitcnts. Our audits also includcd
             evaluating the accounting principles used autd signi6oant estimates made by management, asavell as evaluating the overall
             presentatiuu of the con.solidated financial statemeuts. R°e believe that our audits provide a reasunable basis for our opinion.

             Critical.audit D{atlers

         I The critical audit ma[ters cotmmmicaled below arc, mattets arisiug tiom the current period audit of thc consolidated tinancial
             statements tliat n•ere comntunicated or reqirirad to'be connitunicated to'tlrc audit comntitter and thal: (1) relate to accouuts or
             disclosures that are maierial to the consolidated tinancinl sr.atements and (2) involved our especiolly cltallenging, subjeetive. or
             comples judginents. The communication of critic:il audit matters does not alter in auy way oitr opiuion•on thc cousolidated                                       -, •
             tinaqcial statements, talxn as a whole, and we ara no1, by cornmunicating thc critical audit nmtters below. proviiiing separate
             oPinions on tha critical nudit matters or on the accotints or disclosures to which tltey ielatc.                                                 I   '~       ~          I

         t                                                                                                   !                                                .. ,t ♦. ':}


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 f           dllun•pncvjorLaanL'osses                                                                                                                                 4 -


 ;         As described in Note 3 to the Company's consolidateci linamcial statements, thc Company ha's outstandiug loans of S574.q uiillion                      '
           at gross amortized eost witltin its Credit and Ulher Iuvesttnents Sugmcnt :md a relatcd allotvance for loan losscs af S J 23.3 m'illion                i
           dt pecetnber 31, 2020. The loans are revolviug credil facilities (credit cards) ~ir itutullment loans. 'rhe allowance rcprescnts                       ~
         ~ management's lxst estimnto ol'ihc incun•ed losses initenut in the portfolio ns of tha lialance shect tlaho. lvlauagentent cousiders                    ,
           botlt obscrvable and unobservable iuputs in its deteruth,alion of thc adequacy of,he allowance. Thc calculation of the allo«•mtcr
         1 uses utethods smd assunipiions vaspd upon historical loss rata; current delinquency and roll-rate trentls; vintage analyses based au
 i       I the nuniber of months an account lias been jn existencet e8'ects of ehanges in the econotny on consumers: ch:inges in undtrnvriting   ~                1?
           Cruerin; and estintated recoveries. Changes in the assumptiuns r.m have a tuaterial elTectpu the Company's tinancial results.
 l                                                                                                                                                                               .
         ~ M'e idetitilied tlte signiticant judgmental assumptions by management in determining the adaRuacy of tha allowaner for lcnn.losses ;
         = to be a critical attdit mattxr. Thejudgmental a'ssumptians inip:icting Ilie recorded allotvattce are tlic el3ects of clian¢e's'in the
         ~ economy ou cousutuers and tha changes ui undm•writing critaria. Anditina these complex judgments iuvolved especially
 I       i challengiitg auditor jtudgntent due to dte'tmture :md extent of:wdit avideuce and etTort rrquirrd to address [hese matters.
         I                                                                                                                                                                        t
         ~ The primary procedures we perfonned to address this crilical audit nmtter included:                                                                                   ~
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                                '                                                       __''r       y__.a._'._..~.Tr.                               ~-....-.-.~-                  _i            .:....~
            ~ The prunary procedttrc:s t4e perfonned to address this critical audit matter iitctuded
 ,                                                                                                                                                                                          •
            } o              Evaluating thejudgmental assunynions used by tnnnagement by contparin¢ to historical results, curreni econoniic data, and
                             changes to uodenvriting criteria to detenninc if cuch assumptions wrre relevant, reliable, and reasonable for tlte puqtose

  4                          Tcsting thu relevance and reliability ol'the data used in cleterutining ilie,judgmental a.ssiintptions by testing thc completeness ~
                    a
                             and accuracy of dato used including'internal and extentdl third-party sources,               i                                     t
  i                          Evaluoting'any evidence (e.g, extemal econontic data, peer data, intental compauy data) tltat iscontndictory to the
                    e
                             conchJSIODs renclred by ntlmagenrtnt in e5tabhshmQ tlte jUdLmCntBl as5tt[nptions supporting the allowance for loan losses.
            t                                                                                                                             ~                                                i
             j Lnmrs, btlaresl nnd Fees Receiruble, nf Fuir                   l'ul'ne
            ~
             ~ As described in Note 2 and Nolt 6 to the Coiupany's eonsolidated financial statetitents. thcCbmpany has ouistandin2 loatts of
               S417.1 million at fair value within the Credit aud Other Investments Segtnent at December 3l. 30?0. The loans are rcvotving
            i  credit facilities (credit cards) or instatlntent loans. The Compmty elected to report nccounrs originating on and after January 1,
                                                                                                                                                                                            i
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 I          I 3020 at fair valua on.a recurring basis in the frnancial statcmcnts.l7te assets are recorded at fair value bascd upon perfortttancc
 t             expectations of the underlving loans. Tlie discounted cash tlow• wodel assumptioas used to deierinine the perfonuance expectation                                           ;         li
            1 mclude yield, tiniiug of expbcted paytneuts,,servicing costs mid discount rate. The impact of chauges in the.fair: value of
                                                                                                                                           loans.                                          ~
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                tiou of tlte underlying loans. The discounted cash Ilow ntodel assumptions used to deittvtine th e perfornnce
                                                                                                                         La   ecpectation                                                            !
         i include y7cld, tinting of expected payments, servicing costs and discount rote. The:intpact of changas iu the Ciir t'alue Df.loans.
            f
           interest.and fees receivabte, at foir value is retlected within the period incurred and cau h:roe a materiTl intpnct on the linancial
           results of the Contpany.
 ,       r                                                                                                                                                                                 '
        INN'e identitied die significant assuntptioits by management tised in Iho discom.ued cash flow model to be n critical attdit rttatter. The
                                                                                                                                                   ,
        t assutnptions intpoctimr ttie fair value calculation'included timin: of expected caslillows and discittutt rates. rkuditina ttiesc
        ~ coutplex assumptions involved especi<dly chapehging auditorjudgment due to the naturc and~extent ofaudit evidence and elPort             ;
        i reduired to addrrss thesc maiters inclDding the cxtent af specializcd sl:ill or knawled_c necttt.~d.
        i                                                                                        -         ,

                The pritnary procedures.ve perfotmed to addre≥s tttis eritical audit matter included:                                 ;

        '•               Testiug tlte rel'evance and reliabiliiy ordata related to the assuutptions•by agreeing data to internal and external third-party
        i                                                                                                            I
        ,                SOU[CCS,

                •        Evaluating the assumptious used 1'or the timing of cxpected cash flotvs bv comparing to; historical perPormaitce to detemtine ~--'—~
        i                                                                                                                                               i
        i                if such assttmptions wore relevant, reliable:utd re.'tsonnble for ttie puqtose used, including consideration of evidence (e.g.
                         estemal econotnic data and peer data) that niay be contmdictory to Ihc odnclusious reaclted by manugement.                     ~
        f .              Evaluating thu discoutit ntes used by coniparing to market-hased discount rates to detertttine if such assutnption ware        .
        t                __,...,._. ...~:.u,. .._~ _._......_~,_ ,•.._.,:. _.._._.....:.i :_..,...,:.._ .:.....:.,..__.:__ ...•._..:.,_.:.._ ,_ .. _...---_, ..____...:_ .,_.~. __.:_
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                 cxternaleconotnic datn and peer data) tltat
                                                           may bc contradtctory to the conclusions'reached by nnnagenient.
       F o       Evaluating tlte discounerAtes used by cositparin i to market-baseil discouot rates to iletem inc it'such assumption
                 refevant,.reliable and reasonabin for the purpose used, inclutlingcansidention ol.evicl'rnce (r.g, external tconomic data, pezr
                 data, internal eontpany datn) thot may be eontradiutory to tite conclusioti roachecl by nnnageutent.
                 Involvipe professionals with speoialized sF:ills aud f:noivledge to evaluate the reasottableuess of tlte tiniiug of cash flows and t
  i              discount rate osstunptiotts uszd by management to detennine the fair valtte.
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                    EXHIBIT 3
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   ATTACHMENT TO PLAINTIFF'S ORIGIIoIAL COMPLAINT
                                                                                                •                                            E
    EXCERPTS FROM THE 2018, 2019, AND 2020 BIOHORIZONS AND                                                                                       '
                HENRY SCHEIN 10K REPORTS                                                                                                         ~
                                    Source: https;//sec.report/CIK/0001000228


                                       Exhibit 3- Reference 309; Page 97 of 407
309. Under §404(a) of the SOX Act, BioHorizons is required to annually report on BioHorizons'
               own assessment of the effectiveness of BioHorizons' controls.


                                                               Year 2018
           Moungernent s Report on Irrternn! Conlrol over Finencin! Reporting

           Our management is responsible for establishutg and maintauting adequate internal control over livancial reporting.
           as suclt ternt is defuied in Excltange Act Rule 13a-1 5(t). Our intemal control s,vstetn is designed to provide
           reasonable assuinnce to our managenient and Board of Dirtctors regarcling thepreparation and fair presentation of
           published fuianoial stateinents. Under the supervision and with the panicipation of ow•tnanagemeut, inciuding our
           principal axeeutive otticer and pdncipal &nancia] otlicer, tve conducted an evaluation ofthe elTectiveness ofbur
           intetnal control over fivancial reportiug lr.•tsed on the frautetvork in Internal C'outt•ol-lntegrated Ftamework (2013).
           updated aud reissued by the Cotiwiittee of Sponsoring Organizations, or the COSO Framework. Based ou our

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           TaUle of Contents
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           evaluation under the COSO Fmm6worl:, our nvinagenient concluded lhat our intenill control ovar tinancial                          ~
           reporting «.•ts etFective, at a reasrntable assurance level as of Decentber 26, 2020.

           The etT'ectiveness of our intemal control over financial reporting as of Deceniber 2G, 2020 has been iudependently
           audited by BDO USA, LLP, an independent registared public accountine firtn, aud their attestntion is inclnded
           herein.



                                                              Year 2019
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         ; ExchaugeAcCRule 13a•IS(tj. our interml controLsystnu is dcsigned to proyide reasonable:rssuraqce to our management and Board of•Directors                                     f
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         { including.our_principal csccutivo ofticer and principal tinanciel otliccr. ive cwncluctedan c~~dration tif ihe !ellcctivcoess of our intcrnal controLosu
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         + 6noiidial irpdning based on tlic franieurork iu lntenLil Contrul=lntcgrated Frametrork (2013). upd:ued and rbis-atedby the ConmutteC of Sponsoring
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         { Organizations, or the COSO Framework. liased on our mAluation under tlie COSO Fnunesvork, our nusnpgcment concludLd tfiat our intental control                        i
         ! over fmaiicial                                  re:isonob{e assvrance level as of DccBmber 2S, 2019.

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                                                                                  Year 2020
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         our annrtal essessmenl of tltc design and opanting e(lectivencss of our imcrnal conuvl over financiaFr•eponing.

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 ~         Our mcmagernenl is responsible for establishing and meintnining adequ;ue inremal control ovcr financial mporting, as srrch tonn is dcGned in:         i,
       fxuhvtge Act Rule 13a-15(1). Our iutemal cootrol systnn is desigued to proride reasonable asstuunca tu uur matcigernenr and Bo.vil uf Directurs                                   I
       regarding tlre prapaeuion and fair presentation ofpuhlislred 6nanci•d stalements. Under the supcn•isicnr and utith Ilto particip.ation of ourmanagetnent, '
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       iacludiog our principal csccutivc ofiiccr and principal tioaneial otIiccr. Ntro conductcd an cvaluatu+n of tlrc effcctivencss of our intcmpl control ovcr
 !   ! furatrcial reporring twsed on llri; frant6wrork in lnicrnnl Control•Integratcxl Framcivork (2013), updated and nnissued by tlte Conunittce of Sporuoring
       Organizations, or the COSO Fmmew'ork. Dased on our eraluation uuder the COSO•Fnunework• onr managenient umcluded that our intenral control t
     ` over• financial reponing was elfective at n reasoiurble assurance levcl as of Dcccmlror 29, 2018.

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                                                       Exhibit 3. - Reference 312; Page 99 of 407
  3.12. Under §302 of the SOX Act, BioHorizons' corporate officers must (among otherthings)
 accept responsibility (as evidenced by individual signatures) for.the coriteni of BioHorizons's
annual §Q•04(a) report. The CEO and CFO must personally certify~the content of the reports filed
   with the SEC and the procedures established by the issuer to report disclosures and prepare
                                      financial statements.        ~
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            on its behalf by the undersigned, theivunto duly aulhoruad.                                                                                                                  ;

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             /s.' STEVEN PAi.ADIKO                                           Executive 4ice Presideni• Chiet'Financial                              Febrnnry 20, 2019           I        i
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I            WJAMES P. BRESLAWSGI                                            Director                                                               Febtvary 20; 2019           I        I
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~            Jarnes P. Bresla%vski
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    j        !s! GERALD A. BEyJAMIIv                                         Director                                                              Febmary 20.2019              j
:       I Gerald A. Benjantin

il(     1 IS' MARK E. MLOTEK                                                 Director                                                              February 20, 2019'.
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             /s/ BARRY J. ALPERIN                                            Direatnr                                                               Feb'ruary 20.2019           L . ..
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2018 Certification of our Chief Executive Officerpursuant to Section 302 of the Sarbanes-Oxley
                                                                               Act of 2002.
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 2018 Certification of our ChiefFinancial Officerpursuant to Section'302 ofthe Sarbanes-Oxley
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         j hl S'I:1\LF•Y_ M. B_EEtCivIAN                                                 ._., C.hairnnn, Cbicf Exe.aulix'e OtTicer                                      FebnLiry 20. =020     t
         ; Stanley \i. Berpnan _—__—                                                          and Dirrctor (principal excculive oRiLYr)                                                           -


                  (ySTEVEDIPALADINO                                                          Executn•aVice1'resident,Chiefl'inancinl                                    Febntary?0.2U20       i
 1       ' Stet•en Paladino                                                                  Olfieer and Diiector (principal t•mnncinl and
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                  !s! JA3fES 1'. B1tE:SLASVSKI                                          ~~5ce Clmirunln. Diractur                                                       February 20. 20_'0
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 i       I Jamea P. Bretfatrski                                                                                                                                                               ?


              1s' GERALDA. Bb-;IJA\IIN                                                       Dirrtar                                                                    Februuy 20.2020
                  GeroldA. Benjantin



         ~ fs' \SARf: E. NlLOIE}:                                                           Director                                ,            ,                      Pebruaty 20, 20?0
 ~ _ ! \inrt E. Atlorol;                                                                                                                                                                                  ~
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 470 of 547




         ~           Eompanies. Dacuments                    Fortns, Aleits
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                 (~ !s'Dr1RRYJ. ALPERIN                                                         DirYtor                                                                                F.cliriinry20, 2020.           1

                 ! DanyJ.Alperin'                                                                                                                              i


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                   ls/•KURT]:KG'1;1IN                                                           Dirccror                                                                               Febiumy20:2020;-
                   Kun P. Kuclm


                 ~ Js`PHIDIPA.4VSKAX1•Y                                                         Director                                                                               Felimury.20,'2020

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             E Js/ CARUL RAP}IAEd[.                                                            Dire<lar                                                        i                        Febnr,v;• 20, 2020
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                 c'oral Raplucl                                                                                                                                I


(                !sr E. Dir1,ti'NE REI:o1V                                                     D'uector                                                        I                        Febroary 20; 2020                  ~
~                E. Diaona Rekow, DDS, Ph.D.
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k    `-          IsJ I3RADLEY'C. SI IEARFS. PFI. D.                                            1}irecror                                                       ~              ,         Febm:iry?0, 2030• -~-r-~~., • t r
                 EndleyT. Shc:ues, Ph. D.                                                                                                                                                               i     +~' ~
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    20.19 Certification of our C•hief Executive Officer pursuant to Section 302 of the Sarbanes-Oxley
                                                Act of 2002.
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                                                     E.CCIIANGE.\CI' OF'193a,,\9 ADOPTEII PURSILI\'T To SECII`O\ 302 OF TIiE                                                                             ~
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 I             13o-15(e) and 15d-15(e)):and intelnal control cver financial reporting (as defined In Ekchange Act,Rules 13a-15(f) arid 15d-15(f)) (or the
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 I                   c) otdllwtcd the effectivdnc>s of.tltc npistrant's disclosttr¢ controls nnd proccdrues and pr scni'rl in this repen our conclusions about the effcctivcaess of tbe f
 ~                  •disclosura eontrols ond procedures. asoDthc cod of ihe podod'euverfrl by this rport based nn such cvoluation; and
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           f          b) any fraud, nirelher or norrnaterial, that invol~es mouagamenl or othcr cmployees Ivlto h.ive a siqrlific:lnt               in d+c.rcgiarauCs iatcranl cnnir'ol uvcr     +
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2019 Certification of our Chief Financial Officer pursuant to                                                                                  302 oftheSarbanes-Oxley
                                                                                                Act.of 2002.

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             I.. 1 h:rce reziuiEd thie rnuual.tcpod un
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                  13a-15.(e) and 15d-15(a))'and tnternal control ov,er finaneial reporting (es.de0ned in ExchangeA,chRules 13a-15(fy and-l5d-15(1)) for tha:
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 ~      1           the pc[iod in uiuch Ihis report is being prcp.ired;                                                                  ~
                   b) desienod such inlcmal control uvzr Lnoucinl npuning ur couzed such intental canuct ovcr fitmucut rcportbtg ro bc daiarud under our snperv ¢iou, to
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                   n•ilh generally accepted accotuttiag principles:                                                                                                                          i
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         j         c) evaluataS Ihv elTectiraness of dre ngisnunl's disolos•ure enntntls und procedures nnd presemtzl in this'repolt aur conchrsions about the etl2etiveness ohhe
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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 473 of 547




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                                                                                        Year 2020
                                                                                       SIGNA"I'URES
                        Pursuant to the requirenrents of Sedtion 13 or 1>(d) of the Securities ExchcngeAct of;1934, the Registr5nt lias duly
                        caused tlus report to be signed on its behalf by the undersigned; Ihereuuto duly authorized.
                                                                                             Hetuy Schein, Inc.
                                                                                                                                       I
                                                                                             By: Jsl STANLCY M. BERGMAN
                                                                               Stattley M. Bergrnan            i
                                                                               Chairtnan and Chief Executive Otlicer
                                                                               February 17, 2021
                        Ptusuant to the requirenrents of the Sccurities Exchange Act of 1934. this report has been signed belotv by the
                        following persons on behalf of the Registrant and in the capacities nnd on the dates indicated,
                                          Slenature.                                                Canaclty                                             Date
                        !st STANLEY M. BERGhiAN                           Citalrmoll, Chief Executive Oliicer                          i          February 17, 2021
                        Stanley Ivi. Bergman                              and Director (principal exeoutive ollicer)
                        /sr STEVEN PALADINO                               Esccutive Yce Presideol. C!uef Financial Oliicer                        February I7, 2021
                        Stevert Paladino                                  nnd Director (principal fmaucial and accounting ofricer)
                        !s' JAIaFS P. BRE3LAN4SKI                         Yce Chairmmr, President and Direetor                                    February 17, 2021
                        Jomes P. Breslawski
                                                                                                                                       i
                        !st GERALD A. BENJAA4N                            D'aector                                                                February l7, 2021
                        Gerald A. Benjamin
                           MARK E. MLOTEK                                 Diiector                                                                February 17.'_'0?1
                        il4ork E. Mlotek                                                                                               ~
                        lsrMOHAA7ADALI                                    Director                                                                Febntaryl7.'_'021
                        A'lohomad Ali
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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 474 of 547




           Ist A101dAMAD ALI                     Director                                            Febniary 17.2021
           A2ohanrad Ali
           Ist BARRY J. ALPERIN                  Director                                            February 17, 2021
           Borty J. Alperin
           Is%PAUL BRONS                         Director                                            Febn4vy 17.2021
           Paul Brons
           Isl DEBORAH DERBY                    Direator                                             February 17.2021
           Debornh Derby
           arSHIRAGOODhtAN                      Director                                             Febntary 17.20'_1
           Slrira Goodman
           JVJOSEPH L. HERRING                  Direc[or                                             Febntary 17, 2021
           Joseplr.L. Heaiae
           /s% KURT P. KtJEHN                   Director                                             February 17.202I
           Kun P. Kuehn
           !s/PHILiPA.LASKAIVY                  Director                                             Febntary 17, 2021
           Pltilip A. Laskawy
           !s!ANNE H. MARGULIES                 Director                                             February 17.20'_'1
           Aane H. dlargulics
           /e C.AROL RAPHAEL                    Director                                             February 17.2021
           Carol Raphael
           !s' E. DIANNE REKOW                  Director                                             Febmary 17.2021
           E. Diantte Rekowt DDS, Ph.D.
           !st BRADLEY T. SHEARFS, PH. D.       Director                                             February 17, 2021
           Bradlev T. Shearzs. Pb. D.




2020 Certification of our Chief Executive Officerpursuant to Sectfion 302 of the Sarbanes-Oxley
                                          Act of 2002.

                    CERTIFICATIO\' PURSUA\'T TO RULE 13a-14(a) OR 15t1-1-i(a) OF THE SECURTTIES
                      EXCHANGE ACT OF 1934, AS ADOPTED PURSUANTTO SECTION302 OF THE
                                       SARBANES-07►I.EY ACT OF 2002
       I, Stanley M. Bergrnan, certify ttint:

               I ltave reviewed this anrtual report on FotfiAK of Henry Scltein, In(the "registrant")
       2.      Based on niy latowledge, this report does not conttiti alty untrue statement of a material fact or omit to state
       materinh fact necessary to mnke tlte statentents ninde, itl ligltt of tlie ciretttnstadces under wliich sucli stntelnents
       matl?. not misleading with respect to the period covered by tliis report;
       3.      13ased on my knowledge, the financial statetnents, and other financial infortnation inoluded in tliis repotl,
       presentfisW nlaterial respects tlte financial condition, resttlts of opentions and casL flows of tlte registrant as of, and
       111e,periods presented 'nt this repoit;
       4.       The registrnnt's otber certifying officer and 1 are respousible for establishing aimtaimriltg disclosure controls
       and procedures (ns delitted in Excltange Act Rules 13a-15(e) and 15d-15(e)) and, intemal control over finaricial
       fepmlafttM=d in Exchange Aet Rules 13a-15(i) and 1 id-I5(fl) for the registrant and hitve:
              a)         designed such itelosure controls and proeedures, or eaused sueli disclosttre eotttrols and proeedures to t
              designed under our supervision, to ensure tiat ntaterial infornmtiori relating to the registrant, iticludiug
              ilonsolidated subsidiaries, is tnnde known to us by otliers witltin tliose entities, particularly during tlie period
              itilticlt this report is being prepared;
               b)      designed saeli intemal control over financial reporting, or caused suoli internal confrol over firmnc
               repoiling to be designed under our sttpetvision. to provide reasonable!assurance regarding the reliability
               &fiaucial repotting and tbe preparation of fniancial statelnents for e:tterrtal purposes in accordance with
               geagotQl~accottnting prinoiples;
              c)      evaluated tlle effectivenzss of tbe registrant salosure controls and procedures and pt-esented in tlus
              report our conclusions about tbe elTectivaness of the disclosure conn•ols and procedttres. as of tlte end of
              piu'iod covered by iliis report bnsed on suclr evaluatiou; and
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               b)      designed such intemal control over finnttcial reportiag, or caused such intemttl control over fuianc
               reportiiig to be designed under our supetvision, to provide reasonablelassurattce t'egaz•ding the reliability
               fifiancial reporting and the preparation of financial statements for externnl purposes in accordance witlt
               getil2u+kll~accountinglprinciples;

              c)     evaluated the effeotiveuess of the registrant'h;aiosttre controls anil procedures and presented in this
              report our conclusiotis abottt tlte effectivettess of the disclosure controls nnd procedures, as of tlte end of
              gmiod covered by tltis report based on sttelt evalitation; and
              d)       disclosed in tliis repornny cliange in the registrunt's internal control over financial reporting that
              oocurred during the registrant's most recent fiscal quarter (tlie registrant's fourtlt f scal quarter in the case of
              nttnual report) that has mnterially ag'ected, or is reasonably lilcely to materially affect, the registrant's
              itainln>Dllover financial reporting; and
       5.       The registtant's otlrer certifying officer and I have disclosed, bnsed on our ntost recent evaluation of
       coritrol'Axenifiltancial reporting, to tlte regish'aut's auditors and the audit cotmuittee of the registrant's board of
       (tirtleosens perfonning the equivalent functions):

              a)     all significant deticiencies and material tveaknesses in the design or operatiou of intemal control
              financial reportittg wliich are reasonably likeJy to adversely affect the registrant's ability to record.
              puaaem;ize aud report futancial information; and

               b)      any fraud, whether or uot ntaterial. that involves maitageruent or other employees who have a
               role ht tlig"sltnnt's internal control over fmancial reporting.

       Dated: Februaiy l7; 2021                                       /s/ Stanley M. Berguinn
                                                                      Stanley M. Bergtnan
                                                                      Cltairman and Cltief Executive Oflicer




2020 Certification of our Chief Financial Officerpursuant to Section 302 of the Sarbanes-Oxley
                                                           Act of 2002.
                                                                                                             -   . tusntotr s1.c     — I

                     CERTIFICATION PURSU.a,vT TO RULE 13a-14(a) OR 15d-14(a) OF THE SECLiRITIES
                       E\CIiAINGE ACT OF 1934, AS aDOPTED PURSUA\'TTO SECTION 302 OF THE
                                        SARBAi~'ES-O.l'LE1 ACT OF 2002

        I, Stevert Palad'uto. cettify that:

                I have revietr•ed tltis annual report on FotfitK of Henty Scltein. In~tlie "t'egistrant c)

        2.       Based on niy latowledge, tltis repon does not contain any untive statenteut of a tnaterial faet or otnit to state
        materindfact uecessaty to make the statentents tuade, ut light of the circimistances unrler tivhiclt stieh statements
        ruarle. not rnisleading witlt respect to tlie period covered by this report;

        3.      Based on nty Icnowledge, Itie finaucial stntenteuts. and other financial infonnation included in this report,
        present 5iril,1 material respects the financial condition, results of operations and casli flows of tlie registrant ns of, aiid ,
        (bt,periods presented in tliis report;

        4.     Tfie registrant's otlier certifying ofticer mtd I are respousible for establishing aini-zimittg disolosure controls
        and procedures (as defined in Exchatige Act Ritles 13a-15(e) and ISd-15(e)) and ,inteatal control over financial
        (olQ
         e~lnsad in Exchange Act Rules 13a-15(t) and 15d-15(f)) for the registrant and have:

                a)       designed such itclosure controls and procedures, or caused such disclosure controls and procedures to be
                designed wtder our supervision, to ensure thnt maierial iuforutarion relating to the registrant, including
                bettsolidnted subsidiaries, is made known to us by others withui those entities, particularly duriug the period
                itthich this repoit is being prepared;

                b)     designed such intemal control over fmancial repot1ing, ot' caused sucli intemnl control over fivancial.
                reporting to be designed ttuder oar supeivision, to provide re,lsonable ,assurance regarding the reliability
                fdiancial reporting aud the prepnration of Yinancial statetnents for external putposes in accordance with
                gem{plr8j•accounting priticiples:                                            ~
                                                                                               I
                c)      evaluated tbe effectiveness of the registrant'istdosure controls and procedures and presented in this
               report our conclusions abotn the effectiveuess of tlie disclosttre controls. and procedures, as of the end of
               1lunod covered bv this report based ott sticli evaluation: and
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               d)       disclosed in this reporuny change in the reggistraut's unemal control over financial reporting that
               occwred during the registrant's most recent Gscal quarter (tlte regislrant'sl fourtli tiscal quaster iu the case of
               tlttuunl report) that has uiaterially affected, or is reasonably likely to'ntatarially af3ect, the registrant's
               itamtmilover ftnancial reporting; and
        S.     The registrant's otlier certifying olTicer and I have disolosed, based ott our most receut evaluation of
        control itKernkttancial reporting, to the registrant's auditors nnd the ottdit conunittee of tlte registrant's board of
        (lirqttbasens perfonning Ihe equivalent functiotts):

               a)     all significant deticiencies and ntaterial weaknesses in the desigit or operation of intetual control ov
               Snancial reporting wtuch are reasonably likely to adversely affect the registnnt's ability to record.
               punakWize atid report tinnncial iiiformation; and                          '

                b)      atty fraud. wltetlier or not ttiaterial, that involves management or other employees wlio have a
                role in ~ittnif}tielmnt's iuternal control over fmancial reporting.

                                                                    is.= Steven Paladino _
        Dated: Febrttary 17.2021                                    Steven Palad'uto
                                                                    Executive Vice PresidenEand
                                                                    Cliief Financial 04icer




   2020 Certification of our Chief Executive Officer and Chief Financial Officer pursuant to
                        Section 906 of the Sarbanes-Oxley Act of 2002.
                                                                                                     Eahibit 32.1

                                         CERTIFICATION PURSiIANT TO
                                             18 U.S.C. SECTION 1350,
                                           AS ADOPTED PLiRSUA.NT TO
                                SECTION 906 OF THE SARBANES-OXLEY ACT OF 2002

                  Iu connection with tlie atuival report an Furm 10-K of Henry Sehein, Iac. (the
                  "Company") for the period ended December 26, 2020, as filed with the Securities and
                  Exchange Contmission on the date hereof (the "Report"). I, Stanley M. Berginan, the
                  Chainnan and Chief Executive Ot3icer of the Company, and I, Steven Paladino,
                  Executive Vice President and Cliief Financial Officer of the Cotupany, do hereby certity
                  pttrsuant to 18 U.S.C. Section 1350, as adopted pursuant to Section 906 of the Sarbaries-
                  Oxley Act of 2002, to the best of my knorvledge and belief that:

                  (1) the Report fully coutplies witli tlte requirements of Section 13(a) or 15(d) of the
                  Sectuities Exchange Act of 1934, as atuetided; and

                  (2) the infomintion contained in the Report fauly presents, itt all ntaterial respects, the
                  financial condition and results of operations of the Company.


                      Dated: Febtvaiy 17, 2021                /s/ Stanlev M. Beraman
                                                              3tanley M. Bergttian
                                                              Chainnan nnd Chief Executive OHicer
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 477 of 547




                                   Dated: Februaty 17,2021
                                                                            Steven Paladiitu
                                                                            Eaecutive Vice President anc
                                                                            Chief Financial Ot2icer    I

                            This certificatiot) accompanies eacli Repott pursuant to Section 906 of the Sarbanes-
                            Oxley Act of 2002 and shall aot, except to the extent required by the Sarbanes-Oxley Act
                            of 2002, be deelned filed by tlte Conlpatty Por purposes of Sectioti 18 •of the Securities
                            Excltange Act of 1934, ns ametided.

                            A signed original of this writtelt statement required by Sectiun !)06 of the Sarbanes-Oxley
                            Act of 2002 has been provided to the Con)pany and tvill be retained liy the Compauy and
                            funlislled to the Securities and Excltange Commission or its stnff ttpon reqtiest.




                                                Exhibit 3- Reference 316; Page 105 of 407
         316. The objectives of the auditor, and therefore BDO USA, LLP, in an audit are to:
                  (1) obtain reasonable assurance about whethermaterial weaknesses exist and
 (2) express an opinion on the effectiveness of the controls in a written report, and communicate
      with management and those charged with governance, based on the auditor's findings.


                                                                        Year 2018

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             Table of Contents

             Stockholders and Aoard of Dir.t'tars                                                                                                   t
             Heary• Schein, lac.
             Melville. \Y
         i                                                                                                                                          ,

         , Dpinlun on the Concolidntnl Flnnoclal Slatomenls
         ~
   I         lhfe have audited the accompanying consolidaled balance sheets of Henry Schein. Inc. (Ihe'Company') and subsldiaries as of .
             December 29. 2018 and December 30, 2017, the related consolidated stalemenls of Income, comprehenaive income, stockholders'
          equlty, and cash flows for each of Ihe three years in Ihe pedod ended December 29. 2018, and the related notes and sohedule
          presenled in'Item 15 (collectively referred to as the'consolldated financlat stalements~. In aur opinion, the consolidated Mancial
          stalemenls present falriy, in ali material respects, 01e'financial position ot the Company and subsldlaries at December 29, 2018 and
        ~ December 30, 2017, and Ihe resulls of their operatlons and their cash fiovrs for each of the three years In the per(od endod December.
                                                                                                                                                —
          29. 2018. In conformity wilh accaunlin0 prtnciples generally accepled In the United States ofAmerica.
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        1                                                                                                      I
       We also have audited, tn accvrdance tvilh ltie standards of Ihe Public Company Accounting Overslght Board (United States) ('PCAOB'), ~
   ` —J----__ ....-- -___---=-       -                   -.-    -        ----      -   -                               -            -         -=
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      We also fiave audited, ht accordance willt the standards of the Public Campany At:counting Ovefslbht'Hoard (Urtiled States) ("PCA08'), ~                                                   !
      ttte Cornpany's Internal conbol over gnaneial reportlng as of December 29, 2018, based on criierle established In b,rervlaf ( ootml -
      fnr~mrrsllcrrmmlv,l /2015) Issued by lhe Cnmmittee o1 Sponsoting Organizations of Ihe Treadvray Commisston ('COSOl and our
      report dated February 20, 2018 expressed an unquat(ried opinfon ltiereon.


      Dasfs fur Oplofon                                                                                                                                                                 t            J

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          These conudidated tinancial statemems arc the rtspoitsibility of the Coropauy's nlamegenrem. Our respoiisibi6ty is w smpnss aaophtion un the        V. {
      Company'e consolidated Gtiancial stalcmcnls based on ouraudits. we an: a poblic auounting fmn rngistercd with the PCAOfl nnd :ircroqu•ved lo be            t
      independent ivith ruspect to the Company ia acexvdanco with lha U.S. fedoral sxti-uriries lrms und qle opplicable mtes and regulalions of ibe Sceurhi•s t  I
      and Exchange Commission and the PCA011,
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      Ne c•oadncted otrr oudits in aeeordalrce wilh ihe slandards of thc 1'CAOB.'lltose standnrde rcqoire drat we plan and petform Ihe audit to oblain,
      re.•tsonable sssitrance abrrm whether tlre consulidated rrtnncial srateineuts dre frea of malerdal rnttistatement. Nchether due re crmr or rmuit. Our atutitc'-
      utcludcd perfnnoing pmccdtuce to ascess rhe ri.cki of laverial missratctnem of Ihe conailidatcd tinancia! statements, wbether due to ermr ur fraud, :nld="~• w
      petfarming proeedums dtat n~clxvrd to ILoso risks. Suclr proecdurrs iucluded e.eamining.•on a rest b.isis. ertideace rrgarding the amounts and
      dLSClasu[Ys In thC CAllsolldated f1lLlnelal SIa1CnrUlts. Ouralldits also IllelultCd t1l'dlaalrng IhC accOnrlllnit pmlelple5ll5ed-nlld sigulGGn11 e$trtrl(Itetl IlLldt'
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      by ni.vug,ement. as u•ell as es•atunting dre m•cralfpasentation of Ihc eonsolidated filiancial aratemeuts, tVe b~licve that nur audits provide a'reafonabtc i
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                                                                                                                                                            _..,r~u..•.w..~~
     Basis for Opinion                                                                                                           ~
                                                                                                                                                                                       t         ~
        7Leso consolid,itui Gnancial starenuMns arc the responsibility of thc Company's mlnagement. Our responsibility is to vxpros an opiltion on thc
     Caupany's eonsolidaled finaucial stateulcuts based on Ixrr andits. Wt arc a pnblic aceounting frntt ittgislcrcd uith lhe I'CAOF3 and an: lcqu•ved lo be ~
     indcpnrdau with n-spect to rb'e Company in att'uMance with tlic U.S. fcdcrol securities l:nvs and rhe appliciblc rutcs nnd regulmions of tlre Sec•urities ~                                     •
     and Excllange Contmission and Ihc pCAOU.                                                                                    ,                                                           .!
                                                                                                                                 I                                                     ~         ,
     We mnduckd our ouditc in aecordnuce stith dre sr.•urdards of the PCAOiI. 7ltose stnndards require dL•It wa lilau nnd perform the nudit to ohraiil              J   '
     rcasanablo "aurance obout whethcr tltc ronsolidnteil finmrcial statcmcuts arc frce ol'nulerial nrisstutemcnr. ivhethcr duc to crtor or fmud. Our audits .
     included perfonningprncedures to assess the risks of materi.-d misstateirrcnt of the eonsolidated financial staienienls; wherher due to arr   rn or fmud. mrii +, •
     perfornilng proccduas thatreymnd lo those ris4s. Such procedures included uanuning, on a test basis;esidence icgaNing tlre amomits and                         ; .I'
     disclosures in the consolidated 6naneial statcmenis. Our audils also included cvaluating.tho ncwuming principles used and signifrcntn cstLn+tcs nmdc i • ~
     by nutugelttenl. as well as evalualing dte uvemll pro.ceniation of tlre curnaulidated Gunucial stateurerlts.lYe lielieve Ilim our atidiis proviAe n rcasouabie
     basisfuronrophiion.                                                                                                                                            I    ~



     h1 t3D0 l.:Si1, LLP

           l9c lunu scroatas Wc Cempany's:wditorsilrcu lfl&1.                                                                    ~
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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 479 of 547




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      i' r Table of Contents
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                 ~ Stocldwldcrs and Board of Direetun
                   lieary Scliein, lnc,                                                                                                                                            ~
                 ~ d1elvillca A'Y                                                                                                                                                  1

                    Opluton nn Internol Coultoi oret• Fiunuelul ltepnrfing

      i         I We have audited Henry Scheln Inc.'s (the'Company's') Intemel rnntrol overfinancial reporling aslof December 29, 2018, based on                                   1
      ~             aiteria established in Irrrc"trd Conrrol -Inrcgrnred Fra,ne+,+vrk (2019) Issued by the Commiltee of Sponsoring Organizations of lhe   '
      ~             Treadway Commisslon (the'COSO criterie'). In our opinlon, lhe Company maintalned, ln all materlal respects, effective.intemal control ;                                     1
                    over [inandal reporUng as of Deeember 29, 2018, based on the COSO criteria.                                  ~                                                 i
                                                                                                                                                                                   f

                  1Ye also have attditA in accordmuc wi0t the xt:md:rrds oCtbc puUlie CompanyAccnuuting Oversight Bi+arJ (lhtitcd Statcs) ("PCAOB"). tW~ ~ :
                                                                                                                                                                         t
             j consolidated balance ehocts of tho Cnmpany as ol'Aecerober 29• 2013:uu1 Dccetnbcr 30, 2U17, the relaled consolidated stalantents of income,
               comprchewive income, stockholder,c' cquity. and cash tlon-s fnr cach of lhe thrcti y.kus in thc l>erind cnded IJerxtnber 29, 21118, and the [elat~i aote5 ?'
          _-~ and scltedule mui aur n:port dated Fehnury 20,'-019 atpressed ou untjtu[ified opiniou tltereoa
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                    Busis fur Opinlon

                  i T1teComparty's• mauagurtnu is respott ibk fitrntairuainhtg effietive Intanal trontrol ovcr fmancial teportins and for its acsessmeni nf dre
      f                                                                                                                                                                      s
      j          + clTectivenrss of intamal contmluverainnncL~l nponinG, inclodeddn lhc auompvtying "ltem 9A, Jian:igcmcrn's'Repan on IntentaLConlrol uver
      I         :; Fulancial Repodbrg:' Ottr rn:slnrnsibility is tu espress an upinion un Ote Cumpamp's intentai contml over fituutciul rcpolling bascd mt our audit• R'e an ;
      I          a n public aecotmting Grtn register~d tvith lhe P(:AOB aud are requirrd to bo ind~pendent witlr rcspect to lhe C'ompany in accnrdatce tvitlt U.S. feder.d !
      '          I securitics latvs and llrc npplicablo rules and regulatious oftlte Srtiytrities and Ecchaugc C'ontnrissiitn ariddhc PCAOB.                                 !


                I     11'e eonducted our andit nf lntenr.-d contrul over finaneiat repnitiitg in xceordance ttitll the stand:u+is of tlte YCAOB. Those standards nuir
                                                                                                                                                                   xl e d tat ~             1
      ~         ~ wa plan mtd pertomt tlm audit to obtain rea+onabla ass'umnca about tvhether effective nUernal coutrol over fim-+neial teponing svas uraintained in all
      I           nuttCrial tespects. Our mudit included obtnining an nnderstnnding of intcm:d eontrol over Gnaneiol rcpcuting.;assessing the risk titnt u matc•ri:d
                  ttiaLaCcs exists. and tcstfng and evaluatiog thc dc•sign and operating effcctiveness of intema[ enntrol tra.ud qn thc:t.ssessed risk. Chtr audil nLso       (,
                ~ includet(perfomtiog such otherpnxodures as wc eunsidercd nn essary in the citcnmslamcs. Wc believc Wat our audit pruvidcs o rrasate+ble [usis fur
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      I         ' ouropituaa                                                                                                                                                   ;

      t         1 DeOaitloa aod Limltrtllons oflnlornul Cantrol ovcr Flannc[nl Repottloe
      1         +                                                                                                                                                     ~                 '•
                      A wmpanY's inlenutt conwl uvcr fiatneial repaniitg is a pnruss Jesigned to provide ntasotuble a~uruitce n:goniing thc relinbiliry uf Ltuticiai~•~~•`
      I         1 rcportiug and tlre p[epantioh of Gnaucial sLitements foi extenml puqtnsec in accoiiLinee tvith gcndnily nccepted accouuting pduuliles. A compaoy's
      ~ _.~ ,_.__.. _.._ .. .............~.._..__,_....._....,.._. _....e._.. ._-...~._...,....,. .__.,... ,. _._,....t _......~_ _--•.... . .-..._                                     ~

  ~             De6ullion.nnd Lindtntioas of latcrmd Control over Finaucinl Reporting
            I                                                                                                                                                                      ,
  i         I       A wmpany's intemnl eontrol uvor Goancial rcponing is n proccss dcsyncd tu proviJo rcasombloassumoce rn:cvding the reliabilily of financinl                     i
            l reponing and the pr•paration of fmanciat st.itcntents for external puilwses in acoonlauce tvillt genenlly nccepled accouming priuciplts. Acontpany's                 '
  ;         J miemal control over firinncial raportiug inclndes thnse policies nnd proccdures tluat (1) prnain to Ihcrnaint~nance of rt~r orrls that. iu reasottable detail,       1.
  f           aceuratcly and fairly ruQeet t)m tmns+ctions aud dispositions of the assets of tltc comp;my: (2) provide ieasmuble assmmnce tltat tr;uuactiaas are
              rsti'unded as oecessaq'to penrtit pnparotiou of futancial siatements in accordance with gcuenlly acecptcd accounting prittciples. and lhat receipts and              ~
           i cxpanditures of 1he company art being madc on[y iir accurdance with uathotiz•rtiottv of mauagament and din•ctot5 of Ilre compan}: aad (31 proride
           1 rrasonableassurance reg.vdiug prevetttion or timely detection of unaudtorized acquisition, usc, ucdisposition ot'the cotn[>any's assets that conld lnave
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            Opinlon on tlte ConsoUdatcd I7nonclol Statenrents                                                                                                                                      ~

            We havm audited tlx: acctunpmrying con.colidated;balmtce sltcets of Hatry Schcut, lne• (the."Company".) qs of December 28, 2019 end December'29,
            2018, lhe rclated croncolid:ued swtatnems ol' iucome. cmnprehettsive incomq stockholders' cqnit_v, and cnsh Uows for rrcJt of Ole thrce pears in Ilte
  I         period ended December 28, 2019, the related notes mtd schedule (colJecticely refemd tu as the `consolidated linantial statnnenis"). )n ouf opwion..
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            the consolidated fitLincial statements prescnt L•tirly; in all material raspocts the financial position of'the Company at Deceniber 23. 201?I ait~.~;~~
            Deccmubei 29, 2018, aad the nsuhs of its uperations and its cash flons for oach of the Ihrce years in tls period ended Dccen)ber 28, 20t194:

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  ~ I c'onformity with :mouuting principles gcnemlly acxepted in dte United States nfAmerica.                                                                                         ~

          1Ve also havro audited, in accorrlvtce tvith dw srmdards of thc Public CmnPany Accounting Ovcrsight Baanl (Unital States) ("PCAOB'), Ilte
          Compauy's,intemal eontrol over financial rcporting as of December 28, 2019•.based on criteria establislted in httemal Conirol — Integmted Fmntecvork
          (20l'3) issued by tho Commiutx af Sponsoring Organiiatioac of thc Treadway Comuussion ("COS07) and eur repor( datcd Fehmary 20, 2020
          expressed mi uwluaUfied ophtion Utereon.                                                                                  I

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          As discussed in Note I to the coasolidated fituncial statemuits• cftcctive on Decembe[ 30. 2019, tltc Compauy clnurged its melltal of accowting for
          IcasLs Aue to the adoption ofAccounting Staudards Codificiition Topic S43. Leoser.

         13nYls for Opinlon

         1'hese consolidated fittancial sta(cnxnts are tlte rt~•sponvihilily of iltu Company's manngement. Our resixtnsibiliry ir• to expruss an tipinion n'.i' l' "'
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         Cnmpauy's consolidated fulancial statetnents based on our audits. \1e are a public accowning.linn roqistircd tcith tha PCAOB and are n:quimd;iu' Ix.; ~:;:
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           These consoliil.•ued futanelnl:stalcments:•int. Uto nsponsibility gf tho Company.'s inanagcrntol. Cur responsibilily is to ocpn•ss an opinion on thc
           Company;s wnsolidarcd:llaancial stat-mettts based on oui audits. Ne arr a public aecount(ng fum rcgisteied witlt the PCAOD and arc required to be
          'irtdCpciiderit•witlt respect to the Compahp iii accordance witlt Ute U.S. ftdcmi sacurities lails aud iltc npplicablo rules and rcgulations of the Socurities
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           We condncled our,audits in'acconianpe tvith the stand'uJs of•tlse P.CAOU,.Those standards wyuira tliit we.plan;aud perfonu (he,audij to obtain
           rcasoaable.assurante.abour.tvhedicr the consuiidated fusmcidl statements arc free of nutc•rial nrisstatemerit, tt•fiether Juo to error or fmud. Our audits'
           iricludi•d.perfdmting proceduns to nssess the ris(z ofrtul'eru( misstatum¢nt ofthe cansolidated (iirancinl siatcments, vvhedirr due to crror or.fraud;and
         ; pedonniug procedure's Uutt:irspond to thase risFs Such prixedwes included esataining. on a iest li.uis. L•vidcitec reg.vding the :unounts and
         j disclosuresin the consolidaw•d tinanc'val stattntents: Qur aodits also includtd et:thtadng thc accouniing pi•inciple;•itsed'and siqnificanl cstinuncs, maije
         j by nt,'tnagenteni, as uull-as e<aludting thv overall prescntaiion of Iho consolidated 1Snnueial.staremcnts. lYc~bclicvc tJtat our.audits pcnvide a reasdtiable
          basis for-our.opinion.
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                      j complimme fur intucompany tmnsaclions that aresubject to audit by tasin; authodties.l7te resolutiou of thesc audits rnay sp.ut liudtiple years.
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                       1Ve identifcd the'detenulnation qf uncernin rax poutinns,relnted to Vmnsfer prieing from imercompanv, ransoctions as a ciiticnl audit nutter, The +,
                       principal considemtiuns•for our detarnlinatiun included complac judgmcnts rdated lo; (i) auditing Ihe rne surement of Vhe linbilily for unrr•eognizr l!
                       t:•t'c bene}ils rolated tn cermiri intcrcompany rtansac[lons bcau.0 of asswliptioos appiid.lo.the imerpretat6 n of tax Iarvs and7cgal rulings in niultiple
                       lax paying jurisdietions.'(ii) detemliiiing lvhether.-a tansfer pricing ta.c positiun'x teelmical merits ue-t rnrc-likelv-t17an•not tu be snstainad whca i
                       nteasurfng t11a atnqltnt of ta.rhr7ulils that qualifiea for recognition, nnd (iii) nssessing +chether Intercampam uansacdon9 ore bascd nn dla nmt's lengd7 f
                       5t:tnd;ud thaf may praluce a ranse of aml's' leugrh uutcomes; Auditing Ihese elcmelus involvrll:subjcciivc ai ditor jud.ment, including imvlvement of
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                 ~           Evaltcuing tLe appropriathtces of nLvn+gcnurot'n utetlrods and asaumptioua ased to estimatc uncenain tnnsfer pricing positions rclated to: (i) ~=
        ~        }            ev+luathtg tlw nngos of aniis lengtlruutcomes and pricutg canclusjuus reacht•d tvidijn nrvwgemcnls tnnsfer pricing smdics. (ii) verifying our a
                               underst.vtding of tlx releti:mt L•tcLs bv rwding dte Contp:my's curtespondence teith the rclevaut tac uuthorities and thjrd=ryuty advjce obl.tinev.:-;:.
                               by the Company. and (iii) reviewing histotical sanlement aetjvjty, fR11n n1cO31iC 11C audloritied.                                              ~...
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                      We have served ae the Com}t<'+nv's auditor since 1984.                                                                                                                                     ~' I
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        Table of Contents                                                                       I

        REPORT OF IIVDEPENDEidT REGISTERED Pt1BLIC AC:COUNTIISG FIRi~1i

        Stockholders and Buard of Directors
        Hetuy Scheht, Inc.
        Melville. NY

        Opiaion on the Consolidated Finnncinl Stntements

        We have audited the accompanying consolidated balance sheets of Henry $chein, Ine. (tlte "Cotnpany") as of
        Decentber 26, 2020 and December 28, 2l)19. the related consolidated statements of utconte, catnprehensive income.
        stockltolders' equity. and cash flows for.each of tlte tluee years in tite period ended Deceutber 26. 2020, the related
        notes and sehedule (collectively referred to as the "consolidated financial statements"). In our opinion, the
        consolidated financial statements present fairly. in all material respects, the tinartcial position of the Company at
        December 26.2020 and December 28, 2019, and the resuits of its opelations and its cash flows for eacii of tlm three
        years in the period ended December 26, 2020, iu confonnity widt accounting principles generally accepted in the
        United States oFAniericn.

        We also have audited, iu accordance with the standards of the Pttblic Company Accouuling Oversight Board
        (Utiited States) ("PCAOB"), the Compatrv's intenial coutrol over fmancial reportiitg as of December 26.. 2020,
        based ou criteria established in buernnl Contrnl — Inlegrnred Frmnetvork (2013) issued by the Cotmnittee of
        Sponsoring Organizations of the Treadway C'ouunission ("COSO") and our reporl dated Februaty 17. 2021
        expressed an ttnqualifred opinion titereou.

        Change in Accounting Ptrinciple
        As discussed in Note 1 to the comrsolidated financial statenients. aRective on December 30, 2018, the Company
  ^`T   changed its method of nccounthtg for leases due to tlre adoption ofAccounting Standards Coditication Topic

        Chnnge in Accounting Principle
        As discussed in A'ote 1 to the consolidated financial.statements, efl'ective on December 30, 2018, the Company
        chaneed its tttethod of aecounting for leases dtta to tlte adoptiun ofAccountingStandards Codificatiou Topic
        842, Lenses.

        Basis for Opinion

        These consolidated linancial statements are the responsibility of tlte Contpany's management. Our responsibility is
        to express an opinion on the Company's consolidated financial statements based ou our audits. «e are a public
        accounting finn registered with dte PCAOB and are required to be independent with respect to the Compauy in
        accordance tvith the U.S. federal securities latvs and the applicable mles and regulntions of the Securities and               j
        Eschange Conmussiou and the PCAOB.

        We conducted our audits in accordance with ttte standards of the PCAOB. Those standards require that we plan               J
        and perform the audit to obtain reasonable assumnce about whether the consolidated itnancial statements are free of
        material misstatement, whetlter due to enor or fraud. Our atulits included perfonning procedures to assess the risks
        of material tuisstatemetit of tlic consolidated financial statements, wliether due to error or fmud. and perfornting
        procedures that respottd to tltose risks. Sttelt procedures included exnttinung, on a test basis. evidence regarding the   I
        antotmts and ciisclosures in the consolitlated financial statements. Our audiis also included evaluating the
        accountiug principles used and signitcanl estimates made by manageurent. as tvell as evaluating tlhe overall               ~
        pn:sentation of the,consolidated fmancial s[atements. We believe Ihnt otu• audits provide a reasonable basis for ottr      ~
        opinion.
                                                                                                                                   i
        Ctitical Atidit Alatter

        Tlre critical andit matter cotimmuicated below is n matter arisiug fi•om the cumnt period audit oPthe consolidated         i
        fmoncial statements that was conuuutgcated or required to be comnutnicated to theAudit Coutruineeof theBoard
        of D'trectors and that: (1) relates to accounts or disclosures that are material to the consolidated financial
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       Critical Audit 114ntter                                                                                                                  ii
       The critical audit matter commtiuicated belom is o matter arising fl•om the current period audirof the consolidated
       Snancial statentents that was cotnmunicated or required to be cotrununicated to the Audit Connnitteeof theBoard
       of Directors and that: (1) relates to accounts or disclosures tltat are material to the consolidated itnancial                           I
       statements; and (2) urvolved our especially challenging, subiective or complex judgtnents. The commttniuttion of                         i
       critical audit tnatters does not alter in any Nvay our opinion on the consolidated financial statentents, taken as a                     I
       whole, and we are not. by commutticating the critical audit matter below, providing a separate ophuon on the
       critical audit matter or on the accotmts or disclosures to which it relates.

                                                                        70
                                                                                                                                                i




       Table of Contents




       Uncer-tnitt Tax Position

       As described in Note 14 of the consolidated financial statements the Company operetes in multiple jtuisdietions
       and is subject to transfer pricing compliance for httercompany transactions that are subiect to audit by taxing
       authorities. Tlte resolutionof thcsc audits may spau tuultipleyeas.



       We identiSed the detennination of uncertain tax positions related to trsnsfer pricing froin intemompany
       transactions as a critical audit ntatter. Tlte prinoipal considemtions for our detemunation included cornplex
       judgnents related to: (i) auditing assimtptions applied to the interpretation of taz laws anrl legal rulhtgs in
       multiplc tax paying jurisdictions, (ii) (letenuining whether n transfer pricing tas position's techttical merits are
       more-likely-thnn-not to be sustained wlien ntensuring the auionnt of tax benefits tliat qualifies for recognition.
       (iii) assessing whether intercompatty ttansactiotts are based on the ann's lengtlr standard thet nLiy produce a
       range of arni's length outcomes, and (iv) assesshtg tlte adjusttnents to the liability for unrecognized tax benefits
       associated with t-ut setflements or agreements. Audithtg these elemeats involved especially subjective auditor
       judgment and an increased level ofaudit efCort, including involvetnent ofpersonnel witlt specialized skills and
       knowledge.


       The primary procedures we performed to address this critieal audit matter included:


                •   Assessing tlte design and implementation and testing opemting effectiveness ofeetZain controls over
                    dte recognition attd measurement of uncertnin tax positions related to transfer pricing.


                .    Utiliziag personnel with specialized latowledge and ski11 in taxation to evalunte tlte appropriateness of
                     managetuent's ntethods and assumptions used to estimate uucertain tax positiotts related to transfer
                     pricing by: (i) vetifying our understandiug of the relevant facts by readine the Company's
                     correspondence with the relevant tax authorities and Ihu'd-party advice obtained by the Company, (ii)
                     evaluating the reasonebleness of teclmical uterits, manaaenient's judgntents and assumptions and
                     assessing the overall reasonableness of conclusions reaehed, (iii) evahtatittg the ranges of antt's length
                     outcomes and pricing conclusions reached within managetnent's transfer pricing studies, aud (iv)
        _           ...revien~ing
                          ..._..... s~ttlement.~.
                                               activitv or agreements tvith iucome tax au@io~~ities.
                                                      - - .                                       --r,._ ~ ...-..,._ ........_.~.........__..
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                   Utilizing personnel with specialized l:nowledge and skill in taxation to Jaluate the appropriateness of
                   uianagement's metltods aud assumptions used to estimate turcertain tax ~ositions related to transfer
                   pricing by: (i) verifyina our understanding of the relevant facts byreading tlta Company's
                   correspondence µ•ith the relevant taa autlrorities and third-party advice obtained bv the Company. (ii)
                   evaluating the reasonableness of teclutical tnerits, tnanagetnent's judgme•nts and assumptions alid
                   assessing the overall reasonableness of conclusious reached, (iii) evaluating ihe ranges of ann's length
                   outcomes and pricing conclusions reached witliiu manageinent's transfer,pricing studies, and (iv)
                   revieAving settiement activiry or agreements witli uicome tax auihorities.



       Isl BDO USA. LLP

               We have served as the Company's auditor siiue 1984.

       New Yorlc NY
       February l7, 2021



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        REPORT OF INTDEPENDENT REGISTERED PUBLIC ACCOUN'I'ING FIILM'
       Stockholders and Board of Directors
       Henry Schein, Inc.
       Melville, NY
       Opinion on Internal Control over Financinl Repor-ting
       Wt have audiied Henry Schein, Inc.'s (the "Coanpany's") hitemal control over financial reportutg as of December
       26, 2020, based on criteria establisbed in Imernal• Conlr•ol — Inregrared Frantescork (?013) issued by the Cotmttittee
       of Sponsoring Organizations of Iha Treadway Commission (the "COSO criieria").,In our opinion, the Company
       tnaintained, in all material respects, elYective internal cLmtrol over frnancial reporting as of Dacember 26, 2020,
       based on dte COSO criteria.
       We also have audited, in accordance witlt the standards of the Public Company Accounting Oversight Board
       (United States) ("PCAOB'). the consolidated balance sheets of t]te Cornp.vey as of December 26. 2020 and
       December 28, 2019. the related consolidated statements of inconre, comprehensive income, stockholders' cqttity,
       and casli tlows for each of the tlu•ee years in the period ended December 26, 2020, vtd the related notes and
       schedule and our report dated Fcbruary 17, 2021 e!cpressed an unqualitied opinion thereon.
       Iiasis for Opinion
       The Contpany's ntanagement is responsible for ninintainiug effective intemal control over financial reporting and
       for its assessnicut of the effectiveness of intenral control over financial reporturg, included in the accompanying
       "Item 9A..Managentent's Report ou Internal Control over Financial Reportin_e". Otu• responsibility is to eupress an
       opinion on the Company's intcinal control over financial repottiug based on our audit. \Ve are a public accouuting
       ftmi registered widt the PCAOB atid are required to be indtpendent with respeol tu tlie Company in accordance
       ivith U.S. federal secrqities laws and,the applicablc rules arid regulations of ihe Secutities and lixchange
       Comnussion and the PCAOB.
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               with U.S. federal securities laws and tlte applicable rules and regulations of fhe Securities and Excltange
               Commission and dte PCAOB.
              We conducted our audit of internal control over fiqattcial reporthtg ht accordmice vv7t1t the standards of the PCAOB.
              T7tose standards require that we plan and pedonn the audit to obtaut reasonable assur.•utce about whether effective
              intemal control over fnancial reporting u•as maintained in all niaterial respects. Otir audit included obtaining an
              understanding of intemal control over finaucial reporting, assessing tlu risl: that.a material weal5tess exists, and
              resting and evaluating the desigit and oper.tting etYectiveness of intemal control based on the assessed risk. Our
              audit also included perfonning such other procedtues es we considered necessary in tUe circucnstances. We believe
              that our audit pro-6des a reasonable Uasis for our opinion.
              DetinitIon and Limilation.s ofInternal Control over Financial Reporling
              A conipany's interual control over finnncial reporting is a jnocess designed to prov9de reasonable assurance
              regarding tite. reliability of financ'ial reporting and tlte preparation of financinl,stateiitents for extemal purposes in
              accordance with generally accepted iccounting prutciples. A coutpany's intemal .control over tinancial reporting
              includes those policies and procedures that (1) penaiu to the maintenance of records ihat, in reasonable detail,
              accttrately and fnirly retlect the transnetions and dispositions of the assets of the company; (2) provide reasonable
              assurance that transactions are recorded as necessary to pernut preparation.of financial statements in accordance
              witlt genenliy accepted acconnting prutciples, and that receipts and expenditures of the company are beurg uulde
              ottiv in accordance Mth authorizatiotss of tnanagement and directots of the company; and (3) provide reasonable
              assurance regarding prevention or tiinelv detection of unauthorized acquisition, use, or disposition of the
              company's assets that could-have a niaterial effect on tha finaucial statements.
              Because of its inherent Ihttitatlolls, inkernal control over financial repoiiing -tnay noI prevent or detect
              nrisstatetnents. Also, projcctions of any cvaluation of effectiveness to future periods are subject to the risk thnt
              controls may become niadequote because of chattges in conditions. or that the degree of compliance tviih the
              policies or procedures may deteriorate.                                              '
              (s/ BDO USA, LLP
  -._.__.—.--..._._._.._._                      ._ ..   ..     -_ .._ .._.~~.._,_    _ . ..        .....-~•—     -.       _. . -- +-~- -
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                    EXHIBIT 4
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      ATTACHMENT TO PLAINTIFF'S ORIGINAL COMPL.A.INT

          EXCERPTS FROM 7CHE 2018 AND 2019 BLUELIN 10]K REPORTS
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                                                            Source: https:/Isec.regordCl:K/000130178'


                                                              Exhibit 4- Reference 336; Page 115 of I07
1                                                                                                                                                    I
    336. Under §404(a) of the SOX Act, B1ueLinx is required to annually report on BlueLinx's own
                            assessment of the effectiveness of its


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   338. Under §302 of the SOX Act, B1ueLinx's corporate officers must (among other things)
accept responsibility (as evidenced by individual signatures) for the content of Interface's anrival
 §404(a) report. The CEO and CFO must personally certify the content of the reports filed with
 the SEC and the procedures established by the issuer to.report disclosures and prepare financial
                                           statements.


                                                                                            Year 2018
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 491 of 547




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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 492 of 547




2018 Certification of MitchelI B. Lewis, Chief Executive Officer, j                                                                                                 to Section 302- of the
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     2018 Certification of Susan C. O'Farrell, Chief Financial Office • and Treasurer, pursuantto
                            Section 302 of the Sarbanes-Oxley  Act oi 2002
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2018 Certification of Mitchell B. Lewis, Chief Executive Officer, pursuant to Section 906 of the
                                  Sarbanes-Oxley Act of 2002 ;
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 494 of 547




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         ptusunnl to 18 U.S.C_ 1350, o.c adopteJ purnuuu to Seuion')00 of.the Sottranas-OxlcyAa uf 2002, tbat:
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           (2) The infarmationeont:+itied in Ne Rapott fairly presents, hr n{L nraterinL reslaces; tlu 6nanefa( conditioa and re                 ofciperaiions of the Cnnrlumy,                                     ~



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  20,18 Certifieation of Susan C. O'Farrell; Chief Financial Officer and Tr.easurer, pursuant to
                          Section 906 of the Sarbanes Oxley Act oI 2002
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2019 Certification of Mitchell B:. Lewis, Chief Executive Officer, pursuant to Section 302 of the
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         20-19 Certification of Susan C. O'FarrelI, Chief Financial Officer and Treasurer, pursuant to
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 2019 Certification of Mrt chell B. Lewis, Chief Executive Officer, pursuant to Section 906 of the
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            Marob 11. 2020                                   Qy:                                           %s%a`tirehrll H. T.cnvis I        ~                                                    • ~f r
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    y e,                                                                                                    MitchellQ.l.et49s                                                                 f e:         t
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      2019 Certification of Susan C. O'Farrell, Chief Financial Offic( and Treasurer, pursuant to
                             Section 906 of the Sarbanes-Oxley Act oi

  b~         ~Gompnnles~ Oocumont              t•orms                                                                                                itokt r (3A:3



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  t.    I Ezhlbtt~zi
  ~• ..; ItLI71:II\\HOLDI\OSINC:.(:F:R'I'il?IC,\I'10\.P[TItSt,ttl'TO1fiI1S.C.SF.Ca'[O\.13311AS,\I)OI''f£D.                              mLv~~n~~r'InsF:r_rfa>rao6(~ir'1TIF:, r ~•.•.~
  ~ •"~•'~S,1RIL1\&$-O)M1:YAC•fOF200?
     J~d ln wnnection a•ith thu enuual {clu;d of Qluol.ina Iloldinvs ]nc.(thc "(:ompany")trn Fonn 10•K for tbc ycar ending              )eceniber 2S, 2Q19, as filed atidt t!n` Llniied           ~::;b,.~
          St2tet Securitics and r Xcbnnge Commission ari We date hnf ere (tho ")teptirt', I, sitsnn C, o'Frumll, Chief Fiitancn         Ofticer:fnd Trcasuree of iha Coenpauy, do
  k x k hereby oceiry, pursuant to 18 U.S.C. 1350. ns udoplcd puisuant tn Scction 906 of tho Sarbnncs•Oxley Acl of 2002. i              n:
            (1) 'f(tz R~poa tLtly congtlios ~rilh lhc reguiremcnts aFStxtion l3(n).or IS(d3 of tlte Sretiriric•s Exc•t>nngrAEt oC       )3a, as untentled; aud
       ~ (2), 'Che'infonnation etrnttdned in (lte Rrport foitly presentt, in all ataloorl respects, tbe 1'uuncial condi6on and n        dtsoPopemtionsoftheCoulptttty.                            f ~i


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      t •                                                                                                     Senior vice Pr¢
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     342. The objectives of the auditor, and therefore BDO USA,                                                                          in an audit of ICFR are to:
 (1) obtain reasonable assurance about whether inaterial weaknesses exist as of the date speoified
           in management's assessment about the effectiveness of ICFR (as of d ate) and
   (2), express an opinion on the-effectiveness of ICFR in a.written report, and communicate with
          'management and those charged with governance, based on the auditor's findings.
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                                                                                            Year 2018
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  i              dflilucl;inzlloldio'gs Ine. ntid subsfithrrics4iui'ictia, Ceorgin Opinion on'tli¢ Consolldnlid Finencial Stntcmcnts We-havc                                            ,
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                 audited'tlic nccdniponvingcousolidated bal:ince sltiets:ol'Dluetiinx Iloldings'11tc, andsubsiilihrics (tlte "Company") as.of
  1             i Decamber,2), 2018 :md D~cemher 30, 2017, the reL`ded consoliduted statemems of op''r+tioni      .       and com['ra hensive (loss) .uu;oute,
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  I               c5sh tlod•s, and stoekltolders' (def icit) equit'y far'each'of tlte periods endul I:>ecctnber 29, 4013, .Decentber. 30, 2017. and
                  1)ecitnbur:3.f; 201fi: utd'tfic rel:ued notes (cqllectit'i+ly refertud to as Ihc "consolidated financ~al.statements").,in.our upinion;tltc                            '

  1               wnsolidated finaituial.'statemcnts presencf:iirly, in•t+ll tnaleriai respects; the'ftnanciul:pasition of thu Company atDecenttiir29,
              2018"rnd,D•,ecpmber 311, 201,7, and'tltc rt;sults'of;thcir operations and tireir'cash flows fur rachlaf flie per'iads endcd IJ¢ecmber 29,
              241$, Decctuber;30. 2017,.nnd December 31,2(Il'G, in.cotd'omuty widl.aeeounting pripciples genemlfy accclurd in Ihe United                                                ~
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   j'       ~ StatesttiftlmcriaA.Wc •also have auditcd; in accorrlance,Wiih Iho standards'ul'9he Public Comp:my`Aceounting Oversigld Board _
  ~         ~(Utiited States) ("PCAOB"), the Compqny.'s'intetnal control ovor fmaneial reportiag as.ot`Dacentber 29, 30_I$, based 6n criteria`.
                 establiglzed io Inrornnl,'Connal - LrtegrnredTrotuc trork (2013) issued by the Commiltce of Sponsoring'Organizations of the
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               ~ Treadway Contmission ("COSO") and our R pun datad biarch 13.2019 exprossed un unqtwlified.opiniqn tlierrou:Bit%*is for
  ~              OpinionTltese consolidated financial starments arL tlte responsibiGty of.the C ampany's managetncut. Ourarsponcibilityic W
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                 exnrecv an onininn tm the Crnnnarrv's eonsnlidated financial st:rteinents hased nn nur audita. SVe are a nublic nccottntin¢ finn
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            Treadu'ay Commisvion ("COSO") aud our report dated NIarclt 13. 2019 expressed an uriqual ied•opinibti tttoreon.Rnsis for
            OpinionTltese consolidated finaucial statetnents are the responsibility of tlte Contpany's nta ,getnent. Our responsibility is to
            e,epress an opinion on the Company's eonsolidated tinattcial statements bnsed on our audits. ie are a pubiic accounting firm
          ~ registered tvith the PCAOB and are required to he independ"ent w'ith rn:spact to the Company I accordattce with tlte U.S. fzderal
          { securities laws and Ihe applicable tvles and regulatiotts of tlte Securities and Exchange Cotm ission itnd the PC:40S.LVe
          i conducted our audits in accordattce with the standards of ttta PCAOB. Those standards requi ihat we plau nud perform the andit
          1~    to obtain reasonable assuiance about whether t6e.consolidated tinattcial statements are free'c tnaterial misstnternent, whether due
                to'error or fraud.0ur attdits included perfonning procedures tu assass the risks of material m uateinent of the consolidatcd
                fmancial statemer.its, wltctlter due tp arror or fraud, attd,performing.procedures that respond I Iltose risl:s: Sttcli procedurex
                inclttded.examining.'on a test basis, evidence rega,•ding the amounts and disclosures in'the ci solidated Guancial statements. Our
                audits also included evaluating dte accotmdng principles used and significaut estimates madi )y ntanngement, as well as            1'a
          ~ evaltiatiitg the ovemll prestittation of tbe consolidated fnianciat statements. We believe thai i r audits prgvide a reasonable basis '
          I~ for our opiltion.
           I!s1 BDO USA. LLPWe have sen'ed as the Company's auditor shtce 2015.:4tlantn. OeorgiaA4               13.2019
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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 500 of 547




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              REPORT OF INDEPEi1TDENT REGISTERED PLtBLIC ACCOUNTIhiG FIR;\i ON IN                                                                       'ERNAL CONTROL OVER                                    a
              FINANCIAL REPORTIIr'GThc Board of Directon +md StorkholdersBlueLins.Halding:                                                              Inc, ind subsidiariesllarietta,                        !
              Georgia Opinioti on Itttcrnal Contrrol ovet• Ginuncial ReportinglVe have audited BlueLiru                                                 IIoldings Inc. and subsidiaries' (the                  i
              "Cornpany") itttemal cootrol over iinancial reporting as of December 29, 2018, based on critt                                             in establislted in Inlernal Conlro! -                  ~
              Inregrate'd Framen'ork (101$) issued by the Conm»ttee oJ' Sponsoring Organizatiorts of tlte T                                             :adtvay Comtnission (tlte"COSO                         ~
              criteria"). In our opiniott, tlte Company maintained, in all.material respects,'e13'cuive intemal                                         rontrol over fuumciTl reporting as of                  t
                                                                                                                                                                                                               r
              December 29, 2018. based on the COSO criteria. Vr'e also have'audited, in nccordauce tvith ti                                              standards of tlte Public Cotupany                     I
              Accounting Ov.ersigltt hoard (Unitetl States) ("PC,AOB"), the consolidated balance sheets of                                              he Company as of December 29..                         ~
              ?018 end Deceutber 30, 2017, the relnted cousolitlated stnteinents of operations and compreh                                              nsive (loss) income, cash flows aud ~.4_.,. i
              stockholders' (deficit) equity,for ench of the periods ended Decetnber 29, 3018, December 30                                              2017 and Deeember.31, 2016, aud .. i:;• : T:
              tlte Yelated notes and our report dated Alarctt 13, 2019 expressed an tmqualified opinion there                                           n.Basis for OP tnionTlte                  ~.a          i
              Company's tttanagement is respottsible for maintainii,e etTec[ive internal coatrol over Lnattci.                                          I reporting ond for its assessntent tif.t
              die effectiveness of inteinal control over financial reporting, included in the accompanying It,                                          m 9A, "Management's Report on
              Intemal C.ontrol over Financial Reporting". Our responsibilily is fo express an opinion on the                                            ;ompany's intcrnal control over
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               ' Compantt≥s                 Documents                  Forms             fllbrt5' •                                             i       Iicker: BXC                                       Y.
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          2U18 attd Decentber 30, 2017, tlie relared consolidated stateinents o£operations and cotuprel ensiv0 (loss) income, cash ilows and
          stockholders' (deficill equity,for cach of llte periods ended December 29, 2018, December 3( i~ 2017 and December 31, 2016. and
  i.
  ~       the related notes and ourrcport dated 1~farch 13, 2019 expressed an unqttalified opiuiomihert n.Busis.for OpiniottThc                     o
      ~ Compatrv's tnanagement is responsible for ntaintnining effective intemal control over financ. 11 reporting nnd litr its assesstneut of
  t    ~ the:ef•fectiveness of intemal control over financial repotting, inctuded in tlie acconJpanying Ii em 9A. "abIattagentent's Report on
 ;     I Intemal Control over Finartcial Reporting". Our ras)wnsibility is to express an opinion on Iha Company's ituemol control over
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  t   !  financhtl reporting based ou tntr audil. We are a public accountiog Grnt registered witli the P( IAOB :tnd are reyuired.to be
         indepettdent witlr respeci to the C'ompauy in aceordance with U.S. federal securities Inws an( ;Ithe applicablerttics amd regttlations
 f
 1       of the Securities and Fatchange Couimission and Ihe PCAOB.We conducted aur audit of inte: 7tal contrat ovnr financial reporting
 t
         in accordance witlt the staudards of tlie PCAOII. Those standards require thnt we plan and pe tI fornt dte attdit to obtain i'easonable
         'tssumnce 5boul whetlter eftcelive uuemal control over fittanciul reporling was ntaintained in ~all tnatcrial respecW. Our audit           71,

      ~ ineltided obtainitig :ut understandine of internal control over linancial reporting. assessing th4 ~ risk that a tnaterial weakttess exists_;
         wd testing and evaluating thc design and operatutg effectiveness of intemal control b.'tsed on I the assessed risk. Our audit alSo
         included perfonuing such otlier procedures as we;considered necessary in the cii'cumstattces. I,Ve believe that our audit provides a
 !        reasoneble basis for our opittion.As indicated in die accontpanying Item 9A, Management's I tenort on Intemal Control over
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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 501 of 547




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           aud ttsting and evaluating the.design and operating ettectiveness of intemal control based on t~he assessed risk. Our audit aLso
           included perfomiing such other procedures es we considerLYl necessary in the circwnstances. We believe dtat oitr audit provides a
           reasontible basis for our opinion.As.indicated in'the accotupanyinp ltem 9A. Managcmenis Rleport on Intet'no-tl Control over
           Finaneial Reporting", management's assessment ofand conclusion ort dta effectiveness of intemal control over IinanciaC reporting
           did not include the ititemal conlrols of Cedar Creel; Holdings, Inc. ("Ccdnr Creek") whioh was acquired on April 13, ^_018, and                                                                     ~
           wlticlt is iucluded in consolidated balance slteets of the Compan,v as of Deccmbrr 39. 201S. and the relnted consolidated                                                                           (t
                                                                                                                                                               i
           st5tetnents of opemtions and comprehensive (loss) iuLonte • casli tlow'S, and stockholders' (deticit) equitv, for the yeac tlten ended•
           Cedar Creek constituted 49.8% of tolal assets as of December 29, 2018, tmd 35.7% aud 5.2°'0 o f revenues and nct loss,
                                                                                                          I
           respectively, for the year Ihen ended. Muuagement did not assess thc effectiveuess of internal houtrol over linattcial reporting of     ~.
           Cedar Creek because of the [iuting of the acquisition which was completed on April 13. 2015:I Our audit of internal control over
         linattcial reporting of the Company also did not include an evaluatiou.of the.uttemol control oIver linancial repoi'tiug of Cedar
       ; Creck.DeIlnitlon nnd L(tnitntions ol' Internul Control over Finstncinl ReportingA companh's internal coutrol c+ver linancial ~.. •' `
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         reporting is a pt•ocess designed to provide reasouable assunnca regarding the reliabilin of finiancial reporting nud the prepantion":
           of linancial statemeuts for eatamal purposes in accordauce with generally aocepted accountin¢ principles. A company's internal
  .        control over financial repotting includes those poHcies and procedures that (1) pertain to the tunintenaitce of records that, iti
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           reasonable assttr,tnce thal Iransactions are recorded as necessary to permit prepnralion of finaticial statements in accordance with
           gcnerally accepted accounting priaciples, and Ihat rcceipts and expenditun;s of.tltc company are being tnnde only in accordanec
           widt audtoriz•ttiotts of managcment and directors of the company; and (3) provide reasonable assuranco raearding prevention or
           timely detection of unauthorized acyuisition, use, or dispositiou of the company's assets that c~ould ltave a material effeet on the
           finaneial statements.
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           Because of its inherent limitations, internal control ovec faaricial roporting may not prevent or detect ntisstatentents. Also.
           projecctions ot'any evaltuttion of aftectiveness to.future periods are subject to tlte risk that,contiols may become inadeqttate
           because of changes in conditiotts, or that the degree otcotnpliance witlt the 1tolicias nr P roced'ures
                                                                                                                ~    ntaY deleriomte.
           /s/ BDO'USA, LLP Atliutta, Georgiablarch 13, °019                                                                                               ,                                          ~




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             ~^ REPORT OF INDEPENDEV"P REGISTERED PUBLIC: ACCOUNTING FIR\I The : loard ofDlneclors and                                    ~
                Stockholders ofBlueLinx Iioldings Inc. ond subsidinrie.sR3arietto, Georgin Opinion on the Consolidaled Fivaocial
              i Stutements We hnve audited the accontpanying consolidated balance sheets•of B1ueLinx H- Idings,lnc. and subsidiaries (the
      ;:        "Cotripany") as:of December 28. 2019 attd December 29, 20I S,, the•related consolidnted stai ements of operations and
                cotnpreltensive loss, caslt ilows,.and slockltolders' deGcit for the years t.hen ended, and the t elated notes (collectively referred.to
            ~ as:dte "consolidated financial stntentcnts''). In.our opinion, tlrc consolidated Llnancial stateir :nts present fairl,v, ut all material
           d .: respects. the fi»ancial position-gf the Company al Decetrtber?8. 2019 and December 29. 20 8, and the resuits of.their
                operalions and their caslr ilows for tlte,years theaended, in conformity with accounting prin ~iplcs generally accepted in the
                  United 5lates ofAuterica.We :dso have audited. iu accordance with the stan(lards of the Pub ic CompanyAccounting Oversight'
      • .~N` i Boa{d (Uniied States) ("PCAOB"), dw Company's httemal control over financiaf repot1ine : s ofDecetnber28, 2019. based on
      -!~•'-'.; .
               oriteria estnblishc<I in Irtrernal Conno! - Lvagrat~d Froniemorh. (20l3) issuad by. tlta C'ontnti tec of Sponsoring Orgnnizations of
               the'Preadway Conuriission (''Ct'aSO") and our repoti dated lvfarclt 11. 2020 expressed an tut lualified opii»on theceon.Basis for
     p       > OpinionThesa donsolidated fivanciul statements are the responsibilityofthe CompauY's ttta iageuiem: Ottr responsibility is to t.
                   express an opinion on the Company's cousolidated Linancial statentents based on'our audits, 1be are a public accnunting firm ,~
                   registercd with the PCAOB and are rcquire<i to be indcpctiden(.with iespect to thc Contpany in accordance with the U.S. fedcr.il'
     S• v: securities laws and the applicable ntles and regttlations of the Securitias nnd Exchange Com nission and tlte I'CAOB:Rre
           condueted ottr audits in accordance wiilt the sL~ndards of the PCAOB. Those standarda requ re tliat we plan attd perfoim thz               ~
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                 j critnrin estabhslted in Itttcrno! Connnl - bvegroted Fro»ietvnr7: (1013) issue(l b? the Comn ~ttee of Sponsoring Orzanizations of
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                  tlte Trradivay Cvmruission ("COSO'") and ourrepott dated ;4larch 11,.3020 expressed .vt;tu jualified ajrinion tliereon.Basis for
                                                                                                               ~ agement. Our respoasibility is to         ,i
                  OpinionTliese consolidated Linattcial statemeats nre thc responsibility oPtlie Compaity's ut m
 ~                express an opinion on.the Contpany's consolidaled tivancial statemeuts based.on our auditt IWe are a public.accotmting tiim
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                  registered with the PC:AOB aitd are required to be indcpendent witlt tYspect Io ilte Compan iiti.accordance with the U.S, fedeml
                  securities laws attd the applicable•mles and regulations of dte Securities and Exchanec Coit ulussion and tlie PC:AOBA1'e
                  conducted our audits in aceordanee, tcith the standards of the PCAOB. Those standards reqt ~re that we plan and perfonu tlte
                  audit to. obtitin reasonable a'ssurance about.wlictlier Ihe cottsolidated flnaicial statetiients ar ~ liee oCmaterial ini'sstatement:
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               wltetlier due to error or fraud.Otr audits included perYorining procedmes tu assess the risks tif material misstatement of the
      w'`•     consolidated financial stateutents, wltatlier due to error or fraud, and perfonning procedure: that respond to those risks. Suclr
           r ~ procedures included exaniining, on a test basis, cvidcnce meardine the amouttts and dlselos ures in tlte consolidated Linancial
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                  statetitents: Ouraudits also inclnded evaluat3ng the nccounting principles used and si:nifict t estimates made by mnnagement,
                  as well as evatuating the ovemll presentation of the consolidated fivaociol statements. We b ilieve tltat our audits provide n
             1 reasonable basis for our ophtion.
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                  /s/ BDO USA, LLPNN'e hace served as dte Company's audiior. since 2015. Atlanta, Georgial, larch 11. 2020
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 503 of 547




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               REPORT'OF INDEPEiVDElVT REGISTERED PUBLIC ACCOUNTING FIRMTh¢                                                  :trd ofDirecfors and                       r''^~"
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    g          StockholdersBlueLinx Holdings Inc. nttd subsidiariesl3arietta, Gcot;la Opinion'oit :                          crnal Control or•er Finantlal              ~"~:,_•,
    k
      ,-'. Repoi'lingNo Lave attdited B1ueLinx Hohlings Inc, ancl'subsidiaries' (tUe "Cntnp:my^') in                         tal control over tinancial reporting
               as of Decemher 28. 2019, based on ctiteria establislted iu lurernal Control - Inregraled Fr                   eH•ork (2013) issued by the
   ..`.,r• ri. C.ommittee o1' Sponsoring OrQanizations of the Treadway Conmussion (dte "COSO criter
           "                                                                                                                 i, ln our opinion, the Cotnpany
               maintained, in all nlaterial rcspects, eRrctive intemal control over tinancial rrltorting.as o                ecember 28, 2019, based on the
               COSO crileria. Vlre also have audited. iu accordaitce witlt ihe standards of ilte Public Com                  ty Accounting Oversiglit Boarcl
             ;(United States) ("PC:AOB"), tbe eonsolidated balancn sheets of the Company as of Decen                         r.28. 2019 and December29, 2018,
               Uie relaled consolidak`d statetnents of nperations and comprehensive loss, castt tlows anci                   ckholders' deflcit, for thc years
  ~a           then ended, and the rblated gotzs and our report.dated March 11, 20<0'expressed an unqut                       ed opinion thereon.Basis for
   ,a.         OphtionTlie Company's manageinent is responsible for maintainine etl'ective internal cor                       I over linanciTl reporting and for
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               its assessmeut of the effeotiveness of intemal enntrul aver financial reponing, included in                   : accompanying Item 9A,
                 Managetnent's Annoal Report on Intemal Coittnil over Financial Reporting". Otv respou                       ility is to ecpress tui opiriion on tht
               C'ompany's intemal control oc•er fruanci.il reporting based on our auclit. tiVe ara a publiont                antiug lima registered with the ;_'
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  ~x           internal control over IInancial reporting iu accordance with the standards ofthe YC'AOB.'                     ise standards require that we plan


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  (• • ,:i, applicable ntles and regulations of the Securities and Eachange Conmlissiou aud the I'CAVe                  OB.V conducted ottr audit•of
       nj A 3 intemal controLpver financial repoiting iu accordancc with.tbe st•utdards ofahe PCAOB, Tliost standards require that we plan
              ' attd perfornt tlte-audit to obtaiit n;asonable'assurance aboul u•hedter eftective intemnl canvol_over finmtcial reponing was
                 maintnined in all material respects. Our audit includecl obtaining au understanding uf internal control over fiiranci:il reporting.
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    'Y       ~ assessing.tlte`risk that a material weakness exists, and testing and evahtating tlie design and i peratirie etI'ectiveness of internal
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             t control based on the assessed risk. Our nudit :dso includeil performing such other procedures as tve considere3 necessary in the
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  i'             circumstattces.. We believe that our audit providesa reasonnble basis for our•opinion.Deflnition and Litnitatiotts of internnl
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                 reasonable assivauce regardine the reliability of tinancial reporuna attd die,preparation of finutcial statements for eatemal
      r '+       purposes in accordance witlt generally necepted accounting principles. A company's internal control over financial reporting
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       w         mclude.s those policies and piocedttres thet (9 ) penain to rlia maintenanee of records that, inircasonahle detail, ~nccurately and
                 fairly retlect the vansactions and dispositions of the assets of the company; (2)'prodide rca'sonable assvrance Ihat trvtsactions
                 are recorded as necessary to per'mit preparation of flnancial statements in accordance witli geuerally accepted accotmtitig
                 principles, and1hat t;uceiptti and expentlitures oflhe cotttpany are being made only in accordance with autltorirationsoI•                 r       ~
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I°    I ataternents.Because ofits inherent limitntions, internal connol over tinaucial rep orting ma>"                        t prevent or detect tni.sstatzments.
        Also. projections ot' an,v evaluation of eflectivertess to, l'utute periods are subject to`the risk i                 t convols may becotue inadequate s • 3
        because of chauges in conditions, or tltnt the degree of complinnce with the policies or proc                         ares may deteriorate.                 • .. j
 +• '!sf BDO USA, LLP Atlanfo, OeorgiaMarch 11, 2020
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                   EXHIBIT 5
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                9




  ATTACHMENT TO PLAINTIFF'S ORIGINAL COMPLAINT


 EXCERPTS FROM THE 2019 AND 2020 SPAR AND NMS 10E` REPORTS
           AND 10-KJA (ANNUAL REPORT AMENDED)


                                              Souree: https://see.report/C.[K/0001004989


                                                Exhibit 5- Reference 361; Page 132 of 407
      361. Under §404(a) of the SOX Act, SPAR is required to annually report ori SPAR's own
                          assessment of the effectiveness of its controls.


                                                                                       Year 2019
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                                                               Exhibit 5- Reference 361; Page 133 of 407
        363. Under §302 of the SOX Act, NMS and SPAR's corporate 'officers must (among other
    things) accept responsibility (as evidenced by individual signatures) for the content of Interface's
    annual §404(a) report. The CEO and CFO must personally certify the content of the reports filed
       with the SEC and the procedures established by the issuer to report disclosures and prepare
                                            financial statements.


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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 507 of 547




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~              KNOW ALL THESE PERSONS BY THESE PRESENTS, lhal each persun whose signantre appears below constittites
!:    and appoints Christiaan bt. Olivier imd Jaine§ R. Szgrelo and eaclt of them, jointly and sevetally, ltis attorncys-in-fact, each iviHr'r~;~ ~
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      Cotnmission, hereby ratifying and confitming all•that each said anorneys-in-1'act or Itis substimte. or substitules, may du or cause.,,
   _ to be done by virtue hereof.
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 509 of 547




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                     !s/Anhur B. DrogiLe                                       Cltninnnn of the Bonrd and Director
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                                                                               Vice Chairman and Director
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 1                   Date: April 14, 2020
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                     !s/ R. Eric McCttrthey,                                   D'u•cctor                                                                                                                                l
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                     Date: April 14, 20?0                                                                                                                                                                               t            I
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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 510 of 547




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     ~^ =:                Pauagiotis N. Lazaretos
                      Date: April 14. 2020                                                                                                     {                                                             l

                      I.1 James 1L Sesr~q
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                       dames R. Segrtlo                                                  Treasurer and Secretnn• (Priucipal Finnncial nnd Accounting Ofticer)
     F             ~ Date: April 14.2020
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                  „I .caustxl this report to'be signed.on its behnlf by tl{e undersigned, tltereunto duly attthorized.


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                      /s/ Christiaan M. Olivier                                                         Cliief Executive Officerand Director
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                          Christiaau DL Olivicr                                                         (rrirtcipa] Ext:eedve OlLcer)
                    ' Date: April lA, 2020                                                                                                                                                                                         i
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                            h` Arthur B. DroE1c                                                         Chainnan of thc Board and Dircetor
                                Arthur D. Drogue
                            llate: April 14, 2020                                                                                                                                                                 ~.

  i-~                                                                                                  Nrice Chairman and'Dinctor
  `   y                         lvilliam H.13artels                                                                                                                                                         ~ l~
                            llate: April l4, 2020                                                                                                                                                           i    r
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        ;~ Anliui•H. Baer
              ,            Date: April 14.2020                                                                                                         :
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     ~ ~' • ~    Peter N, Broa•n                                                                                                                       ~
        • : ~. Date: April 14;'2020
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     I,               s.
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                              Panap,iotis N. Lazaretos

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                            •PanagiotEs N. Lazam-tas
                      Date: April 14,'_020

     j•               Jx; James R. Se •e n
                          James'R. Segreto
                                                                                            Cluef Financia! Ulticec
                                                                                            Treasurer and Seeretary (Principal Pinancial tind Accotmting Oflicer)
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                      Date: Apt•il 14. 2020                                                                                                                                                        :^ ~

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2020 Certification of Chief Executive Officer Pursuant to Section 302 of ttle Sarbanes-Oxley Act
                                            of 2002
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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 514 of 547




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                                                         SECTIOl~ 302 OF THE SARBANP.S-OXLEY AC'r OF 2002 I~

               Michoel R. Mataouna.s, eortify that:                                                                       i
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            1..     I have reviewed this mmual rcpt+n un Fonn 10-lUA for the yeur eaded becembcr 31, 2020, o1' PAR (iruup, Ine.;
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            2       Rascd ou my knowlcdgc, this repnrt docs not contaut ony untruc statenicnt of e matcrial fact or omit 10 statc a mntcrinl fact neccssary to uwkc
   the statemcnts uude, iu light of Ibe circurastances under u•hjch such statemo<us lverc madc, not mbleading willr ral ect to'thc period covered by this report:

            3.     ..    ©ased un mp i:noH'Icdge, the tinancial stntcmenls; nnd-olhor fmimcial infomwtiun jncludcd in thLs repurt, feirly pn•sent in all ntaleri:+l
   respects tho futancial cuudition, rcsults uf opcmilons and cash lluus of thc reristratn ns oG and for, il1e periods presentcd ia thi's nWrt:
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   dcSucd in ExchangeAcl Rtlles l3a-I5(c) and 15d=15(e)) and intcmal control ovar fmanci:d reporting (us-defined in Exch;mge Act Ru1es 13a-15(~ and l5d-
   15(t)). for tho registrant and havc:                                                                               i                                            Y

                     (a)      IhMrgned Sttelt'dl5closllre Colttrols altd procGdUreS, or cattsed sllclt dt.Sclnsurr cllulnlls and procedures 10 be designed under our
            suprn•isiou, to en.sure that nLlteciBt infonnatiod relaling at ilro rcgistr.mt, Ulclnditrg iti consolidatcYl sunsidiaries, is'nmde known to us by o0lers within
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                    (b) De.sigta~d suclrintemol control nver financinl reponing, or nused soch.jnternnl couunl over Onancial n:poning lo bo'designed under
            onr Rupervision, to prnvIdc rewianable.assur'mcc reganling the reliability of fucmcial reporting and thc'pmpantion of filLwtcial stalcittents for exlemal t            i
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                    (b)     Auy:fmud, p•helher qraot ntaterial,.lh:v involees manpgqment or othcr cntployees•tvhuilwvc'a sigriilicnnt cu)o:ja tlte rcgiatranl's interpal
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  llate; April 29.:2031                                                                            nzl Michacl R. dl;llacunas
                                                                                                   htichael R. Ma'Lictinas'rPresident and CYuefEzecdtjve'OCficer




2020 Certif'ication of Chief Finaricial Officer Pursuant to Section 302: of the Sarbanes-Oxley Act
                                              of 2002
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 515 of 547




    l:X-3l? ,7 ex 243036.httn.EXIIIi31T 31.2
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                                                  CERTIFICATION OF CHIL•F GINANCIAI
                                                        SECTION 302 OF T1iE SARIIAiJES

             i. ray uevncu,cenuy war,
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              l.      I ltave n:vimcd dtis aunual roport on Fomt l0.K/A far Ihc year endnl December 31:2020 qf SPaR (3roup, lue.;

             2.      Haecrl nu my lnorvledge, dtlq raport 4oes not eontain uny untrue statcment uf a material fact o
    tbe statcmeots made, iu light'ofthe cucmusl.•mces under which such.stalcrucurts svere made. not toisleading ssith m—spea to tlie period covetcd by this «.Iwrr,

              J.           8ased on uty ]:norvlcdge, lhc fruaacial slatcmouts, and otber fivanci;d infonaatiotr included in tlus repon, F.tirly present in all nn-+tcrial ~
    resptc.ls the 1-unmciat cundition, restdis of uperaGuns and caylrfloas of the regislnut us or, and for, the periods: pirsentcd in thi.e roport;                       j

             X.           Thc.rogistmnt's odrer cenil'y'ing.a@iccr(s) and 1 nro rosponsiblo for establisWng and main~uiuing ilisclosure caintrol,a and pmccdtues (as `
    dcfutcd in Exehaugc Act Rules 13a-15(c) and.I5d-IS(c)) wd intemal control tn•+:r finaneial n:porting (as dcfiucd ia Eccliaugc.Aet•Rules l.1.r15(!) agd I5d- •
    IS(t)) fortltc rcgistrant and have:                                                                             I

                      (a)       Dcsigncd'such disclosure contmis and proccdures. or causcd suclt.disclosurc controls anif,pmcedoras tu bo de9igned under our }
             supervision, to eacuru dut material informalion rolating lo thc regislr+nt,.including' itv con.solidaied subiidiaries, is made larown tn us by nlhers wilhin :•
             those cntities, l+articularly during tho period in a•hieh this teport is bcing ptvparcd;                                                                     ~

                    .(b) Designni such intcrnal wntrol ovcr finaucial rcporting, or c~used such intental control over fin:mcial rclwrting to be designed under ~
             oursupervision, to provide rcasonablc ossumncc rcgarding lho reliability of (ivancialircportirng uud iho proparation of rrnancial statcmctus for cxtemal i

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             5.      'The!rrgistnnt's otlier ceitifytirig'oRIcer(s) anil l have discloscd,'based on ourmost recent evuluatiou o[,intcn~~l'.centtroJ;overfuuucial :reyibriing, •
   ta.tlte'registrant'suuditors and.the pudit cuminittee of thearegistranl's boar¢ o,fdirecrore tor.persuns•parfonningthe-equitaleut limrlioru);

                     (a) A1l siguifcant deficicneies and'iiraerialttiveatrnessm iu nc~:design'or opera}itin uf'inteinal eontrol over fmnucihl nlioiting,Uhieh,are
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2020 Certification of Chief Executive Officer Pursuant to Section 906 of the Sarbanes-Oxley Act.
                                            of 2002               ;
Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 516 of 547




 EX-32.1 S ex 243037.httn EXHIBIT 32. L
                                                                                                                                                         ExHli3rr 32.1

                                                           CerliGcalion of Chief Ezecutlre 0t6cerPutsuant to
                                                             Sectlon 906 of thc Snr-bnnas-QatcyAcl of 2002

 In cunneetion wilh tha annual repon' on Porm 10-K:'A for the year endod Uccember 31, 2020 (this "repori"). ot' SPAR Gruup, Inc. (the "registnnt"), thc
 tmdersi(atcd hercby certifies that, to his kttotricdge:

            1.      Tlto report ful.ly coniplies witlt the requircntents of sectinn 13(1) or li(d) of Ihc'Securitiee ExclLnnge Act of 1934.115 mnended, and

          _.           The irtfonnatinn cnntaitrid in thc rvpnrt fairlv presents: in all material respccts, ilte financial condilinn and restdts ot' operations of tbc
 registrant.                                                                                                         ,
                                                                                         is! Micliacl R. Alatautnns
                                                                                         Micttacl R. Matacunas
                                                                                         Presidmu nnd Chief Execuiive Otlicer

                                                                                         April 29, 202 t




 A signed original of thls irritlen staletnmtl required hy Sectlan 996 hus been providcd ta SP~R Group, fnc. and will br retoined hy SPAR Group, iuo,
 ond fnnrished to tltv Securities und Ecchungc Commlislan or ils staff upun rvluccl.




2020 Certification of Chief Financial Officer Pursuant to Section 906 of the Sarbanes-Oxley Act
                                             of 2002                                                                                                                      ,
  EX-32.2 9 ex 24303R.hhn EXHIBIT 32:L                                                                                                                                    I
              —                                                            .                                                                             FXki1IlIT 32.2

                                                           CerliOcntlonufChlefFlnoncialpf(iccrPurxumdlo
                                                              Section 906 of Ihe Sorbattes=0xlcpAet of 2002

  In corulection «•IIL tlte arumal tepoit un Fonn 10-K/A for the year euded Ueccmber 31, ?020 (thix "nporrt"), of SI'AR Grvup, Inc. (the "rugislram"), Ilte               '
  utidersiptled hereby certifies tllnt, to ]tis ktiotcledge:                                                                                                              I

            1.      'I'Ite report fully col»plies witlt Ihe reqniretnents of'sc,:tiun 13(a) or 15(d) of tho Secruities tixchange Act of 1')34.wc antended, and
                                                                                                                                                                          ~
            '_.        The utfonnatian coutained in the rrpari Pairl,v piLNents, in all material respecis, thc financial condition ind results ot' uperations of lbe      i
  n:gis(r.int.

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                                                                                         Chief Futancial O(iiccr, Trasttrer:wd Sccrotary

                                                                                         April'_9.2021


  A slgned orlglnal of IbLS trritten slalemenl required b;• Section 906 has becn prurided to SMIt Gruup, lna nnd u`Ill be relalned by SPAR Group, lne.,                   ~
  nnd furn(shtyl lu the Seeurltles nnd F;xchnngo Coutmksloo or Its stnRttpon tvquest.                     '




                                              Exhibit 5- Reference 367; Page 138 of407                                                                                    i

  367. T'he objectives of the auditor, and therefore BDO USA, LILP in an audit of ICFR are to:                                                                            !

(1) obtain reasonable assurance about whethermaterial weaknesses exist as ofthe date specified                                                                            I
          in management's assessment about the effectiveness of I'CFR (as of date) and                                                                                    j
 (2) express an opinion on the effectiveness of ICFR in a written report, and communicate with                                                                            !
       management and those charged with governance, based ori the auditor's findings.

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Case 1:22-cv-02653-SEG-CMS Document 1-1 Filed 07/05/22 Page 517 of 547




                                                                                                Year 2019


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        t•'~= I I3oard ofThe Directors aud Stoclatoltiers                                                                                                                                             i
                SPAR Gmup, Inc, and Subsidi:u'ies                                                                                             I                                                  •:i~
                \Vhitc l'Iains, New Xork                                                                                                      I                                         . •, `^a
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                       Upltilou ou ibe Coosvlidntcd Finm:chrl Statements

                 We have audited thc accouipanying consoliilated balaace sltrcts oC SPAR Group, Iuc. (fLie "Company") atid subsidiaries ns of~i ,
                 December 31, 2019 aud 2015, tlic rclmcd coneolidated stateinents of operations and comprchcnsive income (loss), equity. and                        '~
         %       caslt tlotvs  for eactt of the ta•o years'in the period eudcd  Decetitber  3l, 2(11J; and the  rel'pred  notes  and.flnaacial   slatcuwnt    I` .•    :.
                 schedule   listed in the accompanying   indax  (colleuively refcacd,to  as the "consolidatcd  fi uittcial slatemcuis"). ln our opinion: t '
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           %•.'~
                 tite eonsolid:aed Linauuial statemcnls prescul fairly, in all trtatcrial respects. tlte lirtancial position of thc Compariy and-~
                 subsidiaries at DecembM:r 3l, 2o L4 and 2018, and Iltc aesults of tlioir operations mtd their oa.sli llotvs for carh of tlic ttvo ycars ;...#~
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                 the peiiod ended Daber  ccm      31,'201~; in couformity M1vith accountiu¢ prineiples g enemlly accepted iu. the United States                      {-
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                    As'discussed. inNote 15 to, thtconsolidatod.Financi:d sinicmcnts, tlic Cotitpany.bas changcd its riicthod of aacotmthtg.for lca.ces. "; ;"'
        •'          for,lie.y,ear'ended D"ecchnber.31, 20f9'due tathe;adoptiou ofAccounting, Srandards Codif~~tion Topic 8~l3,1-eos•es,                 {"•-`
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        ,,, .opiuibn;on thc Compnny's cainsolidatcd.`fnancial statcments based on our~nudits. ~'lc arela public aecaunting;fitnYregistened
            avitli ihe Puhlie Compan~^Accoun(ing lUversight Board (Unitell Statcs)•("YGAUH") sutd are requiied to be'independent tviih r+':,~,
     • _''. tespecLtii the-Compnny'iit acwrd'altce tvith the U:S: fcdcml,securities lau's aud lhc pppl icable tules and regtilations-of
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                     aitdit to ubtain rensonabld assorancc about iclietlter t11c con>oliciated finanoial statelnents'are tiee of tn,•Iterial misstatcnlent.                                                        t
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                     whetller due to error or fmud '111e Coutiuutv is noc rcquired to ilave nor «2re tro engaged to perfonn an audit af its intemal
                     control over fin;ulcial reporling. As part of our audits we nro rcquired io obtain ati und :rstantiing of inlcrnol control over ~                                                    `?
                     6n:mcial a:pariing but nol for lhe parposc uf expressiog an opiuion un thc uffcclit•uncss of thc Company's intemal conirol ovcr .                                                     ,7
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                 1! r1lJtenill Inls\t atenlent of t11e consolid:Iled fulalcial steteuetlts, wltetber duc to enx>r or fraud, and perfonuing proce:dnrns that ~
                     respond to thosc risks. Sueh praccclures included exauiiliing. on a tost bnsis. evidenen rcg;irdin~ the omouuts ond disclosures in ~
  t                  the eonsoiidated financial stalement.c. OnP audits also iocluded evsduating the accouuting principles used antl sigrlifreant
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  i                  estintatec made hy utanagertlent, ax well as avalunting ttic over:tll prescutntion of thc colisolidated.fin.ulcinl statclnents, ~Ve i~                                                ..'
                     bclieve tllat our andit, provide a reasonable basis for our opinion.                                                                !                                                         ~

  ~                  Wc liave served ns t11e Colnpany's auditor sincc 201'.i.
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  ~              1!s! B1J0 LSA, UP                                                                                                                                                              t
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  1                  April 14, 3020                                                                                                                                                             t ~       ll
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                 ~                                               Report uf lndupcndent Rcgistct'ed 1'ublicAccuuntiug F'Irn1                                                                         ~'         I

      i'.            Board ofTlle Uirecturs and Sloclalolders
      i. _., '       SPAR Group, lnc, and Subsidiaries
                     WhitL Plains, New York                                                                                                                                                         ~e         ~
  ~ •= n                                                                                                                                                                                                   -I
                     Oplriiun un [he Cunsuildufed Fhmoii:d Stutemenls
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        We have audited the accompanying con>olidstted bal:ulce sheets of SPAR Gruup, Irie. (OIe +'Colupany") and subsidiariee as oC :•• '
  ~,. Uecembcr 31, 201') and ?018, the related cotlsolidated statuuenls oF opalations and conlprehensive ineome (loss), equity, and " t
        cash Ilotvs for caclt of thc. tw'o years in the period cnded December 31, 2019, and tllc rclated noles :Iud linancial statculent `           {
     ~ scllcdtele listed in the accompanyitte index (collectively referred to as Ihe "consolidmed financial statements"). In otlr opinion, r.
        tlte consolidatcd finoncial statcments present fat(ly..i11 nIl material re5ptcts, thc filuuicial position of the Contpany and•tP •-`s-
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  1   { subsidiaries at December 3l, 2019 and 2018, and d1c results of their operitions and thcir casl) i7otes 1'or each of the ta'o years in 1.    ~~{{
  ;   j the period ended pecentber 31. 2019, in catformity irith accouutiue priuciplcs gcncrall~ accepted in the Ullllid Sta[ds Of ~r
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  ;              ~ Amcrica.                                                                                           ~


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      ~         'so   As tnbre'fully destribed'in Note 1G to 11te consolidatcd finnneihl staletucuts, tse Company may be matYrially impacted liy the                                              '.~
      1               dbvcl'strnin Coronavirits (C ,OV.II)-19) ivliich was declan:d a elobal pandcinic by the Worlil l•lcalth Organbruion in hlnrch 2020. ('
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      ~             77tese.consolidated financialstatentents are'Iheresponsibilitycilkhe Compaay's mmiiagement; pur responsitiility-is to express'art
                    opitiion on tht: C:ompany's consolidaled lipancial'st,'itements bilsed on oar audits. 1Ve are a public accounting limt'registercil,;.ri~ S
                     tvtth f1te:.Pttblio Company Accotm)ing Uvcrsigbt Board •(United Statcs) ('.'PCAOIS") tnid are nquired to •be itidepnndcnt mttli
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                    respect io thaComp6ny" ut accordance with the U.S..led'eral 'securides latii•s and tlte 5pplicable rules anil regtilations oi the ;
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               Securtttcsuud'Exchnuge'Commissionsind'the•PCAOD.                                '
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        ~ R'e conducted our audtts tu accordance witlt the standards of tlte PC.AOB. 77nxe s.vtdards reqnira that we plan utd parform the #•                                #
        f audit ro obtain reasonable assurance about wJtettrer the consolidated linancial stntements' are liee ot' mnterial mi.sstatement,
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        «whether due to en'or or fnud. The Contpany is uot required to have, nor Nvere we engaged to perfonu, an audit of its internal
            coutrol over linancial reponing• As pan of otu• nudits we aen reqnired fo obtnin an uaderslandine of inlernal control ovrr ~                                    t
            tinattcial reporting but,not for the purpose of expressing an opiuion.on the eflectiveness of the Compnny's internal.control over k                             1
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            finattcial reporting. Accordingly, we express no such opinion. Our audits' uicluded performing procedures to assess tlie ris6s of
    r
        I' tnaterial misstatemeul of llto consolidated 6nancial statecuents, whetlter due to error or fnnd, nnd, performing pronxlures thal
        ~ respond to Ehose risks. Sncli proceclures included examiuing, an a test basis. evideuce recarding the amouuts and disclosures in i
  f
  7     y the cotisolidated fiurmcial statemenls. Uur audits' also included cv:dualing th@ accounting principles used and siguificant :, •o- ~
  ~• • estimates made by management, as well ns evnlunting the overall presentation of tlie consolidated tinaucial statements. NVe:
            beUeve tliat our audits provide a rcasonnble basis for our opiuion,                                                                                    }        t
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  (               ~ We hnvc sen•ed as the Company's aaditor since 3013.                                                                                                                                 ~
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                      Is1BDO USA, LLP                                                                                                                                                ~ s+d.
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                      IN THE SUPERIOR COURT OF FULTON COUNTY
                                  STATE OF GEORGIA

 RAISSA DJUISSI KENGNE,

                     Plaintiff,

 v.                                               Civil Action File No. 2022CV365268

 WESLEY FREEMAN, et al.,

                   Defendants.

           ANSWER AND JURY DEMAND OF DEFENDANT JUSTIN MUNGAL

         For his Answer to pro se Plaintiff’s 407-page shotgun pleading, Justin Mungal (“Defendant

Mungal”) alleges as follows:

                                             Answer

         Defendant Mungal lacks knowledge or information sufficient to admit or deny any of the

allegations in the Complaint except as follows:

         Nos. 3, 18, 28, 496, 536, 576, 618, 663, 706, 752, 806, 860, 904, 949, 990, 1049, 1109,

1166, 1225, 1252, 1280, 1280, 1311, 1331, 1354: Defendant Mungal admits he lives at 1280 West

Peachtree St. NW, Unit 2108, adjacent to Plaintiff. Defendant Mungal denies telling Plaintiff that

he worked for BDO USA, LLP (“BDO”).

         Nos. 29 and 413: Defendant Mungal admits a letter addressed to Plaintiff was mistakenly

delivered to him and he in turn delivered same to Plaintiff. Defendant Mungal lacks knowledge

or information as to the contents of the letter. Defendant Mungal denies any intimidation.

         Nos. 30 and 414: Defendant Mungal admits offering to help Plaintiff. Defendant Mungal

denies telling Plaintiff he worked at BDO, that he spied on Plaintiff, and that he broke into

Plaintiff’s unit. Defendant Mungal lacks knowledge or information sufficient to admit or deny

Plaintiff’s employment relationship with BDO.
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       Nos. 31 and 416: Defendant Mungal denies the allegations in Paragraph 31 of the

Complaint.

       No. 116: Defendant Mungal admits the allegations in Paragraph 116 of the Complaint.

       No. 117: Defendant Mungal admits his LinkedIn profile identifies him as an information

technology professional in the State of Georgia. Defendant Mungal denies telling Plaintiff he

worked for BDO.

       No. 118: Defendant Mungal admits the allegations in Paragraph 118 of the Complaint.

       No. 379: Defendant Mungal denies breaking into Plaintiff’s house or being at all

responsible for any such purported breakin(s).

       No. 412: Defendant Mungal admits the allegations in Paragraph 412 of the Complaint.

       No. 415: Defendant Mungal denies the allegations in Paragraph 415 of the Complaint.

       No. 417: Defendant Mungal lacks knowledge or information sufficient to admit or deny if

Plaintiff has called 911 and filed a report with the Atlanta Police Department. Defendant Mungal

denies the remaining allegations in Paragraph 417 of the Complaint.

       Prayer for Relief: Defendant Mungal denies Plaintiff is entitled to any relief.

                                         Jury Demand

       Defendant Mungal demands a trial by a jury of twelve (12) persons.

       Dated: June 17, 2022.

                                                            /s/ William Daniel Davis
                                                            William Daniel Davis
                                                            Georgia Bar No. 746811
                                                            Ichter Davis LLC
                                                            3340 Peachtree Road NE, Suite 1530
                                                            Atlanta, Georgia 30326
                                                            404.869.5261
                                                            ddavis@ichterdavis.com

                                                            Attorney for Defendant Mungal



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                              CERTIFICATE OF SERVICE

      I hereby certify I served a true and correct copy of the foregoing Answer and Jury Demand

of Defendant Justin Mungal by emailing same as a .pdf file with the subject line STATUTORY

ELECTRONIC SERVICE to cianeseya2022@gmail.com.

      Dated: June 17, 2022.

                                                  /s/ William Daniel Davis
                                                  William Daniel Davis




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